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                           EXHIBIT 1
                     (Annuities Spread Sheet)
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                                                                                                    MASTER128DATABASE

      Number of Avail
   Annuities (as of Dec.
                  2012)                         7-Oct     Lead 3-4 weeks
                                                                     As of July 31 2013 Cash Val And Accum
                                                                                                                              Fixed %
 Commercial Annuity         Commercial                    Value or Annv.   Latest Acc.    Latest Cash Surr   Benefit Upon                                                       Type of           Lifetime                                                                Last rec
                                         Frq.     Anniv                                                                      Payout Per
      Name                   Annuity #                              Date    Value ($)        Value ($)          Death                                                          Draw (10% Amount     Max                                                                   annual
                                                                                                                                Year
                                                                                                                                          Penaltie $     Penaltie % Annuitized or Entire) Req.      Limit Date Req.       Amt. Rec.     Status    Comment     Statement   statement Rider Fee
Allianz                    70682656      M      24-Sep          9/24/08       43,419.25         39,698.22                                    $4,787.72          9%                10%                          9/3/2014   $    3,669.63 Active                Yes               2014
Allianz                    70380407      M      23-Jan          1/23/06      196,271.54        127,651.68                                   $68,619.86         35%     NO         10%                          9/3/2014                 Active                Yes               2013
Allianz                    7147787       M      7-Jun            6/7/12       13,999.47         13,573.94                                      $425.53          3%     NO         10%                          9/3/2014                 Active
Allianz                    70361843      M      14-Nov         11/14/12       52,600.23         50,805.00                                    $1,795.23          3%     NO         10%                          9/3/2014                 Active
Allianz                    70381579      M      15-Dec         12/15/12       53,231.46         51,324.35                                    $1,907.11          4%     NO         10%                          9/3/2014                 Active
Allianz                    70590595      M      4-Sep            9/4/12      195,616.32        190,275.99       273,194.73         2.99      $5,340.33          3%     NO                                    5/19/2014    $ 28,702.35 Active                  Yes              2014
Allianz                    70659134      M      8-Jun            6/8/12       16,030.62         15,229.09                          2.90        $801.53          5%     NO         10%                          9/3/2014                 Active                Yes              2014
Allianz                    70660302      M      10-Jun          6/10/12      125,558.06        119,280.16                          2.90      $6,277.90          5%     NO         10%                          9/3/2014   Death Claim Requested
                                                                                                                                                                                                                                        Active                Yes              2014
Allianz                    70661330      M      27-Jul          7/27/12       94,345.15         89,627.89       122,577.85         2.90      $4,717.26          5%     NO                                    5/29/2014    $ 10,242.70 Active                  Yes              2014
Allianz                    70597680      M      27-Sep          9/27/12       21,299.53         20,234.55                                    $1,064.98          5%     NO         10%                          9/3/2014                 Active
Allianz                    70017439      M      5-Oct           10/5/12      189,847.53        178,456.68                                   $11,390.85          6%     NO         10%                          9/3/2014                 Active
Allianz                    70830515      M      30-Jun          6/30/12       48,603.39         45,667.19                          N/A       $2,936.20          6%     NO         10%                          9/3/2014                 Active                Yes              2014
Allianz                    70444445      M      19-Apr          4/19/12       64,931.24         60,901.76                                    $4,029.48          6%     NO         10%                          9/3/2014                 Active
Allianz                    70605209      M      24-Oct         10/24/12       44,553.03         41,768.47                                    $2,784.56          6%     NO         10%                          9/3/2014                 Active
Allianz                    70584340      M      18-Sep          9/18/12       43,951.19         41,204.24                                    $2,746.95          6%     NO         10%                          9/3/2014                 Active
Allianz                    70605249      Q      25-Nov         11/25/12       64,404.57         60,379.28                                    $4,025.29          6%     NO         10%                          9/3/2014                 Active
Allianz                    70736645      M      3-May            5/3/12       16,891.63         15,709.72                                    $1,181.91          7%     NO         10%                          9/3/2014                 Active
Allianz                    70444395      M      14-Apr          4/14/12       57,431.24         53,367.13                                    $4,064.11          7%     NO         10%                          9/3/2014                 Active
Allianz                    70670054      M      20-Aug          8/20/12       17,033.01         16,181.36        20,398.04          n/a        $851.65          5%     NO         10%                          9/3/2014                 Active                Yes              2014
Allianz                    70653518      M      21-May          5/21/12      139,005.91        128,580.47                                   $10,425.44          7%     NO         10%                          9/3/2014                 Active
Allianz                    70625701      M      3-Feb            2/3/12      113,298.66        104,801.26                                    $8,497.40          8%     NO         10%                                                   Active    Death Claim Requested
Allianz                    70625504      M      3-Feb            2/3/12      108,596.92        100,452.15                                    $8,144.77          8%     NO         10%                         9/3/2014                  Active                 Yes             2013
Allianz                    70791860      M      30-Apr          4/30/12       40,042.05         36,838.69                                    $3,203.36          8%     NO         10%                         9/3/2014                  Active                 Yes             2013
Allianz                    70839938      M      8-Aug            8/8/12       13,170.50         12,116.86                                    $1,053.64          8%     NO         10%                         9/3/2014                  Active
Allianz                    70740227      M      27-May          5/27/12       67,587.14         61,898.50                          2.00      $5,688.64          8%     NO         10%                         9/3/2014                  Active                yes              2014 $   448.08
Allianz                    70636187      M      5-May            5/5/12       15,754.42         14,375.91                                    $1,378.51          9%     NO         10%                         9/3/2014                  Active
Allianz                    70922542      M      6-Jul            7/6/12       30,921.75         28,216.10                          3.00      $2,705.65          9%     NO         10%                         9/3/2014                  Active                Yes              2014
Allianz                    70764834      M      5-Oct           10/5/12      118,010.75        107,684.81                                   $10,325.94          9%     NO                                    5/29/2014                  Active
Allianz                    70770654      M      6-Oct           10/6/12      884,335.46        806,956.11                                   $77,379.35          9%     NO                                    5/29/2014                  Active
Allianz                    70761617      M      24-Aug          8/24/12       93,943.48         88,072.01       117,873.94         2.75      $5,871.47          6%     NO         10%                         9/4/2014                  Active                Yes              2014
Allianz                    70760890      M      27-Sep          9/27/12       66,673.56         60,839.62                                    $5,833.94          9%     NO         10%                         9/4/2014                  Active
Allianz                    70755806      M      14-Sep          9/14/12       30,349.88         25,068.77                           n/a      $5,281.11         17%     NO         10%                         9/4/2014                  Active
Allianz                    70958518      M      30-Apr          4/30/12       35,097.39         32,014.44                                    $3,082.95          9%     NO         10%                         9/4/2014                  Active                Yes              2013
Allianz                    70603818      M      10-Oct         10/10/12       30,767.04         28,033.96                                    $2,733.08          9%     NO         10%                         9/4/2014                  Active
Allianz                    70887205      M      3-Apr            4/3/12       46,565.56         42,382.17                                    $4,183.39          9%     NO         10%                         9/4/2014                  Active
Allianz                    70943096      M      27-Oct         10/27/12      181,831.99        165,467.11                                   $16,364.88          9%     NO                                    5/29/2014                  Active
Allianz                    70906985      M      1-May            5/1/12       27,118.62         24,559.09                                    $2,559.53          9%     NO         10%                         9/4/2014                  Active
Allianz                    70968813      M      27-Feb          2/27/12       30,000.00         27,037.47                                    $2,962.53         10%     NO         10%                         9/4/2014                  Active
Allianz                    70804308      M      14-Apr          4/14/12       54,700.71         49,230.64                                    $5,470.07         10%     NO         10%                         9/4/2014                  Active
Allianz                    70857649      M      3-Oct           10/3/12       83,433.51         75,090.16                                    $8,343.35         10%     NO         10%                         9/4/2014                  Active
Allianz                    70804367      M      5-Apr            4/5/10       56,211.00         50,589.90                                    $5,621.10         10%     NO         10%                         9/4/2014                  Active
Allianz                    DAA50511      M      27-Feb          2/27/07      112,047.99        109,922.06                          N/A       $2,125.93         10%     NO         10%                        7/25/2013    $ 10,000.00 Active                  Yes              2014
Allianz                    70785033      M      6-Feb            2/6/12      116,199.99        104,579.99                                   $11,620.00         10%     NO         10%                         9/4/2014                  Active                Yes              2013
Allianz                    70813445      M      4-May            5/4/12      250,109.17        225,098.25                                   $25,010.92         10%     NO         10%                         9/4/2014                  Active
Allianz                    70943636      M      12-Oct         10/12/12       56,753.47         51,078.12                                    $5,675.35         10%     NO         10%                                                   Active    Death claim requested
Allianz                    70730097      M      30-Apr          4/30/12      167,187.31        149,328.47                          2.00     $17,858.84         11%     NO         10%                         9/4/2014                  Active                 Yes             2014 $ 1,186.68
Allianz                    70636047      M      4-Mar            3/4/12      133,035.90        118,072.69                                   $14,963.21         11%     NO         10%                         9/4/2014                  Active                 Yes             2013
Allianz                    70672549      M      19-Oct         10/19/12       41,790.41         36,565.91                                    $5,224.50         13%     NO         10%                         9/4/2014                  Active
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Allianz   70696093   M   14-Dec   12/14/12    21,060.88    18,371.31            $2,689.57   13%   NO   10%          9/4/2014                   Active
Allianz   70823691   M   20-Jun    6/20/12    26,689.02    23,278.71   1.90     $3,410.31   13%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   70814175   M   13-Jun    6/13/12   123,204.25   107,033.20   1.90    $16,171.05   13%   NO   10%          9/4/2014                   Active                Yes        2014 $   823.68
Allianz   70699728   M   4-Jan      1/4/13    59,418.97    51,231.93            $8,187.04   14%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70716681   M   26-Mar    3/26/12   214,619.92   184,648.63           $29,971.29   14%   NO   10%          9/4/2014                   Active
Allianz   70704614   M   11-Jul    7/11/12    97,390.96    83,120.50           $14,270.46   15%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70700317   M   12-Jan    1/12/12    30,269.48    25,764.09            $4,505.39   15%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70701367   M   4-Jan      1/4/12   102,604.00    87,238.65           $15,365.35   15%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70856705   M   18-Oct   10/18/12    41,032.54    34,877.66            $6,154.88   15%   NO   10%          9/4/2014                   Active
Allianz   7804065    M   14-Feb    2/14/12    35,178.40    29,895.12            $5,283.28   15%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70877087   M   20-Dec   12/20/12    24,157.36    20,481.62            $3,675.74   15%   NO   10%          9/4/2014                   Active
Allianz   70706749   M   26-Jan    1/26/12    51,097.04    43,304.55            $7,792.49   15%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70776946   M   10-Jan    1/10/13   749,617.57   624,255.81          $125,361.76   17%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   30559170   M   28-Jan    1/28/03    87,758.15    72,371.48           $15,386.67   18%   NO         yes                               Active                Yes        2013
Allianz   30824045   M   26-Mar    3/26/12    21,219.49    17,311.08            $3,908.41   18%   NO   10%          9/4/2014                   Active
Allianz   70485553   M   27-Oct   10/27/12    46,954.46    37,909.38            $9,045.08   19%   NO   10%          9/4/2014                   Active
Allianz   70580836   M   6-Aug      8/6/12   262,775.24   211,860.18   3.15    $50,915.06   19%   NO               5/19/2014   $   24,765.83   Active                Yes        2014
Allianz   7647384    A   11-Dec   12/11/12   329,269.63   264,628.82           $64,640.81   20%   NO   10%   yes    1/2/2013   $      130.88   Active
Allianz   7647407    A   11-Dec   12/11/12   403,117.10   323,791.25           $79,325.85   20%   NO   10%          9/4/2014                   Active
Allianz   70258739   M   22-May    5/22/12   107,256.86    85,437.61           $21,819.25   20%   NO   10%          9/4/2014                   Active
Allianz   70311862   M   21-Jun    6/21/12    46,769.79    36,834.59   3.00     $9,935.20   21%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   7549556    M   8-Nov     11/8/12   147,214.81   115,135.81           $32,079.00   22%   NO   10%          9/4/2014                   Active
Allianz   4579476    M   3-Jun      6/3/12    15,951.36    12,467.27            $3,484.09   22%   NO   10%          9/4/2014                   Active
Allianz   6650034    M   6-Aug      8/6/12    51,691.50    36,178.29   3.75    $15,513.21   30%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   70509331   M   8-Nov     11/8/12   165,652.26   128,994.50           $36,657.76   22%   NO   10%          9/4/2014                   Active
Allianz   70571050   M   19-Jun    6/19/12    27,612.20    21,475.66   2.60     $6,136.54   22%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   7297368    M   27-Jul    7/27/12    87,560.20    67,989.48           $19,570.72   22%   NO   10%          9/4/2014                   Active   no pen free available
Allianz   70503696   M   16-Oct   10/16/12    14,671.78    11,342.44            $3,329.34   23%   NO   10%          9/4/2014                   Active
Allianz   7549476    M   8-Nov     11/8/12    14,337.60    11,069.54            $3,268.06   23%   NO   10%          9/4/2014                   Active
Allianz   70577712   M   12-Aug    8/12/12   110,651.50    82,213.38   3.25    $28,438.12   26%   NO               5/19/2014   $   10,000.00   Active                Yes        2014
Allianz   70485337   M   1-Aug      8/1/12   191,440.14   145,654.24           $45,785.90   24%   NO   10%          9/4/2014                   Active   no pen free available
Allianz   70495080   M   30-Apr    4/30/12   157,085.16   119,585.52   2.75    $37,499.64   24%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   70583687   M   27-Aug    8/27/12    58,233.12    43,769.42   3.15    $14,463.70   25%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   6524111    A   11-Jun    6/11/12   263,159.79   198,636.67   3.75    $64,523.12   25%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   6524510    A   11-Jun    6/11/12   166,593.63   125,668.97   3.75    $40,924.66   25%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   70474583   M   19-Jul    7/19/12   151,192.35   113,960.62   2.50    $37,231.73   25%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   6239720    M   12-Dec   12/12/12    94,518.75    71,242.62           $23,276.13   25%   NO   10%          9/4/2014                   Active
Allianz   70351516   M   17-Oct   10/17/12    46,162.18    34,701.96           $11,460.22   25%   NO   10%          9/4/2014                   Active
Allianz   70486720   M   11-Sep    9/11/12    27,946.02    21,066.72   2.50     $6,879.30   25%   NO   10%          9/4/2014                   Active
Allianz   70342403   M   5-Sep      9/5/12   204,236.59   152,474.11           $51,762.48   25%   NO               5/19/2014   $   18,200.00   Active
Allianz   70504351   M   18-Oct   10/18/12    24,187.45    17,995.38            $6,192.07   26%   NO   10%          9/4/2014                   Active
Allianz   07504330   M   27-Oct   10/27/12   134,120.72    99,774.22           $34,346.50   26%   NO               5/29/2014                   Active
Allianz   70401417   M   26-Jan    1/26/12    94,446.83    70,161.05           $24,285.78   26%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   70470018   A   13-Aug    8/13/12   163,812.51   118,475.52   2.50    $45,336.99   28%   NO               5/19/2014   $   14,022.50   Active                Yes        2014
Allianz   5210698    A   3-Aug      8/3/12   126,863.83    93,566.34   4.25    $33,297.49   26%   NO         yes                               Active   no pen free available
                                                                                                                                                                     Yes        2014
Allianz   70390396   M   12-Jan    1/12/12    96,451.44    71,125.34           $25,326.10   26%   NO   10%          9/4/2014                   Active                Yes        2013
Allianz   8160775    M   26-Jun    6/26/12    66,164.01    48,755.49   3.00    $17,408.52   26%   NO   10%          9/4/2014                   Active                Yes        2014
Allianz   8792918    M   21-Oct   10/21/12    75,988.15    55,477.04           $20,511.11   27%   NO   10%          9/4/2014                   Active
Allianz   70612056   M   2-Dec     12/2/12    50,833.93    36,933.53           $13,900.40   27%   NO   10%          9/4/2014                   Active
Allianz   70418384   M   5-Mar      3/5/12    71,702.14    52,076.88           $19,625.26   27%   NO   10%          9/4/2014                   Active
Allianz   70580462   M   31-Jul    7/31/12     5,829.71     4,219.23   3.15     $1,610.48   28%   NO                                           Active                Yes        2014
Allianz   70437615   M   5-Apr      4/5/12    64,486.81    46,616.72           $17,870.09   28%   NO   10%          9/4/2014                   Active
Allianz   70446470   M   4-Jun      6/4/12     6,783.13     4,901.37            $1,881.76   28%   NO   10%          9/4/2014                   Active
Allianz   70353095   M   30-Jun    6/30/12    26,421.98    18,941.80            $7,480.18   28%   NO   10%          9/4/2014                   Active                Yes        2012
Allianz   7556965    M   11-Nov   11/11/12    41,682.00    29,828.19           $11,853.81   28%   NO   10%          9/4/2014                   Active
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Allianz   70615161   M   30-Apr    4/30/12   775,522.00   554,943.48   3.25 $220,578.52   28%   NO          2/26/2014 $     72,459.82 Active               Yes              2013
Allianz   70386264   M   3-Jan      1/3/12   135,937.52    97,081.22         $38,856.30   29%   NO    10%    9/4/2014                 Active               Yes              2013
Allianz   70429800   M   14-Mar    3/14/12   491,903.33   350,246.98        $141,656.35   29%   NO    10%    9/4/2014                 Active
Allianz   8186743    M   19-May    5/19/12    68,088.76    48,456.27         $19,632.49   29%   NO    10%    9/4/2014                 Active
Allianz   70188031   M   30-Apr    4/30/12    25,433.15    18,075.14          $7,358.01   29%   NO    10%                             Active   No more pen free available
Allianz   70732109   M   7-Apr      4/7/12   100,608.08    71,108.56         $29,499.52   29%   NO    10%    9/4/2014                 Active
Allianz   70576061   M   9-Jul      7/9/12    34,843.45    24,607.68   3.15 $10,235.77    29%   NO    10%    9/4/2014                 Active               Yes              2014
Allianz   70515288   M   17-Dec   12/17/12   466,801.80   328,082.48        $138,719.32   30%   NO    10%    9/4/2014                 Active
Allianz   70604094   M   18-Nov   11/18/12     6,243.99     4,384.18          $1,859.81   30%   NO    10%    9/4/2014                 Active
Allianz   30105330   M   13-Oct   10/13/12   152,853.20   107,240.08         $45,613.12   30%   NO    10%    9/4/2014                 Active
Allianz   70301978   M   27-May    5/27/12    34,629.66    24,259.17         $10,370.49   30%   NO    10%    9/4/2014                 Active
Allianz   70301344   M   27-May    5/27/12    23,137.20    16,197.50          $6,939.70   30%   NO    10%    9/4/2014                 Active
Allianz   70513395   M   27-Nov   11/27/12    53,626.12    37,456.08         $16,170.04   30%   NO    10%    9/4/2014                 Active
Allianz   70667462   M   7-Aug      8/7/12    26,254.28    17,767.96   3.50   $8,486.32   32%   NO    10%    9/4/2014                 Active               Yes              2014
Allianz   70272755   A   10-May    5/10/12   426,113.05   297,321.13        $128,791.92   30%   NO    10%    9/4/2014                 Active
Allianz   70675468   M   29-Aug    8/29/12   361,117.57   251,773.16        $109,344.41   30%   NO          5/19/2014   $   34,364.96 Active
Allianz   70684400   M   26-Oct   10/26/12   173,089.00   120,637.99         $52,451.01   30%   NO    10%   5/29/2014   $   14,337.71 Active
Allianz   70029705   M   10-Nov   11/10/12   101,298.09    70,463.03         $30,835.06   30%   NO    10%    9/4/2014                 Active
Allianz   70503129   M   30-Apr    4/30/12    85,882.96    59,368.67         $26,514.29   31%   NO    10%    9/4/2014                 Active               Yes              2012
Allianz   70408973   M   1-Feb      2/1/12    47,874.98    33,057.89         $14,817.09   31%   NO    10%    9/4/2014                 Active               Yes              2013
Allianz   70190429   M   27-Oct   10/27/12   109,538.21    75,489.35         $34,048.86   31%   NO    10%   5/29/2014   $    9,380.00 Active
Allianz   6427580    M   4-May      5/4/12   185,556.66   126,570.71         $58,985.95   32%   NO    10%    9/4/2014                 Active               Yes              2014
Allianz   70362462   M   27-Oct   10/27/12    59,338.87    40,310.59         $19,028.28   32%   NO    10%    9/5/2014                 Active
Allianz   70337934   M   8-Sep      9/8/12   312,150.20   211,221.45        $100,928.75   32%   NO          5/29/2014                 Active
Allianz   70368239   M   14-Feb    2/14/12    66,062.35    44,697.54         $21,364.81   32%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70154887   M   13-Sep    9/13/12   211,343.13   121,016.00    n/a $90,327.13    43%   NO          5/29/2014   $    5,717.32 Active
Allianz   70188962   M   25-Oct   10/25/12   133,052.29    89,631.51         $43,420.78   33%   NO    10%   5/29/2014   $    4,747.54 Active
Allianz   70543066   A   27-Mar    3/27/12    91,214.49    61,286.35         $29,928.14   33%   NO    10%    9/5/2014                 Active
Allianz   70705763   M   19-Jan    1/19/12    55,647.91    37,387.14         $18,260.77   33%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70431265   M   22-Mar    3/22/12   120,456.13    80,918.99         $39,537.14   33%   NO    10%    9/5/2014                 Active
Allianz   30997843   M   27-Jun    6/27/12   102,916.63    69,123.16   3.00 $33,793.47    33%   NO    10%    9/5/2014                 Active               Yes              2014
Allianz   70381771   M   22-Jan    1/22/12    62,654.31    42,056.92         $20,597.39   33%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70623055   M   27-Jan    1/27/12   230,000.60   154,138.79         $75,861.81   33%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70154266   M   6-Oct     10/6/12    27,699.54    18,556.70          $9,142.84   33%   NO    10%    9/5/2014                 Active
Allianz   70147062   M   24-Aug    8/24/12    67,140.15    38,797.66    n/a $28,342.49    42%   NO    10%    9/5/2014                 Active               Yes              2014
Allianz   70063275   M   16-Mar    3/16/12    96,367.36    64,444.01         $31,923.35   33%   NO    10%    9/5/2014                 Active
Allianz   70451780   M   14-May    5/14/12    62,022.94    41,371.55         $20,651.39   33%   NO    10%    9/5/2014                 Active
Allianz   70372104   M   16-Nov   11/16/12    35,506.67    23,653.68         $11,852.99   33%   NO    10%    9/5/2014                 Active
Allianz   70446628   M   3-May      5/3/12    92,996.66    61,620.88         $31,375.78   34%   NO    10%    9/5/2014                 Active
Allianz   70080376   M   25-Apr    4/25/12    43,227.33    28,532.85         $14,694.48   34%   NO    10%    9/5/2014                 Active
Allianz   70267593   M   14-Apr    4/14/12    79,002.63    51,990.30         $27,012.33   34%   NO    10%    9/5/2014                 Active
Allianz   70269190   M   4-Apr      4/4/12    56,612.46    37,254.99         $19,357.47   34%   NO    10%    9/5/2014                 Active
Allianz   70195018   M   13-Jan    1/13/12   168,530.13   110,817.75         $57,712.38   34%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70401285   M   26-Jan    1/26/12    24,560.69    16,115.29          $8,445.40   34%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70141766   M   15-Aug    8/15/12    26,796.49    17,012.86   3.50   $9,783.63   37%   NO    10%    9/5/2014                 Active               Yes              2014
Allianz   70360863   M   19-Oct   10/19/12   107,409.61    70,335.86         $37,073.75   35%   NO    10%    9/5/2014                 Active
Allianz   30189057   M   28-Oct   10/28/02    88,814.01    58,064.17         $30,749.84   35%   NO    10%    9/5/2014                 Active
Allianz   70366199   M   1-Nov     11/1/12   132,484.87    86,576.50         $45,908.37   35%   NO    10%    9/5/2014                 Active
Allianz   70566803   M   23-May    5/23/12   117,046.18   118,048.58         -$1,002.40   -1%   YES                                   Active   Waller
Allianz   70290080   M   5-May      5/5/12    95,141.04    61,897.47         $33,243.57   35%   NO    10%    9/5/2014                 Active
Allianz   70371075   M   1-Dec     12/1/12    63,994.34    41,568.07   2.50 $22,426.27    35%   NO          2/26/2014 $      6,569.24 Active               Yes              2013
Allianz   70620476   M   21-Jan    1/21/12    78,566.54    50,995.96         $27,570.58   35%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70373677   M   22-Jan    1/22/12    21,683.78    14,013.19          $7,670.59   35%   NO    10%    9/5/2014                 Active               Yes              2013
Allianz   70360862   M   19-Oct   10/19/12    92,337.58    59,460.65         $32,876.93   36%   NO    10%    9/5/2014                 Active
Allianz   70016027   M   14-Jun    6/14/12   223,324.11   135,942.64    n/a $87,381.47    39%   NO    10%    9/5/2014                 Active
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Allianz           70325761     A   25-Jul    7/25/12    39,256.97    25,144.97   2.40    $14,112.00   36%   NO                   5/29/2014 $      3,059.63 Active   Yes   2014
Allianz           70024830     M   30-Apr    4/30/12   200,099.02   128,046.59   3.15    $72,052.43   36%   NO    10%            2/26/2014 $      6,520.48 Active   Yes   2013
Allianz           70447247     M   30-Apr    4/30/12   107,963.96    68,983.76           $38,980.20   36%   NO    10%             9/5/2014                 Active
Allianz           70451291     M   30-Apr    4/30/12   111,660.30    71,256.28           $40,404.02   36%   NO    10%             9/5/2014                 Active   Yes   2012
Allianz           70626217     M   21-Jan    1/21/12   133,585.11    85,124.30           $48,460.81   36%   NO    10%             9/5/2014                 Active   Yes   2013
Allianz           70245807     M   2-Feb      2/2/12    81,447.06    51,331.73           $30,115.33   37%   NO             yes                             Active   Yes   2013
Allianz           70062504     M   23-Mar    3/23/12   117,575.13    74,026.90           $43,548.23   37%   NO    10%             9/5/2014                 Active
Allianz           70704190     M   18-Dec   12/18/12   217,387.02   136,658.41           $80,728.61   37%   NO    10%             9/5/2014                 Active
Allianz           70160248     M   1-Sep      9/1/12   124,736.75    74,376.01   2.50    $50,360.74   40%   NO                   5/19/2014   $   10,017.30 Active   Yes   2014
Allianz           70478532     M   25-Jul    7/25/12    69,911.83    43,824.36   2.50    $26,087.47   37%   NO                   5/29/2014   $    5,000.00 Active   Yes   2014
Allianz           70017522     M   21-Sep    9/21/12   293,017.73   169,438.18    n/a   $123,579.55   42%   NO    10%             9/5/2014                 Active
Allianz           70611976     M   25-Nov   11/25/12    37,846.67    23,328.96           $14,517.71   38%   NO    10%             9/5/2014                 Active
Allianz           70411769     M   13-Mar    3/13/12   389,416.50   239,660.75          $149,755.75   38%   NO    10%             9/5/2014                 Active
Allianz           70452314     M   11-May    5/11/12   121,088.72    74,416.71           $46,672.01   39%   NO    10%             9/5/2014                 Active
Allianz           70248275     M   22-May    5/22/12    18,257.69    11,193.10            $7,064.59   39%   NO    10%             9/5/2014                 Active
Allianz           70469509     M   27-Jul    7/27/12    50,070.89    30,342.26   2.50    $19,728.63   39%   NO                   5/29/2014   $    4,600.00 Active   Yes   2014
Allianz           70425829     M   19-Mar    3/19/12   101,692.07    61,526.34           $40,165.73   39%   NO    10%             9/5/2014                 Active
Allianz           70128590     M   27-Jul    7/27/12    53,091.02    32,014.22   3.50    $21,076.80   40%   NO                   5/29/2014   $    1,683.26 Active   Yes   2014
Allianz           70298640     M   23-May    5/23/12   196,311.67   118,226.00           $78,085.67   40%   NO    10%             9/5/2014                 Active
Allianz           6681635      M   27-Aug    8/27/12     9,089.90     5,399.37   2.88     $3,690.53   41%   NO    10%             9/5/2014                 Active   Yes   2014
Allianz           70106330     M   8-Jul      7/8/12   309,693.23   183,847.01   2.50   $125,846.22   41%   NO    10%             9/5/2014                 Active   Yes   2014
Allianz           70532773     M   20-Feb    2/20/07   950,387.00   558,583.81          $391,803.19   41%   NO    10%             9/5/2014                 Active
Allianz           70312644     M   22-Jun    6/22/12   159,754.18    93,118.19   2.50    $66,635.99   42%   NO    10%             9/5/2014                 Active   Yes   2014
Allianz           70454717     M   24-May    5/24/12    64,582.35    37,071.45           $27,510.90   43%   NO    10%             9/5/2014                 Active
Allianz           70126201     M   8-Aug      8/8/12    96,832.94    55,392.91           $41,440.03   43%   NO    10%             9/5/2014                 Active
Allianz           70314701     M   27-Jun    6/27/12    79,169.91    44,850.31   2.50    $34,319.60   43%   NO    10%             9/5/2014                 Active   Yes   2014
Allianz           70126084     M   11-Aug    8/11/12   153,302.72    64,153.66    n/a    $89,149.06   58%   NO                   5/19/2014   $    8,620.14 Active   Yes   2014
Allstate          GA17057970   A   26-Mar    3/26/12   127,096.64    70,815.03   2.70    $56,281.61   44%   NO                                             Active   Yes   2013
American Equity   227821       M   8-Apr      4/8/12    34,666.72    33,973.39   2.90       $693.33    2%   NO     10%            9/8/2014   $    3,512.45 Active   Yes   2014
American Equity   639085       M   17-Apr    4/17/12   552,242.62   541,197.77   2.75    $11,044.85    2%   NO    entire          9/8/2014                 Active   Yes   2014
American Equity   618771       M   22-Aug    8/22/12    13,474.22    13,339.48   3.00       $134.74    1%   NO     10%            9/8/2014   $    1,350.26 Active   Yes   2013
American Equity   705866       M   1-Dec     12/1/12   232,873.97   222,553.08   3.05    $10,320.89    4%   NO     10%           5/15/2014   $   23,609.43 Active   Yes   2013
American Equity   546347       M   24-Feb    2/24/05    27,680.29    26,296.28   4.00     $1,384.01    5%   NO     10%            9/8/2014   $    2,768.02 Active   Yes   2014
American Equity   597580       M   15-Feb    2/15/12    50,357.45    47,839.58   2.95     $2,517.87    5%   NO     10%           5/29/2014                 Active   Yes   2014
American Equity   534288       M   14-Dec   12/14/12    42,926.92    40,682.73   2.95     $2,244.19    5%   NO                   5/29/2014                 Active   Yes   2013
American Equity   724811       M   6-Sep      9/6/12   367,324.23   342,782.41   2.90    $24,541.82    7%   NO                   5/15/2014   $   36,844.79 Active   Yes   2014
American Equity   580992       M   26-Sep    9/26/12     5,216.35     4,851.21   2.95       $365.14    7%   NO    10%             9/8/2014   $      536.63 Active   Yes   2013
American Equity   128672       M   13-Feb    2/13/12    16,205.23    15,070.87   3.00     $1,134.36    7%   NO    10%             9/8/2014   $    1,649.03 Active   Yes   2014
American Equity   150173       M   2-Jul      7/2/12    15,657.35    14,561.34   3.00     $1,096.01    7%   NO    10%             9/8/2014   $    1,575.53 Active   Yes   2014
American Equity   303696       M   28-Dec   12/28/12    45,113.28    41,955.36   3.00     $3,157.92    7%   NO                   5/29/2014                 Active   Yes   2013
American Equity   130648       M   20-Mar    3/20/02   105,054.66    97,700.84   3.00     $7,353.82    7%   NO                   5/19/2014   $   10,559.20 Active   Yes   2014
American Equity   121883       M   8-Jan      1/8/12    49,429.32    45,969.27   3.00     $3,460.05    7%   NO                   5/29/2014                 Active   Yes   2014
American Equity   743549       M   30-Jun    6/30/12    52,348.66    48,505.50   2.60     $3,843.16    7%   NO    10%             9/8/2014   $    5,264.02 Active   Yes   2014
American Equity   731083       M   28-Apr    4/28/12   150,604.47   139,547.05   2.60    $11,057.42    7%   YES   10%             9/8/2014   $   15,211.59 Active   Yes   2014
American Equity   121464       M   4-Mar      3/4/12    86,549.01    79,972.30   3.00     $6,576.71    8%   NO                   5/29/2014                 Active   Yes   2014
American Equity   570961       M   30-Aug    8/30/12    84,391.71    79,707.01   2.65     $4,684.70    6%   NO                   5/19/2014   $    9,302.46 Active   Yes   2014
American Equity   133709       M   8-May      5/8/12   172,781.41   159,379.26   3.00    $13,402.15    8%   NO    10%             9/8/2014   $   17,463.83 Active   Yes   2014
American Equity   144655       M   3-Jun      6/3/12   113,717.18   104,895.21   3.00     $8,821.97    8%   NO    10%             9/8/2014   $   11,469.75 Active   Yes   2014
American Equity   172326       M   31-Dec   12/31/12     8,961.20     8,154.70   3.00       $806.50    9%   NO    10%             9/8/2014   $      915.18 Active   Yes   2013
American Equity   159941       M   13-Aug    8/13/12    70,136.48    64,685.08   3.00     $5,451.40    8%   NO                   5/19/2014   $    7,740.73 Active   Yes   2014
American Equity   676478           23-Apr    4/23/08    65,467.02    59,301.59   3.00     $6,165.43    9%   NO    10%            5/29/2014                 Active   Yes   2014
American Equity   665741       M   29-Nov   11/29/12    48,938.53    44,318.71   3.05     $4,619.82    9%   NO    10%            5/29/2014                 Active   Yes   2013
American Equity   245310       M   11-Aug    8/11/12    48,526.80    44,159.39   3.00     $4,367.41    9%   NO    10%             9/8/2014   $    4,867.24 Active   Yes   2014
American Equity   704668       M   18-Nov   11/18/12    88,981.06    79,669.44   3.05     $9,311.62   10%   NO                   5/19/2014   $    8,633.81 Active   Yes   2013
American Equity   291280       M   29-Apr    4/29/12    85,131.72    75,697.19   3.00     $9,434.53   11%   NO    10%             9/8/2014   $    8,610.93 Active   Yes   2014
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American Equity        501052       M   2-Jun      6/2/12    36,590.74    32,535.34   3.00    $4,055.40   11%   NO   10%   7/25/2013   $    3,963.31   Active          Yes   2014
American Equity        582747       M   6-Oct     10/6/12    12,116.09    10,662.16   2.95    $1,453.93   12%   NO   10%    9/8/2014   $    1,245.46   Active          Yes   2013
American Equity        535806       M   24-Dec   12/24/12    74,433.78    65,352.84   2.95    $9,080.94   12%   NO   10%   5/19/2014   $    7,532.24   Active          Yes   2013
American Equity        535807       M   24-Dec   12/24/12    65,953.48    57,907.08   2.95    $8,046.40   12%   NO   10%   5/19/2014   $    6,674.09   Active          Yes   2013
American Equity        584029       M   17-Oct   10/17/12    20,400.89    17,687.69   2.95    $2,713.20   13%   NO   10%    9/8/2014   $    2,095.26   Active          Yes   2013
American Equity        555021       M   27-Apr    4/27/12   109,185.13    93,899.22   2.65   $15,285.91   14%   NO   10%    9/8/2014   $   11,045.69   Active          Yes   2014
American Equity        555024       M   27-Apr    4/27/12   120,542.06   103,666.18   2.65   $16,875.88   14%   NO   10%    9/8/2014   $   12,194.61   Active          Yes   2014
American Equity        555023       M   27-Apr    4/27/12   101,250.24    87,075.21   2.65   $14,175.03   14%   NO   10%    9/8/2014   $   10,242.96   Active          Yes   2014
American Equity        705245       M   1-Dec     12/1/12   340,329.22   291,307.83   3.05   $49,021.39   14%   NO   10%   5/15/2014   $   34,498.25   Active          Yes   2013
American Equity        330178       M   28-Jul    7/28/12     7,232.32     6,111.32   2.95    $1,121.00   15%   NO   10%    9/8/2014   $      748.01   Active          Yes   2013
American Equity        564001       M   13-Jun    6/13/12   111,789.61    94,448.04   3.00   $17,341.57   16%   NO   10%   7/12/2013   $   12,078.83   Active          Yes   2014
American Equity        544821       M   5-Apr      4/5/12    55,472.01    46,865.86   2.95    $8,606.15   16%   NO   10%   5/14/2013   $    6,000.53   Active          Yes   2014
American Equity        630770       M   20-Dec   12/20/12     8,989.90     7,506.57   3.15    $1,483.33   16%   NO   10%    9/8/2014   $      919.93   Active          Yes   2013
American Equity        654186       M   14-Aug    8/14/12    11,554.10     9,705.45   2.75    $1,848.65   16%   NO   10%    9/8/2014   $    1,158.33   Active          Yes   2014
American Equity        589748       M   17-Nov   11/17/12    31,009.66    25,684.17           $5,325.49   17%   NO         5/29/2014   $    3,348.41   Active          Yes   2013
American Equity        578880       M   18-Oct   10/18/12    67,378.78    55,804.71   2.95   $11,574.07   17%   NO         5/29/2014                   Active          Yes   2013
American Equity        787705       M   4-Mar      3/4/12   110,777.54    91,475.07   2.70   $19,302.47   17%   NO         5/19/2014   $   11,141.81   Active          Yes   2014
American Equity        778275       M   9-Mar      3/9/12    40,324.72    33,298.32   2.70    $7,026.40   17%   NO         5/29/2014                   Active          Yes   2014
American Equity        709312       M   25-Jan    1/25/12    24,234.02    19,973.90   3.05    $4,260.12   18%   NO   10%    9/8/2014   $    2,472.58   Active          Yes   2014
American Equity        781303       M   26-Jan    1/26/12    24,124.14    19,877.12   2.70    $4,247.02   18%   NO   10%    9/8/2014   $    2,453.97   Active          Yes   2014
American Equity        778274       M   28-Jan    1/28/12    17,755.17    14,629.39   2.70    $3,125.78   18%   NO   10%    9/8/2014   $    1,805.70   Active          Yes   2014
American Equity        726087       M   20-Apr    4/20/12   202,753.00   166,789.58   2.85   $35,963.42   18%   NO         5/15/2014   $   20,275.30   Active          Yes   2014
American Equity        648407       M   19-Jul    7/19/12    75,739.53    62,279.49   2.75   $13,460.04   18%   NO         5/29/2014   $    8,385.76   Active          Yes   2014
American Equity        724097       M   22-Apr    4/22/12   264,766.69   219,263.28   2.60   $45,503.41   17%   NO                                     Active   Wall   Yes   2014
American Equity        779912       M   2-Feb      2/2/10    29,276.06    23,982.55   2.90    $5,296.51   18%        10%    9/8/2014   $    2,980.12   Active          Yes   2014
American Equity        622468       M   7-Nov     11/7/12    42,109.76    34,411.82   3.15    $7,697.94   18%   NO         5/29/2014   $    4,544.46   Active          Yes   2013
American Equity        622469       M   26-Sep    9/26/12    76,355.93    62,392.82   3.15   $13,963.11   18%   NO         5/19/2014   $    7,791.57   Active          Yes   2013
American Equity        736988       M   20-May    5/20/12    81,010.18    65,857.66   2.60   $15,152.52   19%   NO   10%    9/8/2014   $    8,169.66   Active          Yes   2014
American Equity        669880       M   29-Jan    1/29/12    14,615.42    11,862.39   3.05    $2,753.03   19%   NO   10%    9/8/2014   $    1,489.59   Active          Yes   2014
American Equity        681813       M   29-Apr    4/29/12    64,518.65    52,364.46   2.75   $12,154.19   19%   NO   10%    9/8/2014   $    6,519.83   Active          Yes   2014
American Equity        661268       M   16-Oct   10/16/12    13,683.91    11,105.94   3.05    $2,577.97   19%   NO   10%    9/8/2014   $    1,406.76   Active          Yes   2013
American Equity        674592       M   11-Mar    3/11/12    41,497.75    33,678.80   3.05    $7,818.95   19%   NO   10%    9/8/2014                   Active          Yes   2014
American Equity        682926       M   17-Jun    6/17/12   182,628.23   148,089.68   2.75   $34,538.55   19%   NO   10%    9/8/2014   $   18,388.13   Active          Yes   2014 $   733.45
American Equity        674591       M   11-Mar    3/11/12    17,997.42    14,592.76   3.05    $3,404.66   19%   NO   10%    9/8/2014   $    1,828.11   Active          Yes   2014
American Equity        684637       M   22-May    5/22/12    94,237.67    76,404.68   2.75   $17,832.99   19%   NO   10%    9/8/2014   $    9,506.78   Active          Yes   2014
American Equity        743815           22-Jun    6/22/09     8,476.82     6,833.06   2.85    $1,643.76   19%   NO   10%    9/8/2014   $      853.37   Active          Yes   2014
American Equity        712013       A   20-Feb    2/20/12    28,589.58    23,043.90   3.15    $5,545.68   19%   NO   10%    9/8/2014   $    2,910.18   Active          Yes   2014
American Equity        703354       M   25-Nov   11/25/12    51,804.33    41,714.97   3.05   $10,089.36   19%   NO         5/29/2014                   Active          Yes   2013
American Equity        721713       M   1-May      5/1/12    54,502.37    43,886.41   2.85   $10,615.96   19%   NO   10%    9/8/2014   $    5,508.87   Active          Yes   2014
American Equity        721712       M   30-Mar    3/30/12   119,865.33    96,516.61   3.15   $23,348.72   19%   NO   10%   5/19/2014                   Active          Yes   2014
American Equity        700455       M   28-Oct   10/28/12   343,027.76   276,207.58   3.05   $66,820.18   19%   NO         5/15/2014   $   34,869.29   Active          Yes   2013
American Equity        715302       M   27-Mar    3/27/12    50,427.78    40,604.65   3.15    $9,823.13   19%   NO   10%    9/8/2014   $    5,117.88   Active          Yes   2014
American Equity        701373       M   17-Oct   10/17/12   300,009.98   241,564.76   3.05   $58,445.22   19%   NO         5/19/2014   $   30,541.68   Active          Yes   2013
American Equity        715636       M   12-Mar    3/12/12    28,489.66    22,939.30   3.15    $5,550.36   19%   NO   10%    9/8/2014   $    2,895.08   Active          Yes   2014
American Equity        808590       M   6-Jul      7/6/12    42,002.39    33,586.13   2.50    $8,416.26   20%   NO   10%    9/8/2014   $    4,221.85   Active          Yes   2014 $   189.87
American Equity        582752       M   21-Oct   10/21/12    26,846.33    22,963.91   2.95    $3,882.42   14%   NO   10%    9/8/2014   $    2,719.39   Active          Yes   2013
American General       HDA030846F   M   30-Apr    4/30/12    51,398.42    46,592.12   3.00    $4,806.30    9%   NO   10%   6/28/2013   $    5,441.17   Active          Yes   2014
American Investors -
                       513148       M   19-May    5/19/12    11,351.40    10,919.76   2.00
Aviva                                                                                          $431.64    4%    NO   10%    9/9/2014                   Active          Yes   2014
American Investors -
                       454434       M   3-Apr      4/3/12    51,465.36    48,973.40   2.00
Aviva                                                                                         $2,491.96   5%    NO   10%    9/9/2014                   Active          Yes   2014
American Investors -
                       472496       M   3-Feb      2/3/12    73,701.32    69,527.18   2.00
Aviva                                                                                         $4,174.14   6%    NO         4/17/2014 $      7,370.13 Active            Yes   2014
American Investors -
                       549664       M   16-Oct   10/16/12     9,905.91     9,335.80
Aviva                                                                                          $570.11    6%    NO   10%    9/9/2014                   Active          Yes   2013
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American Investors -
                       612307            M   21-Jan          1/21/12    17,255.58    13,452.70                2.00
Aviva                                                                                                                 $3,802.88   22%   NO    10%       4/2/2014                   Active                   Yes   2014
American National      14866396          M   11-Jan          1/11/12    43,243.22    40,361.14                1.40    $2,882.08    7%   NO    10%      7/15/2014                   Active                   Yes   2014
American National      14866395          M   11-Jan          1/11/12    43,243.22    40,361.14                1.40    $2,882.08    7%   NO             7/15/2014                   Active                   Yes   2014
American National      14866394          M   11-Jan          1/11/12    34,604.91    32,044.15                1.40    $2,560.76    7%   NO    10%      5/27/2014 $      4,313.48   Active                   Yes   2014
American National      LAR0078129        M   13-Aug          8/13/12   547,365.55   506,071.01                1.90   $41,294.54    8%   NO    10%      2/11/2014 $     55,249.75   Active                   Yes   2013
American National      L0081359              25-Aug          8/25/10    93,889.01    86,284.00                1.49    $7,605.01    8%   NO    10%      2/11/2014 $      9,454.23   Active                   Yes   2014
Americo                R0041489          M   30-Apr          4/30/12    62,803.53    54,607.67                N/A     $8,195.86   13%   NO                                         Active                   Yes   2013
Americo                R0044957          M   30-Apr          4/30/12    44,485.51    38,479.96                N/A     $6,005.55   14%   NO                                         Active                   Yes   2013
Assurity               4350434875        M   3-Feb            2/3/12   126,708.95   126,708.95   182,375.00               $0.00    0%   NO                                         Active   Life Ins. PolicyYes   2013
Athene                 MA00071224        M   24-Sep          9/24/10    34,390.47    31,380.62                N/A     $3,009.85    9%   NO     10%      9/8/2014                   Active                   Yes   2013
Aviva                  30053             M   1-Mar           2/29/12    50,601.70    51,255.28    61,754.24   N/A      -$653.58   -1%   NO     10%      9/8/2014   $    5,060.17   Active                   Yes   2014
Aviva                           405759   M         25-Jun    6/25/02      114,459   114,458.55                            $0.00    0%   NO    entire   8/12/2014                   Active                   Yes   2013
Aviva                  B038479           M   10-Jul          7/10/12    39,013.78    38,912.47    49,659.05   3.00      $101.31    0%   NO     10%      9/8/2014   $    3,901.38   Active                   Yes   2014
Aviva                  B039154           M   4-Aug            8/4/12    92,505.77    90,277.59   112,922.66   N/A     $2,228.18    2%   NO     10%      9/8/2014   $    9,250.58   Active                   Yes   2014
Aviva                  461454            M   25-Jul          7/25/12    46,604.23    45,242.25                N/A     $1,361.98    3%   NO     10%      9/8/2014   $    4,982.35   Active                   Yes   2013
Aviva                  471677            M   10-Feb          2/10/12   239,274.37   231,725.63                N/A     $7,548.74    3%   NO     10%      9/8/2014   $   22,356.58   Active                   Yes   2014
Aviva                  190752110         M   13-Mar          3/13/12   102,235.33    98,244.85                2.00    $3,990.48    4%   NO     10%     3/21/2014   $   10,223.53   Active                   Yes   2014
Aviva                  29838             M   7-Mar            3/7/12   185,036.05   177,627.01                N/A     $7,409.04    4%   NO     10%      9/8/2014                   Active                   Yes   2014
Aviva                  459474            M   3-Jul            7/3/12    19,438.93    18,659.75                2.00      $779.18    4%   NO             4/17/2014   $    2,113.98   Active                   Yes   2014
Aviva                  089354            M   17-May          5/17/12   634,928.45   608,294.16                2.00   $26,634.29    4%   NO    10%       9/8/2014                   Active                   Yes   2014
Aviva                  445807            M   3-Nov           11/3/12    57,373.55    54,866.62                2.00    $2,506.93    4%   NO             3/21/2014   $    5,737.36   Active                   Yes   2013
Aviva                  550120            M   23-Oct         10/23/12    48,518.70    46,389.95                2.00    $2,128.75    4%   NO             4/17/2014   $    4,851.87   Active                   Yes   2013
Aviva                  450931            M   10-Feb          2/10/12    21,842.14    20,799.28                2.00    $1,042.86    5%   NO    10%       9/8/2014   $    2,184.21   Active                   Yes   2014
Aviva                  678018            M   6-Apr            4/6/12    83,746.78    79,691.12                3.50    $4,055.66    5%   NO    10%       9/9/2014   $    3,889.94   Active                   Yes   2014
Aviva                  187592            M   5-Nov           11/5/12    51,918.29    49,358.72                2.00    $2,559.57    5%   NO             4/23/2014   $    5,191.83   Active                   Yes   2013
Aviva                  146514            M   23-Jul          7/23/12    96,568.45    91,740.03                2.00    $4,828.42    5%   NO             2/28/2014   $   10,645.81   Active                   Yes   2014
Aviva                  494925            M   25-Jul          7/25/12    70,732.41    73,137.31                2.00   -$2,404.90   -3%   NO             3/21/2014   $    7,705.79   Active                   Yes   2013
Aviva                  501350            M   3-Oct           10/3/12    20,123.69    19,094.61                2.00    $1,029.08    5%   NO    10%       9/8/2014   $    2,012.37   Active                   Yes   2013
Aviva                  472180            M   3-Feb            2/3/05    24,618.10    23,169.08                N/A     $1,449.02    6%   NO             3/14/2014                   Active                   Yes   2014
Aviva                  526437            M   27-Dec         12/27/12    37,617.79    35,328.21                2.00    $2,289.58    6%   NO             3/21/2014   $    3,766.89   Active                   Yes   2013
Aviva                  551805            M   15-Nov         11/15/12    44,430.26    41,719.47                2.00    $2,710.79    6%   NO             3/21/2014   $    4,443.03   Active                   Yes   2013
Aviva                  044072            M   22-Oct         10/22/12   206,630.52   191,359.66                N/A    $15,270.86    7%   NO    10%       9/8/2014   $   20,663.05   Active                   Yes   2013
Aviva                  555422            M   11-Feb          2/11/12    22,300.99    20,624.24                2.00    $1,676.75    8%   NO    10%       9/8/2014   $    2,230.10   Active                   Yes   2014
Aviva                   B042054          M   27-Oct         10/27/12   121,994.44   112,642.65                N/A     $9,351.79    8%   NO              9/8/2014   $   12,199.44   Active                   Yes   2013
Aviva                  551502            M   24-Jan          1/24/12   361,237.71   332,969.96                2.00   $28,267.75    8%   NO    10%      2/11/2014   $   36,123.77   Active                   Yes   2014
Aviva                  B96754            M   22-Sep          9/22/12    82,283.08    76,654.92                N/A     $5,628.16    7%   NO    10%       9/8/2014                   Active                   Yes   2014
Aviva                  554121            M   19-Dec         12/19/12    69,506.25    63,922.08                2.00    $5,584.17    8%   NO    10%       9/8/2014   $    6,950.63   Active                   Yes   2013
Aviva                  474755            M   25-Feb          2/25/12    58,722.10    53,965.61                2.00    $4,756.49    8%   NO    10%       9/8/2014   $    5,872.21   Active                   Yes   2014
Aviva                  033111            M   28-Mar          3/28/12    30,791.30    28,161.07                N/A     $2,630.23    9%   NO    10%       9/8/2014   $    3,079.13   Active                   Yes   2014
Aviva                  110826            M   12-Apr          4/12/12    37,194.34    33,763.82                2.00    $3,430.52    9%   NO    10%       9/8/2014   $    3,719.43   Active                   Yes   2014
Aviva                  618157            M   15-Apr          4/15/12    22,020.80    19,875.84                2.00    $2,144.96   10%   NO    10%       9/8/2014   $    2,202.08   Active                   Yes   2014
Aviva                  V072796           M   21-Mar          3/21/12    64,989.40    60,181.30                2.00    $4,808.10    7%   NO             4/17/2014   $    7,070.22   Active                   Yes   2014
Aviva                  B044331           M   27-Oct         10/27/12    31,216.04    28,137.78                N/A     $3,078.26   10%   NO    10%       9/8/2014   $    3,121.60   Active                   Yes   2013
Aviva                  116569            M   3-Oct           10/3/12   378,344.28   339,508.02                2.00   $38,836.26   10%   NO             4/17/2014   $   37,834.43   Active                   Yes   2013
Aviva                  142609            M   10-Jun          6/10/12   131,206.10   117,155.40                2.00   $14,050.70   11%   NO    10%       9/8/2014   $   13,120.61   Active                   Yes   2014
Aviva                  B081466           M   15-Apr          4/15/12   243,006.32   216,411.71                N/A    $26,594.61   11%   NO    10%       9/8/2014   $   24,300.63   Active                   Yes   2014
Aviva                  47612             A   31-Dec         12/31/11    33,450.85    29,547.77                N/A     $3,903.08   12%   NO    10%       9/8/2014   $    3,345.09   Active                   Yes   2013
Aviva                  069494            M   1-Feb            2/1/12   293,523.04   259,075.17                N/A    $34,447.87   12%   NO    10%       9/8/2014                   Active                   Yes   2014
Aviva                  045644            M   31-Dec         12/31/11    49,905.28    43,764.93                N/A     $6,140.35   12%   NO    10%       9/8/2014   $    4,990.53   Active                   Yes   2013
Aviva                  561561            M   20-May          5/20/12   101,630.52    88,751.25                2.00   $12,879.27   13%   NO             2/11/2014   $   10,163.05   Active                   Yes   2014
Aviva                  096990            M   5-Oct           10/5/12    16,515.12    14,317.48                2.00    $2,197.64   13%   NO    10%       9/8/2014   $    1,651.51   Active                   Yes   2013
Aviva                  50312             M   4-Feb            2/4/12    10,557.72     9,054.65                N/A     $1,503.07   14%   YES   10%       9/8/2014   $    1,055.77   Active                   Yes   2014
Aviva                  145398                18-Jun          6/18/08    42,438.15    36,296.20                2.00    $6,141.95   14%   NO    10%       9/8/2014   $    4,243.82   Active   additional annuity
                                                                                                                                                                                                            Yes   2014
Aviva                  051883            M   19-Feb          2/19/12   198,828.15   169,460.39                N/A    $29,367.76   15%   YES   10%       9/8/2014   $   19,882.82   Active                   Yes   2014
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Aviva                 84581        M    18-May    5/18/12   139,099.54   118,267.99                N/A    $20,831.55   15%   NO    10%           9/8/2014   $   13,909.95   Active                   Yes      2014
Aviva                 46561        M    25-Jan    1/25/09   187,847.87   159,539.74                N/A    $28,308.13   15%   YES   10%          3/26/2014   $   16,906.31   Active                   Yes      2014
Aviva                 582850       M    4-Sep      9/4/12   146,651.59   127,446.40                2.00   $19,205.19   13%   NO                 4/17/2014   $   15,954.28   Active                   Yes      2014
Aviva                 582851       M    4-Sep      9/4/12   158,543.75   138,405.71                2.00   $20,138.04   13%   NO                 4/17/2014   $   17,248.03   Active                   Yes      2014
Aviva                 638557       M    6-Oct     10/6/12    48,993.28    40,553.78                2.00    $8,439.50   17%   NO                  4/2/2014                   Active                   Yes      2013
Aviva                 193057       M    1-Jan      1/1/12    85,525.72    70,243.44                2.00   $15,282.28   18%   NO    10%          2/11/2014   $    8,552.57   Active                   Yes      2014
Aviva                 37290        M    15-Jul    7/15/12   127,090.90   126,710.32   160,700.73   N/A       $380.58    0%   NO    10%           9/8/2014   $   12,709.09   Active                   Yes      2014
Aviva                 537101       M    14-May    5/14/12    19,718.79    18,917.54                N/A       $801.25    4%   NO    10%           9/8/2014   $    1,971.88   Active                   Yes      2014
Aviva                 3000608441   M    6-Jun      6/6/12    35,417.06    31,710.86                N/A     $3,706.20   10%   NO                  4/2/2014                   Active   Life Ins. PolicyYes      2014
Aviva                 156719       A    1-Oct     10/1/12    74,786.95    61,661.68                2.00   $13,125.27   18%   NO                 4/23/2014   $    7,478.70   Active                   Yes      2013
Bankers               350001126    M    19-Dec   12/19/12   116,941.16   109,445.96                N/A     $7,495.20    6%   NO    10%          7/22/2013   $   10,000.00   Active                   Yes      2013
Equitrust             EQ0001067442F M   18-Jun    6/18/12   184,941.48   177,543.36
                                                                                                           $7,398.12   4%    NO    10%           9/9/2014                   Active      17070.35 Yes          2013
Equitrust             EQ0001067270F M   22-May    5/22/12    64,381.83    61,161.95
                                                                                                           $3,219.88   5%    NO                 3/17/2014                   Active                  Yes       2013
Equitrust             EQ0001116670F M   20-Mar    3/20/12    43,147.03    40,776.53
                                                                                                           $2,370.50   5%    NO                 3/17/2014 $      4,439.83 Active                    Yes       2013
Equitrust             EQ0001028465F M   30-Jun    6/30/12    37,616.04    34,982.91
                                                                                                           $2,633.13   7%    NO    10%           9/9/2014 $      3,476.45 Active     proceeds keptYes
                                                                                                                                                                                                   in Miami   2013
Equitrust             EQ0001116872F M   16-Apr    4/16/12   207,667.73   191,878.66
                                                                                                          $15,789.07   8%    NO                 3/17/2014 $     21,358.63 Active                    Yes       2013
Equitrust             EQ0001088085F M   25-Feb    2/25/12   230,312.17   208,547.67
                                                                                                          $21,764.50   9%    NO    10%          3/17/2014 $     21,578.40 Active
Equitrust             EQ0001089156F A   24-Mar    3/24/12    78,175.28    69,141.24
                                                                                                           $9,034.04   12%   NO    10%           9/9/2014 $      7,251.27 Active     proceeds keptYes
                                                                                                                                                                                                   in Miami   2013
Equitrust             EQ0001039743F M   2-Aug      8/2/12   362,729.07   319,201.58
                                                                                                          $43,527.49   12%   NO                 3/17/2014 $     36,717.59 Active
Equitrust             EQ0001020833F M   26-Sep    9/26/12    85,419.49    75,169.15                2.30
                                                                                                          $10,250.34   12%   NO                 3/17/2014 $      8,541.95 Active                    Yes       2013
Equitrust             EQ0001066005F M   11-May    5/11/12    24,343.04    20,448.15
                                                                                                           $3,894.89   16%   NO    10%           9/9/2014 $      2,254.80 Active                    Yes       2013
Equitrust             EQ0001125395F M   30-Jun    6/30/12   197,952.73   162,345.98
                                                                                                          $35,606.75   18%   NO                 3/17/2014 $     21,885.77 Active
Equitrust             EQ0001119216F M   7-May      5/7/12    93,937.16    77,028.47
                                                                                                          $16,908.69   18%   NO                 3/17/2014 $      9,393.72 Active                    Yes       2013
Equitrust             EQ0001129590F M   23-May    5/23/12    82,723.11    67,020.03
                                                                                                          $15,703.08   19%   NO                 3/17/2014 $      8,506.74 Active
Equitrust             EQ0001017083F M   21-Jun    6/21/12    56,242.54    49,493.44
                                                                                                           $6,749.10   12%   NO    10%           9/9/2014                   Active                  Yes       2013
Equitrust             EQ0001099743F M   25-Jul    7/25/11    35,648.02    31,013.77
                                                                                                           $4,634.25   13%   NO                 3/17/2014 $      3,622.78 Active
Equitrust             EQ0001080489F M   30-Jun    6/30/12    32,049.83    27,882.63
                                                                                                           $4,167.20   13%   NO    10%           9/9/2014   $    2,963.34   Active
Fidelity & Guaranty   L9052369     M    1-Aug      8/1/12    28,503.26    27,477.14                3.00    $1,026.12    4%   NO    10%          2/11/2014   $    3,042.73   Active                  Yes       2014
Fidelity & Guaranty   R0016350     M    16-Oct   10/16/12    43,989.12    40,821.90                1.00    $3,167.22    7%   NO    10%           3/6/2014   $    4,414.00   Active                  Yes       2013
Fidelity & Guaranty   R0010636     M    15-Aug    8/15/12   102,026.88    92,844.46                1.15    $9,182.42    9%   NO    10%           3/5/2014   $   10,202.00   Active                  Yes       2013
Fidelity & Guaranty   L9117375     M    1-Apr      4/1/06    26,189.66    23,812.10                        $2,377.56    9%   NO    10%           5/9/2014   $    1,162.75   Active                  Yes       2014
Fidelity & Guaranty   L9219272     M    15-Oct   10/15/12    40,868.49    36,822.51                1.10    $4,045.98   10%   NO    10%          2/11/2014   $    4,086.84   Active                  Yes       2013
Fidelity & Guaranty   L9231992     M    27-Feb    2/27/12    58,536.83    51,723.09                1.00    $6,813.74   12%   NO    10%          4/17/2014                   Active                  Yes       2014
Fidelity & Guaranty   L9226816     M    8-Oct     10/8/12    32,528.75    27,622.72                2.15    $4,906.03   15%   NO    10%          2/11/2014   $    3,035.46   Active                  Yes       2013
Forethought           200038114         26-Nov   11/26/08    15,991.03    15,191.48                N/A       $799.55    5%          10   1500    2/5/2014   $    1,599.10   Active                  Yes       2013
Forethought           200048834    M    31-Dec   12/31/11    47,495.42    45,120.65                2.00    $2,374.77    5%   NO    10%   4500    2/5/2014   $    4,749.54   Active                  Yes       2013
Forethought           200044702    M    18-Mar    3/18/12    23,671.38    22,487.81                2.00    $1,183.57    5%   NO    10%           9/9/2014   $    2,367.13   Active                  Yes       2014
Forethought           200080144    M    25-Aug    8/25/12    35,508.00    33,271.00                1.00    $2,237.00    6%   NO    10%   3300    2/5/2014   $    3,550.80   Active                  Yes       2013
Forethought           200074386    M    1-Sep      9/1/12    56,641.72    53,073.29                1.00    $3,568.43    6%   NO    10%   5300    2/5/2014   $    5,664.17   Active                  Yes       2013
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Forethought        200053905     M   16-Jun    6/16/12    25,423.17    23,435.92                          $1,987.25    8%   NO   10%               9/9/2014 $      2,542.31 Active               Yes      2014 $   338.40
Forethought        200107699     M   23-Mar    3/23/11    49,733.22    44,759.90                  1.00    $4,973.32   10%   NO                                              Active   Wall        Yes      2014
Forethought        200057597     M   24-Jun    6/24/12    23,291.55    21,428.23                  1.00    $1,863.32    8%   NO   10%               9/9/2014   $    2,329.15 Active               Yes      2014
Forethought        200066137     M   15-Jul    7/15/12    73,044.12    67,200.59                  1.00    $5,843.53    8%   NO   10%               9/9/2014   $    7,304.41 Active               Yes      2014
Forethought        200044080     M   13-May    5/13/12    56,390.12    51,878.91                  1.00    $4,511.21    8%   NO                     2/3/2014   $    6,198.37 Active               Yes      2014
Forethought        200056050     M   15-Jul    7/15/12   138,530.64   127,448.18                  1.00   $11,082.46    8%   NO   10%               9/9/2014   $   13,863.07 Active               Yes      2014
Forethought        200060435     M   16-Dec   12/16/09    35,810.48    32,587.54                  1.00    $3,222.94    9%   NO                     2/3/2014   $    3,581.04 Active               Yes      2013
Forethought        200062586     A   12-May    5/12/12    92,623.15    84,287.07                  1.00    $8,336.08    9%   NO   10%               9/9/2014   $    9,262.31 Active               Yes      2014
Forethought        200068311     M   3-Dec     12/3/11    89,759.24    81,680.91                  1.00    $8,078.33    9%   NO   10%      8100     2/5/2014   $    8,975.92 Active               Yes      2013
Forethought        200059276     A   14-Apr    4/14/12    23,233.56    21,142.54                  1.00    $2,091.02    9%   NO   10%               9/9/2014   $    2,323.35 Active               Yes      2014
Forethought        200069030     M   16-May    5/16/12   153,070.68   139,294.32                  1.00   $13,776.36    9%   NO   10%               9/9/2014   $   15,307.06 Active               Yes      2014 $   506.64
Forethought        200050661     M   21-Apr    4/21/12   161,653.89   147,105.04                  1.00   $14,548.85    9%   NO   10%               9/9/2014   $   16,165.38 Active               Yes      2014
Forethought        200052451     A   3-Mar      3/3/12    30,789.00    28,017.99                  1.00    $2,771.01    9%   NO                    2/24/2014   $    3,383.58 Active               Yes      2014
Forethought        200069545     M   22-Jul    7/22/12    88,973.73    80,966.09                  1.00    $8,007.64    9%   NO   10%      8800     2/5/2014   $    8,897.37 Active               Yes      2013
Forethought        200055156     M   2-Sep      9/2/12    48,384.75    44,030.12                  1.00    $4,354.63    9%   NO                     2/3/2014   $    4,838.47 Active               Yes      2013
Forethought        200108704     M   30-Mar    3/30/12    91,635.70    82,472.13                  1.00    $9,163.57   10%   NO                     4/1/2014   $    9,163.57 Active               Yes      2014
Forethought        200111350     M   4-May      5/4/12   109,371.09    98,433.98                  1.00   $10,937.11   10%   NO   10%               9/9/2014   $   10,937.10 Active               Yes      2014
Forethought        200092201     M   6-Oct     10/6/12    90,072.93    81,065.63                  1.00    $9,007.30   10%   NO                     2/5/2014   $    9,007.29 Active               Yes      2013
Forethought        200118213     M   9-Sep      9/9/12    31,555.21    28,084.14                  1.00    $3,471.07   11%   NO   10%       2800    2/5/2014   $    3,155.52 Active               Yes      2013
Forethought        200116131     M   3-Aug      8/3/12    68,865.21    61,290.04                  1.00    $7,575.17   11%   NO   10%       6200    2/5/2014   $    6,886.52 Active               Yes      2013
Forethought        200126493     M   5-Jan      1/5/12   146,837.47   130,685.35                  1.00   $16,152.12   11%   NO   10%      13000    2/5/2014   $   14,683.74 Active               Yes      2014
Forethought        200057023     M   16-Sep    9/16/12    24,504.00    21,808.56                          $2,695.44   11%   NO                     2/3/2014   $    2,187.52 Active               Yes      2013
Forethought        200126918     M   27-Dec   12/27/11   103,539.43    92,150.09                  1.00   $11,389.34   11%   NO   10%       9200    2/5/2014   $   10,353.94 Active               Yes      2013
Forethought        200094796     M   27-Oct   10/27/12   158,569.52   140,519.03                  1.00   $18,050.49   11%   NO   10%      14000    2/5/2014   $   15,856.95 Active               Yes      2013
Forethought        200066412     A   3-Jun      6/3/12    35,994.38    25,590.68                  1.00   $10,403.70   29%   NO   10%               9/9/2014   $    2,599.43 Active               Yes      2014
Forethought        200046956     M   16-Feb    2/16/12    45,498.29    43,223.38                  2.00    $2,274.91    5%   NO                     2/3/2014   $    4,549.82 Active               Yes      2014
Forethought        200064880     A   16-Sep    9/16/12    55,152.44    50,188.72                  1.00    $4,963.72    9%   NO   10%      5000     2/5/2014   $    5,515.24 Active               Yes      2013
Genworth           J007159       M   20-Dec   12/20/12    36,456.33    32,028.33                   N/A    $4,428.00   12%   NO                                              Active               Yes      2013
Great American     1195020132    M   3-Dec     12/3/11   162,133.41   156,271.66                N/A       $5,861.75    4%   NO   10%              3/30/2014   $   15,589.75 Active               Yes      2013
Great American     1195020132    M   3-Dec     12/3/11   172,394.60   164,958.55                          $7,436.05    4%   NO                    3/14/2014                 Active
Great American     1192003682    M   18-Nov   11/18/10   291,453.97   273,422.60                  1.00   $18,031.37    6%   NO   10%              7/16/2013   $   28,879.28 Active                Yes     2014
Great American     1195000256    M   30-Dec   12/30/11    16,554.71    15,274.72                  3.00    $1,279.99    8%   NO   10%              7/29/2013   $    1,677.07 Active                Yes     2014
Great American     1195037675    M   6-May      5/6/12   113,738.45    99,297.08                  2.75   $14,441.37   13%   NO                    3/30/2014   $   12,258.50 Active                Yes     2014
Guggenheim         0200234010    M   4-Aug      8/4/12    88,063.40    78,552.55                  N/A     $9,510.85   11%   NO                                $    9,169.66 Active                Yes     2013
ING                90329774      M   21-Jul    7/21/12    35,360.21    35,360.21                  N/A         $0.00    0%   NO   entire           8/14/2014                 Active                Yes     2014
ING                C006147-MS    M   29-Mar    3/29/12     2,660.10     2,630.02                  N/A        $30.08    1%   NO   entire           8/14/2014                 Active                Yes     2014
ING                90285357      M   15-Apr    4/15/12    93,585.08    90,233.33                  2.00    $3,351.75    4%   NO                     4/2/2014                 Active                Yes     2014
ING                90323368      M   24-Jul    7/24/12    44,076.25    41,616.42                  N/A     $2,459.83    6%   NO                     4/2/2014                 Active                Yes     2014
ING                90257433      M   3-Jan      1/3/13    84,350.77    77,602.71                  1.55    $6,748.06    8%   NO   10%              2/19/2014                 Active                Yes     2014
ING                90257430      M   3-Jan      1/3/13    77,636.23    71,425.33                  1.60    $6,210.90    8%   NO   10%              2/19/2014                 Active                Yes     2014
ING                90257431      M   3-Jan      1/3/13    86,400.71    79,488.65                  1.60    $6,912.06    8%   NO   10%              2/19/2014                 Active                Yes     2014
ING                90322732      M   20-May    5/20/02    98,894.42    89,965.63                  1.75    $8,928.79    9%   NO                    4/23/2014 $     10,966.30 Active                Yes     2014
ING                C058724-LM    M   2-Nov     11/2/12   425,867.93   425,355.85   504,172.86     N/A       $512.08    0%   NO    10%              9/9/2014                 Active                Yes     2014 $ 512.08
ING                C0284750Y     M   10-Aug    8/10/12   240,199.52   240,199.52   442,366.00     N/A         $0.00    0%   NO    10%              9/9/2014 $     12,642.08 Active                Yes     2014 $ 367.84
ING                90293052      M   8-Jul      7/8/12    91,233.56    88,434.03                  N/A     $2,799.53    3%   NO    10%              9/9/2014                 Active                Yes     2014
ING                90322820      M   17-Jun    6/17/09    99,936.12    92,946.21                  N/A     $6,989.91    7%   NO    10%              9/9/2014                 Active                Yes     2014
Investors In       C0026798      M   12-Nov   11/12/08    36,112.52    33,870.74                  N/A     $2,241.78    6%   NO    10%              9/9/2014                 Active                Yes     2014
Jackson National   009210848A    M   24-Jan    1/24/05    82,521.92    81,405.30                  N/A     $1,116.62    1%   NO   entire           8/14/2014                 Active                Yes     2014
Jackson National   007125224A    Q   13-Jul    7/13/12    63,214.88    61,452.44                  N/A     $1,762.44    3%   NO    10%              9/9/2014                 Active                Yes     2013
Jackson National   007129677A    Q   28-Dec   12/28/12    13,926.89    13,397.21                            $529.68    4%   NO    10%              9/9/2014                 Active                Yes     2013
Jackson National   1009563411    M   13-Jul    7/13/12    77,483.80    73,222.19                  N/A     $4,261.61    6%   NO    10%              9/9/2014                 Active                Yes     2013
Jackson National   1002232207    M   30-Apr    4/30/12    40,101.32    36,892.92                          $3,208.40    8%   NO    10%              9/9/2014                 Active   4,017.60/1-28-2013
                                                                                                                                                                                                  Yes     2013
John Hancock       2617075       M   28-Sep    9/28/12   422,051.66   422,051.66   612,000.00     N/A         $0.00    0%   NO    10%              9/9/2014 $     45,000.00 Active                Yes     2014 $ 3,510.00
Liberty            00000082098   M   27-Jul    7/27/12    55,115.14    52,543.89                  3.00    $2,571.25    5%   NO                                              Active                Yes     2013
Lincoln Benefit    01N1202650    M   23-Jul    7/23/12    32,993.09    32,580.01    66,366.00     3.50      $413.08    1%   NO                                              Active                Yes     2013
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Lincoln National   FN7099384    M   15-Jul    7/15/12    99,345.10    98,455.20   2.25      $889.90    1%   NO    entire   8/14/2014                   Active                Yes                  2014
Metlife            7440245      M   10-Oct   10/10/12    44,416.19    42,770.58           $1,645.61    4%   NO                                         Active                Yes                  2013
Midland            8500073226   M   26-Apr    4/26/12    27,193.95    26,124.04           $1,069.91    4%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500073227   M   22-Apr    4/22/12     7,509.30     7,212.43             $296.87    4%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500073228   M   10-Jun    6/10/12    32,195.92    30,714.92           $1,481.00    5%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500319666   M   2-Oct     10/2/12    22,652.37    21,551.47   2.45    $1,100.90    5%   YES   10%       9/9/2014   $    2,330.55   Active                Yes                  2013
Midland            8500337231   M   8-May      5/8/12    62,571.83    58,923.52           $3,648.31    6%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500208998   M   1-Feb      2/1/12    55,094.28    50,819.88           $4,274.40    8%   NO             3/17/2014                   Active
Midland            8500023412   M   22-Mar    3/22/12   117,197.08   105,477.30          $11,719.78   10%   NO    10%       9/9/2014   $   11,712.43   Active                Yes                  2013
Midland            8500237785   M   18-Oct   10/18/12    53,432.33    47,661.64   2.45    $5,770.69   11%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500305420   M   24-Apr    4/24/07    36,539.85    32,519.71           $4,020.14   11%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500409633   M   4-May      5/4/12    30,740.27    25,863.01           $4,877.26   16%   NO    10%       9/9/2014                   Active
Midland            8506136646   M   4-Apr      4/4/12    75,399.83    62,581.17          $12,818.66   17%   NO             3/17/2014                   Active
Midland            8500348485   M   30-Jul    7/30/12    10,198.29     9,606.28   3.00      $592.01    6%   NO    10%       9/9/2014                   Active                Yes                  2013
Midland            8500337083   M   9-Apr      4/9/12   232,078.39   215,832.54          $16,245.85    7%   NO             4/17/2014   $   25,214.38   Active
Midland            8500133651   M   24-Feb    2/24/12    97,117.62    90,125.12           $6,992.50    7%   NO             4/17/2014   $   10,072.08   Active
Midland            8500239149   M   10-Oct   10/10/12    21,325.32    19,528.41           $1,796.91    8%   NO    10%       9/9/2014                   Active                Yes                    2013
National Western   0100940375   M   25-Feb    2/25/12    23,207.90    22,564.14   2.50      $643.76    3%   NO    10%       9/9/2014   $    2,353.84   Active                Yes                    2014
National Western   0101265308   M   30-Jun    6/30/12   238,826.94   217,332.52   2.00   $21,494.42    9%   NO    10%      9/30/2014   $   48,425.54   Active                Yes                    2013
National Western   0101145754   M   26-Jul    7/26/12    32,697.13    29,509.16   2.60    $3,187.97   10%   NO    10%       9/9/2014   $   10,150.98   Active                Yes                    2013
National Western   101183386    M   13-Feb    2/13/12   174,532.08   157,110.66   3.00   $17,421.42   10%   NO    10%       9/9/2014   $   17,768.38   Active                Yes                    2014
National Western   0101022716   M   31-Mar    3/31/12    12,259.27    11,033.34   2.75    $1,225.93   10%   NO    10%       9/9/2014   $    1,252.52   Active                Yes                    2013
National Western   0101022717   M   31-Mar    3/31/12    17,250.05    15,525.04   2.75    $1,725.01   10%   NO    10%       9/9/2014   $    1,762.43   Active                Yes                    2013
National Western   0101152195   M   25-Oct   10/25/12    52,016.53    46,395.69   3.00    $5,620.84   11%   NO    10%       9/2/2014   $    5,338.21   Active                Yes                    2013
National Western   101252713    M   30-Apr    4/30/12   118,634.84   105,585.01   2.00   $13,049.83   11%   NO             9/30/2014   $   48,109.79   Active                Yes                    2014
National Western   0101079741   M   4-Feb      2/4/12    14,916.12    13,051.61   2.50    $1,864.51   12%   NO    10%       9/9/2014   $    1,515.00   Active                Yes                    2014
National Western   0101035597   M   31-Mar    3/31/12     8,785.40     7,687.22   2.75    $1,098.18   13%   NO    10%       9/9/2014   $      897.67   Active                Yes                    2013
National Western   0101122946   M   4-Aug      8/4/12    28,703.23    25,043.57   3.00    $3,659.66   13%   NO    10%       9/9/2014   $    2,954.49   Active                Yes                    2013
National Western   0101237192   m   20-Apr    4/20/12    14,396.81    12,525.22   1.75    $1,871.59   13%   NO    10%       9/9/2014   $    4,421.96   Active                Yes                    2013
National Western   0101230811   A   4-Feb      2/4/12    20,890.97    17,966.23   2.00    $2,924.74   14%   NO    10%       9/9/2014   $    2,114.99   Active                Yes                    2014
National Western   0101089608   A   31-Mar    3/31/12    29,463.27    25,043.78   3.00    $4,419.49   15%   NO    10%       9/9/2014   $    3,009.51   Active                Yes                    2013
National Western   101177865    M   13-Nov   11/13/12    47,084.10    39,518.70   3.00    $7,565.40   16%   NO    10%       4/2/2014   $    4,824.59   Active                Yes                    2013
National Western   0101172415   M   6-Sep      9/6/12   104,866.27    88,016.10   3.00   $16,850.17   16%   NO    10%       4/2/2014   $   10,804.73   Active                Yes                    2013
National Western   0101245216   M   13-Jul    7/13/12   309,027.76   258,854.15   1.50   $50,173.61   16%   NO              9/2/2014   $   94,325.69   Active                Yes                    2013
National Western   0101244486   A   13-Jul    7/13/12   131,695.08   109,538.15   1.50   $22,156.93   17%   NO    10%       4/2/2014   $   13,352.36   Active                Yes                    2013
National Western   101193318        21-Aug    8/21/08    38,787.72    32,229.93   2.60    $6,557.79   17%   NO    10%       9/9/2014   $    3,975.41   Active   additional annuity
                                                                                                                                                                             Yes                    2013
National Western   0101266713   M   25-Mar    3/25/12    58,625.84    47,447.60   1.50   $11,178.24   19%   NO    10%       9/9/2014   $    5,703.80   Active                Yes                    2014
National Western   101116870    M   25-May    5/25/12    20,090.57    16,191.44   2.00    $3,899.13   19%   NO    10%       9/9/2014   $    1,856.06   Active                Yes                    2013
Nationwide         XX-XXXXXXX   M   13-Jul    7/13/12    55,728.05    50,052.45   N/A     $5,675.60   10%   NO                                         Active                Yes                    2013
North American     8000066838   M   5-Aug      8/5/12    50,396.35    48,479.63   3.50    $1,916.72    4%   NO             4/17/2014   $    5,144.16   Active                Yes                    2013
North American     8000121024   M   13-Oct   10/13/12    48,125.13    45,699.62           $2,425.51    5%   NO             4/17/2014   $    4,874.17   Active                Yes                    2013
North American     8000076461       24-Mar    3/24/09   119,435.79   112,502.50           $6,933.29    6%   NO    10%       9/9/2014   $   11,248.05   Active                Yes                    2013
North American     8000064176       14-May    5/14/12    91,464.86    86,125.90           $5,338.96    6%   NO             4/17/2014   $    9,156.48   Active                Yes                    2013
North American     8000064175   M   14-May    5/14/12    83,918.51    78,933.75           $4,984.76    6%   NO             4/17/2014   $    8,796.49   Active                Yes                    2013
North American     8000111952   M   9-Mar      3/9/12   101,172.91    93,660.82   2.80    $7,512.09    7%   NO    10%       9/9/2014   $   10,183.54   Active                Yes                    2014
North American     8000099139   M   11-Nov   11/11/12    53,711.02    49,722.97   2.70    $3,988.05    7%   NO             4/17/2014   $    5,371.10   Active                Yes                    2013
North American     8000110886   M   26-Mar    3/26/12   154,686.42   143,200.00   2.80   $11,486.42    7%   NO    10%       9/9/2014                   Active                Yes                    2014
North American     8000120487   M   25-Sep    9/25/12    34,550.55    32,840.30   N/A     $1,710.25    5%   NO                                         Active                Yes                    2014
North American     8000113996   M   2-Apr      4/2/12   110,271.94    95,935.77   2.80   $14,336.17   13%   NO    10%       9/9/2014 $     11,027.19   Active                Yes                    2014
North American     8000175444   M   11-Aug    8/11/12    22,828.65    19,174.07   N/A     $3,654.58   16%   NO             4/17/2014                   Active                Yes                    2013
North American     8000175445   M   11-Aug    8/11/12    22,828.65    19,174.07   1.00    $3,654.58   16%   NO             4/17/2014 $      2,282.86   Active                Yes                    2013
Old Mutual         L9048578     M   30-Apr    4/30/12    30,039.70    29,363.81   1.70      $675.89    2%   NO    entire    8/1/2014                   Active                Yes                    2014
Old Mutual         L9147737     M   15-Mar    3/15/12    50,743.25    48,459.80   N/A     $2,283.45    5%   NO     10%     4/17/2014                   Active                Yes                    2014
Old Mutual         L9122801     M   1-Jun      6/1/12    30,516.67    28,380.51   3.00    $2,136.16    7%   NO     10%                                 Active   no pen free available
                                                                                                                                                                             Yes      till 6-1-2015 2014
Old Mutual         L9162367     M   15-Aug    8/15/12    69,786.44    63,611.06   1.60    $6,175.38    9%   NO     10%     2/11/2014 $      6,978.64   Active                Yes                    2013
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Old Mutual            L9162368       M   9-Sep      9/9/12    10,926.48     9,893.93                1.20    $1,032.55    9%   NO            2/11/2014   $    1,176.91 Active                Yes                    2013
Old Mutual            L9206599       M   20-Apr    4/20/12    52,597.47    47,445.57                1.10    $5,151.90   10%   NO   10%      2/11/2014   $    5,162.73 Active                Yes                    2013
Old Mutual            L9148473       M   30-Apr    4/30/12    22,052.53    19,842.01                3.00    $2,210.52   10%   NO            4/17/2014                 Active                Yes                    2014
Old Mutual            L9149199       M   30-Apr    4/30/12    22,052.53    19,842.01                3.00    $2,210.52   10%   NO            5/15/2014   $    1,000.00 Active                Yes                    2014
Old Mutual            L9184891       M   15-Apr    4/15/12    47,534.99    42,615.12                2.75    $4,919.87   10%   NO   10%       9/9/2014   $    4,753.49 Active                Yes                    2014
Old Mutual            L9171699           15-Dec   12/15/09    78,403.19    70,288.46                3.00    $8,114.73   10%   NO   10%      2/11/2014   $    7,840.31 Active                Yes                    2013
Old Mutual            L9152726       M   9-Apr      4/9/12    48,186.05    43,126.51                N/A     $5,059.54   11%   NO   10%                                Active   no pen free available
                                                                                                                                                                                            Yes      till 4/8/2015 2014
Old Mutual            L9152725       M   9-Apr      4/9/12    48,186.05    43,126.51                N/A     $5,059.54   11%   NO   10%                                Active   no pen free available
                                                                                                                                                                                            Yes      till 4/8/2015 2014
Old Mutual            L9207880       M   23-Jan    1/23/12    13,110.30    11,622.08                3.00    $1,488.22   11%   NO   10%      4/17/2014 $      1,264.64 Active                Yes                    2014
Old Mutual            L9114375       M   1-Apr      4/1/12    27,577.08    23,716.22                        $3,860.86   14%   NO             9/9/2014                 Active
Pacific               VR05038148     M   15-Jul    7/15/12   428,464.38   428,464.38   474,593.04   N/A         $0.00    0%   NO                                      Active                Yes                  2014
Pacific               VR08051200     M   6-Oct     10/6/12   150,339.78   146,339.78                N/A     $4,000.00    3%   NO            4/17/2014 $     10,000.00 Active                Yes                  2014
Pacific               VR08066268     M   31-Dec   12/31/12   555,063.32   535,575.98                N/A    $19,487.34    4%   NO             5/8/2014 $     43,305.19 Active                Yes                  2014
Phoenix               28148976       M   23-Aug    8/23/12    60,722.54    56,836.30                1.50    $3,886.24    6%   NO                                      Active                Yes                  2013
Presidential          458389         M   11-Jan    1/11/12     7,337.25     7,043.52                          $293.73    4%   NO                                      Active
RBC                   MA00069113     M   29-Jul    7/29/12    19,241.81    17,705.50                1.00    $1,536.31    8%   NO   10%       9/9/2014                 Active                Yes                  2013
RBC                   MA00060180     A   21-Oct   10/21/12    80,592.74    76,436.29                1.35    $4,156.45    5%   NO   10%       9/9/2014                 Active                Yes                  2013
Southwest-Nat. Life
                      760088X        M   29-Jul    7/29/12    93,237.17    84,006.69                N/A
Group                                                                                                       $9,230.48   10%   NO                                      Active                Yes                  2014
Sun Life              KA13122204-01 M    17-Feb    2/17/12   103,433.27    94,919.61                N/A
                                                                                                            $8,513.66    8%   NO   10%      9/10/2014 $      9,871.43 Active                Yes                  2013
Sun Life              KA13133982-1   M   2-Apr      4/2/12    50,694.84    44,804.06                N/A     $5,890.78   12%   NO            4/17/2014                 Active
Sun Life              KA13121991-01 M    10-Feb    2/10/12    42,073.82    33,625.29                N/A
                                                                                                            $8,448.53   20%   NO   10%      9/10/2014 $      3,794.56 Active                Yes                  2013
Sun Life              KA13012272-01 M    30-Apr    4/30/12     5,655.55     4,362.36                N/A
                                                                                                            $1,293.19   23%   NO   10%      9/10/2014 $        61.18 Active                 Yes                  2012
Sun Life              KA12990677-01 M    30-Apr    4/30/12    21,518.77    16,324.86                N/A
                                                                                                            $5,193.91   24%   NO   10%      9/10/2014 $       282.47 Active                 Yes                  2013
Sun Life              KA12990776-01 M    30-Apr    4/30/12    21,236.30    15,255.82                N/A
                                                                                                            $5,980.48   28%   NO            4/17/2014                 Active
Sun Life              KA13136132-01 M    2-Apr      4/2/12     6,542.81     4,602.14                N/A
                                                                                                            $1,940.67   30%   NO   10%      9/10/2014 $      1,646.11 Active
Sun Life              KA12892501-01 M    29-Sep    9/29/12     6,959.55     4,459.55                N/A
                                                                                                            $2,500.00   36%   NO   10%      9/10/2014                 Active                Yes                  2013
Sun Life              KA12650814-1   M   30-Apr    4/30/12     7,540.33     4,370.10                N/A     $3,170.23   42%   NO   10%      9/10/2014 $         17.14 Active                Yes                  2013
Sun Life              KA12870725     M   30-Apr    4/30/12     7,300.30     4,289.27                N/A     $3,011.03   41%   NO   10%      9/10/2014 $        396.81 Active                Yes                  2013
Sun Life              KA12870134-1   M   30-Apr    4/30/12     8,924.13     4,288.86                N/A     $4,635.27   52%   NO   10%      9/10/2014                 Active                Yes                  2013
Sun Life              KA12870013-1   M   30-Apr    4/30/12    11,341.82     4,288.86                N/A     $7,052.96   62%   NO   10%      9/10/2014                 Active                Yes                  2013
Sun Life              KA13160187-1   A   30-Apr    4/30/12    11,688.13     5,545.72                N/A     $6,142.41   53%   NO   10%      9/10/2014 $      1,557.59 Active                Yes                  2014
Sun Life              KA13120025     M   21-Oct   10/21/12    12,058.26     4,349.75                N/A     $7,708.51   64%   NO   10%      9/10/2014                 Active
Sun Life              KA13146502-01 M    27-Jul    7/27/12    21,746.40     7,619.46                N/A
                                                                                                           $14,126.94   65%   NO            4/17/2014                 Active
Thrivent              LC4821289      M   8-Jun      6/8/12   202,099.12   194,015.16                N/A     $8,083.96    4%   NO    10%      2/7/2014 $     21,978.84 Active                Yes                  2014
Western National      4FW51470       M   18-Aug    8/18/12    21,864.77    21,864.77                3.00        $0.00    0%   NO   entire   8/14/2014                 Active                Yes                  2014
Western National      2FD28720       M   2-Dec     12/2/12    25,548.51    25,548.51                2.00        $0.00    0%   NO   entire   8/14/2014                 Active                Yes                  2014
Western Southern      W0020167694    M   12-Mar    3/12/03    37,820.64    37,820.64                            $0.00    0%   NO   entire   8/14/2014                 Active                Yes                  2013
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                                                                                          SPREADSHEET



Name                  Address                    City State Zip                       State Gift Date    Payout Date     Type     Gift Value (gave annuitants)
                                                                                                                                                    Cost Basis (   AFR          Deduction (based
                                                                                                                                                                                              Payon
                                                                                                                                                                                                  % life expectency)
                                                                                                                                                                                                           Freq
Ruth M. Adams         9835 Summerset Avenue     Uniontown OH 44685        20112299   OH      10/27/2011     11/1/2021   Term      $    44,982.68 $ 44,982.68       $     2.20   $ 13,495.69 $     5.60 M
Ruth M. Adams         9835 Summerset Avenue     Uniontown OH 44685        20112297   OH      10/27/2011     11/1/2021   Term      $    46,982.68 $ 46,982.68       $     2.20   $ 14,824.60 $     6.10 M
Patricia A. Adams     5093 Northtowne Blvd.     Columbus OH 43229         20101443   OH      11/12/2010     12/1/2010   Immed.    $    52,323.77 $ 52,323.77       $     2.40   $ 11,737.09 $     6.60 M
Ruth M. Adams         9835 Summerset Avenue     Uniontown OH 44685        20112298   OH      10/27/2011     11/1/2021   Term      $    44,982.68 $ 44,982.68       $     2.20   $ 17,210.08 $     5.30 M
*Neil Adkison         1351 Shoreland Drive      SUmter SC 29154           20122492   SC         4/9/2012     4/1/2022   Deferr.   $ 437,647.91 $ 437,647.91        $     1.40   $ 125,750.06 $    8.80 M
William John Alexander312 East Zipp Road        New Braunfels TX 78130    20091098   TX         8/6/2009     9/1/2010   Term      $ 110,490.00 $ 110,490.00        $     3.40   $ 25,769.45 $     3.60 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112244   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,330.81 $      5.20 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112248   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 5,061.35 $      4.00 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112247   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,783.18 $      4.30 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112245   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,587.42 $      4.70 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112243   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,692.05 $      5.30 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112242   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,858.14 $      5.40 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112241   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 5,769.36 $      5.50 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112240   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 5,887.39 $      5.80 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112239   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 6,037.33 $      5.90 M
Nard V. Allen         1064 East 200 North       Brigham City UT 84302     20112246   UT         9/8/2011     9/1/2021   Term      $    14,657.71 $ 14,657.71       $     2.40   $ 4,777.02 $      4.40 M
Beverlie B. Allred    501 Olive Street          Apex NC 27502             20111568   NC       1/27/2011      2/1/2021   Term      $    50,835.91 $ 50,835.91       $     2.00   $ 11,791.76 $     7.20 M
Theodore R. Almquist 366 Ash Street - Unit 36   Willimantic CT 06226      20112007   CT       2/18/2011      3/1/2011   Immed.    $    40,005.67 $ 40,005.67       $     2.80   $ 9,128.59 $      4.80 M
Henry W. Anderson     12828A Sunrise Lane       Oakboro NC 28129          20112111   NC       5/27/2011      6/1/2016   Deferr.   $    59,675.00 $ 59,675.00       $     3.00   $ 11,878.94 $     4.30 M
Andrew Anderson       7927 Cholo Trail          Jacksonville FL 32244     20101452   FL      11/12/2010     12/1/2025   Deferr.   $    98,355.85 $ 98,355.85       $     2.40   $ 53,219.96 $ 11.80 M
Henry W. Anderson     12828A Sunrise Lane       Oakboro NC 28129          20112110   NC       5/27/2011      6/1/2016   Deferr.   $    59,675.00 $ 59,675.00       $     3.00   $ 10,334.94 $     4.50 M
Barbara Anderson      2117 Woodside Drive       Arlington TX 76013        20081039   TX         5/1/2009     6/1/2009   Immed.    $    45,089.90 $ 45,089.90       $     2.60   $ 18,814.14 $     4.60 M
Henry W. Anderson     12828A Sunrise Lane       Oakboro NC 28129          20112058   NC       4/22/2011      5/1/2016   Deferr.   $ 113,031.56 $ 113,031.56        $     3.00   $ 30,815.52 $     6.40 M
*Dorothy E. Andrews 1165 S. Ainger              Charlotte MI 48813        20101359   MI       8/18/2010     12/1/2012   Term      $    68,298.19 $ 68,298.19       $     3.20   $ 27,332.05 $     4.30 A
*Dorothy E. Andrews 1165 S. Ainger              Charlotte MI 48813        20101354   MI       8/18/2010      9/1/2011   Term      $ 125,745.47 $ 125,745.47        $     2.60   $ 41,230.88 $     3.60 M
*Dorothy E. Andrews 1165 S. Ainger              Charlotte MI 48813        20101356   MI       8/18/2010      9/1/2011   Term      $ 101,596.38 $ 101,596.38        $     3.20   $ 80,742.11 $     2.50 M
*Dorothy E. Andrews 1165 S. Ainger              Charlotte MI 48813        20101355   MI       8/18/2010      9/1/2015   Term      $ 102,447.28 $ 102,447.28        $     3.20   $ 27,701.05 $     4.45 M
*Dorothy E. Andrews 1165 S. Ainger              Charlotte MI 48813        20101357   MI       8/18/2010      9/1/2011   Term      $ 101,596.38 $ 101,596.38        $     3.20   $ 91,376.94 $     1.79 M
*Fred E. Arnold       6 Sea View Lane           Mt. Sinai NY 11766        20081026   NY         9/1/2008     9/1/2009   Deferr.   $    23,635.74 $ 23,635.74       $     4.20   $ 14,685.92 $ 10.20 M
John F. Arthurs       90 Dogwood Lane           Pittsboro NC 27312        20112086   NC         5/9/2011     5/1/2022   Deferr.   $ 117,608.63 $ 117,608.63        $     3.00   $ 37,696.61 $     8.00 M
Vivian C. Ausborn     320 Winnachee Drive       Stuart FL 34994           20091036   FL       11/5/2009     11/1/2028   Deferr.   $    36,357.05 $ 36,357.05       $     3.40   $ 7,663.04 $ 13.60 M
Sharon Banks          674 S.W. Bacon Terr.      Port St. Lucie FL 34953   20101257   FL       4/15/2010      5/1/2011   Term      $    35,000.00 $ 35,000.00       $     3.40   $ 7,533.91 $      4.40 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112261   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 19,842.14 $     2.90 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112260   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 19,259.04 $     3.00 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112259   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 18,025.19 $     2.90 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112258   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 18,068.89 $     3.00 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112257   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 19,112.03 $     3.30 M
Darvin L. Banks       2482 Cherry Ridge Road    Thurman OH 45685          20112256   OH       9/22/2011     10/1/2012   Term      $ 160,482.39 $ 160,482.39        $     2.40   $ 19,365.32 $     3.40 M
Patricia A. Barberis  7708 Osuna Road N.E.      Albuquerque NM 87109      20112072   NM         5/1/2011     5/1/2012   Term      $ 337,499.01 $ 337,499.01        $     3.00   $ 85,719.82 $     4.20 M
Donald D. Barker      3698 S. Zeno Way          Aurora CO 80013-3538      20112098   CO       5/24/2011      5/1/2013   Deferr.   $    16,953.00 $ 16,953.00       $     3.00   $ 6,057.14 $      3.20 M
Donald D. Barker      3698 S. Zeno Way          Aurora CO 80013-3538      20112180   CO       7/26/2011      5/1/2013   Deferr.   $    33,792.92 $ 33,792.92       $     3.00   $ 10,852.56 $     3.40 M
Donald D. Barker      3698 S. Zeno Way          Aurora CO 80013-3538      20112097   CO       5/24/2011      5/1/2013   Deferr.   $    16,953.00 $ 16,953.00       $     3.00   $ 6,209.58 $      3.20 M
Doris L. Barker       3698 S. Zeno Way          Aurora CO 80013           20112034   CO       3/16/2011      5/1/2013   Deferr.   $    30,052.20 $ 30,052.20       $     3.00   $ 10,545.28 $     3.30 M
Donald D. Barker      3698 S. Zeno Way          Aurora CO 80013-3538      20112043   CO       3/16/2011      5/1/2013   Deferr.   $    30,052.20 $ 30,052.20       $     3.00   $ 10,133.09 $     3.30 M
Nancy A. Baron        211 Garden Street         Idaho Falls ID 83402      20112171   ID       7/12/2011     10/1/2012   Term      $    13,547.19 $ 13,547.19       $     3.00   $ 2,521.62 $      3.80 M
Nancy A. Baron        211 Garden Street         Idaho Falls ID 83402      20112172   ID       7/12/2011     10/1/2012   Term      $    13,547.19 $ 13,547.19       $     3.00   $ 3,423.04 $      3.20 M
E. Marise Barrett     55 East 1300 North        Brigham City UT 84302     20112100   UT       5/25/2011      6/1/2021   Term      $    54,927.25 $ 54,927.25       $     3.00   $ 17,471.63 $     7.10 M
E. Marise Barrett     55 East 1300 North        Brigham City UT 84302     20112101   UT       5/25/2011      6/1/2021   Term      $    54,927.25 $ 54,927.25       $     3.00   $ 15,952.34 $     6.90 M
E. Marise Barrett     55 East 1300 North        Brigham City UT 84302     20112102   UT       5/25/2011      6/1/2021   Term      $    54,927.25 $ 54,927.25       $     3.00   $ 15,267.37 $     6.80 M
E. Marise Barrett     55 East 1300 North        Brigham City UT 84302     20112103   UT       5/25/2011      6/1/2021   Term      $    54,927.25 $ 54,927.25       $     3.00   $ 12,879.28 $     6.60 M
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E. Marise Barrett      55 East 1300 North                Brigham City UT 84302       20112105   UT    5/25/2011    6/1/2021   Term      $    54,927.25   $    54,927.25   $   3.00   $ 10,474.44    $    6.30   M
E. Marise Barrett      55 East 1300 North                Brigham City UT 84302       20112104   UT    5/25/2011    6/1/2021   Term      $    54,927.25   $    54,927.25   $   3.00   $ 11,255.68    $    6.50   M
Sherman Cloud Barton 24551 Manistee Street               Oak Park MI 48237           20101471   MI   11/22/2010   12/1/2011   Term      $    45,000.00   $    20,000.00   $   2.40   $ 28,706.62    $    4.10   M
Robert H. Bates        6360 Elmdale Road - Rm 104        Brook Park OH 44142         20091224   OH   12/31/2009    4/1/2010   Immed.    $   114,745.46   $   114,745.46   $   3.20   $ 11,526.32    $    5.06   M
Robert H. Bates        6360 Elmdale Road - Rm 104        Brook Park OH 44142         20091223   OH   12/31/2009    4/1/2010   Immed.    $   114,745.46   $   114,745.46   $   3.20   $ 12,998.13    $    5.20   M
Dorothy L. Beebe       9021 Flamingo Circle              North Fort Myers FL 33903   20112364   FL   12/12/2011    1/1/2022   Term      $    15,460.18   $    15,460.18   $   1.60   $ 1,804.78     $    4.90   M
Dorothy L. Beebe       9021 Flamingo Circle              North Fort Myers FL 33903   20112363   FL   12/12/2011    1/1/2022   Term      $    15,460.18   $    15,460.18   $   1.60   $ 1,643.56     $    5.70   M
*Barbara Elizabeth Behm1062 11th Street                  Wyandotte MI 48192          20112081   MI     5/4/2011    6/1/2012   Term      $    35,377.56   $    35,377.56   $   3.00   $ 19,629.36    $    3.00   M
*Barbara Elizabeth Behm1062 11th Street                  Wyandotte MI 48192          20112082   MI     5/4/2011    6/1/2012   Term      $    35,377.56   $    35,377.56   $   3.00   $ 19,772.41    $    2.90   M
*Barbara Elizabeth Behm1062 11th Street                  Wyandotte MI 48192          20112083   MI     5/4/2011    6/1/2012   Term      $    35,377.56   $    35,377.56   $   3.00   $ 21,552.88    $    2.20   M
Sarah B. Beiler        112 Hartmanbridge Road            Ronks PA 17572              20091161   PA    12/9/2009    1/1/2010   Immed.    $    71,504.14   $    71,504.14   $   3.20   $ 12,171.69    $    3.80   M
Joseph E. Belser       1661 S.E. 31st - Apt. #409        Ocala FL 34471              20112009   FL    2/28/2011    4/1/2011   Immed.    $    60,000.00   $    60,000.00   $   2.80   $ 13,165.20    $    5.00   M
Donald Beverlin        23350 Corinne Avenue              Port Charlotte FL 33980     20122430   FL    1/20/2012    4/1/2013   Deferr.   $    27,365.97   $    27,365.97   $   1.60   $ 6,175.38     $    2.60   M
Doris Beverlin         23350 Corinne Avenue              Port Charlotte FL 33980     20112350   FL    12/6/2011    4/1/2013   Deferr.   $    88,754.57   $    88,754.57   $   1.60   $ 46,762.69    $    5.70   M
Donald Beverlin        23350 Corinne Avenue              Port Charlotte FL 33980     20122429   FL    1/20/2012    4/1/2013   Deferr.   $    27,365.97   $    27,365.97   $   1.60   $ 6,843.28     $    2.60   M
Doris Beverlin         23350 Corinne Avenue              Port Charlotte FL 33980     20112351   FL    12/6/2011    4/1/2013   Deferr.   $   373,256.06   $   373,256.06   $   1.60   $ 45,109.51    $    4.60   M
Donald Beverlin        23350 Corinne Avenue              Port Charlotte FL 33980     20112353   FL    12/6/2011    4/1/2013   Deferr.   $    28,257.01   $    28,257.01   $   1.60   $ 4,693.64     $    2.80   M
Doris E. Beverlin      23350 Corinne Avenue              Port Charlotte FL 33980     20122428   FL    1/20/2012    4/1/2013   Deferr.   $    61,417.74   $    61,417.74   $   1.60   $ 14,464.63    $    4.00   M
Donald Beverlin        23350 Corinne Avenue              Port Charlotte FL 33980     20112352   FL    12/6/2011    4/1/2013   Deferr.   $    28,257.01   $    28,257.01   $   1.60   $ 6,583.30     $    2.70   M
Laura M. Biggerstaff 107 Dogwood Valley Road             Forest City NC 28043        20122506   NC    4/23/2012    5/1/2014   Deferr.   $    50,074.45   $    50,074.45   $   1.40   $ 5,993.30     $    5.00   M
Ruth A. Bivins         3730 South Harris Avenue          Baton Rouge LA 70816        20122457   LA     3/1/2012    3/1/2017   Deferr.   $   127,538.00   $   127,538.00   $   1.40   $ 72,361.80    $    6.80   M
Daniel E. Bivins - III 3730 South Harris Avenue          Baton Rouge LA 70816        20122456   LA     3/1/2012    3/1/2017   Deferr.   $   197,595.93   $   197,595.93   $   1.40   $ 112,110.68   $    6.80   M
Francis W. Blain       617 Sea Pine Way Apt. 2A          W. Palm Beach FL 33415      20091114   FL    10/6/2009   10/1/2014   Deferr.   $    39,560.92   $    39,560.92   $   3.40   $ 26,102.24    $   10.60   M
Roberta Blais          323 Broad Street                  Nashua NH 03063             20101393   NH    9/23/2010   11/1/2010   Immed.    $   133,263.98   $   133,263.98   $   2.80   $ 25,257.48    $    3.10   M
Edward Bloem - Jr.     1517 Shangrai-La Drive SE         Grand Rapids MI 49508       20101511   MI    12/9/2010   12/1/2011   Immed.    $   125,864.67   $   125,864.67   $   2.00   $ 20,298.30    $    4.70   A
Edward Bloem - Jr.     1517 Shangrai-La Drive SE         Grand Rapids MI 49508       20101510   MI    12/9/2010   12/1/2011   Immed.    $   125,864.67   $   125,864.67   $   2.00   $ 26,717.45    $    4.80   A
Edward Bloem - Jr.     1517 Shangrai-La Drive SE         Grand Rapids MI 49508       20101512   MI    12/9/2010   12/1/2011   Immed.    $   125,864.67   $   125,864.67   $   2.00   $ 12,699.07    $    4.34   A
Emma Lou Bloom         2020 E. 475 N.                    St. Anthony ID 83445        20112126   ID     6/6/2011    6/1/2021   Term      $     5,193.19   $     5,193.19   $   3.00   $ 1,195.63     $    5.60   M
Emma Lou Bloom         2020 E. 475 N.                    St. Anthony ID 83445        20112127   ID     6/6/2011    6/1/2021   Term      $     5,193.19   $     5,193.19   $   3.00   $ 1,010.37     $    5.40   M
Emma Lou Bloom         2020 E. 475 N.                    St. Anthony ID 83445        20112125   ID     6/6/2011    6/1/2021   Term      $     5,193.19   $     5,193.19   $   3.00   $ 1,079.73     $    6.00   M
Emma Lou Bloom         2020 E. 475 N.                    St. Anthony ID 83445        20112129   ID     6/6/2011    6/1/2021   Term      $     5,193.19   $     5,193.19   $   3.00   $ 1,450.58     $    4.50   M
Emma Lou Bloom         2020 E. 475 N.                    St. Anthony ID 83445        20112128   ID     6/6/2011    6/1/2021   Term      $     5,193.19   $     5,193.19   $   3.00   $ 1,380.18     $    4.80   M
William D. Boice       537 Pattison Street Ext.          Evans City PA 16033         20112249   PA    9/12/2011   10/1/2012   Term      $   354,490.70   $   354,490.70   $   2.40   $ 84,152.38    $    5.40   M
Media I. Boland        1402 West Davis Street            Burlington NC 27215         20112312   NC    11/7/2011   12/1/2014   Term      $    29,343.44   $    29,343.44   $   2.00   $ 3,094.35     $    4.60   M
Media I. Boland        1402 West Davis Street            Burlington NC 27215         20112311   NC    11/7/2011   12/1/2014   Term      $    29,343.44   $    29,343.44   $   2.00   $ 6,920.81     $    5.20   M
Jon N. Bolling         123 Bennetts Creek Landing Road   Suffolk VA 23435            20101542   VA   11/22/2010    9/1/2012   Term      $    58,005.65   $    58,005.65   $   2.40   $ 21,546.64    $    2.60   M
A. Jackson Bolling     98 Old Bridge Lane                Richmond VA 23229           20101426   VA   10/28/2010   11/1/2011   Term      $   156,349.84   $   156,349.84   $   2.60   $ 48,356.58    $    3.10   M
A. Jackson Bolling     98 Old Bridge Lane                Richmond VA 23229           20101427   VA   10/28/2010   11/1/2011   Term      $   156,349.84   $   156,349.84   $   2.60   $ 49,377.73    $    2.94   M
A. Jackson Bolling     98 Old Bridge Lane                Richmond VA 23229           20101428   VA   10/28/2010   11/1/2011   Term      $   156,349.84   $   156,349.84   $   2.60   $ 49,063.91    $    2.87   M
A. Jackson Bolling     98 Old Bridge Lane                Richmond VA 23229           20112268   VA    9/29/2011   10/1/2012   Term      $    71,505.03   $    71,505.03   $   2.40   $ 21,558.95    $    5.60   M
Irene S. Bolling       17665 SE 106th Ave.               Summerfield FL 34491        20101309   FL    6/30/2010    7/1/2013   Term      $   122,207.42   $   122,207.42   $   3.40   $ 46,273.83    $    4.40   M
Irene S. Bolling       17665 SE 106th Ave.               Summerfield FL 34491        20101310   FL    6/30/2010    7/1/2013   Term      $   122,207.42   $   122,207.42   $   3.40   $ 39,069.33    $    4.30   M
Jon N. Bolling         123 Bennetts Creek Landing Road   Suffolk VA 23435            20101540   VA   11/22/2010    9/1/2012   Term      $    58,005.65   $    58,005.65   $   2.40   $ 21,332.03    $    2.80   M
Irene S. Bolling       17665 SE 106th Ave.               Summerfield FL 34491        20101311   FL    6/30/2010    7/1/2013   Term      $   122,207.42   $   122,207.42   $   3.40   $ 35,983.72    $    4.20   M
Jon N. Bolling         123 Bennetts Creek Landing Road   Suffolk VA 23435            20101541   VA   11/22/2010    9/1/2012   Term      $    58,005.65   $    58,005.65   $   2.40   $ 21,132.13    $    2.70   M
Evelyn Bottom          2320 Washington Ave.              Norwood OH 45212            20091176   OH   12/29/2009    2/1/2010   Immed.    $    13,316.06   $    13,316.06   $   3.20   $ 2,671.02     $    4.30   M
Evelyn Bottom          2320 Washington Ave.              Norwood OH 45212            20091177   OH   12/29/2009    2/1/2010   Immed.    $    13,316.06   $    13,316.06   $   3.20   $ 2,646.52     $    4.10   M
Evelyn Bottom          2320 Washington Ave.              Norwood OH 45212            20091178   OH   12/29/2009    2/1/2010   Immed.    $    13,316.06   $    13,316.06   $   3.20   $ 2,421.76     $    4.00   M
Reid Dickson Bowman 2201 NC 62 East                      Julian NC 27283             20112384   NC   12/28/2011    2/1/2012   Immed.    $   101,805.01   $   101,805.01   $   1.60   $ 38,190.84    $    6.40   M
Camille T. Bradley     40 East 1925 North Road           Danvers IL 61732            20122518   IL     5/9/2012    5/1/2013   Immed.    $   128,255.20   $   128,255.20   $   1.60   $ 52,053.05    $    2.40   A
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Barbara Y. Braley     13607 E. Dakota Way                 Aurora CO 80012             20112118   CO     5/5/2011    2/1/2013   Term      $    22,000.00 $ 22,000.00 $   3.00   $ 6,693.19     $    4.15   A
Beverly W. Bramlett 950 S. Potomac Court                  Aurora CO 80012             20101415   CO   10/21/2010    2/1/2013   Term      $    20,317.13 $ 20,317.13 $   2.60   $ 10,460.62    $    3.05   M
Beverly W. Bramlett 950 S. Potomac Court                  Aurora CO 80012             20101416   CO   10/21/2010    2/1/2013   Term      $    20,317.13 $ 20,317.13 $   2.60   $ 9,919.16     $    3.30   M
Beverly W. Bramlett 950 S. Potomac Court                  Aurora CO 80012             20101414   CO   10/21/2010    2/1/2013   Term      $    20,317.13 $ 20,317.13 $   2.60   $ 11,651.06    $    2.90   M
Eva D. Breaux         922 Baird Drive                     Baton Rouge LA 70808        20112307   LA   10/31/2011   11/1/2014   Deferr.   $    83,356.96 $ 83,356.96 $   2.20   $ 29,069.00    $    3.80   M
Glendon L. D. Brown 7860 Laura Ave. NW                    Massillon OH 44646          20101287   OH    5/21/2010    7/1/2010   Immed.    $ 321,276.53 $ 321,276.53 $    3.40   $ 78,166.67    $    4.60   M
Daisy P. Brown        1827 Crestdale Drive                Charlotte NC 28216          20112267   NC    9/27/2011   10/1/2016   Deferr.   $    70,000.00 $ 70,000.00 $   2.40   $ 22,548.09    $    6.50   M
Charles E. Brown      2622 Southern Ave.                  Jacksonville FL 32207       20112075   FL     5/3/2011    5/1/2016   Term      $ 169,834.35 $ 169,834.35 $    3.00   $ 100,011.17   $    1.70   M
Charles E. Brown      2622 Southern Ave.                  Jacksonville FL 32207       20112074   FL     5/3/2011    5/1/2016   Term      $ 145,834.35 $ 145,834.35 $    3.00   $ 113,115.61   $    1.00   M
Judy Kaye Brown       411 North 1st East - - P.O. Box 157 Duchesne UT 84021           20112323   UT   11/15/2011   12/1/2021   Term      $    26,250.00 $ 26,250.00 $   2.00   $ 2,919.13     $    5.50   M
Weldon I. Brown       411 North 1st East - - P.O. Box 157 Duchesne UT 84021           20112322   UT   11/15/2011   12/1/2012   Term      $    30,625.00 $ 30,625.00 $   2.00   $ 3,732.86     $    3.75   M
Weldon I. Brown       411 North 1st East - - P.O. Box 157 Duchesne UT 84021           20112319   UT   11/15/2011   12/1/2012   Term      $    30,625.00 $ 30,625.00 $   2.00   $ 9,947.12     $    3.15   M
Glendon L. D. Brown 7860 Laura Ave. NW                    Massillon OH 44646          20101286   OH    5/21/2010    7/1/2010   Immed.    $ 321,276.53 $ 321,276.53 $    3.40   $ 88,191.87    $    4.60   M
Daisy P. Brown        1827 Crestdale Drive                Charlotte NC 28216          20122471   NC    3/19/2012    4/1/2017   Term      $    40,000.00 $ 40,000.00 $   1.40   $ 4,191.60     $    3.90   M
Judy Kaye Brown       411 North 1st East - - P.O. Box 157 Duchesne UT 84021           20112321   UT   11/15/2011   12/1/2021   Term      $    26,250.00 $ 26,250.00 $   2.00   $ 3,291.38     $    6.00   M
Weldon I. Brown       411 North 1st East - - P.O. Box 157 Duchesne UT 84021           20112320   UT   11/15/2011   12/1/2012   Term      $    30,625.00 $ 30,625.00 $   2.00   $ 9,841.48     $    3.00   M
Edna L. Bruce         246 Neely Mill Road                 Greer SC 29651              20112033   SC    3/16/2011    5/1/2011   Immed.    $    32,461.38 $ 32,461.38 $   3.00   $ 6,793.28     $    4.40   M
Lorraine P. Bryant    2601 Denton Road                    Thomasville NC 27360        20112218   NC    8/18/2011   10/1/2011   Immed.    $ 141,371.67 $ 141,371.67 $    2.80   $ 65,181.88    $    6.50   M
Lorraine P. Bryant    2601 Denton Road                    Thomasville NC 27360        20122445   NC    2/16/2012    3/1/2017   Deferr.   $    52,508.57 $ 52,508.57 $   1.60   $ 30,084.46    $    9.00   M
Ronald J. Burns       13553 San Raphael                   Largo FL 33774              20081042   FL   12/29/2008    2/1/2009   Immed.    $ 153,119.74 $ 153,119.74 $    3.80   $ 85,556.65    $    3.60   M
Ronald J. Burns       13553 San Raphael                   Largo FL 33774              20091146   FL   11/18/2009    1/1/2010   Immed.    $    51,337.07 $ 51,337.07 $   3.40   $ 15,507.62    $    5.50   M
Gregory E. Bynum      5802 Slashwood Lane                 Spring TX 77379             20101221   TX     3/1/2010    3/1/2025   Term      $    37,848.64 $ 37,848.64 $   3.40   $ 7,172.15     $    5.90   M
Gregory E. Bynum      5802 Slashwood Lane                 Spring TX 77379             20101222   TX     3/1/2010    3/1/2025   Term      $    37,848.64 $ 37,848.64 $   3.40   $ 6,643.80     $    5.90   M
Gregory E. Bynum      5802 Slashwood Lane                 Spring TX 77379             20101220   TX     3/1/2010    3/1/2025   Term      $    37,848.64 $ 37,848.64 $   3.40   $ 7,443.92     $    5.90   M
Frank Caliendo        1148 Parkside                       Palatine IL 60067           20101246   IL    3/22/2010    4/1/2010   Immed.    $ 1,284,073.40 ########### $   3.40   $ 174,771.44   $   13.06   M
Michael S. Caradonna 2152 Fifth Street                    Deland FL 32724             20122474   FL    3/19/2012    4/1/2022   Term      $    54,235.75 $ 54,235.75 $   1.40   $ 5,479.46     $    5.26   M
Michael S. Caradonna 2152 Fifth Street                    Deland FL 32724             20122472   FL    3/19/2012    4/1/2022   Term      $    54,235.75 $ 54,235.75 $   1.40   $ 5,828.13     $    6.30   M
Michael S. Caradonna 2152 Fifth Street                    Deland FL 32724             20122473   FL    3/19/2012    4/1/2022   Term      $    54,235.75 $ 54,235.75 $   1.40   $ 5,635.18     $    6.20   M
Cynthia C. Carnevale 2114 Needham Road                    Ann Arbor MI 48104          20081029   MI    10/9/2008   11/1/2008   Immed.    $ 150,000.00 $ 150,000.00 $    4.20   $ 70,728.28    $    5.00   M
Valerie A. Carroccia  230 S.W. Coconut Key Way            Port Saint Lucie FL 34986   20112062   FL    4/25/2011    5/1/2021   Term      $     9,581.01 $ 9,581.01 $    3.00   $ 9,031.43     $    0.30   M
Valerie A. Carroccia  230 S.W. Coconut Key Way            Port Saint Lucie FL 34986   20112061   FL    4/25/2011    5/1/2021   Term      $     9,581.01 $ 9,581.01 $    3.00   $ 8,570.70     $    0.60   M
Dante Carroccia       230 S.W. Coconut Key Way            Port Saint Lucie FL 34986   20112060   FL    4/25/2011    5/1/2018   Term      $    17,541.49 $ 17,541.49 $   3.00   $ 16,384.60    $    0.40   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112401   TX    5/14/2012    6/1/2012   Immed.    $    82,631.95 $ 82,631.95 $   1.60   $ 41,869.37    $    2.25   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112404   TX    5/14/2012    6/1/2012   Immed.    $    75,631.95 $ 75,631.95 $   1.60   $ 37,875.33    $    2.04   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112403   TX    5/14/2012    6/1/2012   Immed.    $    82,631.95 $ 82,631.95 $   1.60   $ 38,077.00    $    2.25   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112402   TX    5/14/2012    6/1/2012   Immed.    $    82,631.95 $ 82,631.95 $   1.60   $ 39,969.93    $    2.25   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112400   TX    5/14/2012    6/1/2012   Immed.    $    82,631.95 $ 82,631.95 $   1.60   $ 42,817.98    $    2.25   M
Shirleen L. Celmer    6204 Meadowcrest Lane               Sachse TX 75048             20112398   TX    5/14/2012    6/1/2012   Immed.    $    82,631.95 $ 82,631.95 $   1.60   $ 43,170.33    $    2.40   M
Robert Chaisson - Jr. 1453 Kemp Bridge Drive              Chesapeake VA 23320         20112394   VA   12/30/2011    3/1/2013   Term      $ 107,760.04 $ 107,760.04 $    1.60   $ 24,634.98    $    2.60   M
Robert Chaisson - Jr. 1453 Kemp Bridge Drive              Chesapeake VA 23320         20112395   VA   12/30/2011    3/1/2013   Term      $ 107,760.04 $ 107,760.04 $    1.60   $ 28,834.97    $    2.30   M
John W. Chapman       3201 Fillmore Street                Denver CO 80205             20122522   CO    7/20/2012    8/1/2012   Immed.    $ 228,132.25 $ 228,132.25 $    1.20   $ 25,829.70    $    4.30   M
John W. Chapman       3201 Fillmore Street                Denver CO 80205             20112349   CO    12/6/2011    1/1/2012   Immed.    $    43,624.76 $ 43,624.76 $   1.60   $ 5,968.05     $    4.30   M
Mary S. Chapman       3201 Fillmore Street                Denver CO 80205             20122434   CO     2/1/2012    3/1/2012   Immed.    $     6,270.74 $ 6,270.74 $    1.60   $     862.89   $    4.30   M
Millicent S. Cheitlin 3308 N. Rockfield Drive             Wilmington DE 19810         20101349   DE     8/9/2010    9/1/2011   Term      $    97,276.94 $ 97,276.94 $   3.20   $ 19,712.70    $    4.40   M
The Kimberly Ann Szuszka
                      9010
                         Child's
                            SouthTrust
                                   Parkside Drive         Oak Creek WI 53154          20112204   WI     8/8/2011    8/1/2015   Term      $ 162,500.00 $ 162,500.00 $    2.80   $ 48,245.78    $    4.10   M
*Loretta M. Chisholm 2932 Eagle Drive                     Moorhead MN 56560           20112304   MN   10/27/2011   11/1/2013   Deferr.   $    71,323.56 $ 71,323.56 $   2.20   $ 8,571.82     $    4.00   M
*Loretta M. Chisholm 2932 Eagle Drive                     Moorhead MN 56560           20112303   MN   10/27/2011   11/1/2013   Deferr.   $    71,323.56 $ 71,323.56 $   2.20   $ 10,199.35    $    4.30   M
*Loretta M. Chisholm 2932 Eagle Drive                     Moorhead MN 56560           20112302   MN   10/27/2011   11/1/2013   Deferr.   $    71,323.56 $ 71,323.56 $   2.20   $ 16,658.74    $    4.90   M
Paul G. Clark         P.O. Box 1101 - 8700 South CR       Frisco TX 75034             20122497   TX     5/1/2012    6/1/2012   Immed.    $ 224,564.88 $ 224,564.88 $    1.60   $ 57,933.70    $    4.80   M
Wanda Marguerite Clark2900 Heritage Place Drive - Apt. 226Jackson MI 49203            20101462   MI   11/19/2010   12/1/2012   Term      $     4,993.69 $ 4,993.69 $    2.40   $ 2,045.12     $    5.00   M
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Wanda Marguerite Clark2900 Heritage Place Drive - Apt. 226Jackson MI 49203                20101463   MI   11/19/2010   12/1/2012   Term      $     4,993.69   $     4,993.69   $   2.40   $ 2,125.87     $   4.85   M
Marilyn Clark            141 Timber Trail - Apt. 120 - C/O Magnolia
                                                            RichmondManor
                                                                       Hill on
                                                                            GAthe
                                                                               31324
                                                                                  Coast   20081040   GA   11/12/2008   12/1/2008   Immed.    $    26,597.61   $    26,597.61   $   4.20   $ 19,208.02    $   3.50   M
Wanda Marguerite Clark2900 Heritage Place Drive - Apt. 226Jackson MI 49203                20101466   MI   11/19/2010   12/1/2012   Term      $     4,993.69   $     4,993.69   $   2.40   $ 1,768.03     $   2.90   M
Paul G. Clark            P.O. Box 1101 - 8700 South CR      Frisco TX 75034               20122496   TX     5/1/2012    6/1/2012   Immed.    $   224,564.88   $   224,564.88   $   1.60   $ 61,108.75    $   5.20   M
Ronald Clark             881 N. Old Hwy. 91                 Inkom ID 83245                20112093   ID    5/20/2011    6/1/2021   Term      $    20,598.70   $    20,598.70   $   3.00   $ 5,543.29     $   7.50   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101560   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 3,687.99     $   4.10   M
Ronald Clark             881 N. Old Hwy. 91                 Inkom ID 83245                20112095   ID    5/20/2011    6/1/2021   Term      $    20,598.70   $    20,598.70   $   3.00   $ 3,051.34     $   7.10   M
Ronald Clark             881 N. Old Hwy. 91                 Inkom ID 83245                20112094   ID    5/20/2011    6/1/2021   Term      $    20,598.70   $    20,598.70   $   3.00   $ 4,740.63     $   7.40   M
Joseph D. Clark          27210 Wells Lane                   Conroe TX 77385               20101272   TX     5/5/2010    6/1/2011   Term      $    93,045.52   $    93,045.52   $   3.40   $ 23,569.62    $   3.76   M
Wanda Marguerite Clark2900 Heritage Place Drive - Apt. 226Jackson MI 49203                20101465   MI   11/19/2010   12/1/2012   Term      $     4,993.69   $     4,993.69   $   2.40   $ 1,719.52     $   3.10   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101557   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 3,371.13     $   4.40   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101554   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 8,470.92     $   5.00   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101559   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 3,916.31     $   4.20   M
Wanda Marguerite Clark2900 Heritage Place Drive - Apt. 226Jackson MI 49203                20101464   MI   11/19/2010   12/1/2012   Term      $     4,993.69   $     4,993.69   $   2.40   $ 1,988.90     $   2.90   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101556   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 3,762.99     $   4.80   M
Wilma June Clark         9026 Milford Drive                 Northfield OH 44067           20122433   OH    1/31/2012    3/1/2012   Immed.    $   177,228.40   $   177,228.40   $   1.60   $ 72,109.30    $   1.96   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101558   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 4,217.67     $   4.30   M
Raoel H. Clark           12091 Sunny Street                 Frisco TX 75034               20101555   TX   12/31/2010    1/1/2016   Term      $    33,342.78   $    33,342.78   $   2.40   $ 5,674.87     $   4.90   M
Robin D. Cohn            16606 Green Edge Circle - Villa 88 Weston FL 33326-2605          20112041   FL    3/28/2011    4/1/2016   Deferr.   $    29,285.07   $    29,285.07   $   3.00   $ 8,902.49     $   6.80   M
Charles K. Colson - Sr. 843 Canyon Road                     Ogden UT 84404                20112232   UT     9/2/2011    9/1/2021   Term      $   204,222.09   $   204,222.09   $   2.40   $ 102,164.41   $   4.50   M
Charles K. Colson - Sr. 843 Canyon Road                     Ogden UT 84404                20112231   UT     9/2/2011    9/1/2021   Term      $   204,222.09   $   204,222.09   $   2.40   $ 107,022.82   $   4.60   M
Troy D. Cook             2202 West Osage Drive              Baytown TX 77523              20101314   TX     7/7/2010    8/1/2011   Term      $     8,607.78   $     8,607.78   $   3.20   $ 2,216.22     $   3.80   M
Troy D. Cook             2202 West Osage Drive              Baytown TX 77523              20101317   TX     7/7/2010    8/1/2011   Term      $     4,316.81   $     4,316.81   $   3.20   $ 1,204.36     $   2.70   M
Troy D. Cook             2202 West Osage Drive              Baytown TX 77523              20101315   TX     7/7/2010    8/1/2011   Term      $     8,607.78   $     8,607.78   $   3.20   $ 2,524.08     $   3.20   M
Troy D. Cook             2202 West Osage Drive              Baytown TX 77523              20101316   TX     7/7/2010    8/1/2011   Term      $     4,316.81   $     4,316.81   $   3.20   $ 1,248.54     $   2.70   M
Mr. & Mrs. Robert Copelton
                         274 Dewey
                              - Sr. Avenue                  Totowa NJ 07512               20122459   NJ    3/12/2012    4/1/2022   Term      $   108,060.89   $   108,060.89   $   1.40   $ 24,485.36    $   8.30   M
Shirley Cordes           8244 Wagon Wheel Circle            N. Ft. Meyers FL 33917        20101366   FL    8/20/2010    9/1/2015   Term      $   123,671.04   $   123,671.04   $   3.20   $ 49,705.86    $   5.30   M
Janie D. Cordisco        405 Northwest Scheffield Circle    Port St. Lucie FL 34983       20122485   FL    3/29/2012    4/1/2017   Term      $    54,711.43   $    54,711.43   $   1.40   $ 11,940.83    $   3.30   M
Janie D. Cordisco        405 Northwest Scheffield Circle    Port St. Lucie FL 34983       20122484   FL    3/29/2012    4/1/2017   Term      $    54,711.43   $    54,711.43   $   1.40   $ 9,676.22     $   3.70   M
Florence Corveddu        265 C. Broadway                    Tarrytown NY 10591            20111575   NY     2/7/2011    2/1/2012   Immed.    $   286,331.34   $   286,331.34   $   2.80   $ 74,811.18    $   6.80   A
Joseph Corveddu          265 C. Broadway                    Tarrytown NV 10591            20111574   NV     2/7/2011    2/1/2012   Immed.    $   356,116.03   $   356,116.03   $   2.80   $ 93,044.18    $   6.80   A
*Lou Holland Craft       936 Churchill Drive                Gastonia NC 28054             20112063   NC    4/26/2011    5/1/2016   Deferr.   $    34,241.69   $    34,241.69   $   3.00   $ 11,985.64    $   5.90   M
Betty A. Craver          20201 Lorain Road - Apt. 509       Fairview Park OH 44126        20122477   OH    3/28/2012    5/1/2012   Immed.    $    92,853.29   $    92,853.29   $   1.40   $ 9,384.03     $   3.00   M
Betty A. Craver          20201 Lorain Road - Apt. 509       Fairview Park OH 44126        20122476   OH    3/28/2012    5/1/2012   Immed.    $    92,853.29   $    92,853.29   $   1.40   $ 9,519.22     $   3.73   M
Linda S. Crimi           137 Starlight Road                 Statesville NC 28677          20112215   NC     8/9/2011    8/1/2016   Deferr.   $   232,100.11   $   232,100.11   $   2.80   $ 45,288.37    $   6.20   M
Linda S. Crimi           137 Starlight Road                 Statesville NC 28677          20112214   NC     8/9/2011    8/1/2021   Deferr.   $   190,824.14   $   190,824.14   $   2.80   $ 53,945.07    $   7.90   M
Lisa R. & Ricky D. Gibson8033 W. County Road 600 South Coatesville IN 46121               20122426   IN     1/4/2012    1/1/2032   Deferr.   $    50,000.00   $    50,000.00   $   1.60   $ 5,527.71     $   4.00   M
Lisa R. & Ricky D. Gibson8033 W. County Road 600 South Coatesville IN 46121               20122425   IN     1/4/2012    1/1/2032   Deferr.   $    50,000.00   $    50,000.00   $   1.60   $ 6,507.35     $   4.10   M
J. Eugene Davis          8039 Carlotta Road North           Jacksonville FL 32211         20091102   FL    8/10/2009   12/1/2010   Term      $    42,000.00   $    42,000.00   $   3.40   $ 8,318.62     $   3.90   Q
*Constance W. Davis 8039 Carlotta Road N.                   Jacksonville FL 32211         20091150   FL   11/20/2009    7/1/2012   Term      $    13,809.33   $    13,809.33   $   3.40   $ 5,058.88     $   3.30   A
*Constance W. Davis 8039 Carlotta Road N.                   Jacksonville FL 32211         20091106   FL     9/2/2009    7/1/2012   Term      $    16,575.77   $    16,575.77   $   3.40   $ 7,403.65     $   3.10   A
J. Eugene Davis          8039 Carlotta Road North           Jacksonville FL 32211         20091103   FL    8/10/2009   12/1/2010   Term      $    42,000.00   $    42,000.00   $   3.40   $ 8,539.08     $   5.76   Q
Frances Davis            2451 Sable Avenue                  Deltona FL 32738              20122450   FL    2/21/2012    3/1/2017   Term      $    17,538.17   $    17,538.17   $   1.60   $ 1,791.97     $   4.09   M
*Constance W. Davis 8039 Carlotta Road N.                   Jacksonville FL 32211         20091151   FL   11/20/2009    7/1/2012   Term      $    13,840.66   $    13,840.66   $   3.40   $ 5,317.20     $   3.45   A
Barbara Davis            2318 Liles Lane                    Mesquite TX 75181             20112073   TX     5/2/2011    6/1/2011   Immed.    $    74,918.06   $    74,918.06   $   3.00   $ 19,690.07    $   4.70   M
Barbara Davis            2318 Liles Lane                    Mesquite TX 75181             20101455   TX   11/15/2010   12/1/2011   Term      $    80,628.41   $    80,628.41   $   2.40   $ 36,548.31    $   3.00   A
Dorothy Davis            1001 Island Bay Circle             Sanford FL 32771              20122440   FL    2/15/2012    3/1/2013   Term      $    12,682.08   $    12,682.08   $   1.60   $ 2,022.88     $   5.10   M
Frances Davis            2451 Sable Avenue                  Deltona FL 32738              20122448   FL    2/21/2012    3/1/2017   Term      $    17,538.17   $    17,538.17   $   1.60   $ 1,791.97     $   4.09   M
Frances Davis            2451 Sable Avenue                  Deltona FL 32738              20122449   FL    2/21/2012    3/1/2017   Term      $    17,538.17   $    17,538.17   $   1.60   $ 1,769.65     $   4.00   M
Barbara Davis            2318 Liles Lane                    Mesquite TX 75181             20101453   TX   11/15/2010   11/1/2012   Term      $    80,628.41   $    80,628.41   $   2.40   $ 40,440.50    $   3.00   A
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Barbara Davis         2318 Liles Lane              Mesquite TX 75181         20101454   TX   11/15/2010   12/1/2011   Term      $    80,628.41   $    80,628.41   $   2.40   $ 39,905.80    $   2.90   A
Mary Degrocco         8265 Tami Way                Orlando FL 32822-2063     20091138   FL    11/9/2009   12/1/2011   Deferr.   $    33,362.48   $    33,362.48   $   3.40   $ 10,917.62    $   3.50   M
Mary Degrocco         8265 Tami Way                Orlando FL 32822-2063     20091137   FL    11/9/2009   12/1/2011   Deferr.   $    33,632.48   $    33,632.48   $   3.40   $ 12,183.28    $   3.60   M
Beatrice R. Dent      7931 E. Windwood             Parker CO 80134           20101403   CO    10/4/2010   10/1/2020   Deferr.   $    21,529.51   $    21,529.51   $   2.60   $ 7,190.32     $   6.40   M
Beatrice R. Dent      7931 E. Windwood             Parker CO 80134           20101400   CO    10/4/2010   10/1/2020   Deferr.   $    21,529.51   $    21,529.51   $   2.60   $ 14,277.14    $   5.70   M
Beatrice R. Dent      7931 E. Windwood             Parker CO 80134           20101402   CO    10/4/2010   10/1/2020   Deferr.   $    21,529.51   $    21,529.51   $   2.60   $ 5,372.69     $   6.30   M
Beatrice R. Dent      7931 E. Windwood             Parker CO 80134           20101401   CO    10/4/2010   10/1/2020   Deferr.   $    21,529.51   $    21,529.51   $   2.60   $ 4,920.78     $   6.10   M
Ruth A. Dietz         3740 Country Drive           Rhinelander WI 54501      20112332   WI   11/23/2011   11/1/2013   Term      $    17,000.00   $    17,000.00   $   2.00   $ 3,692.67     $   5.30   M
Ruth A. Dietz         3740 Country Drive           Rhinelander WI 54501      20112331   WI   11/23/2011   11/1/2013   Term      $    17,000.00   $    17,000.00   $   2.00   $ 4,211.98     $   5.40   M
Ruth A. Dietz         3740 Country Drive           Rhinelander WI 54501      20112333   WI   11/23/2011   11/1/2013   Term      $    17,000.00   $    17,000.00   $   2.00   $ 3,880.76     $   5.20   M
Ruth A. Dietz         3740 Country Drive           Rhinelander WI 54501      20112334   WI   11/23/2011   11/1/2013   Term      $    17,000.00   $    17,000.00   $   2.00   $ 2,372.77     $   4.30   M
Karol A. Dipietro     28 Wilson Hill Road          Merrimack NH 06054        20122441   NH    2/15/2012    3/1/2022   Deferr.   $    93,702.76   $    93,702.76   $   1.60   $ 9,522.46     $   6.14   M
Martha E. Doggett     2909 Robin Road              Plano TX 75075            20101397   TX    9/29/2010   11/1/2010   Immed.    $    62,604.44   $    62,604.44   $   2.80   $ 15,624.14    $   6.00   M
Barbara G. Roth Donaldson
                      5250 Manz Place - Apt. 314   Sarasota FL 34232         20112314   FL   11/10/2011   12/1/2011   Immed.    $    22,000.00   $    22,000.00   $   2.00   $ 3,152.19     $   4.30   M
Edward J. Downey      11 Wisteria Drive            Plainville MA 02762       20112317   MA   11/15/2011    1/1/2012   Immed.    $    21,384.70   $    21,384.70   $   2.00   $ 2,158.00     $   4.03   M
Liliane C. Dozois     10 Seville Place - #102D     Lewiston ME 04240         20112270   ME    10/6/2011   10/1/2016   Deferr.   $    85,966.92   $    85,966.92   $   2.20   $ 31,477.58    $   7.20   M
Liliane C. Dozois     10 Seville Place - #102D     Lewiston ME 04240         20112269   ME    10/6/2011   10/1/2016   Deferr.   $    85,966.92   $    85,966.92   $   2.20   $ 34,464.00    $   7.30   M
Liliane C. Dozois     10 Seville Place - #102D     Lewiston ME 04240         20112271   ME    10/6/2011   10/1/2016   Deferr.   $    85,966.92   $    85,966.92   $   2.20   $ 23,270.42    $   6.60   M
Maybelle Drake        6898 Wildwood Park Drive     Saranac MI 48881          20101474   MI   11/24/2010    8/1/2012   Term      $    13,472.00   $    13,472.00   $   2.40   $ 4,638.09     $   3.20   M
Maybelle Drake        6898 Wildwood Park Drive     Saranac MI 48881          20101473   MI   11/24/2010    8/1/2012   Term      $    13,472.00   $    13,472.00   $   2.40   $ 5,075.28     $   3.10   M
*Anita Drittel        11483 SW 109th Road - #F     Miami FL 33176            20091123   FL   10/20/2009   12/1/2009   Immed.    $   111,372.93   $   111,372.93   $   3.40   $ 51,625.75    $   7.40   M
*Anita Drittel        11483 SW 109th Road - #F     Miami FL 33176            20112354   FL    12/6/2011    1/1/2012   Immed.    $    28,876.84   $    28,876.84   $   1.60   $ 13,566.15    $   7.30   M
*Anita Drittel        11483 SW 109th Road - #F     Miami FL 33176            20122458   FL    3/12/2012    4/1/2012   Immed.    $    30,046.48   $    30,046.48   $   1.40   $ 13,721.02    $   7.40   M
*Anita Drittel        11483 SW 109th Road - #F     Miami FL 33176            20101225   FL     3/1/2010    4/1/2010   Immed.    $    94,936.72   $    94,936.72   $   3.40   $ 74,130.33    $   3.00   M
*Anita Drittel        11483 SW 109th Road - #F     Miami FL 33176            20091099   FL     8/4/2009   10/1/2009   Immed.    $    53,265.20   $    53,265.20   $   3.40   $ 24,814.68    $   7.40   M
Peggy R. Drummond 1053 Soledad Way                 Lady Lake FL 32159        20101273   FL    5/10/2010    6/1/2011   Term      $   257,173.16   $   257,173.16   $   3.20   $ 47,892.37    $   4.80   M
Peggy R. Drummond 1053 Soledad Way                 Lady Lake FL 32159        20112336   FL   11/29/2011   12/1/2013   Term      $    27,757.57   $    27,757.57   $   2.00   $ 4,026.14     $   4.50   M
Marilyn O. DuBrul     25335 Hibiscus Street        Leesburg FL 34748         20122438   FL    2/14/2012    3/1/2014   Term      $    50,998.11   $    50,998.11   $   1.60   $ 6,794.64     $   5.10   M
Marilyn O. DuBrul     25335 Hibiscus Street        Leesburg FL 34748         20112328   FL   11/21/2011   12/1/2013   Term      $    33,245.83   $    33,245.83   $   2.00   $ 5,391.25     $   4.40   M
Marilyn O. DuBrul     25335 Hibiscus Street        Leesburg FL 34748         20122439   FL    2/14/2012    3/1/2014   Term      $    50,998.11   $    50,998.11   $   1.60   $ 5,992.70     $   4.50   M
Marilyn O. DuBrul     25335 Hibiscus Street        Leesburg FL 34748         20112327   FL   11/21/2011   12/1/2013   Term      $    33,245.83   $    33,245.83   $   2.00   $ 6,326.40     $   5.00   M
John & Frances Duffy 21097 Edgewater Drive         Port Charlotte FL 33952   20111571   FL    1/31/2011    3/1/2011   Immed.    $   117,716.95   $   117,716.95   $   2.40   $ 17,227.78    $   4.30   M
John E. Duffy - Sr.   21097 Edgewater Drive        Port Charlotte FL 33952   20112222   FL    8/22/2011    9/1/2021   Deferr.   $    82,000.00   $    82,000.00   $   2.80   $ 19,098.70    $   7.40   M
Richard A. Dunham     54176 Church Road            Callahan FL 32011         20112106   FL    5/25/2011    6/1/2021   Term      $    40,000.00   $    40,000.00   $   3.00   $ 15,051.87    $   4.00   M
Bryan L. Dunlap       19110 W. Birdsong            San Antonio TX 78258      20101547   TX   12/31/2010    3/1/2012   Deferr.   $    44,634.45   $    44,634.45   $   2.00   $ 12,258.38    $   5.60   M
Howard B. & Naomi E. Esch
                      2303 Hopespring Loop         The Villages FL 32162     20081015   FL    6/27/2008    1/1/2012   Deferr.   $   351,623.52   $   166,666.00   $   3.80   $ 101,537.11   $   5.80   M
Howard B. & Naomi E. Esch
                      2303 Hopespring Loop         The Villages FL 32162     20081013   FL    6/27/2008    1/1/2012   Deferr.   $   351,623.52   $   166,666.66   $   3.80   $ 78,301.03    $   5.20   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101538   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 3,358.12     $   3.50   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101537   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 3,473.11     $   3.70   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101534   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 4,598.73     $   4.00   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101535   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 4,195.85     $   3.90   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101533   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 4,612.19     $   4.30   M
Edward James Eglinsdoerfer
                      3150 Judd Road               Milan MI 48160            20101532   MI   12/23/2010    1/1/2016   Term      $     9,535.46   $     9,535.46   $   2.00   $ 5,168.91     $   4.50   M
Barbara J. Ellis      2614 S. Lowell Road          St. Johns MI 48879        20111552   MI     1/7/2011    1/1/2016   Term      $    87,478.84   $    87,478.84   $   2.40   $ 9,224.74     $   5.40   M
Clarence G. Elmore    4279 NC Hwy. 801 N.          Mocksville NC 27028       20101439   NC   11/12/2010   12/1/2010   Immed.    $    76,735.50   $    76,735.50   $   2.40   $ 9,077.96     $   4.10   M
Clarence G. Elmore    4279 NC Hwy. 801 N.          Mocksville NC 27028       20101440   NC   11/12/2010   12/1/2010   Immed.    $    76,735.50   $    76,735.50   $   2.40   $ 10,751.38    $   3.80   M
Clarence G. Elmore    4279 NC Hwy. 801 N.          Mocksville NC 27028       20101441   NC   11/12/2010   12/1/2010   Immed.    $    76,735.50   $    76,735.50   $   2.40   $ 13,726.11    $   3.10   M
Gunter Erdmann        124 Winthrop Street          Medway MA 02053           20112144   MA    12/1/2011    1/1/2012   Immed.    $   443,386.06   $   443,386.06   $   3.00   $ 134,289.01   $   3.00   M
Howard B. Esch        36938 Sparta Circle          Zephyrhills FL 33541      20081014   FL     1/1/2010    1/1/2013   Deferr.   $   332,495.16   $   161,424.74   $   3.00   $ 205,294.49   $   9.00   M
Francisco J. Esparza  6354 South Laporte Avenue    Chicago IL 60638          20122446   IL    2/16/2012    3/1/2013   Term      $    80,000.00   $    80,000.00   $   1.60   $ 9,430.54     $   4.42   M
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David A. Evans         101 Shutesbury Road                    Leverett MA 01054         20112178   MA     7/1/2011    7/1/2012   Deferr.   $   112,966.00   $   112,966.00   $   3.00   $ 90,333.99    $   2.00   M
Earl T. Evans          1669 Belacross Lane                    Newton NC 28658           20101303   NC    6/28/2010    7/1/2011   Term      $    33,904.64   $    33,904.64   $   3.40   $ 10,186.94    $   5.30   M
Earl T. Evans          1669 Belacross Lane                    Newton NC 28658           20101302   NC    6/28/2010    7/1/2011   Term      $    33,904.64   $    33,904.64   $   3.40   $ 14,067.64    $   5.50   M
David A. Evans         101 Shutesbury Road                    Leverett MA 01054         20101334   MA    7/23/2010    8/1/2011   Deferr.   $   248,712.03   $   248,712.03   $   3.40   $ 115,088.53   $   5.30   M
Willie Wendell Fairley P.O. Box 586                           Wagram NC 28396           20112170   NC    7/12/2011    7/1/2021   Term      $    65,413.84   $    65,413.84   $   3.00   $ 21,982.71    $   5.80   M
Michael Fales          705 Foxboro Drive                      Norwalk CT 06851          20101353   CT    8/12/2010    9/1/2010   Immed.    $   129,003.54   $   129,003.54   $   3.20   $ 33,621.25    $   5.00   M
Theodore Russel Fasing5626 W. 28 1/2 Road                     Harrietta MI 49638        20112121   MI     6/3/2011    6/1/2016   Term      $    31,982.06   $    31,982.06   $   3.00   $ 4,876.17     $   5.40   M
Theodore Russel Fasing5626 W. 28 1/2 Road                     Harrietta MI 49638        20112120   MI     6/3/2011    6/1/2016   Term      $    31,982.06   $    31,982.06   $   3.00   $ 4,458.81     $   5.00   M
Charles L. Fisher      7184 SE 172nd Hazelwood Loop The Villages FL 32162               20101327   FL    7/20/2010    8/1/2011   Term      $   197,121.36   $   197,121.36   $   3.40   $ 48,382.72    $   3.80   M
William J. Flanders    118 Sea Street                         Quincy MA 02169           20112228   MA    8/31/2011   10/1/2011   Immed.    $    75,211.87   $    75,211.87   $   2.80   $ 15,536.46    $   4.20   M
Kenneth Fleischman 3358 Janewood Circle                       Tarpon Springs FL 34688   20101476   FL   10/27/2010   12/1/2015   Term      $    80,000.00   $    80,000.00   $   2.60   $ 8,245.50     $   4.00   M
Marjory Florko         1309 Eight Mile Road                   Cincinnati OH 45255       20091172   OH   12/28/2009    2/1/2010   Immed.    $     4,417.68   $     4,417.68   $   3.20   $     781.12   $   4.30   M
Marjory Florko         1309 Eight Mile Road                   Cincinnati OH 45255       20091171   OH   12/28/2009    2/1/2010   Immed.    $     4,417.68   $     4,417.68   $   3.20   $     838.61   $   4.30   M
Marjory Florko         1309 Eight Mile Road                   Cincinnati OH 45255       20091175   OH   12/28/2009    2/1/2010   Immed.    $     4,417.68   $     4,417.68   $   3.20   $     776.93   $   4.00   M
Marjory Florko         1309 Eight Mile Road                   Cincinnati OH 45255       20091174   OH   12/28/2009    2/1/2010   Immed.    $     4,417.68   $     4,417.68   $   3.20   $     789.73   $   4.10   M
Marjory Florko         1309 Eight Mile Road                   Cincinnati OH 45255       20091173   OH   12/28/2009    2/1/2010   Immed.    $     4,417.68   $     4,417.68   $   3.20   $     842.91   $   4.10   M
Mary Anne Fox          2016 Saginaw Court                     Oldsmar FL 34677          20101382   FL    9/13/2010   10/1/2011   Term      $   143,094.49   $   143,094.49   $   2.80   $ 58,711.92    $   6.00   M
*Helen P. French       729 Ashley Loop                        Eden NC 27288             20101481   NC    12/1/2010   10/1/2012   Term      $    93,828.88   $    93,828.88   $   2.00   $ 43,930.14    $   4.56   A
Tena Freyling          2325 Radcliff Village Drive S.E. - - Bldg.
                                                              Grand
                                                                  40ERapids MI 49546    20112042   MI    3/30/2011    3/1/2012   Immed.    $   213,653.10   $   213,653.10   $   3.00   $ 75,417.30    $   5.20   A
*Norma S. Friedland 2720 S. Ocean Blvd. Apt. 314              Palm Beach FL 33480       20101361   FL    8/19/2010    9/1/2011   Term      $    46,509.87   $    46,509.87   $   3.20   $ 24,344.59    $   3.70   M
*Norma S. Friedland 2720 S. Ocean Blvd. Apt. 314              Palm Beach FL 33480       20101362   FL    8/19/2010    9/1/2011   Term      $    46,509.87   $    46,509.87   $   3.20   $ 22,710.82    $   3.50   M
Steven G. Fritts       895 Harriet Ave.                       Shoreview MN 55126        20091201   MN   12/31/2009    1/1/2020   Deferr.   $   143,150.75   $   143,150.75   $   3.20   $ 34,713.64    $   7.70   M
Charles R. Fullmer     2138 Estevez Drive                     Lady Lake FL 32159        20112181   FL    7/26/2011    8/1/2013   Term      $    57,043.50   $    57,043.50   $   3.00   $ 13,386.16    $   2.90   M
Charles R. Fullmer     2138 Estevez Drive                     Lady Lake FL 32159        20112182   FL    7/26/2011    8/1/2013   Term      $    57,043.50   $    57,043.50   $   3.00   $ 12,836.43    $   2.90   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101484   ID    12/2/2010   12/1/2015   Term      $    23,889.79   $    23,889.79   $   2.40   $ 7,368.76     $   4.00   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101482   ID    12/2/2010   12/1/2015   Term      $    23,889.79   $    23,889.79   $   2.00   $ 8,485.56     $   4.60   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101488   ID    12/2/2010    1/1/2012   Term      $    11,490.12   $    11,490.12   $   2.40   $ 2,562.19     $   3.70   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101485   ID    12/2/2010   12/1/2015   Term      $    23,889.79   $    23,889.79   $   2.40   $ 8,292.88     $   3.40   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101489   ID    12/2/2010    1/1/2012   Term      $    11,490.12   $    11,490.12   $   2.40   $ 2,272.03     $   3.50   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101486   ID    12/2/2010    1/1/2012   Term      $    11,490.12   $    11,490.12   $   2.00   $ 2,510.36     $   4.40   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101487   ID    12/2/2010    1/1/2012   Term      $    11,490.12   $    11,490.12   $   2.40   $ 2,332.27     $   4.20   M
Verla Furniss          700 Tie Breaker Drive                  Ammon ID 83406            20101483   ID    12/2/2010   12/1/2015   Term      $    23,889.79   $    23,889.79   $   2.00   $ 7,108.93     $   4.30   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091152   TX   11/20/2009    4/1/2012   Deferr.   $    24,222.63   $    24,222.63   $   3.40   $ 19,339.09    $   1.05   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091153   TX   11/20/2009    4/1/2012   Deferr.   $    24,222.63   $    24,222.63   $   3.40   $ 20,347.86    $   0.95   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091188   TX   12/30/2009    1/1/2020   Deferr.   $    62,222.61   $    62,222.61   $   3.20   $ 11,327.61    $   6.00   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091186   TX   12/30/2009    1/1/2020   Deferr.   $    62,222.61   $    62,222.61   $   3.20   $ 18,680.33    $   6.70   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091154   TX   11/20/2009    4/1/2012   Deferr.   $    24,222.63   $    24,222.63   $   3.40   $ 20,620.84    $   0.75   M
Stephen D. & Karan G. Crooks
                       9851 FM 1097 W                         Willis TX 77318           20091187   TX   12/30/2009    7/1/2012   Deferr.   $    44,222.61   $    44,222.61   $   3.20   $ 22,282.27    $   2.50   M
Josephine Galtieri     777Fruitland Drive                     Deltona FL 32725          20091080   FL     7/8/2009   10/1/2010   Term      $   134,980.58   $   134,980.58   $   3.40   $ 26,661.44    $   4.10   M
Milton Gambles         331 Court Street                       Soda Springs ID 83276     20112024   ID     3/1/2011    3/1/2016   Term      $    10,184.16   $    10,184.16   $   3.00   $ 1,415.03     $   5.10   M
Milton Gambles         331 Court Street                       Soda Springs ID 83276     20112023   ID     3/1/2011    3/1/2016   Term      $    10,184.16   $    10,184.16   $   3.00   $ 1,881.86     $   5.70   M
Milton Gambles         331 Court Street                       Soda Springs ID 83276     20112022   ID     3/1/2011    3/1/2016   Term      $    10,184.16   $    10,184.16   $   3.00   $ 2,505.55     $   6.00   M
Donna Gedeon           10404 Auburn Road                      Chardon OH 44024          20101398   OH    10/4/2010   10/1/2012   Term      $    97,105.18   $    97,105.18   $   2.60   $ 13,372.76    $   5.00   M
Donna Gedeon           10404 Auburn Road                      Chardon OH 44024          20101470   OH   11/22/2010   12/1/2011   Term      $    43,179.22   $    43,179.22   $   2.00   $ 6,016.41     $   4.60   M
Marilyn Geertsen       5500 E. Peakview Ave.                  Centennial CO 80121       20101342   CO    7/30/2010    8/1/2025   Deferr.   $    78,963.99   $    78,963.99   $   3.40   $ 39,359.53    $   8.90   M
Marilyn Geertsen       5500 E. Peakview Ave.                  Centennial CO 80121       20101341   CO    7/30/2010    8/1/2025   Deferr.   $    78,963.99   $    78,963.99   $   3.40   $ 41,341.37    $   8.90   M
Enid M. Genias         10 Jennings Avenue                     Bridgeport CT 06610       20122505   CT     4/9/2012    5/1/2013   Term      $    29,414.04   $    29,414.04   $   1.40   $ 5,583.74     $   3.50   M
Enid M. Genias         10 Jennings Avenue                     Bridgeport CT 06610       20122504   CT     4/9/2012    5/1/2013   Term      $    29,414.04   $    29,414.04   $   1.40   $ 5,991.02     $   3.70   M
Leonard H. Gero        11 View Street                         Holyoke MA 01040          20101333   MA    7/23/2010    9/1/2010   Immed.    $   198,776.67   $   198,776.67   $   3.40   $ 53,269.47    $   4.25   M
Edna M. Gessner        643 Lavender Street                    Monroe MI 48162           20101429   MI    11/1/2010   11/1/2013   Term      $    62,100.39   $    62,100.39   $   2.40   $ 23,586.73    $   6.30   M
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                                                                                                 SPREADSHEET



Edna M. Gessner      643 Lavender Street                Monroe MI 48162             20101430   MI    11/1/2010   11/1/2013   Term      $    62,100.39   $    62,100.39   $   2.40   $ 17,954.80    $    5.90   M
Phyllis B. Gillam    9004 Arbor Drive                   North Fort Myers FL 33903   20112373   FL   12/27/2011    1/1/2017   Term      $    95,748.97   $    95,748.97   $   1.60   $ 29,329.88    $    6.00   M
Phyllis B. Gillam    9004 Arbor Drive                   North Fort Myers FL 33903   20112375   FL   12/27/2011    1/1/2017   Term      $    95,748.97   $    95,748.97   $   1.60   $ 20,902.33    $    4.70   M
Phyllis B. Gillam    9004 Arbor Drive                   North Fort Myers FL 33903   20112374   FL   12/27/2011    1/1/2017   Term      $    95,748.97   $    95,748.97   $   1.60   $ 25,447.24    $    5.60   M
Brenda T. Goethe     6732 Marion CT. N.                 Jacksonville FL 32216       20091058   FL    3/20/2009    2/1/2012   Deferr.   $    45,070.48   $    45,070.48   $   2.40   $ 17,823.88    $    2.70   M
Dorothy M. Golas     3 Lang Ave.                        Easthampton MA 01027        20101352   MA    8/12/2010    9/1/2015   Deferr.   $    56,631.24   $    56,631.24   $   3.20   $ 12,455.46    $    5.80   M
Dorothy M. Golas     3 Lang Ave.                        Easthampton MA 01027        20101351   MA    8/12/2010    9/1/2015   Deferr.   $    56,631.24   $    56,631.24   $   3.20   $ 14,625.62    $    5.80   M
William P. Golden    45 Redlands Road                   West Roxbury MA 02132       20112282   MA   10/12/2011   11/1/2011   Immed.    $   137,206.39   $   137,206.39   $   2.20   $ 39,274.45    $    3.50   M
*Dennis Glen Goodrow 9830 Harrison                      Livonia MI 48150            20101490   MI    12/6/2010   12/1/2015   Term      $    83,431.42   $    83,431.42   $   1.80   $ 23,392.52    $    6.80   M
Diane M. Graham      4 Stoney Brook Drive               Southwick MA 01077          20112362   MA    12/9/2011    1/1/2013   Term      $    17,887.27   $    17,887.27   $   1.60   $ 1,883.85     $    4.20   M
Carrie B. Grant      481 Tamassee Lane                  Tamassee SC 29686           20122451   SC    2/17/2012    3/1/2012   Immed.    $   121,988.70   $   121,988.70   $   3.00   $ 37,543.17    $    3.80   M
James Green Jr.      1532 Terrell Ave                   Beaumont TX 77701           20101527   TX   12/21/2010    2/1/2011   Immed.    $    24,868.00   $    24,868.00   $   2.00   $ 8,185.11     $    5.00   M
James Green Jr.      1532 Terrell Ave                   Beaumont TX 77701           20101293   TX     6/8/2010    7/1/2010   Immed.    $    22,922.00   $    22,922.00   $   3.40   $ 9,277.14     $    5.00   M
*Frances Grooms      17826 Fancy Lane                   Hudson FL 34667             20101411   FL   10/18/2010   11/1/2011   Term      $    23,617.88   $    23,617.88   $   2.60   $ 8,111.34     $    2.90   M
Gary L. Grosteffon   7 Brown Court                      Midland MI 48640            20112166   MI    7/11/2011    7/1/2016   Term      $    50,003.39   $    50,003.39   $   3.00   $ 8,532.56     $    5.20   M
Gary L. Grosteffon   7 Brown Court                      Midland MI 48640            20112167   MI    7/11/2011    7/1/2016   Term      $    50,003.39   $    50,003.39   $   3.00   $ 7,844.86     $    5.10   M
Louise R. Guidetti   6700 NE 22nd Way - - Bldg. 22 - Apt.Ft.2212
                                                             Lauderdale FL 33308    20091130   FL   10/19/2009   11/1/2014   Term      $    36,384.27   $    36,384.27   $   3.40   $ 8,335.47     $    6.00   M
Louise R. Guidetti   6700 NE 22nd Way - - Bldg. 22 - Apt.Ft.2212
                                                             Lauderdale FL 33308    20091131   FL   10/19/2009   11/1/2014   Term      $    36,384.27   $    36,384.27   $   3.40   $ 8,525.96     $    6.10   M
Louise R. Guidetti   6700 NE 22nd Way - - Bldg. 22 - Apt.Ft.2212
                                                             Lauderdale FL 33308    20091129   FL   10/19/2009   11/1/2014   Term      $    36,384.27   $    36,384.27   $   3.40   $ 7,276.74     $    4.80   M
Louise R. Guidetti   6700 NE 22nd Way - - Bldg. 22 - Apt.Ft.2212
                                                             Lauderdale FL 33308    20091128   FL   10/19/2009   11/1/2014   Term      $    36,384.27   $    36,384.27   $   3.40   $ 10,757.47    $    6.20   M
Linnette Habermann 707 E. Weinert Street                Seguin TX 78155             20112262   TX    9/27/2011   11/1/2011   Immed.    $    70,688.54   $    70,688.54   $   2.40   $ 29,206.37    $    2.90   M
Roger A. Hale        461 Old Orchid Circle              Millersville MD 21108       20112289   MD   10/19/2011   11/1/2021   Term      $    88,541.15   $    88,541.15   $   2.20   $ 13,105.76    $    7.10   M
Roger A. Hale        461 Old Orchid Circle              Millersville MD 21108       20112288   MD   10/19/2011   11/1/2021   Term      $    88,541.15   $    88,541.15   $   2.20   $ 13,633.94    $    7.60   M
Ron B. Hall          2798 East 700 North                Roberts ID 83444            20112223   ID    8/27/2011    9/1/2021   Term      $    12,447.98   $    12,447.98   $   2.80   $ 8,165.34     $    5.00   M
Patricia P. Hall     5155 9th Ave. N - - Unit 209       St. Petersburg FL 33710     20101350   FL     8/9/2010    9/1/2011   Term      $   245,397.43   $   245,397.43   $   3.20   $ 160,974.73   $    1.60   M
Marlene Halstead     18131 Pilot Knob Rd.               Farmington MN 55024         20101247   MN     4/5/2010    4/1/2016   Term      $    78,497.79   $    78,497.79   $   3.20   $ 14,545.98    $    5.50   M
Marlene Halstead     18131 Pilot Knob Rd.               Farmington MN 55024         20101248   MN     4/5/2010    4/1/2016   Term      $    78,497.79   $    78,497.79   $   3.20   $ 12,792.00    $    5.00   M
James A. Halvorson   607 Amistad Blvd.                  Universal City TX 78148     20112048   TX     4/4/2011    4/1/2014   Term      $   115,931.93   $   115,931.93   $   3.00   $ 25,801.38    $    4.10   M
Helen T. Hampton     4819 Raven Road                    Louisville KY 40213         20101404   KY    10/7/2010   11/1/2011   Deferr.   $    24,183.51   $    24,183.51   $   2.60   $ 9,490.28     $    6.00   M
Erma L. Hanna        6992 Tonga Drive                   Jacksonville FL 32246       20091148   FL   11/20/2009   12/1/2019   Deferr.   $    71,437.24   $    71,437.24   $   3.40   $ 20,998.40    $    6.50   M
Erma L. Hanna        6992 Tonga Drive                   Jacksonville FL 32246       20091149   FL   11/20/2009   12/1/2019   Deferr.   $    71,437.24   $    71,437.24   $   3.40   $ 13,442.60    $    5.90   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101504   ID    12/8/2010   11/1/2012   Term      $    93,093.24   $    93,093.24   $   2.00   $ 42,587.07    $    2.70   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101503   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 39,520.77    $    3.00   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101502   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 40,386.80    $    3.10   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101501   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 41,714.07    $    3.10   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101499   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 42,508.59    $    3.40   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101497   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 42,533.95    $    3.60   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101498   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 29,471.06    $    4.40   M
George L. Hansen     815 East 2500 North                Monteview ID 83435          20101500   ID    12/8/2010    1/1/2013   Term      $    93,093.24   $    93,093.24   $   2.00   $ 39,809.16    $    3.30   M
Alice J. Hardy       P.O. Box 630413                    Highlands Ranch CO 80163    20101383   CO    9/15/2010   11/1/2010   Immed.    $   169,909.05   $   169,909.05   $   2.80   $ 71,518.53    $    5.60   M
*Edward F. Harkema 1225 W. Hinsdale Drive               Littleton CO 80120          20101308   CO    6/29/2010    8/1/2010   Immed.    $    24,500.00   $    24,500.00   $   3.40   $ 9,875.48     $    5.80   M
Malvina E. Hay       4110 West 222nd Street             Fairview Park OH 44126      20112131   OH     6/8/2011    6/1/2021   Term      $   160,465.99   $   160,465.99   $   3.00   $ 100,380.64   $   10.40   M
Malvina E. Hay       4110 West 222nd Street             Fairview Park OH 44126      20112132   OH     6/8/2011    6/1/2021   Term      $   160,465.99   $   160,465.99   $   3.00   $ 93,680.26    $    9.80   M
Malvina E. Hay       4110 West 222nd Street             Fairview Park OH 44126      20112130   OH     6/8/2011    6/1/2021   Term      $   160,465.99   $   160,465.99   $   3.00   $ 103,963.09   $   10.70   M
Malvina E. Hay       4110 West 222nd Street             Fairview Park OH 44126      20112133   OH     6/8/2011    6/1/2021   Term      $   160,465.99   $   160,465.99   $   3.00   $ 86,227.66    $    9.40   M
Helen D. Haynes      1151 South Main Street Apt. 116 Wake Forest NC 27587           20112004   NC     2/3/2011    3/1/2012   Term      $   183,944.50   $   183,944.50   $   2.80   $ 27,135.47    $    4.10   M
Helen D. Haynes      1151 South Main Street Apt. 116 Wake Forest NC 27587           20112003   NC     2/3/2011    3/1/2012   Term      $   183,944.50   $   183,944.50   $   2.80   $ 31,737.81    $    4.80   M
Helen D. Haynes      1151 South Main Street Apt. 116 Wake Forest NC 27587           20112002   NC     2/3/2011    3/1/2012   Term      $   183,944.50   $   183,944.50   $   2.80   $ 35,345.50    $    4.90   M
Floyd H. Heinze      1212 Davis Court                   El Dorado KS 67042          20122489   KS     4/4/2012    5/1/2013   Term      $   256,349.07   $   256,349.07   $   1.40   $ 44,783.10    $    4.30   M
Floyd H. Heinze      1212 Davis Court                   El Dorado KS 67042          20122511   KS     4/9/2012    5/1/2013   Term      $    38,190.70   $    38,190.70   $   1.40   $ 13,035.78    $    4.10   M
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*Herbert Helbich       10310 Almira Ave                   Cleveland OH 44111          20101266   OH    4/27/2010    6/1/2010   Immed.    $    44,460.74   $    44,460.74   $   3.20   $ 16,933.44    $    8.00   M
Dennis T. Helms        1803 Olive Branch Road             Polkton NC 28135            20112122   NC     6/6/2011    6/1/2016   Term      $    65,399.96   $    65,399.96   $   3.00   $ 29,159.58    $    7.40   M
Annette M. Hendrickson1810 Sabin Drive                    Idaho Falls ID 83406        20112205   ID     8/9/2011    8/1/2021   Term      $    45,656.65   $    45,656.65   $   2.80   $ 10,675.23    $    7.00   M
Annette M. Hendrickson1810 Sabin Drive                    Idaho Falls ID 83406        20112206   ID     8/9/2011    8/1/2021   Term      $    45,656.65   $    45,656.65   $   2.80   $ 10,116.18    $    6.90   M
Arthur A. Herm         22804 Farmdale Road                East Peoria IL 61611        20112295   IL   10/27/2011   11/1/2016   Term      $    35,353.75   $    35,353.75   $   2.20   $ 4,336.13     $    3.70   M
Arthur A. Herm         22804 Farmdale Road                East Peoria IL 61611        20112296   IL   10/27/2011   11/1/2016   Term      $    35,353.75   $    35,353.75   $   2.20   $ 4,018.26     $    3.70   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101232   FL     2/5/2010    2/1/2020   Term      $    10,000.00   $    10,000.00   $   3.40   $ 1,966.31     $    5.40   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101234   FL     2/5/2010    2/1/2030   Term      $    20,000.00   $    20,000.00   $   3.40   $ 2,939.58     $    7.10   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101233   FL     2/5/2010    2/1/2020   Term      $    10,000.00   $    10,000.00   $   3.40   $ 1,938.99     $    5.30   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101235   FL     2/5/2010    2/1/2020   Term      $    10,000.00   $    10,000.00   $   3.40   $ 1,966.31     $    5.40   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101236   FL     2/5/2010    2/1/2030   Term      $    20,000.00   $    20,000.00   $   3.40   $ 3,153.79     $    6.90   M
*Robert Herring        19473 Quietwoods Lane              Glen Saint Mary FL 32040    20101231   FL     2/5/2010    3/1/2011   Term      $    38,020.57   $    38,020.57   $   3.40   $ 8,082.58     $    4.30   M
Lorraine Heylmann      860 Raleigh Trail                  Murrella Inlet SC 29576     20112006   SC    2/18/2011    3/1/2016   Deferr.   $   389,742.77   $   389,742.77   $   2.80   $ 138,697.10   $    4.00   M
Barbara J. Hibbard     9 Hadley Village Road              South Hadley MA 01075       20112291   MA   10/26/2011   10/1/2017   Term      $    17,855.14   $    17,855.14   $   2.20   $ 2,658.01     $    3.70   A
Barbara J. Hibbard     9 Hadley Village Road              South Hadley MA 01075       20112290   MA   10/26/2011   10/1/2017   Term      $    17,855.14   $    17,855.14   $   2.20   $ 2,552.56     $    3.90   A
Gerald J. Hiebsch      W16420 R                           ettrick WI 54627            20101318   WI    7/13/2010    9/1/2010   Immed.    $   153,924.53   $   153,924.53   $   3.40   $ 34,481.38    $    4.10   M
Patricia A. Higgins    178 Adams Street                   Rutland VT 05701            20081025   VT    9/16/2008    3/1/2010   Deferr.   $    40,870.71   $    40,870.71   $   4.20   $ 24,631.91    $    2.10   M
Reginald D. Hill       373A Lakewood Road                 Oakboro NC 28129            20112080   NC     5/4/2011    6/1/2012   Deferr.   $   195,760.80   $    72,000.00   $   3.00   $ 177,889.26   $    2.90   M
Betty Hill             954 NW Spruce Ridge - Apt. C-6     Stuart FL 34994             20101277   FL    5/12/2010    7/1/2013   Term      $    73,599.61   $    73,599.61   $   3.40   $ 16,707.67    $    4.40   M
Betty Hill             954 NW Spruce Ridge - Apt. C-6     Stuart FL 34994             20101276   FL    5/12/2010    7/1/2013   Term      $    73,599.61   $    73,599.61   $   3.40   $ 20,622.18    $    4.50   M
Betty Ann Hill         954 N.W. Spruce Ridge Drive - - Apt.Stuart
                                                            C-6 FL 34994              20112089   FL    5/12/2011    7/1/2013   Term      $   269,212.08   $   269,212.08   $   3.00   $ 51,536.54    $    4.60   M
Betty A. Hill          954 N.W. Spruce Ridge Drive - - Apt.Stuart
                                                            C-6 FL 34994              20112355   FL   11/30/2011    7/1/2013   Term      $    72,962.77   $    72,962.77   $   2.00   $ 9,506.78     $    4.25   M
Betty A. Hill          954 N.W. Spruce Ridge Drive - - Apt.Stuart
                                                            C-6 FL 34994              20112356   FL   11/30/2011    7/1/2013   Term      $    72,962.77   $    72,962.77   $   2.00   $ 10,657.34    $    3.65   M
Irene Hilliard         72 Christy Drive                   Cuyahoga Falls OH 44223     20122509   OH     4/9/2012    5/1/2022   Deferr.   $    31,742.53   $    31,742.53   $   1.40   $ 11,600.41    $    6.70   M
Irene Hilliard         72 Christy Drive                   Cuyahoga Falls OH 44223     20122508   OH     4/9/2012    5/1/2022   Deferr.   $    31,742.53   $    31,742.53   $   1.40   $ 17,136.89    $    8.80   M
Irene Hilliard         72 Christy Drive                   Cuyahoga Falls OH 44223     20122507   OH     4/9/2012    5/1/2022   Deferr.   $    31,742.53   $    31,742.53   $   1.40   $ 17,829.97    $    9.10   M
*Patricia A. Hodge     4385 2nd Ave. SE                   Naples FL 34117             20091132   FL    11/3/2009   12/1/2010   Term      $    26,555.57   $    26,555.57   $   3.40   $ 5,214.10     $    4.60   M
Harry E. Hodge         17807 S.E. 84th Sheldon Terrace The Villages FL 32162          20112076   FL     5/3/2011    6/1/2013   Term      $    79,185.07   $    79,185.07   $   3.00   $ 27,251.60    $    5.70   M
Harry E. Hodge         17807 S.E. 84th Sheldon Terrace The Villages FL 32162          20112077   FL     5/3/2011    6/1/2013   Term      $    79,185.07   $    79,185.07   $   3.00   $ 26,469.30    $    5.60   M
Harry E. Hodge         17807 S.E. 84th Sheldon Terrace The Villages FL 32162          20112079   FL     5/3/2011    6/1/2013   Term      $    79,185.07   $    79,185.07   $   3.00   $ 21,280.30    $    5.30   M
*Patricia A. Hodge     4385 2nd Ave. SE                   Naples FL 34117             20091133   FL    11/3/2009   12/1/2010   Term      $    26,555.57   $    26,555.57   $   3.40   $ 4,565.05     $    4.30   M
*Patricia A. Hodge     4385 2nd Ave. SE                   Naples FL 34117             20091134   FL    11/3/2009   12/1/2010   Term      $    26,555.57   $    26,555.57   $   3.40   $ 4,896.36     $    4.60   M
Harry E. Hodge         17807 S.E. 84th Sheldon Terrace The Villages FL 32162          20112078   FL     5/3/2011    6/1/2013   Term      $    79,185.07   $    79,185.07   $   3.00   $ 23,448.51    $    5.40   M
Glenn A. Hogetvedt     1331 Lone Pine Lane                Amery WI 54001              20101244   WI    3/23/2010    4/1/2017   Term      $    47,747.18   $    47,747.18   $   3.40   $ 19,222.81    $    7.00   M
*Madonna R. Holden 207 Valleybrook                        Milford OH 45150            20091062   OH    4/17/2009    5/1/2009   Immed.    $    34,842.26   $    34,842.26   $   2.60   $ 4,303.20     $    5.20   M
Joe Bill Holland       2285 Bethal Church Road            Pleasant Garden NC 27313    20122435   NC     2/6/2012    2/1/2017   Deferr.   $   109,909.07   $   109,909.07   $   1.60   $ 88,682.71    $   11.90   M
Joe Bill Holland - Sr. 2285 Bethel Chruch Road            Pleasant Garden NC 27313    20112114   NC     6/1/2011    6/1/2021   Deferr.   $   214,221.67   $   214,221.67   $   3.00   $ 84,204.25    $    7.45   M
Joe Bill Holland - Sr. 2285 Bethel Chruch Road            Pleasant Garden NC 27313    20112115   NC     6/1/2011    6/1/2021   Deferr.   $   214,221.69   $   214,221.69   $   3.00   $ 73,946.26    $    7.40   M
Joe Bill Holland - Sr. 2285 Bethel Chruch Road            Pleasant Garden NC 27313    20112117   NC     6/1/2011    6/1/2021   Deferr.   $   214,221.67   $   214,221.67   $   3.00   $ 46,188.18    $    6.60   M
Joe Bill Holland - Sr. 2285 Bethel Chruch Road            Pleasant Garden NC 27313    20112116   NC     6/1/2011    6/1/2021   Deferr.   $   214,221.67   $   214,221.67   $   3.00   $ 62,943.32    $    6.90   M
Donna R. Holliday      1350 Ravenna Hollow Rd.            Odessa FL 33556             20091086   FL    7/23/2009    8/1/2013   Deferr.   $     8,250.90   $     8,250.90   $   3.40   $ 1,270.92     $    4.90   M
Donna R. Holliday      1350 Ravenna Hollow Rd.            Odessa FL 33556             20091087   FL    7/23/2009    8/1/2013   Deferr.   $     8,250.90   $     8,250.90   $   3.40   $ 1,449.85     $    5.30   M
Donna R. Holliday      1350 Ravenna Hollow Rd.            Odessa FL 33556             20091088   FL    7/23/2009    8/1/2013   Deferr.   $     8,250.90   $     8,250.90   $   3.40   $ 1,363.27     $    5.20   M
Charles L. Horne       3 Firelight Drive                  Danbury CT 06810            20122487   CT     4/4/2012    4/1/2022   Term      $    55,330.61   $    55,330.61   $   1.40   $ 5,792.65     $    7.00   M
Charles L. Horne       3 Firelight Drive                  Danbury CT 06810            20122488   CT     4/4/2012    4/1/2022   Term      $    55,330.61   $    55,330.61   $   1.40   $ 5,897.48     $    5.50   M
Charles L. Horne       3 Firelight Drive                  Danbury CT 06810            20122486   CT     4/4/2012    4/1/2022   Term      $    55,330.61   $    55,330.61   $   1.40   $ 5,605.70     $    7.65   M
Eugene Hubbard - Jr. 1104 Viewpointe Drive                Columbus OH 43207           20112109   OH    5/27/2011    7/1/2011   Immed.    $   126,595.50   $   126,595.50   $   3.00   $ 14,739.77    $    6.00   M
Lonna C. Hudson        319 Oxen Drive                     Moundsville WV 26041        20112286   WV   10/18/2011   11/1/2012   Term      $    96,089.88   $    96,089.88   $   2.20   $ 16,990.14    $    4.54   M
Mario V. Hugas - Jr.   708 County Road 477A               Lake Panasoffkee FL 33538   20101264   FL    4/23/2010   11/1/2012   Term      $    70,293.60   $    70,293.60   $   3.40   $ 23,398.40    $    3.65   M
Barbara M. Humphries 609 Hwy 466 - #221-1092              Lady Lake FL 32159          20122442   FL    2/16/2012    3/1/2013   Term      $    11,880.59   $    11,880.59   $   1.60   $ 1,299.58     $    4.30   M
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Barbara M. Humphries 609 Hwy 466 - #221-1092                Lady Lake FL 32159          20122443   FL    2/16/2012    3/1/2013   Term      $    11,880.59 $ 11,880.59 $   1.60   $ 1,377.60     $   3.90   M
Barbara M. Humphries 609 Hwy 466 - #221-1092                Lady Lake FL 32159          20122444   FL    2/16/2012    3/1/2013   Term      $    11,880.59 $ 11,880.59 $   1.60   $ 1,346.83     $   3.60   M
June R. Hutchens         P.O. Box 100                       Ririe ID 83443              20101515   ID   12/14/2010    1/1/2014   Term      $    68,989.67 $ 68,989.67 $   2.40   $ 7,980.54     $   4.80   M
June R. Hutchens         P.O. Box 100                       Ririe ID 83443              20101514   ID   12/14/2010    1/1/2014   Term      $    68,989.67 $ 68,989.67 $   2.40   $ 9,436.06     $   4.90   M
Dell Ann M. Hyke         1648 W. Davenport Street - - Apt. 1Rhinelander WI 54501        20112318   WI   10/31/2011   12/1/2013   Term      $ 330,169.05 $ 330,169.05 $    2.20   $ 35,927.03    $   3.05   M
*Eileen B. Ireland       1307 SW 24th St.                   Boynton Beach FL 33426      20091192   FL   12/30/2009    7/1/2012   Term      $    35,091.98 $ 35,091.98 $   3.20   $ 13,708.38    $   3.88   M
William L. & Nancy J. Waller
                         5991 West 26th Street              Greeley CO 80634            20122483   CO    3/29/2012    4/1/2022   Deferr.   $    81,070.40 $ 81,070.40 $   1.40   $ 8,769.62     $   5.30   M
William L. & Nancy J. Waller
                         5991 West 26th Street              Greeley CO 80634            20122482   CO    3/29/2012    4/1/2022   Deferr.   $    81,070.40 $ 81,070.40 $   1.40   $ 9,068.43     $   5.80   M
William L. & Nancy J. Waller
                         5991 West 26th Street              Greeley CO 80634            20122481   CO    3/29/2012    4/1/2022   Deferr.   $    81,070.40 $ 81,070.40 $   1.40   $ 9,116.41     $   6.20   M
Philip W. Jensen         2450 State Road 35                 Osceola WI 54020            20101385   WI    9/15/2010   10/1/2017   Term      $ 207,991.94 $ 207,991.94 $    2.80   $ 87,555.21    $   7.50   M
Dorothy J. Johnson       9787 Yucca Lane                    Maple Grove MN 55369        20101256   MN    4/15/2010    5/1/2017   Term      $    45,264.65 $ 45,264.65 $   3.40   $ 10,699.39    $   5.90   M
Dorothy J. Johnson       9787 Yucca Lane                    Maple Grove MN 55369        20101214   MN    2/23/2010    3/1/2015   Term      $    86,749.54 $ 86,749.54 $   3.40   $ 26,110.46    $   4.80   M
Dorothy J. Johnson       9787 Yucca Lane                    Maple Grove MN 55369        20101213   MN    2/23/2010    3/1/2015   Term      $    86,749.54 $ 86,749.54 $   3.40   $ 24,864.04    $   5.10   M
Dorothy J. Johnson       9787 Yucca Lane                    Maple Grove MN 55369        20101255   MN    4/15/2010    5/1/2017   Term      $    45,264.65 $ 45,264.65 $   3.40   $ 11,669.58    $   6.00   M
George Johnson           14576 Highway 10                   Clinton LA 70722            20112309   LA   10/31/2011    1/1/2013   Term      $ 101,114.86 $ 101,114.86 $    2.20   $ 36,020.83    $   4.50   M
Josephine M. Johnson 1312 Hearthside Street                 Durham NC 27707             20112396   NC   12/30/2011    1/1/2017   Term      $    34,584.62 $ 34,584.62 $   1.60   $ 3,464.44     $   4.15   M
Charles L. Johnson - Sr. 5701 Virginia Parkway - #4308      McKinney TX 75071           20101493   TX    12/7/2010    2/1/2011   Immed.    $ 102,866.23 $ 102,866.23 $    2.00   $ 41,556.98    $   5.50   M
Ben M. Johnston          P.O. Box 743 - 916 Hanford Road Graham NC 27253                20112194   NC    7/29/2011    8/1/2021   Deferr.   $ 319,387.67 $ 319,387.67 $    3.00   $ 89,132.29    $   6.70   M
Ben M. Johnston          P.O. Box 743 - 916 Hanford Road Graham NC 27253                20112195   NC    7/29/2011    8/1/2021   Deferr.   $ 211,258.45 $ 211,258.45 $    3.00   $ 44,589.52    $   6.40   M
Herb Kamm                8365 North Oak River Way           Hernando FL 34442           20112051   FL     4/5/2011    5/1/2011   Immed.    $    42,000.00 $ 42,000.00 $   3.00   $ 21,596.74    $   7.60   M
Douglas E. Kanz          105 Pleasant Valley Dr.            West Columbia TX 77486      20101212   TX     2/1/2010    2/1/2020   Deferr.   $ 134,191.01 $ 134,191.01 $    3.40   $ 18,317.66    $   6.60   M
Douglas E. Kanz          105 Pleasant Valley Dr.            West Columbia TX 77486      20101209   TX     2/1/2010    2/1/2020   Deferr.   $ 134,191.01 $ 134,191.01 $    3.40   $ 21,478.77    $   6.50   M
Wendell S. Karr          1 Lake Ridge Road                  Lake Wylie SC 29710         20112217   SC     8/2/2011    9/1/2011   Immed.    $ 1,007,997.05 ########### $   2.80   $ 302,920.78   $   4.70   M
Wendell S. Karr          1 Lake Ridge Road                  Lake Wylie SC 29710         20112216   SC     8/2/2011    9/1/2011   Immed.    $ 1,007,997.05 ########### $   2.80   $ 358,211.56   $   5.00   M
John Katzbach - Sr.      21200 Eaton Road                   Fairview Park OH 44126      20122453   OH    2/23/2012    3/1/2013   Term      $    29,516.87 $ 29,516.87 $   1.60   $ 14,442.13    $   8.10   M
Ronald M. Kelberg        5470 Vale Drive                    Denver CO 80246             20101319   CO    7/13/2010    8/1/2012   Deferr.   $ 133,913.31 $ 133,913.31 $    3.40   $ 42,127.34    $   5.60   M
Dora Marie Kibel         12135 W. 8th Ave.                  Golden CO 80401             20101218   CO     3/2/2010    3/1/2015   Term      $    17,538.74 $ 17,538.74 $   3.20   $ 2,841.99     $   6.20   M
Dora Marie Kibel         12135 W. 8th Ave.                  Golden CO 80401             20101219   CO     3/2/2010    3/1/2015   Term      $    17,538.74 $ 17,538.74 $   3.20   $ 3,290.13     $   5.50   M
Dora Marie Kibel         12135 W. 8th Ave.                  Golden CO 80401             20101216   CO     3/2/2010    3/1/2015   Term      $    17,538.74 $ 17,538.74 $   3.40   $ 3,610.39     $   6.70   M
Dora Marie Kibel         12135 W. 8th Ave.                  Golden CO 80401             20101217   CO     3/2/2010    3/1/2015   Term      $    17,538.74 $ 17,538.74 $   3.40   $ 2,393.04     $   6.70   M
Dora Marie Kibel         12135 W. 8th Ave.                  Golden CO 80401             20101215   CO     3/2/2010    3/1/2013   Term      $    17,538.74 $ 17,538.74 $   3.40   $ 5,949.68     $   5.10   M
Maryann M. Kinard        251 Patterson Road - #E-12         Haines City FL 33844-6285   20112169   FL    7/12/2011    7/1/2016   Term      $    77,000.00 $ 77,000.00 $   3.00   $ 17,364.81    $   5.90   M
Sally S. King            4195 Wanda Street                  Ammon ID 83406              20112173   ID    7/12/2011    7/1/2021   Term      $     3,461.85 $ 3,461.85 $    3.00   $ 1,122.74     $   7.00   M
Sally S. King            4195 Wanda Street                  Ammon ID 83406              20112177   ID    7/12/2011    7/1/2021   Term      $     3,461.85 $ 3,461.85 $    3.00   $     714.10   $   5.00   M
Sally S. King            4195 Wanda Street                  Ammon ID 83406              20112176   ID    7/12/2011    7/1/2021   Term      $     3,461.85 $ 3,461.85 $    3.00   $     727.26   $   6.00   M
Sally S. King            4195 Wanda Street                  Ammon ID 83406              20112175   ID    7/12/2011    7/1/2021   Term      $     3,461.85 $ 3,461.85 $    3.00   $     844.40   $   6.50   M
Sally S. King            4195 Wanda Street                  Ammon ID 83406              20112174   ID    7/12/2011    7/1/2021   Term      $     3,461.85 $ 3,461.85 $    3.00   $ 1,031.61     $   6.80   M
Estelle S. Kirby         127 Orchard Park Drive             Greenwood SC 29649          20112198   SC     8/1/2011    9/1/2013   Term      $    72,536.35 $ 72,536.35 $   2.80   $ 16,655.57    $   4.75   M
Estelle S. Kirby         127 Orchard Park Drive             Greenwood SC 29649          20112196   SC     8/1/2011    9/1/2013   Term      $    72,536.35 $ 72,536.35 $   2.80   $ 18,730.61    $   5.05   M
Estelle S. Kirby         127 Orchard Park Drive             Greenwood SC 29649          20112197   SC     8/1/2011    9/1/2013   Term      $    72,536.35 $ 72,536.35 $   2.80   $ 18,417.86    $   4.95   M
Ted P. Kistler           4235 Boonville Road #40            Bryan TN 77802              20101339   TN    7/16/2009    8/1/2019   Deferr.   $    72,297.94 $ 72,297.94 $   3.40   $ 31,522.10    $   6.30   M
Frank J. Klosinski       55 Hidden View Lane                Schuylkill Haven PA 17972   20122436   PA     2/7/2012    3/1/2012   Immed.    $    83,276.28 $ 83,276.28 $   1.60   $ 19,962.59    $   5.10   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112278   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,394.54     $   3.20   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112277   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,476.90     $   3.30   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112280   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,402.01     $   3.00   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112281   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,479.69     $   2.90   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112273   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,385.00     $   3.80   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112272   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,455.35     $   3.90   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112279   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,341.15     $   3.10   M
Neil H. Knudsen          14133 North 75 East                Idaho Falls ID 83401        20112274   ID    10/7/2011   11/1/2012   Term      $     8,642.87 $ 8,642.87 $    2.20   $ 1,329.62     $   3.70   M
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Neil H. Knudsen         14133 North 75 East                 Idaho Falls ID 83401       20112275   ID    10/7/2011   11/1/2012   Term      $     8,642.87   $     8,642.87   $   2.20   $ 1,494.08     $    3.50   M
Neil H. Knudsen         14133 North 75 East                 Idaho Falls ID 83401       20112276   ID    10/7/2011   11/1/2012   Term      $     8,642.87   $     8,642.87   $   2.20   $ 1,477.25     $    3.40   M
Adele Knutsen           925 NE Sandalwood Place             Jensen Beach FL 34957      20101336   FL    7/26/2010    9/1/2010   Immed.    $    58,000.00   $    58,000.00   $   3.40   $ 18,289.00    $    5.00   M
Adele Knutsen           925 NE Sandalwood Place             Jensen Beach FL 34957      20091142   FL   11/11/2009   12/1/2009   Immed.    $   145,000.00   $   145,000.00   $   3.40   $ 40,947.65    $    5.20   M
Adele Knutsen           925 NE Sandalwood Place             Jensen Beach FL 34957      20091095   FL    8/12/2009    9/1/2019   Deferr.   $   173,355.07   $   173,355.07   $   3.40   $ 99,790.84    $    7.40   M
Ann M. Koller           1143 Selby Ave                      St. Paul Park MN 55071     20101279   MN    5/20/2010    4/1/2012   Term      $    25,969.59   $    25,969.59   $   3.40   $ 8,256.31     $    3.70   M
Ann M. Koller           1143 Selby Ave                      St. Paul Park MN 55071     20101280   MN    5/20/2010    4/1/2012   Term      $    25,969.59   $    25,969.59   $   3.40   $ 7,620.29     $    3.60   M
Willie F. Krueger       208 Greenway Drive                  Bryan TX 77801             20091159   TX   11/30/2009   12/1/2019   Deferr.   $   159,378.36   $   159,378.36   $   3.20   $ 64,109.99    $    8.20   M
Willie F. Krueger       208 Greenway Drive                  Bryan TX 77801             20091160   TX   11/30/2009   12/1/2019   Deferr.   $   159,378.36   $   159,378.36   $   3.40   $ 46,133.86    $    7.50   M
Alex Kweller            8622 Starcrest Drive - - Apt. J-1   San Antonio TX 78217       20112140   TX    9/28/2011   11/1/2011   Immed.    $    70,295.96   $    70,295.96   $   2.40   $ 23,727.34    $    3.90   M
Alex Kweller            8622 Starcrest Drive - - Apt. J-1   San Antonio TX 78217       20112141   TX    9/28/2011   11/1/2011   Immed.    $    70,295.96   $    70,295.96   $   2.40   $ 20,960.37    $    3.90   M
Gloria C. LaBoone       10067 Rainbow Road                  Carrollton VA 23314-4141   20112405   VA   12/30/2011    1/1/2013   Term      $   599,682.80   $   599,682.80   $   1.60   $ 180,649.38   $    4.50   M
Clarice Elizabeth Lackey29345 E. Chanticleer Drive          Southfield MI 48034        20081037   MI   10/22/2008   12/1/2008   Immed.    $   146,005.59   $   146,005.59   $   4.20   $ 58,693.65    $   11.60   M
Eleanora M. Lamberg 8200 Hillview Court                     Louisville KY 40258        20101418   KY   10/21/2010   12/1/2010   Immed.    $    21,176.80   $    21,176.80   $   2.60   $ 10,878.15    $    7.80   M
Eleanora M. Lamberg 8200 Hillview Court                     Louisville KY 40258        20101451   KY   11/15/2010    1/1/2011   Immed.    $    73,588.86   $    73,588.86   $   2.40   $ 37,572.10    $    7.80   M
Eleanora M. Lamberg 8200 Hillview Court                     Louisville KY 40258        20112337   KY   11/30/2011   12/1/2012   Term      $    43,042.82   $    43,042.82   $   2.00   $ 8,832.60     $    4.40   M
John R. Lathers         4300 Point Court                    Pt Charlotte FL 33948      20101245   FL    3/24/2010    5/1/2013   Term      $    40,806.64   $    40,806.64   $   3.40   $ 12,604.94    $    4.60   M
Timothy W. Lauer        6615 Highway 63                     Clinton LA 70722           20122427   LA    1/18/2012    2/1/2017   Deferr.   $    72,000.00   $    72,000.00   $   1.60   $ 20,208.24    $    5.00   M
Doris Laurain           532 E. Brown Street                 Waupun WI 53963            20091044   WI     2/2/2009    2/1/2014   Deferr.   $    41,423.71   $    41,423.71   $   3.40   $ 18,001.04    $    5.10   M
Doris Laurain           532 E. Brown Street                 Waupun WI 53963            20091049   WI     2/2/2009    2/1/2014   Deferr.   $    41,423.71   $    41,423.71   $   3.40   $ 15,996.70    $    5.10   M
Betty C. Laverty        116 Village Green Ave.              St. Johns FL 32259         20101480   FL   11/30/2010   12/1/2015   Deferr.   $    86,310.19   $    86,310.19   $   2.40   $ 17,946.97    $    5.00   M
Betty C. Laverty        116 Village Green Ave.              St. Johns FL 32259         20101479   FL   11/30/2010   12/1/2015   Deferr.   $    86,310.19   $    86,310.19   $   2.40   $ 17,946.97    $    5.00   M
Merline S. Lawrence 1328 Wellfound Court                    Conway SC 29526            20112038   SC    3/25/2011    4/1/2014   Term      $   145,039.05   $   145,039.05   $   3.00   $ 27,282.96    $    3.70   M
Thomas W. Lawson        2 Fourth Ave.                       Westfield MA 01085         20101413   MA   10/21/2010   12/1/2010   Immed.    $    51,759.19   $    51,759.19   $   2.60   $ 18,344.36    $    5.70   M
Carol A. Lay            1338 Hicks Ave.                     San Antonio TX 78210       20091107   TX     9/8/2009    9/1/2011   Deferr.   $    79,805.63   $    79,805.63   $   3.40   $ 19,874.20    $    6.10   M
Carol A. Lay            1338 Hicks Ave.                     San Antonio TX 78210       20091162   TX     9/8/2009    9/1/2011   Deferr.   $    79,805.63   $    79,805.63   $   3.40   $ 18,888.23    $    5.70   M
Willard A. Leitch       4136 Highway 28 East                Pineville LA 71360         20101323   LA    7/20/2010    8/1/2013   Term      $    18,199.62   $    18,199.62   $   3.40   $ 4,006.14     $    5.10   M
Willard A. Leitch       4136 Highway 28 East                Pineville LA 71360         20112059   LA    4/22/2011    5/1/2012   Term      $    32,500.00   $    32,500.00   $   3.00   $ 5,986.55     $    4.60   M
Willard A. Leitch       4136 Highway 28 East                Pineville LA 71360         20101322   LA    7/20/2010    8/1/2013   Term      $    18,199.62   $    18,199.62   $   3.40   $ 4,581.91     $    5.30   M
Leonore Levy            5554 Royal Lake Circle              Boynton Beach FL 33437     20101326   FL    7/20/2010    8/1/2011   Term      $    18,562.16   $    18,562.16   $   3.40   $ 4,111.54     $    4.50   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112015   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 2,889.93     $    4.90   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112011   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 3,217.39     $    5.50   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112010   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 3,690.62     $    5.70   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112014   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 2,913.53     $    5.00   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112012   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 3,006.73     $    5.33   M
Bernice R. Lewis        298 N. 100 E.                       Blackfoot ID 85221         20112013   ID    2/28/2011    3/1/2016   Deferr.   $    12,622.02   $    12,622.02   $   2.80   $ 3,006.73     $    5.33   M
Olive Liebermann        200 West Fister Street - Apt. 416   Melrose MA 02176           20081038   MA   10/28/2008   12/1/2008   Immed.    $    52,847.15   $    52,847.15   $   4.20   $ 27,674.57    $    8.30   M
George Hansen Family Limited
                        815 EastPartnership
                                 2500 North                 Monteview ID 83435         20101496   ID    12/8/2010    1/1/2013   Term      $   201,775.23   $   201,775.23   $   2.00   $ 67,836.93    $    4.40   M
Helen Linville          2693 Brooking Road                  Amelia OH 45102 USA        20101208   OH    2/18/2010    4/1/2010   Immed.    $    21,667.24   $    21,667.24   $   3.40   $ 3,585.73     $    5.20   M
David P. Lockhart       P.O. Box 302                        Edgewater FL 32132         20101331   FL    7/23/2010    8/1/2011   Term      $    28,848.32   $    28,848.32   $   3.40   $ 17,184.36    $    2.20   M
Florence Loewenstein 6304 Tall Cypress Circle               Green Acres FL 33463       20112370   FL   12/20/2011    2/1/2012   Immed.    $    83,002.32   $    83,002.32   $   1.60   $ 24,104.53    $    5.60   M
Ruffie London           4616 Sonora Trace                   Georgetown TX 78633        20091057   TX    1/30/2009    4/1/2010   Term      $   117,263.29   $   117,263.29   $   3.60   $ 41,160.98    $    7.20   M
Ruby Long               8122 Sunset Street                  Terre Haute IN 47805       20091078   IN    6/16/2009    7/1/2010   Term      $   103,549.33   $   103,549.33   $   2.80   $ 29,840.76    $    3.80   A
Ruby Long               8122 Sunset Street                  Terre Haute IN 47805       20091115   IN    10/1/2009   10/1/2010   Term      $    85,175.99   $    85,175.99   $   3.20   $ 35,795.30    $    3.20   A
Linda J. Lory           4365 Whetstine Road                 Morgantown IN 46160        20091185   IN   12/30/2009    4/1/2012   Term      $    43,540.74   $    43,540.74   $   3.20   $ 13,622.49    $    3.80   M
*Helen Elaine Lovern 6711 South Race Street                 Centennial CO 80122        20122461   CO    3/13/2012    4/1/2012   Immed.    $    86,437.18   $    86,437.18   $   3.20   $ 47,440.11    $    2.70   M
Elizabeth P. Lyons      12816 Jefferson Hwy                 Baton Rouge LA 70816       20112200   LA     8/4/2011    8/1/2016   Term      $   289,848.25   $   289,848.25   $   2.80   $ 48,935.69    $    4.00   M
Joseph S. Magnetico 47 Turquoise Way                        Eustis FL 32726            20122515   FL     5/1/2012    6/1/2012   Immed.    $    39,015.79   $    39,015.79   $   1.60   $ 8,126.11     $    3.60   M
Joseph S. Magnetico 47 Turquoise Way                        Eustis FL 32726            20122516   FL     5/1/2012    6/1/2012   Immed.    $    39,073.07   $    39,073.07   $   1.60   $ 8,767.67     $    3.30   M
Joseph S. Magnetico 47 Turquoise Way                        Eustis FL 32726            20122514   FL     5/1/2012    6/1/2012   Immed.    $    38,987.07   $    38,987.07   $   1.60   $ 8,822.99     $    3.60   M
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Joseph S. Magnetico    47 Turquoise Way            Eustis FL 32726             20122517   FL     5/1/2012    6/1/2012   Immed.    $    39,073.07   $    39,073.07   $   1.60   $ 9,058.84     $    3.20   M
*Virginia A. Mahnke    2124 S. Trivet Point        Homosassa FL 34448          20112037   FL    3/24/2011    5/1/2011   Immed.    $   101,087.73   $   101,087.73   $   3.00   $ 42,339.35    $    5.80   M
Jeanine Maire          9123 SW 93rd Circle         Ocala FL 34461              20101553   FL   10/21/2010   12/1/2010   Immed.    $   209,946.01   $   209,946.01   $   2.00   $ 91,624.65    $    6.40   M
Kiran Mangarolia       1405 Edgemont Drive         Sachse TX 75048             20112287   TX   10/19/2011   11/1/2016   Term      $    26,750.00   $    26,750.00   $   2.20   $ 3,207.47     $    3.70   M
Diane Mannarino        36 Donata Lane              Stamford CT 06905           20122475   CT    3/20/2012    4/1/2022   Term      $   168,271.91   $   168,271.91   $   1.40   $ 107,599.83   $    1.20   M
Lawrence Marchione     19354 Congressional Court   North Fort Myers FL 33903   20122455   FL    2/29/2012    3/1/2017   Deferr.   $   110,158.84   $   110,158.84   $   1.60   $ 16,539.76    $    5.20   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20091144   FL   11/10/2009   12/1/2010   Term      $    29,366.06   $    29,366.06   $   3.40   $ 8,709.78     $    5.20   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20101345   FL     8/4/2010    9/1/2011   Term      $    24,911.78   $    24,911.78   $   2.80   $ 5,340.00     $    4.70   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20101344   FL     8/4/2010    9/1/2011   Term      $    24,911.78   $    24,911.78   $   2.80   $ 5,793.79     $    5.20   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20101343   FL     8/4/2010    9/1/2011   Term      $    24,911.78   $    24,911.78   $   2.80   $ 6,986.18     $    5.30   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20091145   FL   11/10/2009   12/1/2010   Term      $    29,366.06   $    29,366.06   $   3.40   $ 7,959.50     $    4.70   M
Gertrude M. Marcotte   2026 Salinas Ave.           Lady Lake FL 32159          20091143   FL   11/10/2009   12/1/2010   Term      $    29,366.06   $    29,366.06   $   3.40   $ 9,345.63     $    5.30   M
Joseph H. Marks        2062 Chalmer Terrace        The Villages FL 32162       20122470   FL    3/19/2012    4/1/2013   Deferr.   $   159,292.52   $   159,292.52   $   1.40   $ 55,883.22    $    6.50   M
*William G. Martin     701 Market Street # 149     Oxford MI 48371             20081051   MI   12/31/2008    1/1/2010   Term      $    55,306.62   $    55,306.62   $   3.80   $ 11,134.67    $    5.20   M
*William G. Martin     701 Market Street # 149     Oxford MI 48371             20081050   MI   12/31/2008    1/1/2010   Term      $    55,306.62   $    55,306.62   $   3.80   $ 12,332.04    $    5.60   M
*William G. Martin     701 Market Street # 149     Oxford MI 48371             20081011   MI   12/31/2008    1/1/2010   Term      $    55,306.62   $    55,306.62   $   3.80   $ 12,012.32    $    5.90   M
*Mildred Martinus      231 East Avenue             Holly NY 14468              20081005   NY    7/21/2008    9/1/2008   Immed.    $    63,600.00   $    63,600.00   $   4.20   $ 34,770.28    $    8.80   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101445   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.00   $ 1,105.77     $    5.00   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101421   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.60   $ 3,333.59     $    4.70   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101446   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.00   $ 1,000.01     $    5.00   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101447   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.00   $     873.11   $    4.90   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101521   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.40   $ 2,829.97     $    2.90   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101442   KY   11/12/2010   12/1/2010   Immed.    $    70,462.55   $    70,462.55   $   2.40   $ 35,598.20    $    7.50   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101423   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.60   $ 2,637.31     $    4.60   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101449   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.40   $     652.03   $    4.80   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101422   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.00   $ 2,986.25     $    4.70   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101450   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.40   $     642.94   $    4.60   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101448   KY   11/12/2010   12/1/2011   Term      $     5,060.20   $     5,060.20   $   2.40   $     768.93   $    4.90   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101424   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.60   $ 2,683.11     $    4.40   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101419   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.60   $ 4,072.53     $    4.80   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101520   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.40   $ 2,638.23     $    3.20   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101516   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.00   $ 2,485.53     $    3.80   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101517   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.00   $ 2,479.06     $    3.60   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101518   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.00   $ 2,491.61     $    3.40   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101519   KY   12/15/2010    1/1/2012   Term      $     6,293.20   $     6,293.20   $   2.00   $ 2,590.60     $    3.40   M
Dorothy R. Masterson   2403 Thelma Court           Louisville KY 40220         20101420   KY   10/26/2010   12/1/2010   Immed.    $    18,490.15   $    18,490.15   $   2.60   $ 3,718.34     $    4.80   M
Ann A. Mathews         545 Jim Paige Road          Bear Creek NC 27207         20112047   NC     4/4/2011    5/1/2012   Deferr.   $    32,568.60   $    32,568.60   $   3.00   $ 8,506.48     $    4.10   M
Ann A. Mathews         545 Jim Paige Road          Bear Creek NC 27207         20112088   NC     4/4/2011    5/1/2012   Deferr.   $    32,568.60   $    32,568.60   $   3.00   $ 8,847.74     $    3.90   M
Phyllis I. Mathieu     1259 138th Ave. NW          Andover MN 55304            20091198   MN   12/23/2009    1/1/2030   Deferr.   $    43,069.81   $    43,069.81   $   3.20   $ 28,523.82    $   15.50   M
Phyllis I. Mathieu     1259 138th Ave. NW          Andover MN 55304            20091199   MN   12/23/2009    1/1/2030   Deferr.   $    43,069.81   $    43,069.81   $   3.20   $ 9,777.25     $   15.00   M
Phyllis I. Mathieu     1259 138th Ave. NW          Andover MN 55304            20091200   MN   12/23/2009    1/1/2030   Deferr.   $    43,069.81   $    43,069.81   $   3.20   $ 15,757.43    $   15.40   M
Harold Matthews        178 Southern Bay            Jacksonville FL 32259       20091168   FL   12/17/2009    4/1/2013   Term      $    28,755.28   $    28,755.28   $   3.20   $ 8,266.76     $    4.50   M
Harold Matthews        178 Southern Bay            Jacksonville FL 32259       20091169   FL   12/17/2009    4/1/2013   Term      $    28,755.28   $    28,755.28   $   3.20   $ 8,864.30     $    2.90   M
Terry Mauk             1502 Fair Oaks Drive        Richardson TX 75081         20112090   TX    5/17/2011    7/1/2012   Term      $   714,728.77   $   714,728.77   $   3.00   $ 238,679.49   $    5.14   A
Carol H. Maurer        17029 Grissom Dr.           Tinley Park IL 60477        20081041   IL   12/12/2008    1/1/2012   Deferr.   $    97,352.71   $    97,352.71   $   3.80   $ 67,576.20    $    4.50   M
*Charles Maxwell       10614 Windfern Road         Houston TX 77064            20091116   TX    10/5/2009   10/1/2014   Deferr.   $    36,926.55   $    36,926.55   $   3.40   $ 8,532.83     $    6.00   M
*Charles Maxwell       10614 Windfern Road         Houston TX 77064            20091119   TX    10/5/2009   10/1/2014   Deferr.   $    36,926.55   $    36,926.55   $   3.40   $ 16,249.16    $    6.00   M
*Charles Maxwell       10614 Windfern Road         Houston TX 77064            20091118   TX    10/5/2009   10/1/2014   Deferr.   $    36,926.55   $    36,926.55   $   3.40   $ 10,460.39    $    6.20   M
*Charles Maxwell       10614 Windfern Road         Houston TX 77064            20091117   TX    10/5/2009   10/1/2014   Deferr.   $    36,926.55   $    36,926.55   $   3.40   $ 14,196.00    $    6.60   M
Jewel V. McCarter      317 CR 4220                 Salem MO 65560              20112360   MO    12/8/2011    1/1/2012   Immed.    $    55,899.19   $    55,899.19   $   1.60   $ 14,460.45    $    5.40   M
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Jewel V. McCarter     317 CR 4220                       Salem MO 65560               20112359   MO    12/8/2011    1/1/2012   Immed.    $    55,899.19   $    55,899.19   $   1.60   $ 20,433.81    $   5.60   M
James McCready        11 Quentin Street                 Milton MA 02186              20112365   MA   12/14/2011    1/1/2012   Immed.    $   246,757.77   $   246,757.77   $   2.00   $ 39,331.06    $   4.60   M
Judith I. McFerren    3402 Badger Court                 Pueblo CO 81005              20101330   CO    7/22/2010    9/1/2010   Immed.    $    40,611.67   $    40,611.67   $   3.40   $ 16,761.99    $   5.70   M
*Barbara Jean McGaha 4525 S.E. 7th Place                Ocala FL 34471               20101265   FL    4/23/2010    5/1/2011   Term      $    20,098.74   $    20,098.74   $   3.40   $ 5,066.24     $   3.60   M
Daniel Earl McLawhorn 4049 Norris Store Road            Ayden NC 28513               20091165   NC   11/16/2009   12/1/2029   Deferr.   $    15,194.00   $    15,194.00   $   3.40   $ 1,859.71     $   9.50   M
Daniel Earl McLawhorn 4049 Norris Store Road            Ayden NC 28513               20091164   NC   11/16/2009   12/1/2029   Deferr.   $    15,194.00   $    15,194.00   $   3.40   $ 1,859.71     $   9.50   M
Earl McLimore         618 Twinflower Drive              Canon City CO 81212          20101268   CO    4/27/2010    5/1/2020   Deferr.   $    29,881.01   $    29,881.01   $   3.40   $ 11,196.94    $   7.80   M
Earl McLimore         618 Twinflower Drive              Canon City CO 81212          20101269   CO    4/27/2010    5/1/2020   Deferr.   $    29,881.01   $    29,881.01   $   3.40   $ 10,728.71    $   7.70   M
Earl McLimore         618 Twinflower Drive              Canon City CO 81212          20101271   CO    4/27/2010    5/1/2020   Deferr.   $    29,881.01   $    29,881.01   $   3.40   $ 9,729.61     $   7.30   M
Earl McLimore         618 Twinflower Drive              Canon City CO 81212          20101267   CO    4/27/2010    5/1/2020   Deferr.   $    29,881.01   $    29,881.01   $   3.40   $ 11,685.43    $   7.90   M
Earl McLimore         618 Twinflower Drive              Canon City CO 81212          20101270   CO    4/27/2010    5/1/2020   Deferr.   $    29,881.01   $    29,881.01   $   3.40   $ 9,855.26     $   7.50   M
Mamie I. McTaggart 903 Woodland Drive                   Moose Lake MN 55767          20112345   MN   11/30/2011    3/1/2013   Term      $   180,422.48   $   180,422.48   $   2.00   $ 47,893.90    $   4.30   M
Ronald R. Mertz       9021 Flamingo Cicle               North Fort Meyers FL 33903   20112326   FL    9/30/2011   10/1/2021   Term      $    49,681.86   $    49,681.86   $   2.40   $ 17,618.95    $   4.50   M
Ronald R. Mertz       9021 Flamingo Cicle               North Fort Meyers FL 33903   20112325   FL    9/30/2011   10/1/2021   Term      $    39,681.86   $    39,681.86   $   2.40   $ 21,939.93    $   3.60   M
Ronald R. Mertz       9021 Flamingo Cicle               North Fort Meyers FL 33903   20112324   FL    9/30/2011   10/1/2021   Term      $    49,681.86   $    49,681.86   $   2.40   $ 22,249.67    $   5.10   M
Ronald Metzger        15509 Webber Road                 Mount Orab OH 45154          20112220   OH    8/18/2011   10/1/2011   Immed.    $    90,866.65   $    90,866.65   $   2.80   $ 30,103.20    $   5.60   M
Luan L. Miller        641 Center Drive                  Ann Arbor MI 48103           20081028   MI    9/19/2008   11/1/2008   Immed.    $   150,136.38   $   150,136.38   $   4.20   $ 71,633.04    $   4.20   M
Melinda A. Miller     641 Center Drive                  Ann Arbor MI 48103           20081027   MI    9/19/2008   10/1/2013   Deferr.   $   150,253.34   $   150,253.34   $   4.20   $ 64,761.83    $   7.00   M
Pamela E. Mills       1027 Edwards Store Road           Peachland NC 28133           20101472   NC   10/29/2010   12/1/2015   Deferr.   $    16,000.00   $    16,000.00   $   2.60   $ 9,703.13     $   3.50   M
*Marie B. Milne       9133 39th Lane N                  Pinellas Park FL 33782       20091100   FL    7/19/2010    8/1/2010   Immed.    $    25,000.00   $    25,000.00   $   3.40   $ 15,111.27    $   8.70   M
*Marie B. Milne       9133 39th Lane N                  Pinellas Park FL 33782       20101561   FL   12/31/2010    2/1/2011   Immed.    $    12,000.00   $    12,000.00   $   2.00   $ 6,947.64     $   8.90   M
*Marie B. Milne       9133 39th Lane N                  Pinellas Park FL 33782       20091045   FL    1/16/2009    3/1/2009   Immed.    $    45,000.00   $    45,000.00   $   3.40   $ 24,065.68    $   9.20   M
Loyd J. Mintz         519 South Kerr Ave.               Wilmington NC 28403          20112035   NC    3/18/2011    5/1/2011   Immed.    $   267,136.22   $   267,136.22   $   3.00   $ 51,015.71    $   4.60   M
Omer F. Misho         600 Autumnview Lane               Traverse City MI 49685       20112225   MI    8/31/2011    9/1/2016   Term      $    50,000.00   $    50,000.00   $   2.80   $ 8,797.08     $   3.90   M
Omer F. Misho         600 Autumnview Lane               Traverse City MI 49685       20112226   MI    8/31/2011    9/1/2016   Term      $    50,000.00   $    50,000.00   $   2.80   $ 8,548.85     $   3.90   M
Elaine C. Mispilkin   16 Belleview Ave.                 Salem MA 01970               20101301   MA    6/28/2010    8/1/2010   Immed.    $    28,010.99   $    28,010.99   $   3.40   $ 8,933.77     $   5.30   M
Sherwood L. Mitchell 576 N.E. Canoe Park Circle         Port Saint Lucie FL 34983    20112315   FL   11/10/2011   11/1/2016   Term      $   235,304.34   $   235,304.34   $   2.00   $ 98,959.46    $   7.70   M
Louis Montelone       5 Guadalupe                       Port St. Lucie FL 34952      20101206   FL     2/1/2010    2/1/2015   Deferr.   $    37,508.42   $    37,508.42   $   3.40   $ 10,819.68    $   6.00   M
Louis Montelone       5 Guadalupe                       Port St. Lucie FL 34952      20091183   FL   12/28/2009    1/1/2015   Deferr.   $    12,500.00   $    12,500.00   $   3.20   $ 2,569.75     $   6.70   M
Louis Montelone       5 Guadalupe                       Port St. Lucie FL 34952      20091184   FL   12/28/2009    1/1/2015   Deferr.   $    12,500.00   $    12,500.00   $   3.20   $ 2,303.61     $   6.50   M
Louis Montelone       5 Guadalupe                       Port St. Lucie FL 34952      20101207   FL     2/1/2010    2/1/2015   Deferr.   $    37,508.42   $    37,508.42   $   3.40   $ 8,247.69     $   6.00   M
John D. Morell        1401 Pine Knoll Drive             Austin TX 78758              20112189   TX    7/27/2011    8/1/2012   Deferr.   $   103,093.36   $   103,093.36   $   3.00   $ 22,145.64    $   4.00   M
John D. Morell        1401 Pine Knoll Drive             Austin TX 78758              20112188   TX    7/27/2011    8/1/2012   Deferr.   $   103,093.36   $   103,093.36   $   3.00   $ 22,231.79    $   4.20   M
Dennis S. Morgan      10331 Euston Avenue               Englewood FL 34224           20112361   FL    12/9/2011   12/1/2014   Term      $   121,799.51   $   121,799.51   $   1.60   $ 13,001.70    $   5.10   M
*Joseph C. Morreale 3310 Valencia Drive - Apt. S258     Idaho Falls ID 83404         20112157   ID    6/29/2011    8/1/2012   Term      $    27,523.01   $    27,523.01   $   3.00   $ 7,508.76     $   5.50   M
*Joseph C. Morreale 3310 Valencia Drive - Apt. S258     Idaho Falls ID 83404         20112158   ID    6/29/2011    8/1/2012   Term      $    27,523.01   $    27,523.01   $   3.00   $ 4,621.03     $   5.50   M
Janne E. Mose         8085 SW Garden Home Road          Portland OR 97223            20122513   OR     5/7/2012    6/1/2012   Immed.    $    89,825.91   $    89,825.91   $   1.60   $ 17,259.12    $   5.20   M
Phyllis Moulton Murphy2534 Meadow Ridge Drive           West Jordan UT 84088         20112148   UT    6/28/2011    7/1/2013   Deferr.   $   207,948.96   $   207,948.96   $   3.00   $ 51,216.42    $   4.70   A
Phyllis Moulton Murphy2534 Meadow Ridge Drive           West Jordan UT 84088         20112147   UT    6/28/2011    7/1/2013   Deferr.   $   311,923.43   $   311,923.43   $   3.00   $ 100,108.58   $   4.55   A
Mary Jane Muzzy       3536 Roanoke Street               The Villages FL 32162        20112357   FL    12/8/2011    1/1/2013   Term      $    36,262.50   $    36,262.50   $   1.60   $ 4,090.56     $   4.20   M
Rex R. Narine         2871 Floresta Drive NE            Palm Bay FL 32905            20101328   FL    7/21/2010    8/1/2020   Deferr.   $    11,473.61   $    11,473.61   $   3.40   $ 3,886.21     $   7.40   M
Rex R. Narine         2871 Floresta Drive NE            Palm Bay FL 32905            20101329   FL    7/21/2010    8/1/2020   Deferr.   $    11,473.61   $    11,473.61   $   3.40   $ 3,108.62     $   4.70   M
Marian H. Nash        656 Evergreen Street              Borger TX 79007              20122498   TX    4/11/2012    5/1/2013   Term      $   120,000.00   $   120,000.00   $   1.40   $ 29,468.56    $   4.10   M
Joyce Neal            5131 Churchill Court              Muncie IN 47304              20112411   IN   12/30/2011    3/1/2012   Immed.    $   112,924.54   $   112,924.54   $   1.60   $ 28,454.36    $   5.60   M
Sally A. Neale        137 Reed Street                   Lexington MA 02421           20112233   MA     9/6/2011   10/1/2011   Immed.    $    21,103.87   $    21,103.87   $   2.40   $ 6,863.75     $   5.60   M
Milton F. Nengel      18851 NW 64th Court               Hialeah FL 33015             20111572   FL     2/1/2011    2/1/2014   Deferr.   $    25,000.00   $    25,000.00   $   2.80   $ 2,547.09     $   5.63   M
*Judith B. Newberry 819 S. Woodland - - P.O. Box 5920   Woodland Park CO 80866       20101298   CO    6/17/2010    7/1/2010   Immed.    $    70,983.40   $    70,983.40   $   3.20   $ 22,363.34    $   3.10   M
*Judith B. Newberry 819 S. Woodland - - P.O. Box 5920   Woodland Park CO 80866       20101299   CO    6/17/2010    7/1/2010   Immed.    $    70,983.40   $    70,983.40   $   3.20   $ 22,573.84    $   3.20   M
Elizabeth A. Newell   210 E. Graves Street              Centennial CO 80121          20101384   CO    9/16/2010   10/1/2020   Deferr.   $    51,092.14   $    51,092.14   $   2.80   $ 11,596.95    $   7.60   M
Elizabeth A. Newell   210 E. Graves Street              Centennial CO 80121          20101348   CO     8/6/2010    8/1/2020   Deferr.   $   158,135.12   $   158,135.12   $   3.20   $ 50,477.31    $   6.80   M
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Mary Irene Newkirk    26 Isabella Way             Hot Spring Village AR 71909   20101563   AR   12/31/2010    1/1/2012   Deferr.   $   100,804.78   $   100,804.78   $   2.00   $ 33,656.50    $   5.80   M
Patricia P. Newton    4318 Churchill Road         Louisville KY 40207           20112049   KY     4/4/2011    5/1/2013   Deferr.   $    15,000.00   $    15,000.00   $   3.00   $ 3,014.99     $   5.20   M
Rodney A. Olssen      615 Greene Ave North        Oakdale MN 55128              20101285   MN    5/20/2010    6/1/2020   Term      $    22,609.49   $    22,609.49   $   3.40   $ 4,385.34     $   5.70   M
Rodney A. Olssen      615 Greene Ave North        Oakdale MN 55128              20101283   MN    5/20/2010    6/1/2020   Term      $    22,609.49   $    22,609.49   $   3.40   $ 4,374.34     $   6.50   M
Rodney A. Olssen      615 Greene Ave North        Oakdale MN 55128              20101284   MN    5/20/2010    6/1/2020   Term      $    22,609.49   $    22,609.49   $   3.40   $ 4,324.33     $   6.40   M
Thomas Charles Orr    7701 Wildbrook Court        Anchorage AK 99504            20112019   AK     3/1/2011    3/1/2016   Deferr.   $   120,629.78   $   120,629.78   $   3.00   $ 12,313.36    $   5.30   M
Thomas Charles Orr    7701 Wildbrook Court        Anchorage AK 99504            20112018   AK     3/1/2011    3/1/2016   Deferr.   $   120,629.78   $   120,629.78   $   3.00   $ 20,064.82    $   5.30   M
Walter Osborne        1418 Sandra Lane            Grand Prairie TX 75052        20101324   TX    7/20/2010    8/1/2020   Deferr.   $    69,300.00   $    69,300.00   $   3.40   $ 33,924.47    $   9.10   M
Teva A. Ostarly       2701 Audubon Trace          New Orleans LA 70121          20112050   LA     4/4/2011   10/1/2012   Term      $    95,555.64   $    95,555.64   $   3.00   $ 39,213.26    $   2.45   M
Howard L. Ostrander 1007 Nell Way                 Lady Lake FL 32159            20101477   FL   11/29/2010   12/1/2011   Term      $    38,719.17   $    38,719.17   $   2.00   $ 6,573.13     $   5.00   M
Howard L. Ostrander 1007 Nell Way                 Lady Lake FL 32159            20101478   FL   11/29/2010   12/1/2011   Term      $    38,719.17   $    38,719.17   $   2.40   $ 5,278.29     $   4.80   M
Howard L. Ostrander 1007 Nell Way                 Lady Lake FL 32159            20101562   FL   11/29/2010   12/1/2011   Term      $    38,719.17   $    38,719.17   $   2.00   $ 12,838.50    $   5.20   M
Gloria Dale Owens     1004 Beauregard             Bogalusa LA 70427             20112199   LA     8/2/2011    8/1/2014   Deferr.   $    55,060.14   $    55,060.14   $   2.80   $ 32,081.82    $   6.90   M
Robert J. Palazzo     37 Aylesbury Circle         Madison CT 06443              20112044   CT    3/31/2011    5/1/2011   Immed.    $   236,824.76   $   236,824.76   $   3.00   $ 93,856.15    $   7.70   M
Robert J. Palazzo     37 Aylesbury Circle         Madison CT 06443              20101434   CT    11/2/2010   12/1/2010   Immed.    $   275,788.69   $   275,788.69   $   2.40   $ 92,134.55    $   8.20   M
Joyclen R. Parker     12831 Careywood Drive       Sugar Land TX 77478           20112137   TX    6/13/2011    7/1/2011   Immed.    $    56,897.93   $    56,897.93   $   3.00   $ 13,835.76    $   5.00   M
Jo Anne Parrish       10001 E. Evans Ave. #35B    Denver CO 80247               20101412   CO   10/21/2010    4/1/2013   Deferr.   $   139,209.43   $   139,209.43   $   2.60   $ 66,495.04    $   7.50   M
Joyce H. Paul         1311 S.W. 20th St.          Boynton Beach FL 33426        20101251   FL    4/15/2010    5/1/2014   Term      $    21,000.00   $    18,942.00   $   3.40   $ 8,400.78     $   3.50   M
Joyce H. Paul         1311 S.W. 20th St.          Boynton Beach FL 33426        20101254   FL    4/15/2010    5/1/2014   Term      $    21,000.00   $    18,046.03   $   3.40   $ 7,907.03     $   3.40   M
Joyce H. Paul         1311 S.W. 20th St.          Boynton Beach FL 33426        20101253   FL    4/15/2010    5/1/2014   Term      $    21,000.00   $    18,046.03   $   3.40   $ 7,527.01     $   3.50   M
Joyce H. Paul         1311 S.W. 20th St.          Boynton Beach FL 33426        20101252   FL    4/15/2010    5/1/2014   Term      $    21,000.00   $    18,046.03   $   3.40   $ 8,493.50     $   3.30   M
*Elizabeth Peek       3926 Wess Park              Cincinnati OH 45217           20091061   OH     4/7/2009    5/1/2009   Immed.    $    25,957.26   $    25,957.26   $   2.60   $ 3,366.34     $   5.20   M
Avshalom Pellach      3020 Westville Road         Marydel DE 19964-2000         20101249   DE     4/1/2010    4/1/2013   Deferr.   $    26,134.77   $    26,134.77   $   3.40   $ 12,451.60    $   6.90   M
Virginia L. Pelton    24942 Georgia Sue           Laguna Hills CA 92653         20101346   CA     8/3/2010    9/1/2010   Immed.    $    32,910.19   $    32,910.19   $   3.20   $ 6,911.27     $   5.30   M
Virginia L. Pelton    24942 Georgia Sue           Laguna Hills CA 92653         20101297   CA     6/7/2010    7/1/2010   Immed.    $   130,337.30   $   130,337.30   $   3.40   $ 29,061.66    $   5.20   M
Virginia L. Pelton    24942 Georgia Sue           Laguna Hills CA 92653         20101296   CA     6/7/2010    7/1/2010   Immed.    $   130,337.30   $   130,337.30   $   3.40   $ 29,422.26    $   5.30   M
Virginia L. Pelton    24942 Georgia Sue           Laguna Hills CA 92653         20101347   CA     8/3/2010    9/1/2010   Immed.    $    32,910.19   $    32,910.19   $   3.20   $ 6,804.40     $   5.20   M
Mabel E. Penisten     11345 County Road 550       Chillicothe OH 45601          20112091   OH    5/18/2011    7/1/2011   Immed.    $   173,119.12   $   173,119.12   $   3.00   $ 63,448.91    $   5.60   M
Mabel E. Penisten     11345 County Road 550       Chillicothe OH 45601          20112005   OH    2/16/2011    3/1/2011   Immed.    $   191,164.19   $   191,164.19   $   2.80   $ 67,938.77    $   5.60   M
Patricia K. Percy     1978 Old Wilkesboro Road    Statesville NC 28625          20112301   NC   10/28/2011    4/1/2013   Term      $   141,593.08   $   141,593.08   $   2.20   $ 39,771.44    $   3.35   M
Helen M. Pesek        4240 S.E. 20th Place        Cape Coral FL 33904-5455      20112347   FL   11/30/2011    2/1/2013   Term      $   249,751.25   $   249,751.25   $   2.00   $ 28,619.89    $   2.65   M
Helen M. Pesek        4240 S.E. 20th Place        Cape Coral FL 33904-5455      20112346   FL   11/30/2011    2/1/2013   Term      $   318,197.69   $   318,197.69   $   2.00   $ 108,011.84   $   1.98   M
Elinor M. Peters      4650 Tree Top Lane          Edgewater FL 32141            20122478   FL    3/28/2012    4/1/2017   Term      $    34,712.35   $    34,712.35   $   1.40   $ 5,688.91     $   4.70   M
Elinor M. Peters      4650 Tree Top Lane          Edgewater FL 32141            20122479   FL    3/28/2012    4/1/2017   Term      $    34,712.35   $    34,712.35   $   1.40   $ 4,962.26     $   4.50   M
Elinor M. Peters      4650 Tree Top Lane          Edgewater FL 32141            20122480   FL    3/28/2012    4/1/2017   Term      $    34,712.35   $    34,712.35   $   1.40   $ 4,706.13     $   4.60   M
LeRoy & Marilyn Petersen
                      171 Cherokee Drive          Winchester KY 40391           20101405   KY   10/14/2010   12/1/2010   Immed.    $    29,705.87   $    29,705.87   $   2.60   $ 4,234.15     $   4.00   M
LeRoy & Marilyn Petersen
                      171 Cherokee Drive          Winchester KY 40391           20101407   KY   10/14/2010   12/1/2010   Immed.    $    29,705.87   $    29,705.87   $   2.60   $ 5,047.63     $   3.30   M
LeRoy & Marilyn Petersen
                      171 Cherokee Drive          Winchester KY 40391           20101406   KY   10/14/2010   12/1/2010   Immed.    $    29,705.87   $    29,705.87   $   2.60   $ 4,699.73     $   3.80   M
Robert P. Petitti     103 Bradford Commons Lane   Braintree MA 02184            20112250   MA    9/12/2011   10/1/2011   Immed.    $    69,147.34   $    69,147.34   $   2.40   $ 24,323.36    $   5.00   M
Robert G. Petrushka 8181 Daventree Drive          Brecksville OH 44141          20101370   OH   10/28/2010   12/1/2010   Immed.    $   198,666.62   $   198,666.62   $   2.80   $ 36,636.92    $   4.30   M
Alice Marie Pfau      4106 Debbie Lane            Kalamazoo MI 49006            20101544   MI   12/13/2010    2/1/2012   Term      $     9,743.36   $     9,743.36   $   2.00   $ 2,358.09     $   4.10   M
Alice Marie Pfau      4106 Debbie Lane            Kalamazoo MI 49006            20101543   MI   12/13/2010    2/1/2012   Term      $     9,743.36   $     9,743.36   $   2.00   $ 2,537.53     $   4.20   M
Alice Marie Pfau      4106 Debbie Lane            Kalamazoo MI 49006            20101513   MI   12/13/2010    2/1/2012   Term      $    37,725.67   $    37,725.67   $   2.00   $ 18,294.83    $   5.20   M
Alice Marie Pfau      4106 Debbie Lane            Kalamazoo MI 49006            20101545   MI   12/13/2010    2/1/2012   Term      $     9,743.36   $     9,743.36   $   2.00   $ 2,210.95     $   3.50   M
*Janice Pflugshaupt   406 S. Shield               Knox IN 46534                 20091158   IN   11/24/2009   12/1/2013   Term      $   356,321.36   $   356,321.36   $   3.40   $ 84,250.99    $   5.30   M
*Leo A. Phelps - Jr.  10302 Lankford Lane         Fairdale KY 40118             20122469   KY   11/24/2010    4/1/2012   Term      $    66,226.74   $    66,226.74   $   2.40   $ 29,632.06    $   2.80   M
*Leo A. Phelps - Jr.  10302 Lankford Lane         Fairdale KY 40118             20101523   KY   12/17/2010    1/1/2012   Term      $    61,791.47   $    61,791.47   $   2.00   $ 7,170.56     $   2.90   M
Mary Phillips         54 S. Maple Street          Westfield MA 01085            20112224   MA     9/1/2011    9/1/2016   Deferr.   $   171,206.12   $   171,206.12   $   2.40   $ 112,917.35   $   2.98   M
Jerry Owen Phillips   1200 Tom Hancock Road       Bear Creek NC 27207           20112305   NC   10/28/2011   12/1/2011   Immed.    $    47,169.01   $    47,169.01   $   2.20   $ 8,769.79     $   4.90   M
Jerry Owen Phillips   1200 Tom Hancock Road       Bear Creek NC 27207           20112306   NC   10/28/2011   12/1/2011   Immed.    $    47,169.01   $    47,169.01   $   2.20   $ 5,586.99     $   4.90   M
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*Barbara Phillips        140 South 5th Street           Slaton TX 79364             20112087   TX    5/10/2011    7/1/2011   Immed.    $    48,630.00   $    48,630.00   $   3.00   $ 27,415.26    $   8.10   M
D. Eugene Pickard        2311 Four Seasons Blvd.        Greensboro NC 27407         20091190   NC   11/30/2009    2/1/2010   Immed.    $    82,934.40   $    24,392.46   $   3.40   $ 13,215.63    $   5.00   M
D. Eugene Pickard        2311 Four Seasons Blvd.        Greensboro NC 27407         20091191   NC   11/30/2009    2/1/2010   Immed.    $    82,934.40   $    24,392.46   $   3.20   $ 10,528.07    $   5.00   M
Charles Robert Piotrowski498 Shawver Bridge Road        Hico WV 25854               20112145   WV    6/22/2011    7/1/2018   Deferr.   $    90,532.30   $    90,532.30   $   3.00   $ 14,489.51    $   6.70   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112342   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 17,760.02    $   4.90   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112340   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 20,206.26    $   6.00   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112341   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 18,208.87    $   5.50   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112339   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 21,033.50    $   6.10   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112338   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 21,504.57    $   6.30   M
Myra Pizzoferrato        15 Holcomb Hill Road           Windsor CT 06095            20112343   CT   11/30/2011   12/1/2021   Term      $    46,107.98   $    46,107.98   $   2.00   $ 17,577.56    $   4.60   M
Glenn R. Platt           7124 Ashwood Drive             Port Richey FL 34668        20081020   FL    8/22/2008    9/1/2013   Term      $     6,612.73   $     6,612.73   $   4.20   $ 2,468.49     $   5.70   M
Glenn R. Platt           7124 Ashwood Drive             Port Richey FL 34668        20081021   FL    8/22/2008    9/1/2013   Term      $     6,612.73   $     6,612.73   $   4.20   $ 2,367.60     $   5.70   M
Glenn R. Platt           7124 Ashwood Drive             Port Richey FL 34668        20081019   FL    8/22/2008    9/1/2013   Term      $     6,612.73   $     6,612.73   $   4.20   $ 2,405.78     $   5.40   M
Glenn R. Platt           7124 Ashwood Drive             Port Richey FL 34668        20081018   FL    8/22/2008    9/1/2013   Term      $     6,612.73   $     6,612.73   $   4.20   $ 2,713.45     $   5.80   M
Wilma Pluger             9370 W. County Line Road       Marion MI 49665             20112055   MI    4/22/2011    5/1/2016   Term      $    24,542.05   $    24,542.05   $   3.00   $ 4,105.41     $   5.50   M
Wilma Pluger             9370 W. County Line Road       Marion MI 49665             20112053   MI    4/22/2011    5/1/2016   Term      $    24,542.05   $    24,542.05   $   3.00   $ 8,480.45     $   6.50   M
Wilma Pluger             9370 W. County Line Road       Marion MI 49665             20112054   MI    4/22/2011    5/1/2016   Term      $    24,542.05   $    24,542.05   $   3.00   $ 6,669.37     $   6.30   M
Wilma Pluger             9370 W. County Line Road       Marion MI 49665             20112056   MI    4/22/2011    5/1/2016   Term      $    24,542.05   $    24,542.05   $   3.00   $ 3,569.98     $   5.10   M
Donald Plumb             1056 Chippewa Drive            Elgin IL 60120              20112419   IL   12/30/2011    2/1/2017   Term      $    47,722.49   $    47,722.49   $   1.60   $ 12,859.82    $   6.00   M
*Nancy Plumb             613 Sierra Madre               North Fort Myers FL 33903   20112413   FL   12/30/2011    6/1/2013   Term      $    50,546.70   $    50,546.70   $   1.60   $ 20,579.59    $   4.25   M
Donald Plumb             1056 Chippewa Drive            Elgin IL 60120              20112418   IL   12/30/2011    2/1/2017   Term      $    47,722.49   $    47,722.49   $   1.60   $ 13,747.28    $   6.10   M
Donald Plumb             1056 Chippewa Drive            Elgin IL 60120              20112421   IL   12/30/2011    2/1/2017   Term      $    47,722.49   $    47,722.49   $   1.60   $ 5,067.36     $   5.30   M
Donald Plumb             1056 Chippewa Drive            Elgin IL 60120              20112420   IL   12/30/2011    2/1/2017   Term      $    47,722.49   $    47,722.49   $   1.60   $ 7,647.76     $   5.90   M
*Nancy Plumb             613 Sierra Madre               North Fort Myers FL 33903   20112416   FL   12/30/2011    2/1/2017   Term      $    50,546.70   $    50,546.70   $   1.60   $ 11,764.53    $   5.20   M
*Nancy Plumb             613 Sierra Madre               North Fort Myers FL 33903   20112417   FL   12/30/2011    2/1/2017   Term      $    50,546.70   $    50,546.70   $   1.60   $ 9,785.76     $   4.50   M
*Nancy Plumb             613 Sierra Madre               North Fort Myers FL 33903   20112415   FL   12/30/2011    1/1/2013   Term      $    50,546.70   $    50,546.70   $   1.60   $ 17,115.19    $   3.90   M
*Nancy Plumb             613 Sierra Madre               North Fort Myers FL 33903   20112414   FL   12/30/2011    2/1/2017   Term      $    50,546.70   $    50,546.70   $   1.60   $ 16,697.97    $   5.50   M
Dorothy Plumez           7701 Sylvan Drive              Hudson FL 34667             20091141   FL   11/10/2009   12/1/2009   Immed.    $    24,866.46   $    24,866.46   $   3.40   $ 6,124.15     $   5.30   M
Dorothy Plumez           7701 Sylvan Drive              Hudson FL 34667             20091140   FL   11/10/2009   12/1/2009   Immed.    $    24,866.46   $    24,866.46   $   3.40   $ 5,690.93     $   5.30   M
Dorothy Plumez           7701 Sylvan Drive              Hudson FL 34667             20091139   FL   11/10/2009   12/1/2009   Immed.    $    24,866.46   $    24,866.46   $   3.40   $ 12,300.54    $   7.20   M
Helen A. Polm            P.O. Box 44                    Eau Claire PA 16030         20112221   PA    8/19/2011    9/1/2012   Term      $   163,745.35   $   163,745.35   $   2.80   $ 57,875.77    $   4.30   M
Paul W. Powell           10818 Classic Court            Indianapolis IN 46229       20112412   IN   12/30/2011    3/1/2012   Immed.    $   633,189.43   $   633,189.43   $   1.60   $ 156,834.17   $   3.40   M
Floyd J. Prejean - Jr.   104 Seagull Circle             Lafayette LA 70508          20112335   LA   11/28/2011   12/1/2027   Term      $    40,026.67   $    40,026.67   $   2.00   $ 11,495.92    $   2.80   M
Michael W. Purcell - Jr. 11808 Four Lakes Drive         South Lyon MI 48178         20122462   MI    3/13/2012    4/1/2022   Term      $   206,164.07   $   206,164.07   $   1.40   $ 21,689.87    $   5.00   M
Gerta S. Puterbaugh 9098 Hadley Court                   North Charleston SC 29406   20112410   SC   12/30/2011    2/1/2013   Term      $   108,714.77   $   108,714.77   $   1.60   $ 11,120.58    $   4.68   M
Raymond A. Raiczyk 11421 Dollar Lake Drive #4           Port Richey FL 34668        20091060   FL     4/1/2009    4/1/2011   Deferr.   $    15,809.61   $    15,809.61   $   2.60   $ 2,612.21     $   5.50   M
Raymond A. Raiczyk 11421 Dollar Lake Drive #4           Port Richey FL 34668        20091059   FL     4/1/2009    4/1/2011   Deferr.   $    15,809.61   $    15,809.61   $   2.60   $ 2,893.60     $   5.00   M
Hazel R. Ramsbotham 377 South Wheeling Way              Aurora CO 80012             20101295   CO    6/16/2010    6/1/2012   Term      $    33,054.62   $    33,054.62   $   3.40   $ 14,890.87    $   3.90   M
Hazel R. Ramsbotham 377 South Wheeling Way              Aurora CO 80012             20091189   CO   12/30/2009    6/1/2012   Term      $    70,464.11   $    70,464.11   $   3.20   $ 50,104.48    $   2.00   M
Lawrence Stancil Ratliff P.O. Box 662                   Wadesboro NC 28170          20101376   NC     9/3/2010   10/1/2010   Immed.    $   334,720.25   $   334,720.25   $   2.80   $ 81,102.74    $   4.90   M
Joe V. Ray               1904 Winding Ridge Trail       Grand Prairie TN 75052      20101337   TN    7/26/2010    8/1/2015   Deferr.   $   181,540.77   $   181,540.77   $   3.40   $ 72,816.70    $   7.60   M
Marilyn M. Reams         1375 Cedar Bay Road            Jacksonville FL 32218       20081033   FL    10/3/2008    9/1/2011   Deferr.   $   421,490.28   $   421,490.28   $   4.20   $ 177,027.33   $   4.80   M
Marilyn M. Reams         1375 Cedar Bay Road            Jacksonville FL 32218       20091104   FL     9/3/2009    9/1/2014   Deferr.   $    75,000.00   $    75,000.00   $   3.40   $ 19,335.36    $   6.40   M
Marilyn M. Reams         1375 Cedar Bay Road            Jacksonville FL 32218       20091108   FL    9/16/2009    7/1/2011   Deferr.   $   133,715.46   $   133,715.46   $   3.40   $ 84,780.22    $   8.30   M
Marilyn M. Reams         1375 Cedar Bay Road            Jacksonville FL 32218       20081017   FL     5/1/2009    6/1/2009   Immed.    $   455,205.15   $   455,205.15   $   4.20   $ 116,813.41   $   5.00   M
Martin G. Reeves         2230 Beach Drive               Gulfport MS 39503           20112202   MS     8/5/2011    5/1/2013   Term      $   122,500.00   $   122,500.00   $   2.80   $ 42,845.62    $   4.90   A
Duane A. Reuer           2411 East "O" Avenue           LaGrande OR 97850           20122437   OR    2/13/2012    3/1/2012   Immed.    $   288,797.82   $   288,797.82   $   1.60   $ 77,478.07    $   5.60   M
Martha Rhodes            901 Spanish Bay                Burleson TX 76028           20101509   TX   12/10/2010    2/1/2011   Immed.    $   174,499.58   $   174,499.58   $   2.40   $ 39,681.41    $   2.70   M
Martha Rhodes            901 Spanish Bay                Burleson TX 76028           20101508   TX   12/10/2010    2/1/2011   Immed.    $   174,499.58   $   174,499.58   $   2.40   $ 36,119.21    $   2.80   M
Joseph M. Ricketts       251 Patterson Road - Lot #E4   Haines City FL 33844        20101492   FL   11/30/2010   12/1/2015   Deferr.   $   262,456.20   $   262,456.20   $   2.40   $ 37,143.71    $   5.80   M
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Joseph M. Ricketts      251 Patterson Road - Lot #E4   Haines City FL 33844         20101491   FL   11/30/2010   12/1/2015   Deferr.   $   175,000.00   $   175,000.00   $   2.40   $ 17,670.24    $    5.75   M
Janice A. Robbins       5165 US Highway 601            Salisbury NC 28147           20122502   NC    3/28/2012    3/1/2014   Deferr.   $    30,166.27   $    30,166.27   $   1.40   $ 5,601.60     $    3.60   M
Janice A. Robbins       5165 US Highway 601            Salisbury NC 28147           20122501   NC    3/28/2012    3/1/2014   Deferr.   $    30,166.27   $    30,166.27   $   1.40   $ 5,495.00     $    3.80   M
Janice A. Robbins       5165 US Highway 601            Salisbury NC 28147           20122503   NC    3/28/2012    3/1/2014   Deferr.   $    30,166.27   $    30,166.27   $   1.40   $ 5,481.56     $    3.30   M
Janice A. Robbins       5165 US Highway 601            Salisbury NC 28147           20122500   NC    3/28/2012    3/1/2014   Deferr.   $    30,166.27   $    30,166.27   $   1.40   $ 5,495.00     $    3.80   M
David M. Rodrigues      57 Sheffield                   Waltham MA 02451             20112284   MA   10/18/2011   11/1/2015   Term      $    25,000.00   $    25,000.00   $   2.20   $ 3,713.20     $    3.10   M
David M. Rodrigues      57 Sheffield                   Waltham MA 02451             20112283   MA   10/18/2011   11/1/2015   Term      $    25,000.00   $    25,000.00   $   2.20   $ 3,481.00     $    3.20   M
Betsy A. Rogers         5274 Candy Cove Trail SE       Prior Lake MN 55372          20101288   MN    5/26/2010    6/1/2023   Term      $    39,875.31   $    39,875.31   $   3.40   $ 8,120.03     $    5.30   M
Betsy A. Rogers         5274 Candy Cove Trail SE       Prior Lake MN 55372          20101458   MN   11/15/2010   12/1/2023   Term      $    10,875.00   $    10,875.00   $   2.40   $ 1,099.50     $    4.30   M
Betsy A. Rogers         5274 Candy Cove Trail SE       Prior Lake MN 55372          20101457   MN   11/15/2010   12/1/2023   Term      $    10,875.00   $    10,875.00   $   2.40   $ 1,126.06     $    4.30   M
Rodney G. Rogers        2325 Bolden                    Irving TX 75060              20101325   TX    7/20/2010    8/1/2020   Deferr.   $   133,406.18   $   133,406.18   $   3.40   $ 67,736.92    $    8.90   M
Betsy A. Rogers         5274 Candy Cove Trail SE       Prior Lake MN 55372          20101289   MN    5/26/2010    6/1/2023   Term      $    39,875.31   $    39,875.31   $   3.40   $ 7,629.92     $    5.30   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112392   FL   12/30/2011    7/1/2013   Term      $    44,407.27   $    44,407.27   $   1.60   $ 9,093.61     $    3.60   A
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112393   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 4,579.17     $    4.60   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112389   FL   12/30/2011    3/1/2013   Term      $    44,407.27   $    44,407.27   $   1.60   $ 7,324.90     $    4.50   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112388   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 7,786.92     $    6.00   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112390   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 4,459.53     $    5.50   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112387   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 9,952.21     $    6.10   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112386   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 10,780.64    $    6.20   M
Andrew R. Rushford 990 Caldwell Avenue                 Orange City FL 32763         20112391   FL   12/30/2011    1/1/2017   Term      $    44,407.27   $    44,407.27   $   1.60   $ 4,583.18     $    5.00   M
Carolyn F. Rutledge     320 South Main Street          Stanley NC 28164             20112229   NC     9/2/2011   10/1/2011   Immed.    $    82,076.21   $    82,076.21   $   2.40   $ 24,717.43    $    4.80   M
Carolyn F. Rutledge     320 South Main Street          Stanley NC 28164             20112230   NC     9/2/2011   10/1/2011   Immed.    $    82,076.21   $    82,076.21   $   2.40   $ 11,528.46    $    4.70   M
Mary Lou Sanford        421 Lafayette Road             Fuquay-Varina NC 27526       20112107   NC    5/26/2011    7/1/2011   Immed.    $    15,435.66   $    15,435.66   $   3.00   $ 7,340.52     $    6.70   M
Alexandro E. Sarni      15 Klondike Road               Avon MA 02322                20112227   MA     9/1/2011   10/1/2011   Immed.    $   158,648.88   $   158,648.88   $   2.40   $ 49,746.76    $    3.60   M
Robert F. Saunders      13503 Great Spring Road        Smithfield VA 23430          20101425   VA   10/28/2010    3/1/2013   Term      $   539,464.63   $   539,464.63   $   2.60   $ 180,259.86   $    3.00   M
Robert F. Saunders      13503 Great Spring Road        Smithfield VA 23430          20112179   VA    7/12/2011    9/1/2012   Term      $   558,000.00   $   558,000.00   $   3.00   $ 223,320.86   $    2.70   M
Robert F. Saunders      13503 Great Spring Road        Smithfield VA 23430          20101300   VA    6/24/2010    9/1/2012   Term      $   642,854.63   $   642,854.63   $   3.40   $ 204,338.80   $    3.40   M
Catherine L. Schaetzl 2439 S.E. 35th Street            Ocala FL 34471               20112152   FL    6/29/2011    8/1/2011   Immed.    $    46,166.29   $    46,166.29   $   3.00   $ 8,420.81     $    4.40   M
Catherine L. Schaetzl 2439 S.E. 35th Street            Ocala FL 34471               20112153   FL    6/29/2011    8/1/2011   Immed.    $    46,166.29   $    46,166.29   $   3.00   $ 9,089.26     $    4.10   M
Violet C. Scheidt       20410 79th Avenue East         Bradenton FL 34202           20122463   FL    3/12/2012    4/1/2013   Term      $    45,000.00   $    45,000.00   $   1.40   $ 16,440.20    $    6.10   M
Violet C. Scheidt       20410 79th Avenue East         Bradenton FL 34202           20122464   FL    3/12/2012    4/1/2013   Term      $    45,000.00   $    45,000.00   $   1.40   $ 15,290.63    $    5.80   M
Violet C. Scheidt       20410 79th Avenue East         Bradenton FL 34202           20122466   FL    3/12/2012    4/1/2013   Term      $    45,000.00   $    45,000.00   $   1.40   $ 8,975.09     $    4.80   M
Violet C. Scheidt       20410 79th Avenue East         Bradenton FL 34202           20122465   FL    3/12/2012    4/1/2013   Term      $    45,000.00   $    45,000.00   $   1.40   $ 9,937.80     $    5.00   M
Lillian I. Schlacter    5213 Nobleman Trail            Knightdale NC 27545          20112207   NC     8/9/2011    9/1/2011   Immed.    $    49,975.38   $    49,975.38   $   2.80   $ 17,354.71    $    5.60   M
*Arthur H. Schmaltz 2767 East Street                   Niles MI 49120               20101436   MI    11/3/2010   11/1/2015   Term      $    47,700.00   $    47,700.00   $   2.40   $ 5,494.00     $    5.50   M
*Arthur H. Schmaltz 2767 East Street                   Niles MI 49120               20101435   MI    11/3/2010   11/1/2015   Term      $    47,700.00   $    47,700.00   $   2.40   $ 5,459.83     $    5.80   M
Susan J. Schmidt        3714 Wren Lane                 Rolling Meadows IL 60008-286420112165   IL    7/11/2011    7/1/2021   Deferr.   $    22,745.86   $    22,745.86   $   3.00   $ 7,195.61     $    6.10   M
Alfred C. Schram        1324 Garden Terrace Drive      Irving TX 75060              20091083   TX    7/14/2009    8/1/2014   Deferr.   $   109,189.17   $   109,189.17   $   3.40   $ 28,422.68    $    5.10   M
Elmore B. Scott - Jr.   309 Duke Street                Garland TX 75043             20112084   TX    4/26/2011    5/1/2016   Deferr.   $    21,319.78   $    21,319.78   $   3.00   $ 4,223.43     $    4.80   M
Elmore B. Scott - Jr.   309 Duke Street                Garland TX 75043             20112064   TX    4/26/2011    5/1/2016   Deferr.   $    21,319.78   $    21,319.78   $   3.00   $ 4,132.51     $    5.10   M
Virginia Lee Shackelford2123 Silver Moon Trail         Crosby TX 77532              20101368   TX    8/31/2010    9/1/2015   Deferr.   $    56,015.80   $    56,015.80   $   3.20   $ 38,148.51    $    3.80   M
Lawrence Clifford Shackelford
                        2123 Silver Moon Trail         Crosby TX 77532              20101380   TX    8/31/2010    9/1/2015   Deferr.   $    29,432.28   $    29,432.28   $   3.20   $ 14,608.85    $    6.00   M
Pegge Marriott Sheffield158 Merion                     St. Simons Island GA 31522   20101546   GA   12/31/2010    1/1/2021   Deferr.   $    74,170.59   $    74,170.59   $   2.00   $ 59,172.92    $   13.90   M
Dorothy L. Sheridan     8200 Hillview Court            Louisville KY 40258          20101410   KY   10/18/2010   12/1/2010   Immed.    $    39,052.92   $    39,052.92   $   2.60   $ 20,080.32    $    7.80   M
John C. Shertzer        1006 Lynn Road                 Durham NC 27703              20101332   NC    7/23/2010    8/1/2013   Deferr.   $    93,587.30   $    93,587.30   $   3.40   $ 40,477.80    $    7.39   M
*Ardella M. Shippell 14451 175th Avenue                Big Rapids MI 49307          20101379   MI     9/1/2010    9/1/2011   Term      $    19,055.72   $    19,055.72   $   2.80   $ 3,901.69     $    3.09   M
*Ardella M. Shippell 14451 175th Avenue                Big Rapids MI 49307          20101378   MI     9/1/2010    9/1/2011   Term      $    38,111.44   $    38,111.44   $   2.80   $ 7,858.21     $    3.40   M
*Ardella M. Shippell 14451 175th Avenue                Big Rapids MI 49307          20101377   MI     9/1/2010    9/1/2011   Term      $    38,111.44   $    38,111.44   $   2.80   $ 7,911.13     $    3.58   M
*Elizabeth O. Shoemaker 16611 Glenfurness Drive        Huntersville NC 28078        20112143   NC    6/20/2011    3/1/2013   Term      $    38,033.41   $    38,033.41   $   3.00   $ 12,618.01    $    3.60   M
*Elizabeth O. Shoemaker 16611 Glenfurness Drive        Huntersville NC 28078        20112142   NC    6/20/2011    6/1/2015   Term      $    38,033.41   $    38,033.41   $   3.00   $ 8,048.13     $    4.80   A
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Elizabeth Shoemaker     16611 Glenfurness Drive              Huntersville NC 28078         20112108   NC    5/27/2011    6/1/2014   Term      $    76,314.42   $    76,314.42   $   3.00   $ 14,501.92    $   3.20   M
Gerald W. Short         140 Victoria Drive                   Haines City FL 33844          20101390   FL    9/21/2010    3/1/2012   Deferr.   $    96,142.38   $    96,142.38   $   2.80   $ 25,434.06    $   4.30   M
Gerald W. Short         140 Victoria Drive                   Haines City FL 33844          20101391   FL    9/21/2010    3/1/2012   Deferr.   $    96,142.38   $    96,142.38   $   2.80   $ 25,636.88    $   4.20   M
Gerald W. Short         140 Victoria Drive                   Haines City FL 33844          20101392   FL    9/21/2010    3/1/2012   Deferr.   $    96,142.38   $    96,142.38   $   2.80   $ 23,124.57    $   4.10   M
Elaine Siedler          7460 Viale Michelangelo              Delray Beach FL 33446         20101306   FL    6/29/2010    8/1/2012   Term      $    83,703.01   $    83,703.01   $   3.40   $ 27,595.07    $   3.70   M
Elaine Siedler          7460 Viale Michelangelo              Delray Beach FL 33446         20101307   FL    6/29/2010    8/1/2012   Term      $    83,703.01   $    83,703.01   $   3.40   $ 27,547.68    $   3.60   M
Moses Siedler           7460 Viale Michelangelo              Delray Beach FL 33446         20101304   FL    6/29/2010    8/1/2012   Term      $    25,773.74   $    25,773.74   $   3.40   $ 8,576.94     $   3.70   M
Moses Siedler           7460 Viale Michelangelo              Delray Beach FL 33446         20101305   FL    6/29/2010    8/1/2012   Term      $    25,773.74   $    25,773.74   $   3.40   $ 8,546.81     $   3.60   M
Nancy T. Silveira       714 S. Highland Ave.                 Green Cove Springs FL 32043   20091157   FL   11/20/2009   12/1/2019   Deferr.   $    19,936.55   $    19,936.55   $   3.40   $ 4,357.80     $   7.40   M
Nancy T. Silveira       714 S. Highland Ave.                 Green Cove Springs FL 32043   20091155   FL   11/20/2009   12/1/2019   Deferr.   $    19,936.55   $    19,936.55   $   3.40   $ 4,553.45     $   7.50   M
Nancy T. Silveira       714 S. Highland Ave.                 Green Cove Springs FL 32043   20091156   FL   11/20/2009   12/1/2019   Deferr.   $    19,936.55   $    19,936.55   $   3.40   $ 5,180.54     $   7.60   M
Doris Sizer             16845 Manor Drive                    So. Holland IL 60473          20091079   IL    6/25/2009    7/1/2014   Deferr.   $    31,565.94   $    31,565.94   $   2.80   $ 3,653.12     $   5.00   M
Malcolm L. Smalley      9897 S. W. 88th Court Rd. - Unit R   Ocala FL 34481                20101522   FL   12/17/2010    2/1/2011   Immed.    $    25,000.00   $    25,000.00   $   2.00   $ 3,174.69     $   4.70   M
Betty J. Smiley         6840 Howe Street                     Groves TX 77619               20101227   TX     3/8/2010    4/1/2011   Deferr.   $    29,957.49   $    29,957.49   $   3.40   $ 15,879.42    $   7.40   M
Oscar Smith III         8569 Auburn Road                     Chardon OH 44024              20112036   OH    3/22/2011    3/1/2017   Deferr.   $    15,577.62   $    15,577.62   $   3.00   $ 3,297.40     $   6.00   A
*Catherine M. Smith     928 Ridgewood Ln.                    St. Augustine FL 32086        20091126   FL   10/19/2009   11/1/2011   Term      $    57,500.00   $    57,500.00   $   3.40   $ 18,111.92    $   4.60   M
*Catherine M. Smith     928 Ridgewood Ln.                    St. Augustine FL 32086        20091124   FL   10/19/2009   11/1/2011   Term      $    57,500.00   $    57,500.00   $   3.40   $ 18,529.24    $   3.90   M
*Catherine M. Smith     928 Ridgewood Ln.                    St. Augustine FL 32086        20091125   FL   10/19/2009   11/1/2011   Term      $    57,500.00   $    57,500.00   $   3.40   $ 17,684.38    $   4.20   M
*Catherine M. Smith     928 Ridgewood Ln.                    St. Augustine FL 32086        20091127   FL   10/19/2009   11/1/2011   Term      $    57,500.00   $    57,500.00   $   3.40   $ 17,497.29    $   4.30   M
La Ree C. Snow          2718 So. Highland Drive - #5         Salt Lake City UT 84106       20112016   UT    2/28/2011    3/1/2016   Term      $    32,301.85   $    32,301.85   $   2.80   $ 16,760.72    $   2.30   M
La Ree C. Snow          2718 So. Highland Drive - #5         Salt Lake City UT 84106       20112017   UT    2/28/2011    3/1/2016   Term      $    32,301.85   $    32,301.85   $   2.80   $ 17,257.41    $   2.20   M
Ronald E. Spaugh        225 York Cottage Drive               Haines City FL 33844          20112186   FL    7/26/2011    8/1/2012   Term      $     9,495.53   $     9,495.53   $   3.00   $ 2,227.37     $   3.70   M
Ronald E. Spaugh        225 York Cottage Drive               Haines City FL 33844          20112187   FL    7/26/2011    8/1/2012   Term      $     9,495.53   $     9,495.53   $   3.00   $ 2,524.34     $   3.50   M
Ronald E. Spaugh        225 York Cottage Drive               Haines City FL 33844          20112185   FL    7/26/2011    8/1/2012   Term      $     9,495.53   $     9,495.53   $   3.00   $ 2,085.27     $   4.00   M
Ronald E. Spaugh        225 York Cottage Drive               Haines City FL 33844          20112184   FL    7/26/2011    8/1/2012   Term      $     9,495.53   $     9,495.53   $   3.00   $ 2,137.27     $   4.10   M
Ruby J. Sprinkle        1034 Idlewild                        Sherman TX 75090              20112385   TX   12/29/2011   11/1/2013   Term      $   183,783.94   $   183,783.94   $   1.60   $ 23,487.60    $   4.05   A
Esther V. Squires       298 Parrish Street                   Battle Creek MI 49015         20101381   MI     9/8/2010   10/1/2011   Term      $   165,000.00   $   165,000.00   $   2.80   $ 31,462.17    $   3.90   M
Allen E. Stache         W. 2441 County Road PP               Hilbert WI 54129              20101494   WI   12/28/2010    3/1/2011   Immed.    $   100,558.87   $   100,558.87   $   2.00   $ 33,911.86    $   5.70   M
Richard T. Steele       5057 Ewing Avenue South              Minneapolis MN 55410          20112300   MN   10/28/2011   12/1/2012   Term      $    93,874.24   $    93,874.24   $   2.20   $ 12,113.63    $   3.30   M
James E. Stephens       5294 Ashlar Drive                    Bloomington MN 55437          20101278   MN    5/18/2010    9/1/2011   Term      $    57,037.49   $    57,037.49   $   3.20   $ 35,504.60    $   4.50   M
La Donna Stephens       5294 Ashlar Drive                    Bloomington MN 55437          20112203   MN     8/5/2011    9/1/2012   Deferr.   $    49,734.37   $    49,734.37   $   2.80   $ 22,875.48    $   6.60   M
Alease P. Stetson       2521 Azalea Drive                    Durham NC 27703               20122447   NC    2/17/2012    3/1/2012   Immed.    $     9,691.63   $     9,691.63   $   3.00   $ 6,607.21     $   6.90   M
Alease P. Stetson       2521 Azalea Drive                    Durham NC 27703               20112065   NC    4/26/2011    6/1/2011   Immed.    $   242,531.55   $   242,531.55   $   3.00   $ 68,990.00    $   6.10   M
Lois J. Stewart         8350 Spring Mill Road                Indianapolis IN 46260         20101262   IN    4/19/2010    8/1/2010   Immed.    $    51,404.73   $    51,404.73   $   3.40   $ 21,873.17    $   5.80   Q
Lois J. Stewart         8350 Spring Mill Road                Indianapolis IN 46260         20091135   IN    11/5/2009   12/1/2009   Immed.    $    65,015.18   $    65,015.18   $   3.40   $ 24,305.31    $   6.20   Q
Dale L. Stone           584 Teesdale Drive                   Haines City FL 33844          20101417   FL    12/7/2010    1/1/2011   Immed.    $   114,672.70   $   114,672.70   $   2.60   $ 27,314.74    $   4.90   M
Lloyd W. Stroud         816 N. 9th Street                    Rochelle IL 61068             20112067   IL    4/28/2011    5/1/2016   Term      $    12,658.33   $    12,658.33   $   3.00   $ 3,453.81     $   6.20   M
Lloyd W. Stroud         816 N. 9th Street                    Rochelle IL 61068             20112066   IL    4/28/2011    2/1/2013   Term      $    12,658.33   $    12,658.33   $   3.00   $ 5,456.81     $   4.30   M
Lloyd W. Stroud         816 N. 9th Street                    Rochelle IL 61068             20112001   IL    2/11/2011    3/1/2012   Term      $    33,294.25   $    33,294.25   $   2.80   $ 6,908.86     $   5.10   M
Lloyd W. Stroud         816 N. 9th Street                    Rochelle IL 61068             20112000   IL    2/11/2011    3/1/2012   Term      $    33,294.25   $    33,294.25   $   2.80   $ 7,738.61     $   5.30   M
Beverly B. Stucki       1760 Kearney Street                  Idaho Falls ID 83401          20122523   ID    6/13/2011   10/1/2012   Deferr.   $   188,993.58   $   188,993.58   $   3.00   $ 105,565.95   $   2.85   M
Donna V. Swindlehurst   6411 Hilliard Road                   Lansing MI 48911              20111551   MI     1/7/2011    5/1/2012   Term      $    43,724.00   $    43,724.00   $   2.40   $ 4,992.41     $   4.60   M
Donna V. Swindlehurst   6411 Hilliard Road                   Lansing MI 48911              20111550   MI     1/7/2011    5/1/2012   Term      $    43,724.00   $    43,724.00   $   2.40   $ 4,955.39     $   4.70   M
Betty A. Switalski      G 3245 W. Ridgeway                   Flint MI 48504                20081016   MI    8/12/2008   10/1/2008   Immed.    $    39,258.12   $    39,258.12   $   4.20   $ 15,860.09    $   8.60   M
Betty A. Switalski      G 3245 W. Ridgeway                   Flint MI 48504                20091043   MI    1/20/2009    3/1/2009   Immed.    $    28,357.82   $    28,357.82   $   3.60   $ 10,858.77    $   8.60   M
Ronald K. Szaban        399 E. State Street                  Granby MA 01033               20101335   MA    7/23/2010    8/1/2015   Deferr.   $   138,641.31   $   138,641.31   $   3.40   $ 82,614.79    $   4.30   M
Antonette Terry         229 North K St. Apt. 202             Lake Worth FL 33460           20101260   FL    4/15/2010    5/1/2012   Deferr.   $    19,356.52   $    19,356.52   $   3.40   $ 6,091.69     $   3.00   M
Antonette Terry         229 North K St. Apt. 202             Lake Worth FL 33460           20101243   FL    3/22/2010    4/1/2012   Term      $    14,210.57   $    14,210.57   $   3.40   $ 3,276.80     $   4.50   M
Antonette Terry         229 North K St. Apt. 202             Lake Worth FL 33460           20101242   FL    3/22/2010    4/1/2012   Term      $    14,210.57   $    14,210.57   $   3.40   $ 3,593.90     $   4.80   M
Antonette Terry         229 North K St. Apt. 202             Lake Worth FL 33460           20101261   FL    4/15/2010    5/1/2012   Deferr.   $    19,356.52   $    19,356.52   $   3.40   $ 6,744.98     $   2.80   M
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James T. Terry       2651 Rosewood Court              Orange Park FL 32065       20112329   FL   11/22/2011   12/1/2016   Term      $    22,006.91   $    22,006.91   $   2.00   $ 2,255.75     $   3.07   M
James T. Terry       2651 Rosewood Court              Orange Park FL 32065       20112330   FL   11/22/2011   12/1/2016   Term      $    22,006.91   $    22,006.91   $   2.00   $ 2,624.29     $   2.70   M
James T. Terry       2651 Rosewood Court              Orange Park FL 32065       20112266   FL    8/31/2011   10/1/2016   Term      $    41,080.38   $    41,080.38   $   2.80   $ 5,930.52     $   4.30   M
Gloria K. Teter      408 Aspen Ct.                    Graham NC 27253            20091048   NC     2/2/2009    3/1/2009   Immed.    $    50,642.61   $    50,642.61   $   3.40   $ 11,055.95    $   9.00   M
Rosemary M. Tewes 4567 Totter Trail                   Rockford IL 61101          20112154   IL    6/29/2011    7/1/2012   Term      $    50,000.00   $    36,243.76   $   3.00   $ 11,622.22    $   4.30   M
*Real J. Theriault   10 Aglipay Drive                 Amherst MA 03031           20101205   MA    1/22/2010    3/1/2010   Immed.    $    93,261.97   $    93,261.97   $   3.20   $ 32,060.29    $   7.00   M
Alberta M. Thomas    314 Akron Road                   Lake Worth FL 33467        20112161   FL    6/30/2011    8/1/2011   Immed.    $   170,805.84   $   170,805.84   $   3.00   $ 55,410.25    $   4.90   M
Alberta M. Thomas    314 Akron Road                   Lake Worth FL 33467        20112160   FL    6/30/2011    8/1/2011   Immed.    $   170,805.84   $   170,805.84   $   3.00   $ 57,421.38    $   5.10   M
Inez B. Thomas       4173 Sherman Ave.                Louisville KY 40213        20101394   KY    12/1/2011    1/1/2012   Immed.    $    20,513.91   $    20,513.91   $   2.80   $ 10,830.03    $   3.10   M
Alberta M. Thomas    314 Akron Road                   Lake Worth FL 33467        20112162   FL    6/30/2011    8/1/2011   Immed.    $   170,805.84   $   170,805.84   $   3.00   $ 52,650.00    $   4.20   M
Alberta M. Thomas    314 Akron Road                   Lake Worth FL 33467        20112159   FL    6/30/2011    8/1/2011   Immed.    $   170,805.84   $   170,805.84   $   3.00   $ 65,488.47    $   5.20   M
Barbara L. Thompson 602 24th Avenue                   Lewiston ID 83501          20112138   ID    6/14/2011    7/1/2016   Term      $   222,309.41   $   222,309.41   $   3.00   $ 76,918.29    $   6.10   M
Barbara L. Thompson 602 24th Avenue                   Lewiston ID 83501          20112139   ID    6/14/2011    7/1/2016   Term      $   222,309.41   $   222,309.41   $   3.00   $ 49,733.89    $   3.70   M
Ann T. Tietje        2 East Gay Street                Red Lion PA 17356          20112294   PA   10/27/2011   11/1/2012   Term      $    99,786.84   $    99,786.84   $   2.20   $ 64,067.63    $   1.80   M
Carol Travelstead    7924 Bengal Lane                 New Port Richey FL 34654   20081022   FL    9/11/2008    7/1/2012   Term      $    50,792.20   $    50,792.20   $   4.20   $ 16,140.61    $   6.40   A
Donna F. True        8612 Green Street                Port Richery FL 34668      20091120   FL   10/12/2009   10/1/2014   Deferr.   $    62,500.00   $    62,500.00   $   3.40   $ 23,039.57    $   7.70   M
Ronnie B. Turley     5142 Madison Avenue - Ste. 2     Indianapolis IN 46227      20091167   IN   12/10/2009    3/1/2012   Term      $    86,878.86   $    86,878.86   $   3.20   $ 60,331.59    $   2.50   M
*Melba Turnbo        1017 French Street               Irving TX 75061            20112308   TX   10/31/2011   11/1/2016   Term      $   100,000.00   $   100,000.00   $   2.20   $ 32,573.23    $   4.70   M
Richard D. Tuthill   13363 Huntington Circle          Apple Valley MN 55124      20101395   MN    9/27/2010   10/1/2020   Term      $   172,850.77   $   172,850.77   $   2.80   $ 49,150.51    $   4.90   M
Joanne Ullmayer      3037 O'Hara Drive                New Port Richey FL 34655   20081032   FL   10/14/2008   11/1/2013   Term      $     8,333.33   $     8,333.33   $   4.20   $ 2,199.33     $   5.20   M
Joanne Ullmayer      3037 O'Hara Drive                New Port Richey FL 34655   20081030   FL   10/14/2008   11/1/2013   Term      $     8,333.33   $     8,333.33   $   4.20   $ 2,366.11     $   5.50   M
Joanne Ullmayer      3037 O'Hara Drive                New Port Richey FL 34655   20081031   FL   10/14/2008   11/1/2013   Term      $     8,333.34   $     8,333.34   $   4.20   $ 2,211.57     $   5.40   M
Helen F. Upright     7002 53rd Street - #63           Kenosha WI 53144           20112263   WI    9/28/2011    9/1/2012   Immed.    $   118,792.00   $   118,792.00   $   2.40   $ 34,251.73    $   3.70   A
Helen F. Upright     7002 53rd Street - #63           Kenosha WI 53144           20112264   WI    9/28/2011    9/1/2012   Immed.    $   118,792.00   $   118,792.00   $   2.40   $ 35,350.72    $   3.50   A
Helen F. Upright     7002 53rd Street - #63           Kenosha WI 53144           20112265   WI    9/28/2011    9/1/2012   Immed.    $   118,792.00   $   118,792.00   $   2.40   $ 35,336.53    $   3.30   A
Sara L. Valentine    1511 Doria Lane                  The Villages FL 32159      20101281   FL    5/20/2010    6/1/2011   Term      $    42,595.13   $    42,595.13   $   3.40   $ 12,385.85    $   4.00   M
Sara L. Valentine    1511 Doria Lane                  The Villages FL 32159      20101282   FL    5/20/2010    6/1/2011   Term      $    42,595.13   $    42,595.13   $   3.40   $ 11,270.92    $   3.80   M
Charles R. Vanata    2359 Oak Bend Place              The Villages FL 32162      20112191   FL    7/29/2011    8/1/2013   Term      $    31,629.96   $    31,629.96   $   3.00   $ 5,820.12     $   4.10   M
Charles R. Vanata    2359 Oak Bend Place              The Villages FL 32162      20112190   FL    7/29/2011   7/30/2012   Term      $    31,629.96   $    31,629.96   $   3.00   $ 3,717.52     $   4.40   M
Charles R. Vanata    2359 Oak Bend Place              The Villages FL 32162      20112192   FL    7/29/2011    8/1/2013   Term      $    31,629.96   $    31,629.96   $   3.00   $ 6,747.26     $   3.90   M
Charles R. Vanata    2359 Oak Bend Place              The Villages FL 32162      20112193   FL    7/29/2011    8/1/2013   Term      $    31,629.96   $    31,629.96   $   3.00   $ 6,092.84     $   3.90   M
Donald W. Vanderboegh4501 34th Ave N                  St. Petersburg FL 33713    20081006   FL    7/15/2008    8/1/2013   Term      $    79,358.53   $    79,358.53   $   3.80   $ 63,539.18    $   6.77   M
Donald W. Vanderboegh4501 34th Ave N                  St. Petersburg FL 33713    20091166   FL    12/9/2009    1/1/2010   Immed.    $    46,157.58   $    46,157.58   $   3.20   $ 23,084.15    $   7.50   M
Mary L. Vasquez      717 Berwick Blvd.                Waukegan IL 60085          20122525   IL    9/14/2012   10/1/2012   Immed.    $   175,736.57   $   175,736.57   $   2.40   $ 106,528.28   $   2.83   M
Mary L. Vasquez      717 Berwick Blvd.                Waukegan IL 60085          20122526   IL    9/14/2012   10/1/2012   Immed.    $   110,241.94   $   110,241.94   $   2.00   $ 56,835.03    $   3.35   M
Mary L. Vasquez      717 Berwick Blvd.                Waukegan IL 60085          20122524   IL     7/1/2011   10/1/2012   Deferr.   $   180,649.37   $   180,649.37   $   3.00   $ 113,772.71   $   2.95   M
Stanley Jay Veltema  1015 Village Lane                Jenison MI 49428           20112096   MI    5/24/2011    5/1/2012   Immed.    $   111,036.36   $   111,036.36   $   3.00   $ 55,395.40    $   7.20   A
Carol Vergin         1309 Woods Circle                Buffalo MN 55313           20101241   MN    3/17/2010    4/1/2015   Term      $   146,410.55   $   146,410.55   $   3.40   $ 33,297.97    $   5.60   M
Carol Vergin         1309 Woods Circle                Buffalo MN 55313           20101240   MN    3/17/2010    4/1/2015   Term      $   146,410.55   $   146,410.55   $   3.40   $ 26,347.67    $   5.60   M
Geralyn M. Verret    4072 Hwy 1                       Raceland LA 70394          20101570   LA   12/31/2010    2/1/2012   Term      $    57,502.34   $    57,502.34   $   2.00   $ 17,671.57    $   4.65   M
Sylvia A. Verret     4072 Hwy 1                       Raceland LA 70394          20101569   LA   12/31/2010    2/1/2012   Term      $    60,231.44   $    60,231.44   $   2.00   $ 18,511.28    $   4.65   M
Marie Vinicor        2103 SW Lake Circle Drive        Boynton Beach FL 33426     20122521   FL    7/14/2010    8/1/2012   Deferr.   $    38,359.84   $    38,359.84   $   2.80   $ 16,733.98    $   4.55   M
Allen R. Vogt        19445 David Memorial Drive - #1708
                                                      Shenandoah TX 77385        20112285   TX   10/18/2011   11/1/2011   Immed.    $   118,977.08   $   118,977.08   $   2.20   $ 34,176.79    $   5.40   M
Allen R. Vogt        19445 David Memorial Drive - #1708
                                                      Shenandoah TX 77385        20122495   TX    4/10/2012    5/1/2012   Immed.    $    65,816.16   $    65,816.16   $   1.40   $ 21,638.37    $   4.90   M
Nora J. Vollendorf   523 Carrera Drive                Lady Lake FL 32159         20122432   FL    1/23/2012    2/1/2013   Term      $    50,000.00   $    50,000.00   $   1.60   $ 5,010.80     $   4.93   M
Nora J. Vollendorf   523 Carrera Drive                Lady Lake FL 32159         20122431   FL    1/23/2012    2/1/2013   Term      $    50,000.00   $    50,000.00   $   1.60   $ 6,015.81     $   5.10   M
Doris L. Waite       13015 Florida Ct                 Apple Valley MN 55124      20101275   MN    5/12/2010    6/1/2018   Term      $    28,308.07   $    28,308.07   $   3.40   $ 7,074.57     $   4.30   M
Doris L. Waite       13015 Florida Ct                 Apple Valley MN 55124      20101274   MN    5/12/2010    6/1/2018   Term      $    28,308.07   $    28,308.07   $   3.40   $ 7,847.84     $   4.40   M
LeRoy K. Waldron     1014 N. Michigan                 Hastings MI 49058          20101433   MI    11/1/2010   11/1/2013   Term      $    12,654.07   $    12,654.07   $   2.00   $ 1,505.73     $   4.00   M
LeRoy K. Waldron     1014 N. Michigan                 Hastings MI 49058          20101431   MI    11/1/2010   11/1/2013   Term      $    12,654.07   $    12,654.07   $   2.40   $ 1,459.51     $   4.20   M
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LeRoy K. Waldron     1014 N. Michigan                      Hastings MI 49058          20101432   MI    11/1/2010   11/1/2013   Term      $    12,654.07   $    12,654.07   $   2.40   $ 1,319.17     $    3.90   M
Betty P. Walker      925 New Garden Road - Apt. 317 Greensboro NC 27403               20101360   NC    8/19/2010   10/1/2010   Immed.    $   100,637.22   $   100,637.22   $   3.20   $ 30,686.11    $    4.90   M
JoAnn H. Walker      7742 Brandon Cove Lane                Jacksonville FL 32219      20112348   FL   11/30/2011   12/1/2016   Term      $   155,939.78   $   155,939.78   $   2.00   $ 17,289.28    $    3.40   M
James A. Wall        1805 Setter Street                    Normal IL 61761            20112358   IL    12/7/2011   12/1/2016   Deferr.   $   277,636.58   $   277,636.58   $   1.60   $ 140,912.33   $    4.80   M
James A. Wall        1805 Setter Street                    Normal IL 61761            20122499   IL     4/4/2012    4/1/2017   Deferr.   $    70,457.25   $    70,457.25   $   1.40   $ 27,724.61    $    6.00   M
Joseph Walters       17781 SE 95th Circle                  Summerfield FL 34491       20101369   FL    8/31/2010    9/1/2011   Term      $    86,209.74   $    86,209.74   $   3.20   $ 24,423.71    $    5.10   M
Sarah B. Ward        7924 Bengal Lane                      New Port Richey FL 34654   20091090   FL     8/7/2009    7/1/2012   Deferr.   $    85,935.14   $    85,935.14   $   3.40   $ 57,900.00    $    1.80   M
Jeannette R. Warnock 577 Warnock Mountain Acres            Blairsville GA 30512       20122468   GA    3/15/2012    4/1/2013   Term      $    25,935.00   $    25,935.00   $   1.40   $ 2,616.29     $    4.32   M
Jeannette R. Warnock 577 Warnock Mountain Acres            Blairsville GA 30512       20122491   GA     4/5/2012    5/1/2013   Term      $    27,036.27   $    27,036.27   $   1.40   $ 2,726.07     $    4.32   M
Jeannette R. Warnock 577 Warnock Mountain Acres            Blairsville GA 30512       20122467   GA    3/15/2012    4/1/2013   Term      $    25,935.00   $    25,935.00   $   1.40   $ 2,620.75     $    4.56   M
Jeannette R. Warnock 577 Warnock Mountain Acres            Blairsville GA 30512       20122490   GA     4/5/2012    5/1/2013   Term      $    27,036.27   $    27,036.27   $   1.40   $ 2,733.25     $    4.56   M
*Emerson K. Warren 165 Harbor Road                         Reidsville NC 27320        20101367   NC    8/19/2010    9/1/2012   Deferr.   $    92,156.80   $    92,156.80   $   3.20   $ 36,458.72    $    6.10   M
Russell E. Wayts     13488 W. 74th Place                   Arvada CO 80005            20091197   CO   12/30/2009    1/1/2015   Term      $    24,766.73   $    24,766.73   $   3.20   $ 5,302.00     $    3.60   M
Russell E. Wayts     13488 W. 74th Place                   Arvada CO 80005            20091196   CO   12/30/2009    1/1/2015   Term      $    24,766.73   $    24,766.73   $   3.20   $ 5,684.08     $    3.90   M
Russell E. Wayts     13488 W. 74th Place                   Arvada CO 80005            20091195   CO   12/30/2009    1/1/2015   Term      $    24,766.73   $    24,766.73   $   3.20   $ 5,008.81     $    4.50   M
Russell E. Wayts     13488 W. 74th Place                   Arvada CO 80005            20091194   CO   12/30/2009    1/1/2015   Term      $    24,766.73   $    24,766.73   $   3.20   $ 4,048.58     $    4.80   M
Russell E. Wayts     13488 W. 74th Place                   Arvada CO 80005            20091193   CO   12/30/2009    1/1/2015   Term      $    24,766.73   $    24,766.73   $   3.20   $ 4,232.19     $    5.40   M
Diane Weadle         944 Reynolds Road - #375              Lakeland FL 33801          20112376   FL   11/30/2011    1/1/2022   Term      $    49,125.00   $    49,125.00   $   2.00   $ 4,955.75     $    6.20   M
Diane Weadle         944 Reynolds Road - #375              Lakeland FL 33801          20112380   FL   11/30/2011    1/1/2022   Term      $    51,265.06   $    51,265.06   $   2.00   $ 7,163.95     $    3.40   M
Diane Weadle         944 Reynolds Road - #375              Lakeland FL 33801          20112379   FL   11/30/2011    1/1/2022   Term      $    51,265.06   $    51,265.06   $   2.00   $ 6,393.50     $    3.50   M
Diane Weadle         944 Reynolds Road - #375              Lakeland FL 33801          20112378   FL   11/30/2011    1/1/2022   Term      $    51,265.06   $    51,265.06   $   2.00   $ 5,550.84     $    3.70   M
Diane Weadle         944 Reynolds Road - #375              Lakeland FL 33801          20112377   FL   11/30/2011    1/1/2022   Term      $    49,125.00   $    49,125.00   $   2.00   $ 5,200.46     $    6.00   M
J. Bruce Weaver      360 Crystal Springs                   Adrian MI 49221            20111573   MI     2/3/2011    2/1/2016   Term      $     5,229.57   $     5,229.57   $   2.80   $ 1,016.95     $    6.20   M
Carol L. Weaver      360 Crystal Springs                   Adrian MI 49221            20112032   MI     2/3/2011    9/1/2012   Term      $    55,248.35   $    55,248.35   $   2.80   $ 16,198.34    $    4.50   M
Kathryn H. Welch     612 E. Common Street                  New Braunfels TX 78130     20112008   TX    2/21/2011    3/1/2012   Term      $    43,987.71   $    43,987.71   $   2.80   $ 15,737.67    $    2.88   M
June E. White        711 Embassy Blvd - Apt. 234           Port Richey FL 34668       20091075   FL    6/10/2009    6/1/2013   Deferr.   $    12,262.65   $    12,262.65   $   2.80   $ 1,811.98     $    6.20   M
June E. White        711 Embassy Blvd - Apt. 234           Port Richey FL 34668       20091076   FL    6/10/2009    6/1/2013   Deferr.   $    12,262.65   $    12,262.65   $   2.80   $ 1,892.71     $    5.70   M
June E. White        711 Embassy Blvd - Apt. 234           Port Richey FL 34668       20091077   FL    6/10/2009    6/1/2013   Deferr.   $    12,262.65   $    12,262.65   $   2.80   $ 2,613.39     $    6.40   M
June E. White        711 Embassy Blvd - Apt. 234           Port Richey FL 34668       20091074   FL    6/10/2009    6/1/2013   Deferr.   $    12,262.65   $    12,262.65   $   2.80   $ 2,486.68     $    6.30   M
Loren C. White - Jr. 5130 Brittany Drive S. - - Bldg. 3 - Unit
                                                           St. 103
                                                               Petersburg FL 33715    20112124   FL     6/6/2011    7/1/2011   Immed.    $   620,985.55   $   620,985.55   $   3.00   $ 157,408.66   $    3.40   M
Loren C. White - Jr. 5130 Brittany Drive S. - - Bldg. 3 - Unit
                                                           St. 103
                                                               Petersburg FL 33715    20112123   FL     6/6/2011    7/1/2011   Immed.    $   620,985.55   $   620,985.55   $   3.00   $ 143,031.24   $    3.60   M
M. Blanche Whitehead 1105 N. Peniel Ave.                   Avon Park FL 33825         20112020   FL     3/1/2011    3/1/2021   Deferr.   $    27,657.70   $    27,657.70   $   3.00   $ 23,197.29    $   13.40   M
M. Blanche Whitehead 1105 N. Peniel Ave.                   Avon Park FL 33825         20112021   FL     3/1/2011    5/1/2011   Immed.    $    27,657.70   $    27,657.70   $   3.00   $ 14,141.70    $    5.30   M
*Ann H. Whitener     844 West J Street                     Newton NC 28658            20112406   NC   12/30/2011    1/1/2017   Deferr.   $    13,450.50   $    13,450.50   $   1.60   $ 2,018.69     $    5.30   M
*Ann H. Whitener     844 West J Street                     Newton NC 28658            20112408   NC   12/30/2011    1/1/2017   Deferr.   $    13,450.50   $    13,450.50   $   1.60   $ 1,443.01     $    4.80   M
*Ann H. Whitener     844 West J Street                     Newton NC 28658            20112409   NC   12/30/2011    1/1/2017   Deferr.   $    13,450.50   $    13,450.50   $   1.60   $ 1,584.77     $    3.90   M
*Ann H. Whitener     844 West J Street                     Newton NC 28658            20112407   NC   12/30/2011    1/1/2017   Deferr.   $    13,450.50   $    13,450.50   $   1.60   $ 1,530.25     $    4.90   M
Barbara Whitt        1955 S.W. Palm City Road - - Apt. 28-GStuart FL 34994            20112151   FL    6/28/2011    7/1/2021   Term      $   396,002.92   $   396,002.92   $   3.00   $ 193,357.63   $    6.70   M
Margaret M. Whittemore
                     720 Century Lane                      Winter Haven FL 33881      20112254   FL    9/13/2011   10/1/2016   Term      $    62,018.64   $    62,018.64   $   2.40   $ 15,957.03    $    5.00   M
Margaret M. Whittemore
                     720 Century Lane                      Winter Haven FL 33881      20112253   FL    9/13/2011   10/1/2016   Term      $    62,018.64   $    62,018.64   $   2.40   $ 19,261.61    $    5.40   M
Margaret M. Whittemore
                     720 Century Lane                      Winter Haven FL 33881      20112251   FL    9/13/2011   10/1/2016   Term      $    62,018.64   $    62,018.64   $   2.40   $ 20,563.70    $    5.60   M
Margaret M. Whittemore
                     720 Century Lane                      Winter Haven FL 33881      20112252   FL    9/13/2011   10/1/2016   Term      $    62,018.64   $    62,018.64   $   2.40   $ 20,654.82    $    5.40   M
Dennis R. Wilczek    1402 S. Cage Blvd. - #279             Pharr TX 78577             20101495   TX    12/8/2010    1/1/2012   Term      $   371,745.40   $   371,745.40   $   2.60   $ 51,974.87    $    9.00   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20112025   FL     3/7/2011    4/1/2012   Deferr.   $    33,462.20   $    33,462.20   $   3.00   $ 10,939.66    $    4.50   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20112026   FL     3/7/2011    4/1/2012   Deferr.   $    33,462.20   $    33,462.20   $   3.00   $ 9,837.54     $    4.40   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20101363   FL    8/17/2010    9/1/2012   Deferr.   $    33,718.20   $    33,718.20   $   3.20   $ 12,385.53    $    4.50   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20101364   FL    8/17/2010    9/1/2012   Deferr.   $    33,718.20   $    33,718.20   $   3.20   $ 11,338.37    $    4.40   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20101365   FL    8/17/2010    9/1/2012   Deferr.   $    33,718.20   $    33,718.20   $   3.20   $ 10,386.60    $    4.30   M
Muriel Wild          19833 Eagle Trace Court               N. Ft. Meyers FL 33903     20112027   FL     3/7/2011    4/1/2012   Deferr.   $    33,462.20   $    33,462.20   $   3.00   $ 8,316.64     $    4.30   M
Belva J. Wilder      1643 Players Club Dr.                 Orange Park FL 32003       20081007   FL    7/17/2008    8/1/2018   Term      $    32,297.12   $    32,297.12   $   3.80   $ 11,082.65    $    8.61   M
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Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20091112   FL    9/17/2009   10/1/2019   Term      $    50,000.00   $    50,000.00   $   3.40   $ 22,474.40    $    9.60   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20091111   FL    9/17/2009   10/1/2019   Term      $    50,000.00   $    50,000.00   $   3.40   $ 15,665.01    $    8.70   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20091113   FL    9/17/2009   10/1/2019   Term      $    50,000.00   $    50,000.00   $   3.40   $ 13,832.58    $    8.50   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20091110   FL    9/17/2009   10/1/2019   Term      $    50,000.00   $    50,000.00   $   3.40   $ 21,313.32    $    9.50   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20081009   FL    7/17/2008    8/1/2018   Term      $    32,297.12   $    32,297.12   $   4.20   $ 15,430.01    $    9.40   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20081008   FL    7/17/2008    8/1/2018   Term      $    32,297.12   $    32,297.12   $   3.80   $ 10,243.92    $    8.35   M
Belva J. Wilder        1643 Players Club Dr.         Orange Park FL 32003     20081010   FL    7/17/2008    8/1/2018   Term      $    32,297.12   $    32,297.12   $   4.20   $ 16,172.58    $    9.42   M
Mary Ann Wilkas        83 Spring Meadow Lane         Hanover MA 02339         20112099   MA    6/10/2011    8/1/2011   Immed.    $   358,200.00   $   358,200.00   $   3.00   $ 150,896.11   $    5.80   M
Mary Ann Wilkas        83 Spring Meadow Lane         Hanover MA 02339         20112135   MA    6/10/2011    8/1/2011   Immed.    $   597,831.62   $   597,831.62   $   3.00   $ 251,843.79   $    5.80   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112210   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 6,085.13     $    6.60   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112209   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 6,384.70     $    7.00   M
Howard P. Williams     13680 S.E. 90th Terrace       Summerfield FL 34491     20112046   FL    3/31/2011    4/1/2012   Term      $    86,267.47   $    86,267.47   $   3.00   $ 11,471.74    $    4.20   M
Howard P. Williams     13680 S.E. 90th Terrace       Summerfield FL 34491     20112045   FL    3/31/2011    4/1/2012   Term      $    86,267.47   $    86,267.47   $   3.00   $ 13,311.05    $    4.40   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112211   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 5,108.34     $    6.10   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112212   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 3,443.45     $    5.00   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112213   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 3,443.45     $    5.00   M
LaVina J. Williams     1907 Kearney Street           Idaho Falls ID 83401     20112208   ID    8/10/2011    9/1/2011   Immed.    $    12,769.42   $    12,769.42   $   2.80   $ 6,577.88     $    7.10   M
Sharon L. Wilson       3809 S. Ceylon Way            Aurora CO 80013          20112163   CO    7/11/2011    7/1/2031   Deferr.   $    12,159.53   $    12,159.53   $   3.00   $ 2,259.00     $   11.50   M
Gail C. Wilson         17767 SE 91st Freedom Court   The Villages FL 32162    20101396   FL    9/27/2010   11/1/2010   Immed.    $   190,180.85   $   190,180.85   $   2.80   $ 68,582.55    $    5.70   M
Sharon L. Wilson       3809 S. Ceylon Way            Aurora CO 80013          20112164   CO    7/11/2011    7/1/2031   Deferr.   $    12,159.53   $    12,159.53   $   3.00   $ 1,364.24     $   11.00   M
Paul D. Witmer         1351 Longview Drive           Middletown PA 17057      20112369   PA   12/20/2011    1/1/2015   Term      $    18,264.42   $    18,264.42   $   1.60   $ 8,125.43     $    5.60   M
Betty K. Wolfe         1829 Louden Heights Road      Charleston WV 25314      20112381   WV   12/28/2011    1/1/2013   Term      $    18,140.39   $    18,140.39   $   1.60   $ 2,158.51     $    4.50   M
Betty K. Wolfe         1829 Louden Heights Road      Charleston WV 25314      20112382   WV   12/28/2011    1/1/2013   Term      $    18,140.39   $    18,140.39   $   1.60   $ 1,818.14     $    4.40   M
Betty K. Wolfe         1829 Louden Heights Road      Charleston WV 25314      20112383   WV   12/28/2011    1/1/2013   Term      $    18,140.39   $    18,140.39   $   1.60   $ 1,860.58     $    4.00   M
Mike Wolk              8263 Foothill Rd              Cottage Grove MN 55016   20101211   MN    2/22/2010    3/1/2015   Term      $    45,000.00   $    45,000.00   $   3.40   $ 11,883.64    $    4.30   M
Mike Wolk              8263 Foothill Rd              Cottage Grove MN 55016   20101210   MN    2/22/2010    3/1/2015   Term      $    45,000.00   $    45,000.00   $   3.40   $ 11,322.02    $    4.50   M
Terry Wood             992 Stars                     Chubbuck ID 83202        20101408   ID   10/15/2010    8/1/2013   Term      $    47,254.02   $    47,254.02   $   2.00   $ 17,338.37    $    2.60   M
Terry Wood             992 Stars                     Chubbuck ID 83202        20101409   ID   10/15/2010    8/1/2013   Term      $    47,254.02   $    47,254.02   $   2.60   $ 17,037.59    $    2.50   M
*Marcella Wright       2901 Lake Drive               Rivera Beach FL 33404    20091101   FL    8/26/2009    9/1/2014   Term      $    35,462.50   $    35,462.50   $   3.40   $ 23,764.41    $   10.80   M
Willa J. Wright        13681 S.E. 89th Court         Summerfield FL 34491     20112372   FL   12/20/2011    1/1/2013   Term      $    36,867.94   $    36,867.94   $   1.60   $ 3,792.41     $    4.40   M
Willa J. Wright        13681 S.E. 89th Court         Summerfield FL 34491     20112371   FL   12/20/2011    1/1/2013   Term      $    36,867.94   $    36,867.94   $   1.60   $ 4,861.27     $    4.60   M
James David Yater      1012 Sleepy Hollow North      Irving TX 75061          20112052   TX    4/14/2011    5/1/2021   Deferr.   $    61,466.55   $    61,466.55   $   3.00   $ 33,035.39    $    8.20   M
Mollie F. York         5232 Lavey Lane               Baker LA 70714           20122493   LA     4/9/2012    4/1/2017   Deferr.   $   118,000.00   $   118,000.00   $   1.40   $ 24,539.13    $    4.40   M
Mollie F. York         5232 Lavey Lane               Baker LA 70714           20112201   LA     8/4/2011    8/1/2015   Term      $    65,438.46   $    65,438.46   $   2.80   $ 12,896.23    $    5.20   M
*Ruby H. Young         205 West Clark Street         Hammond LA 70401         20122494   LA     4/9/2012    4/1/2017   Deferr.   $   105,375.53   $   105,375.53   $   1.40   $ 27,114.73    $    4.90   M
*Ruby H. Young         205 West Clark Street         Hammond LA 70401         20122454   LA    2/28/2012    3/1/2017   Deferr.   $    93,828.40   $    93,828.40   $   1.60   $ 25,354.01    $    5.80   M
*Ruby H. Young         205 West Clark Street         Hammond LA 70401         20122510   LA    4/20/2012    5/1/2017   Deferr.   $    96,125.98   $    96,125.98   $   1.40   $ 36,807.06    $    5.70   M
Shirley L. Younker     623 Glaspie                   Oxford MI 48371          20101263   MI    4/21/2010    4/1/2011   Immed.    $    26,227.44   $    26,227.44   $   3.40   $ 7,768.41     $    3.30   A
Henry M. Zanetell      12456 E. Alaska Pl.           Aurora CO 80012          20101312   CO     7/7/2010   11/1/2012   Term      $    22,735.46   $    22,735.46   $   3.40   $ 8,323.54     $    2.80   A
Robert Peter Zerbarini 41 Breach Drive               Westerly RI 02891        20101456   RI   11/15/2010   12/1/2012   Term      $    99,033.04   $    99,033.04   $   2.80   $ 9,955.66     $    4.83   M
Philip H. Zimmerschied 1402 S Cage Blvd. - #45       Pharr TX 78577           20112031   TX     3/8/2011    4/1/2012   Term      $    83,460.86   $    83,460.86   $   3.00   $ 15,227.31    $    4.40   M
Philip H. Zimmerschied 1402 S Cage Blvd. - #45       Pharr TX 78577           20112030   TX     3/8/2011    4/1/2012   Term      $    83,460.86   $    83,460.86   $   3.00   $ 14,553.10    $    4.70   M
Philip H. Zimmerschied 1402 S Cage Blvd. - #45       Pharr TX 78577           20112028   TX     3/8/2011    4/1/2012   Term      $    83,460.86   $    83,460.86   $   3.00   $ 17,328.76    $    4.90   M
Philip H. Zimmerschied 1402 S Cage Blvd. - #45       Pharr TX 78577           20112029   TX     3/8/2011    4/1/2012   Term      $    83,460.86   $    83,460.86   $   3.00   $ 15,865.45    $    4.80   M
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Annual Pmt    Orig Surr (valuePost
                               at time
                                    Cash
                                       ofBackPmts.
                                          transfer) Rec          Monthly Pmt.    Pmt. End       Future Est Pmt Life Pre Cash Back
$  4,665.60   $ 31,821.91 $ 2,000.00                                                            $           209.92
$  4,865.04   $ 31,821.91                                                                       $           238.83
$  3,453.48   $ 42,715.95                     $      10,837.33   $     287.79 Life
$  4,169.64   $ 31,821.91 $ 2,000.00                                                            $          198.69
$ 38,513.04   $ 332,464.76                                                                      $        3,209.42
$  6,020.76   $ 65,607.70                     $      20,570.93   $     501.73      8/1/2030                         $    4,000.00
$  1,539.36   $ 15,524.11 $ 5,000.00                                                            $           63.52
$  1,373.64   $ 15,524.11 $ 5,000.00                                                            $           48.86
$  1,448.16   $ 15,524.11 $ 5,000.00                                                            $           52.53
$  1,487.28   $ 15,524.11 $ 5,000.00                                                            $           57.41
$  1,497.12   $ 15,524.11 $ 5,000.00                                                            $           64.74
$  1,452.60   $ 15,524.11 $ 5,000.00                                                            $           65.96
$  1,370.76   $ 15,524.11 $ 5,000.00                                                            $           67.19
$  1,370.76   $ 15,524.11 $ 5,000.00                                                            $           70.85
$  1,356.96   $ 15,524.11 $ 5,000.00                                                            $           72.07
$  1,452.24   $ 15,524.11 $ 5,000.00                                                            $           53.75
$  5,824.80   $ 45,591.69                                                                       $          305.02
$  1,920.36   $ 26,980.14                     $       5,351.48   $     160.63 Life
$  2,566.08   $ 54,207.40                                                                       $          213.84
$ 11,606.04   $ 95,182.38                                                                       $          967.17
$  2,685.48   $ 54,207.40                                                                       $          223.79
$  2,074.20   $ 34,453.02                     $       9,506.75   $     172.85 Life
$  7,234.08   $ 106,701.80                                                                      $          602.84
$ 23,171.55   $ 66,871.30                     $      30,895.43   $    1,930.97    12/1/2013                       $      2,500.00
$  9,887.64   $ 167,178.26 $ 45,000.00 $             23,071.16   $      823.97     8/1/2021                       $      6,250.00
$  4,833.00   $ 133,742.61 $ 35,000.00 $             11,277.00   $      402.75     8/1/2016                       $      5,000.00
$ 10,360.44   $ 100,306.95                                                                      $          379.91 $      3,750.00
$  5,870.40   $ 133,742.61 $ 35,000.00 $             11,740.80   $     489.20      8/1/2013                       $      5,000.00
$  2,410.92   $ 22,247.53                     $       7,232.81   $     200.91      8/1/2012                       $      7,000.00 Deceased/Closed 8-12-2012
$  9,408.72   $ 92,916.19                                                                       $          784.06
$  4,944.60   $ 28,358.13                                                                       $          412.05 $     10,000.00
$  3,354.36   $ 35,000.00                     $       8,944.56   $      279.53       4/1/2021                     $        700.00
$ 16,197.60   $ 104,138.49                    $      20,247.00   $    1,349.80       9/1/2022
$ 16,264.92   $ 104,138.49                    $      20,331.15   $    1,355.41       9/1/2022
$ 16,405.56   $ 104,138.49                    $      20,506.95   $    1,367.13       9/1/2022
$ 16,401.00   $ 104,138.49                    $      20,501.25   $    1,366.75       9/1/2022
$ 16,285.80   $ 104,138.49                    $      20,357.25   $    1,357.15       9/1/2022
$ 16,258.44   $ 104,138.49                    $      20,322.25   $    1,354.67       9/1/2022
$ 69,119.76   $ 197,732.42                    $     115,199.60   $    5,759.98       4/1/2016                       $   91,588.74
$    542.52   $ 12,726.01                     $         361.68   $       45.21   Life
$  1,149.00   $ 25,356.06                     $         766.00   $       95.75   Life
$    542.52   $ 12,726.01                     $         361.68   $       45.21   Life
$    991.80   $ 25,266.75                     $         596.60   $       82.65   LIfe
$    991.80   $ 25,266.75                     $         661.20   $       82.65   LIfe
$  5,862.00   $ 10,116.36                     $       7,327.50   $      488.50       9/1/2014
$  5,379.96   $ 10,116.36                     $       4,931.63   $      448.33       9/1/2014
$  6,357.36   $ 40,464.74                     $         385.28   $      385.28     11/1/2023
$  6,520.80   $ 40,464.74                     $         412.10   $      412.10     11/1/2023
$  6,594.36   $ 40,464.74                     $         409.35   $      409.35     11/1/2023
$  6,885.00   $ 40,464.74                     $         435.06   $      435.06     11/1/2023
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$    7,175.76   $ 40,464.74                   $      450.91   $    450.91 11/1/2023
$    7,094.64   $ 40,464.74                   $      447.47   $    447.47 11/1/2023
$    1,943.40   $ 45,000.00                   $    3,886.80   $    161.95 12/1/2021
$    5,806.20   $ 112,691.22                  $   21,773.25   $    483.85 Life
$    5,966.88   $ 112,961.22                  $   22,375.80   $    497.24 LIfe
$    1,791.00   $ 13,295.76                                                                 $     63.13
$    1,840.80   $ 13,295.76                                                                 $     73.44
$    3,523.68   $ 36,841.42    $ 15,000.00 $       5,579.16   $     293.64       5/1/2017
$    3,489.48   $ 36,841.42    $ 15,000.00 $       5,525.01   $     290.79       5/1/2017
$    3,080.40   $ 36,841.42    $ 15,000.00 $       4,877.30   $     256.70       5/1/2017
$    2,717.16   $ 61,493.56                $      10,820.77   $     226.43   Life
$    3,000.00   $ 60,000.00                $       8,250.00   $     250.00   Life
$      711.60   $ 22,867.03                $         533.70   $      59.30   Life
$    5,059.08   $ 54,474.29                $       3,794.31   $     421.59   Life                          $    6,000.00
$      711.60   $ 22,867.03                $         533.70   $      59.30   LIfe
$   17,169.84   $ 240,634.43               $      12,877.38   $   1,430.82   LIfe                          $   12,000.00
$      791.28   $ 23,779.64                $         593.46   $      65.94   LIfe
$    2,456.76   $ 49,947.37                $       1,842.57   $     204.73   Life
$      762.96   $ 23,779.64                $         572.22   $      63.58   Life
$    2,503.80   $ 48,831.28                                                                 $     208.65
$    8,672.64   $ 89,786.75                                                                 $     722.72
$   13,436.64   $ 139,107.54                                                                $   1,119.72
$    4,193.52   $ 30,607.12                                                                 $     349.46
$    4,131.24   $ 120,566.16                  $   13,082.26   $    344.27    LIfe
$    5,915.64   $ 94,157.63                   $   17,746.92   $    492.97    Life
$    6,041.51   $ 94,157.63                   $   18,124.53   $    503.46    Life
$    5,462.53   $ 94,157.63                   $   16,387.59   $    455.21    LIfe
$      365.76   $ 3,732.44                                                                  $     24.24    $   1,872.40
$      371.04   $ 3,732.44                                                                  $     23.37    $   1,872.40
$      378.00   $ 3,732.44                                                                  $     25.97    $   1,872.40
$      338.04   $ 3,732.44                                                                  $     19.48    $   1,872.40
$      345.60   $ 3,732.44                                                                  $     20.78    $   1,872.40
$   17,614.20   $ 338,245.26                  $   22,017.60 $     1,467.85      9/1/2032                   $ 150,000.00
$    3,113.28   $ 28,609.64                                                                 $    112.49
$    2,707.08   $ 28,609.64                                                                 $    127.16
$    8,133.00   $ 39,748.71                   $   10,844.00   $    677.75       8/1/2017
$    8,925.72   $ 112,609.28                  $   19,339.06   $    743.81      10/1/2026
$    8,838.00   $ 112,609.28                  $   19,149.00   $    736.50      10/1/2026
$    8,862.00   $ 112,609.28                  $   19,201.00   $    738.80      10/1/2026
$    5,835.84   $ 71,399.37                   $    7,294.80   $    486.32       9/1/2022
$    9,330.48   $ 94,593.76    $   3,333.34                                                 $    448.10 $       6,666.66
$   10,183.92   $ 94,593.76    $   3,333.34                                                 $    437.91 $       6,666.67
$    8,188.32   $ 39,748.71                   $   10,917.76 $      682.36       8/1/2017
$   10,549.32   $ 94,593.76    $   3,333.34                                                 $    427.73 $       6,666.67
$    8,228.28   $ 39,748.71                   $   10,971.04   $    685.69        8/1/2017
$      572.64   $ 12,502.02                   $    2,242.84   $     47.72    LIfe
$      546.00   $ 12,502.02                   $    2,138.50   $     45.50    Life
$      532.68   $ 12,502.02                   $    2,086.33   $     44.39    Life
$    6,515.64   $ 72,429.30                   $    5,972.67   $    542.97    Life
$    3,078.13   $ 84,105.37                   $    4,104.17   $    256.51    Life                          $   13,000.00
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$   8,282.04 $ 15,280.66              $    11,042.72   $     690.17      2/1/2014
$   1,193.76 $ 14,967.23              $     1,094.28   $      99.48      1/1/2023
$   1,260.84 $ 14,967.23              $     1,155.77   $     105.07      1/1/2023
$   1,053.60 $ 14,967.23              $       965.80   $      87.80      1/1/2023
$   3,167.64 $ 58,683.30                                                              $   263.97
$ 14,778.84 $ 243,865.37              $    51,725.94 $      1,231.57 LIfe
$   4,550.04 $ 70,000.00                                                              $   379.17 $      3,180.87
$   9,144.72 $ 116,495.37 $ 6,000.00                                                  $   240.60 $     10,000.00
$   4,402.20 $ 116,495.37 $ 30,000.00                                                 $   121.55 $     10,000.00
$   1,782.48 $ 18,270.80                             $        691.08     5/1/2016
$   3,032.64 $ 21,586.95              $     2,274.48 $        252.72 11/1/2022
$   2,333.76 $ 21,586.95              $     1,750.32 $        194.48 11/1/2022
$ 14,778.84 $ 243,865.37              $    47,799.66 $      1,231.57 LIfe                          $ 100,000.00
$   4,177.68 $ 40,000.00                                                              $   130.00
$   1,774.92 $ 18,270.80                             $       755.81     5/1/2016
$   2,344.44 $ 21,586.95              $     2,539.81 $       195.37 11/1/2022
$   1,428.36 $ 30,732.23              $     3,808.96 $       119.03 LIfe
$   9,189.24 $ 121,426.48             $    17,612.71 $       765.77 Life
$   4,725.84 $ 48,255.37                                                              $   393.82
$   5,512.32 $ 59,719.00 $ 15,000.00 $     23,942.88 $       459.36 Life                           $ 240,000.00
$   2,823.60 $ 46,203.36              $    11,294.40 $       235.30 LIfe
$ 11,105.28 $ 33,288.04                                                               $   186.09 $      3,333.33
$ 11,290.80 $ 33,288.04                                                               $   186.09 $      3,333.33
$ 11,009.64 $ 33,288.04                                                               $   186.09 $      3,333.34
$ 167,700.00 ##########               $   628,875.00 $     13,975.00 Life
$ 12,159.84 $ 44,939.67                                                               $   237.74
$ 12,241.32 $ 44,939.67                                                               $   284.74
$ 12,420.96 $ 44,939.67                                                               $   280.22
$   7,500.00 $ 109,989.41             $    39,375.00 $       625.00 Life                           $ 106,976.52
$      85.92 $ 4,402.77 $ 2,053.07                                                    $     2.40
$     158.16 $ 4,402.77 $ 2,053.07                                                    $     4.80
$     138.60 $ 9,019.70 $ 7,560.63                                                    $     5.85
$   1,859.28 $ 61,377.78              $     2,493.86   $      154.94   LIfe
$   1,542.96 $ 61,377.78 $ 7,000.00 $       2,443.02   $      128.58   LIfe
$   1,859.28 $ 61,377.78              $     2,943.86   $      154.94   LIfe
$   1,859.28 $ 61,377.78              $     2,943.86   $      154.94   LIfe
$   1,859.28 $ 61,377.78              $     2,943.86   $      154.94   LIfe
$   1,983.24 $ 61,377.78              $     3,140.13   $      165.27   LIfe
$ 17,599.92 $ 116,816.09 $ 37,500.00 $     14,666.60   $    1,466.66       2/1/2018
$ 16,706.04 $ 116,816.09 $ 37,500.00 $     13,921.70   $    1,392.17       2/1/2018
$   9,809.76 $ 228,132.25             $    13,897.16   $      817.48   LIfe                        $    1,000.00
$   1,875.96 $ 43,624.76              $     3,734.26   $      156.33   LIfe
$     269.76 $ 6,270.74               $       224.80   $       22.48   LIfe
$ 17,380.92 $ 74,615.65               $    40,555.48   $    1,448.41       8/1/2016
$ 14,781.72 $ 114,906.81                                                              $   555.21
$   2,853.00 $ 53,259.47              $       475.50   $     237.75 Life
$   3,066.96 $ 53,259.47              $       511.16   $     255.58 Life
$   3,494.88 $ 53,259.47              $       582.48   $     291.24
$ 10,779.12 $ 200,513.01              $    17,066.94   $     898.26 Life
$   1,587.48 $ 4,799.89               $     1,747.77   $     132.29 11/1/2014
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$    1,593.48   $ 4,799.89               $    1,754.27   $    132.79 11/1/2014
$      930.96   $ 12,589.73              $    4,732.38   $     77.58 LIfe
$    1,740.96   $ 4,799.89               $    1,886.04   $    145.08 11/1/2014
$   11,677.44   $ 200,513.01             $   18,489.28   $    973.12 LIfe
$    1,458.84   $ 15,951.37                                                          $    128.75
$    3,782.88   $ 33,342.78                                                          $    113.93
$    1,637.64   $ 15,951.37                                                          $    121.88
$    1,516.20   $ 15,951.37                                                          $    127.03
$    8,477.40   $ 80,484.37              $   21,899.95 $      706.45     5/1/2021
$    1,769.28   $ 4,799.87               $    1,916.72 $      147.44    11/1/2014
$    3,748.68   $ 33,342.78                                                          $    122.26
$    3,248.52   $ 33,342.78                                                          $    138.92
$    3,758.64   $ 33,342.78                                                          $    116.70
$    1,624.44   $ 4,799.87               $    1,759.81 $      135.37    11/1/2014
$    3,802.92   $ 33,342.78                                                          $    133.38
$    3,473.76   $ 119,028.95             $    6,368.56 $      289.48 LIfe
$    3,725.88   $ 33,342.78                                                          $    119.48
$    3,576.00   $ 33,342.78                                                          $    136.15
$    1,991.40   $ 25,575.11                                                          $    165.95
$   29,751.84   $ 225,435.28 $ 75,000.00                                             $    765.84
$   28,755.84   $ 225,435.28 $ 75,000.00                                             $    782.86
$      771.48   $ 7,369.64               $    1,864.29   $     64.29     7/1/2021
$      375.00   $ 3,695.88               $      906.25   $     31.25     7/1/2021
$      733.56   $ 7,369.64               $    1,772.77   $     61.13     7/1/2021
$      369.72   $ 3,695.88               $      893.49   $     30.81     7/1/2021
$    8,384.52   $ 69,361.47                                                          $    747.43
$   10,606.08   $ 92,433.78                                                          $    546.22
$    4,968.00   $ 34,952.52                                                          $    150.46
$    5,244.12   $ 34,952.52                                                          $    168.70
$   19,470.54   $ 223,636.41             $   45,432.24 $     1,622.54 LIfe                       $      25,000.00
$   24,215.90   $ 280,739.56             $   56,503.76 $     2,017.99 LIfe                       $      25,000.00
$    2,020.32   $ 29,658.73                                                          $    168.36 $      14,000.00
$    2,785.68   $ 85,790.88              $    4,642.80 $      232.14 LIfe
$    3,463.44   $ 85,790.88              $    5,772.40 $      288.62 LIfe
$   14,390.28   $ 192,034.64                                                         $   1,199.19
$   15,075.12   $ 156,618.80                                                         $   1,256.26
$    2,000.04   $ 50,000.00                                                          $     166.67
$    2,050.08   $ 50,000.00                                                          $     170.84
$    3,542.32   $ 32,552.19              $   10,036.56   $    295.19     9/1/2022
$    4,815.19   $ 16,263.60              $    9,630.38   $    401.26     7/1/2013                   $    2,000.00 Closed
$    5,173.92   $ 14,092.72              $   10,347.84   $    431.16     7/1/2013                                 Closed
$    3,541.92   $ 32,552.19              $   10,625.76   $    295.16     9/1/2022
$    3,587.64   $ 16,776.47                                                          $     59.78
$    4,808.01   $ 16,263.60              $    9,616.02   $     400.66     7/1/2013                  $    2,000.00 Closed
$    3,521.16   $ 55,991.66              $    9,096.33   $     293.43 Life
$   15,404.01   $ 62,298.85              $   30,808.02   $   1,283.66 11/1/2014
$    2,278.08   $ 10,920.24              $    1,898.40   $     189.84     2/1/2018                  $    2,000.00
$    3,587.64   $ 16,776.47                                                          $     59.78
$    3,587.88   $ 16,776.47                                                          $     58.47
$   14,043.86   $ 62,298.85              $   18,725.14 $     1,170.32   11/1/2014
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$   14,230.72   $ 62,298.85                   $   18,974.28 $     1,185.89 11/1/2014
$    1,167.72   $ 20,445.09                   $    2,432.75 $        97.31 LIfe                          $   8,379.24
$    1,210.80   $ 20,445.09                   $    2,522.50 $       100.90 LIfe                          $   8,379.24
$    1,377.96   $ 20,424.45                                                                 $   114.83   $   9,000.00
$    1,227.24   $ 20,424.45                                                                 $   102.27   $   9,000.00
$    1,356.36   $ 20,424.45                                                                 $   113.03   $   9,000.00
$    1,313.40   $ 20,424.45                                                                 $   103.45   $   9,000.00
$    2,815.68   $ 14,970.59                                                                 $    75.09
$    2,780.64   $ 14,970.59                                                                 $    76.50
$    2,847.36   $ 14,970.59                                                                 $    73.67
$    3,151.56   $ 14,970.59                                                                 $    60.97
$    5,753.40   $ 63,605.70                                                                 $   479.45
$    3,756.36   $ 53,213.77                   $   11,895.14 $      313.03 LIfe
$      946.08   $ 22,000.00                   $    1,949.86 $       78.87 LIfe
$      861.84   $ 16,390.38                   $    1,723.68 $       71.82 LIfe                           $   8,000.00
$    6,189.72   $ 71,046.55                                                                 $   515.81
$    6,275.64   $ 71,046.55                                                                 $   522.97
$    5,673.84   $ 71,046.55                                                                 $   472.82
$    1,978.20   $ 17,503.56    $   7,000.00 $      2,815.45   $     164.85     7/1/2017
$    1,881.12   $ 17,503.56    $   7,000.00 $      2,664.92   $     156.76     7/1/2017
$    8,241.60   $ 100,482.55                $     26,098.40   $     686.80     1/1/2013                                 Closed
$    2,108.04   $ 25,325.90                 $      2,263.87   $     175.67     1/1/2013                                 Closed
$    2,223.48   $ 27,268.55                 $      1,795.45   $     185.29     1/1/2013                                 Closed
$    2,848.20   $ 39,475.25                 $      8,069.90   $     237.35     1/1/2013                                 Closed
$    3,941.64   $ 50,658.65                 $     13,138.80   $     328.47     1/1/2013                                 Closed
$   25,312.32   $ 212,528.65                $     64,159.86   $   2,109.36     5/1/2021
$    2,684.16   $ 20,701.07                                                                 $   104.10
$    4,906.68   $ 38,451.26                                                                 $   216.75 $     5,000.00
$    3,152.04   $ 25,233.62                                                                 $   121.91
$    4,978.92   $ 38,451.26                                                                 $   191.25 $     5,000.00
$    3,058.08   $ 25,233.62                                                                 $   138.53
$    5,061.84   $ 116,937.59                  $   14,341.80 $      421.82 LIfe
$    6,068.04   $ 82,000.00                                                                 $   505.67
$    3,944.64   $ 60,000.00    $ 20,000.00                                                  $   133.34
$    2,499.60   $ 37,901.39                   $    4,582.60 $       208.30 Life
$   20,394.24   $ 315,006.55                  $   40,788.48 $     1,699.52 Life
$   18,284.52   $ 315,006.55                  $   36,569.04 $     1,523.71 Life
$      752.40   $ 7,423.49     $   4,086.21                                                 $    27.82
$      757.68   $ 7,423.49     $   4,086.21                                                 $    29.41
$      636.72   $ 7,423.49     $   4,086.21                                                 $    31.79
$      679.68   $ 7,423.49     $   4,086.21                                                 $    31.00
$      641.76   $ 7,423.49     $   4,086.21                                                 $    34.17
$      583.68   $ 7,423.49     $   4,086.21                                                 $    35.76
$    9,901.56   $ 78,273.13                                                                 $   393.66
$    3,146.16   $ 52,492.70                   $    9,610.75   $     262.18   Life
$    2,916.00   $ 52,492.70                   $    8,905.67   $     243.00   LIfe
$    2,378.88   $ 52,492.70                   $    7,334.88   $     198.24   LIfe
$   13,301.64   $ 360,965.66                  $   33,355.38   $   1,108.47   LIfe
$   29,924.64   $ 315,006.55                  $   49,052.64   $   2,493.72   LIfe
$   18,624.24   $ 80,000.00                   $   15,520.20   $   1,552.02       2/1/2017
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$    2,259.36   $ 51,915.21                    $    3,200.76   $     188.28 LIfe
$    2,915.64   $ 31,106.57                    $    7,287.80   $     242.97     6/1/2021
$    2,459.04   $ 31,106.57                    $    5,327.92   $   6,147.60     6/1/2021
$   13,181.76   $ 178,080.16                   $   31,855.92   $   1,098.48 LIfe
$    4,065.96   $ 49,367.53                    $    4,988.76   $     415.73 12/1/2022
$    6,450.24   $ 90,886.77                    $   21,500.80   $     537.52 LIfe
$    3,698.40   $ 30,827.98                                                                  $   143.92
$    3,735.00   $ 30,827.98                                                                  $   133.26
$   18,144.72   $ 158,627.48                   $   43,849.74 $     1,512.06     7/1/2021                  $   20,000.00
$    3,159.00   $ 58,379.85                    $    7,153.75 $       263.25 LIfe
$    9,297.84   $ 62,043.69                                                                  $   266.67 $     16,736.45
$      190.08   $ 3,878.99                     $      744.48   $      15.84   LIfe
$      190.08   $ 3,878.99                     $      744.48   $      15.84   LIfe
$      176.76   $ 3,879.99                     $      692.31   $      14.73   LIfe
$      181.20   $ 3,878.99                     $      709.70   $      15.10   LIfe
$      181.20   $ 3,878.99                     $      709.70   $      15.10   LIfe
$   10,205.40   $ 113,069.81                   $   22,962.15   $     850.45       9/1/2021
$   27,275.52   $ 89,117.37                    $   54,551.04   $   2,272.96     10/1/2013
$   11,109.97   $ 163,579.78                   $   21,391.06   $     925.83   LIfe
$    2,701.92   $ 39,264.45                    $    6,304.48   $     225.16       8/1/2021
$    2,889.84   $ 39,264.45                    $    5,779.68   $   6,742.96       8/1/2021
$   11,022.72   $ 109,234.39                                                                 $   918.56
$    5,203.56   $ 45,308.50                                                                  $   137.86
$    5,268.36   $ 45,308.50                                                                  $   137.86
$    1,192.56   $ 27,281.28    $   10,000.00   $       89.47   $     89.47 11/1/2033
$    1,079.28   $ 27,281.28    $   10,000.00   $       87.28   $     87.28 11/1/2033
$      576.48   $ 9,868.92     $    1,375.00   $    1,152.96   $     48.04 12/1/2032
$    1,118.76   $ 27,281.28    $   10,000.00   $       85.32   $     85.32 11/1/2033
$      594.60   $ 9,868.92     $    1,375.00   $    1,189.20   $     49.55 12/1/2032
$      559.08   $ 9,868.92     $    1,375.00   $    1,118.16   $     46.59 12/1/2032
$      592.08   $ 9,868.92     $    1,375.00   $    1,183.96   $     49.34 12/1/2032
$    1,156.56   $ 27,281.28    $   10,000.00   $       92.14   $     92.14 11/1/2033
$      254.40   $ 43,370.39    $   25,000.00   $      446.20   $     21.20 Life                         $     16,666.66
$      230.16   $ 43,370.39    $   25,000.00   $      402.78   $     19.18 Life                         $     16,666.67
$    3,733.44   $ 40,331.79                                                                  $   311.12 $     33,333.33
$    4,168.92   $ 40,331.79                                                                  $   347.41 $     33,333.33
$      181.68   $ 43,370.39    $ 25,000.00 $          317.94 $        15.14 Life                        $     16,666.66
$    1,105.68   $ 40,331.39    $ 18,000.00 $        1,658.52 $        92.14 Life                        $     33,333.34
$   13,211.16   $ 122,275.94               $       42,936.27 $     1,100.93     9/1/2020
$    1,188.24   $ 10,184.16                                                                  $    43.29
$    1,137.00   $ 10,184.16                                                                  $    48.38
$    1,065.36   $ 10,184.16                                                                  $    50.93
$   18,984.60   $ 78,001.06                    $   23,730.75 $     1,582.05     9/1/2017                  $   41,500.00
$    8,114.88   $ 37,108.00                    $   16,906.00 $       676.24    11/1/2016                  $   12,500.00
$    7,027.80   $ 59,935.05                                                                  $   585.65
$    7,027.80   $ 59,935.05                                                                  $   585.65
$    2,599.56   $ 20,289.92                    $    1,733.04   $    216.63     4/1/2023
$    2,557.44   $ 20,289.92                    $    1,704.96   $    213.12     4/1/2023
$    8,448.12   $ 158,161.12                   $   28,160.04   $    704.01 LIfe
$    4,974.24   $ 60,422.01                    $      829.04   $    414.52
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$    5,574.96   $ 60,422.01                    $     929.16 $        464.58
$    5,840.28   $ 84,377.25    $    5,333.33                                              $    478.75
$    6,169.56   $ 84,377.25    $    5,333.33                                              $    375.02
$    6,075.24   $ 84,377.25    $    5,333.33                                              $    446.83
$    1,216.92   $ 36,809.23                    $    2,558.93 $       101.41 LIfe
$    3,284.64   $ 44,628.96                                                               $    273.72
$    3,284.64   $ 44,628.96                                                               $    273.72
$    4,802.28   $ 92,140.49                $       10,280.86   $     400.19 LIfe
$    7,905.36   $ 68,830.93                $       58,000.00                  5/10/2012                                  rescission/buyout
$    1,766.04   $ 17,887.27                $        1,782.04   $     147.17 12/1/2022
$    4,635.60   $ 124,677.63   $ 10,000.00 $       12,897.17   $     386.30 LIfe                         $    6,000.00
$    1,243.44   $ 24,868.00                $        3,626.70   $     103.62 LIfe
$    1,146.12   $ 22,922.00                $        4,011.42   $      95.51 LIfe
$    3,399.84   $ 17,177.31                $        7,366.32   $     283.32 10/1/2016                 $       2,000.00
$    5,644.20   $ 44,701.15                                                               $    216.69 $       2,500.00
$    5,726.76   $ 44,701.15                                                               $    212.52 $       2,500.00
$    2,183.16   $ 27,461.74                                                               $    181.92
$    2,219.52   $ 27,461.74                                                               $    184.96
$    1,746.48   $ 27,461.74                                                               $    145.54
$    2,255.88   $ 27,461.74                                                               $    187.99
$    2,050.08   $ 49,943.09                    $    4,441.84 $       170.84 Life
$   11,227.80   $ 83,597.43                                                               $    523.87
$   11,309.28   $ 83,597.43                                                               $    560.77
$      776.16   $ 13,649.01    $ 5,334.00                                                 $     51.87
$   10,182.72   $ 190,586.40   $ 30,000.00 $       23,759.68 $       848.56    8/1/2021
$    9,206.76   $ 55,891.93                                                               $    359.79
$    9,377.88   $ 55,891.93                                                               $    327.08
$    8,191.68   $ 90,750.26                                                               $    396.11
$    1,451.04   $ 16,808.86                    $    3,143.92 $       120.92 Life
$    4,643.52   $ 58,757.13                                                               $    386.96
$    4,214.88   $ 58,757.13                                                               $    351.24
$   27,036.60   $ 95,564.78    $   20,000.00   $   27,036.60   $    2,253.05 12/1/2014
$   28,714.92   $ 95,564.78    $   20,000.00   $   28,714.92   $    2,392.91 12/1/2014
$   28,299.00   $ 95,564.78    $   20,000.00   $   28,299.00   $    2,358.25 12/1/2014
$   27,615.00   $ 95,564.78    $   20,000.00   $   27,615.00   $    2,301.25 12/1/2014
$   27,319.32   $ 95,564.78    $   20,000.00   $   27,319.32   $    2,276.61 12/1/2014
$   27,386.76   $ 95,564.78    $   20,000.00   $   27,386.76   $    2,282.23 12/1/2014
$   34,409.28   $ 95,564.78    $   20,000.00   $   34,409.28   $    2,867.44 12/1/2014
$   28,671.00   $ 95,564.78    $   20,000.00   $   28,663.00   $    2,387.25 12/1/2014
$    9,514.92   $ 154,514.29   $   16,000.00   $   29,822.17   $      792.91 LIfe
$    1,421.04   $ 19,693.95                    $    4,855.22   $      118.42 LIfe                        $    3,000.00
$   25,941.60   $ 142,866.15                                                              $   1,390.71
$   26,875.56   $ 142,866.15                                                              $   1,310.48
$   25,418.04   $ 142,866.15                                                              $   1,430.83
$   28,223.88   $ 142,866.15                                                              $   1,256.99
$   18,513.72   $ 138,766.73                   $   33,941.82   $    1,542.81   2/1/2022                  $   78,833.33
$   18,018.48   $ 138,766.73                   $   33,030.28   $    1,501.54   2/1/2022                  $   78,333.33
$   17,609.04   $ 138,766.73                   $   26,413.56   $   32,283.24   2/1/2022                  $   78,333.34
$   23,128.68   $ 227,910.47                   $   15,419.08   $    1,927.39   4/1/2023
$    5,344.44   $ 28,836.97                    $    3,565.12   $      445.39   4/1/2018
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$    3,556.92   $ 44,460.74                    $   10,374.35 $      296.41     4/1/2013                                   Closed deceased
$    5,491.68   $ 45,230.32                                                                $    403.30
$    5,649.72   $ 34,715.86                                                                $    266.34
$    5,709.00   $ 34,715.86                                                                $    262.53
$    2,108.40   $ 27,214.62                                                                $    109.01    $   15,000.00
$    2,166.96   $ 27,214.62                                                                $    109.01    $   15,000.00
$    5,861.76   $ 10,000.00                                                                $     45.00    $      700.00
$   17,397.24   $ 20,000.00                                                                $    118.34    $      700.00
$    5,875.08   $ 10,000.00                                                                $     44.17    $      700.00
$    5,861.76   $ 10,000.00                                                                $     45.00    $      700.00
$   17,160.36   $ 20,000.00                                                                $    115.00    $      700.00
$    2,675.66   $ 38,020.57                    $   32,107.92 $     1,337.83    1/1/2013                   $      700.00
$   15,589.80   $ 369,741.40   $ 29,000.00                                                 $   1,299.15
$    1,917.10   $ 13,437.21                                                                $     660.68
$    1,933.14   $ 13,437.21                                                                $     696.36
$    6,310.92   $ 135,856.18               $       21,562.31   $     525.91 Life
$      858.36   $ 68,871.58    $ 37,000.00 $        3,290.38   $      71.53 Life
$    9,425.04   $ 225,000.00               $       12,259.98   $     473.09 Life
$    7,455.36   $ 56,260.84                $        3,727.68   $     621.28     6/1/2023
$    6,964.80   $ 56,260.84                $        3,482.40   $     580.40     6/1/2023
$   26,880.36   $ 236,637.64               $       13,440.18   $   2,240.03     6/1/2023
$    7,332.84   $ 59,420.13                $       10,999.26   $     611.07     6/1/2023
$    7,059.12   $ 59,420.13                $       10,594.08   $     588.26     6/1/2023
$    2,126.76   $ 28,199.48                                                                $    177.23
$    2,793.36   $ 28,199.48                                                                $    232.78
$    2,888.64   $ 28,199.48                                                                $    240.12
$    2,607.84   $ 17,285.71                    $    8,040.84   $    217.32    11/1/2020                   $   10,028.46
$    6,571.56   $ 55,763.29                    $    3,833.41   $    547.63     5/1/2023                   $   38,500.00
$    6,656.52   $ 55,763.29                    $    3,862.97   $    554.71     5/1/2023                   $   38,500.00
$    7,240.56   $ 55,763.29                    $    4,223.46   $    603.33     5/1/2023                   $   38,500.00
$    2,683.68   $ 17,285.71                    $    8,274.68   $    223.64    11/1/2020                   $   10,028.46
$    2,646.00   $ 17,285.71                    $    8,158.50   $    220.50    11/1/2020                   $   10,028.46
$    6,994.44   $ 55,763.29                    $    4,080.09   $    582.87     5/1/2023                   $   38,500.00
$    6,320.76   $ 37,639.99                                                                $    278.53
$    1,811.88   $ 29,667.93                    $    8,455.44 $      150.99 LIfe
$   13,079.28   $ 100,013.57                                                               $   1,089.94
$   15,959.52   $ 142,310.03   $   25,000.00                                               $   1,329.96   $   10,000.00
$   15,852.48   $ 142,310.03   $   25,000.00                                               $   1,321.04   $   10,000.00
$   14,138.64   $ 142,310.03   $   25,000.00                                               $   1,178.22   $   10,000.00
$   14,781.36   $ 142,310.03   $   25,000.00                                               $   1,231.78   $   10,000.00
$      404.40   $ 7,638.95                     $     167.30 $        33.70 Life
$      437.40   $ 7,638.95                     $     182.25 $        36.45 Life
$      429.12   $ 7,638.95                     $     178.80 $        35.76 Life
$    6,705.24   $ 39,446.23                                                                $    322.77
$    6,332.28   $ 39,446.23                                                                $    253.60
$    6,851.40   $ 39,446.23                                                                $    352.74
$    7,595.76   $ 87,248.28                $       18,356.42   $     632.98 Life
$    9,047.64   $ 133,253.59   $ 41,000.00 $        7,667.70   $     753.77 10/1/2022
$   26,736.72   $ 45,532.92                $       31,192.84   $   2,228.06 10/1/2014                     $   20,000.00
$    1,168.68   $ 8,902.06                 $          973.90   $      97.39     2/1/2023
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$    1,158.72   $ 8,902.06                  $      965.60 $        96.56     2/1/2023
$    1,161.24   $ 8,902.06                  $      967.70 $        96.77     2/1/2023
$    3,920.04   $ 56,916.48                                                              $    275.96
$    3,827.76   $ 56,916.48                                                              $    281.71
$   63,576.24   $ 286,833.45                                                             $    839.18
$   12,289.80   $ 29,875.99                 $    18,484.70 $     1,024.15    6/1/2014
$    4,296.84   $ 81,070.40                                                              $     358.07
$    4,702.20   $ 81,070.40                                                              $     391.85
$    5,026.44   $ 81,070.40                                                              $     418.87
$   19,176.12   $ 159,173.35                                                             $   1,299.95 $     56,000.00
$    5,299.20   $ 42,044.66                                                              $     222.56
$    8,601.48   $ 78,299.97                                                              $     347.00
$    8,803.80   $ 78,299.97                                                              $     368.69
$    5,176.08   $ 42,044.66                                                              $     226.33
$   34,379.40   $ 74,335.83                 $    34,379.40 $     2,864.95   12/1/2014                 $      3,000.00
$    3,694.20   $ 23,314.57                                                              $     119.61
$    5,657.76   $ 89,730.43                 $    16,512.30 $      471.78 Life
$   21,399.00   $ 241,426.73 $   5,000.00                                                $   1,783.25
$   13,520.64   $ 160,951.15 $   5,000.00                                                $   1,126.72
$    3,192.00   $ 42,000.00                 $     8,483.58 $      266.00 LIfe
$    8,856.72   $ 92,030.15                                                              $    738.06 $ 60,000.00
$    8,722.44   $ 92,030.15                                                              $    726.87 $ 60,000.00
$   47,375.88   $ 991,059.30                $   110,543.72   $   3,947.99 LIfe                       $ 150,000.00
$   50,399.88   $ 991,059.30                $   117,599.72   $   4,199.99 LIfe                       $ 150,000.00
$    3,419.28   $ 19,005.65                 $     2,849.40   $     284.94     2/1/2018               $ 12,600.00
$    7,499.16   $ 126,316.56                $    10,623.81   $     624.93 LIfe
$    2,063.88   $ 13,969.50                                                              $     90.62
$    1,986.12   $ 13,969.50                                                              $     80.39
$    2,015.88   $ 13,969.50                                                              $     97.93
$    2,109.12   $ 13,969.50                                                              $     97.93
$    6,788.64   $ 13,969.50                 $     5,651.90 $      565.19     2/1/2015
$    8,279.88   $ 77,000.00                                                              $    378.59
$      227.40   $ 2,566.15                  $        24.33   $     24.33
$      248.88   $ 2,566.15                  $        28.00   $     28.00
$      252.36   $ 2,566.15                  $        28.17   $     28.17
$      245.64   $ 2,566.15                  $        26.65   $     26.65
$      232.92   $ 2,566.15                  $        24.32   $     24.32
$    6,843.72   $ 70,303.81                 $     2,281.24   $    570.31     8/1/2023
$    6,621.60   $ 70,303.81                 $     2,207.20   $    551.80     8/1/2023
$    6,651.48   $ 70,303.81                 $     2,217.16   $    554.29     8/1/2023
$    4,554.84   $ 58,573.05 $    2,000.00                                                $    379.57
$    4,247.16   $ 74,403.23                 $     7,711.60   $    353.93 Life
$      457.80   $ 6,376.04                  $       534.10   $     38.15 10/1/2032                      $    3,700.00
$      452.76   $ 6,376.04                  $       528.22   $     37.73 10/1/2032                      $    3,700.00
$      457.20   $ 6,376.04                  $       533.40   $     38.10 10/1/2032                      $    3,700.00
$      452.28   $ 6,376.04                  $       527.66   $     37.69 10/1/2032                      $    3,700.00
$      459.00   $ 6,376.04                  $       535.50   $     38.25 10/1/2032                      $    3,700.00
$      454.68   $ 6,376.04                  $       530.46   $     37.89 10/1/2032                      $    3,700.00
$      461.04   $ 6,376.04                  $       537.88   $     38.42 10/1/2032                      $    3,700.00
$      462.36   $ 6,376.04                  $       539.42   $     38.53 10/1/2032                      $    3,700.00
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$      451.80   $ 6,376.04                   $      527.10   $     37.65 10/1/2032                        $    3,700.00
$      452.76   $ 6,376.04                   $      528.22   $     37.73 10/1/2032                        $    3,700.00
$    2,900.04   $ 58,000.00                  $    9,966.80   $    241.67 Life
$    7,540.08   $ 125,518.57                 $   30,788.66   $    628.34 Life                             $    1,500.00
$   12,828.36   $ 151,512.33                                                               $   1,069.03
$    2,239.08   $ 19,639.75                  $    3,918.39 $      186.59      3/1/2022
$    2,260.32   $ 19,639.75                  $    3,955.56 $      188.36      3/1/2022
$   13,069.08   $ 126,010.49   $ 8,354.50                                                  $   1,089.09 $        425.00
$   11,953.44   $ 126,010.49   $ 8,354.50                                                  $     996.12 $        425.00
$    2,741.64   $ 84,730.58    $ 29,000.00 $      5,940.22   $     228.47   Life                        $      3,500.00
$    2,741.64   $ 84,730.58    $ 29,000.00 $      5,940.22   $     228.47   Life                        $      3,500.00
$   89,523.84   $ 503,322.00               $     89,523.84   $   7,460.32     12/1/2017
$   16,936.68   $ 98,214.11                $     86,144.79   $   1,411.39   Life                          $   22,000.00
$    1,651.80   $ 19,199.78                $      6,744.85   $     137.65   Life
$    5,739.96   $ 64,758.20                $     17,219.88   $     478.33   Life
$    3,876.00   $ 37,694.83                $      3,637.00   $     323.00       1/1/2022                  $    4,500.00
$   16,319.52   $ 40,806.64                $     10,877.28   $   1,359.96       4/1/2015
$    3,600.00   $ 54,206.86                                                                $    300.00
$    2,112.72   $ 47,216.03    $ 10,000.00                                                 $    176.06
$    2,112.72   $ 47,216.03    $ 10,000.00                                                 $    176.06
$    4,315.56   $ 76,886.50                                                                $    359.63
$    4,315.56   $ 76,886.50                                                                $    359.63
$    5,366.00   $ 116,290.49                 $    2,479.14   $   1,239.57
$    2,950.32   $ 36,048.14                  $    9,096.82   $     245.86 LIfe
$    4,868.16   $ 55,597.38                  $   10,999.04   $     405.68 LIfe                            $   10,000.00
$    4,548.96   $ 55,597.38                  $   10,614.24   $     379.08 Life                            $   10,000.00
$    1,870.56   $ 15,287.68                  $      779.40   $     155.88     7/1/2023
$    3,170.16   $ 32,500.00                  $    5,283.60   $     264.18     4/1/2022
$    1,802.88   $ 15,287.68                  $      751.20   $     150.24     7/1/2023
$    2,139.12   $ 15,398.42                  $    5,169.54   $     178.26     7/1/2019                    $    1,000.00
$      618.48   $ 9,750.71                                                                 $     51.54
$      694.32   $ 9,750.71                                                                 $     57.86
$      719.52   $ 9,750.71                                                                 $     59.96
$      631.20   $ 9,750.71                                                                 $     52.60
$      672.84   $ 9,750.71                                                                 $     56.07
$      672.84   $ 9,750.71                                                                 $     56.07
$    4,386.36   $ 45,380.14                $     23,297.33   $     365.53   Life
$   72,550.92   $ 185,162.40               $     72,550.92   $   6,045.91     12/1/2014
$    1,126.80   $ 20,861.00                $      4,225.50   $      93.90   Life
$    1,423.92   $ 35,624.80    $ 12,300.00 $      3,441.14   $     118.66       7/1/2021
$    4,648.20   $ 56,290.39                $      8,909.05   $     387.35   Life
$    8,552.76   $ 101,069.02               $     31,360.12   $     712.73       3/1/2030
$    8,552.97   $ 81,766.09                $     25,658.91   $     712.75       7/1/2019
$    5,848.16   $ 71,639.26                $     13,645.72   $     487.35     10/1/2019                   $   28,391.99
$    3,737.40   $ 36,570.34    $ 6,000.00 $       6,540.45   $     311.45       3/1/2022
$    2,333.88   $ 119,335.65   $ 42,610.19 $     15,826.45   $     194.49   Life
$   17,694.96   $ 231,961.54                                                               $    966.17
$    1,404.60   $ 36,633.59    $   2,750.00 $     3,274.96 $      117.05 Life
$    1,289.52   $ 36,633.59    $   2,750.00 $     3,191.03 $      107.46 Life
$    1,403.64   $ 36,633.59    $   2,750.00 $     3,450.44 $      116.97 Life
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$   1,250.40 $ 36,633.59 $ 2,750.00 $       3,124.09 $       104.20 Life
$   5,863.20 $ 101,087.73             $    15,635.20 $       488.60 Life
$ 13,436.64 $ 171,955.69              $    41,429.64 $     1,119.72 Life
$   5,498.52 $ 22,349.52                                                            $    82.48
$   9,273.72 $ 181,248.91 $ 72,000.00                                               $   168.28
$   5,728.32 $ 110,158.84             $       771.12   $    385.56   Life
$   2,543.16 $ 19,454.75              $     7,841.41   $    211.93     11/1/2020                 $    6,002.65
$   2,319.24 $ 14,957.58              $     5,411.56   $    193.27       8/1/2021                $    3,333.33
$   2,272.92 $ 14,957.58              $     5,317.48   $    189.91       8/1/2021                $    3,333.33
$   2,136.84 $ 14,957.58              $     4,985.96   $    178.07       8/1/2021                $    3,333.34
$   2,624.28 $ 19,454.75              $     8,091.53   $    218.69     11/1/2020                 $    6,002.65
$   2,469.12 $ 19,454.75              $     7,613.12   $    205.76     11/1/2020                 $    6,002.66
$ 10,354.08 $ 124,769.42              $     7,777.44   $    862.81   Life
$   5,530.68 $ 53,822.04              $    22,122.72   $    460.89     12/1/2020                 $    5,000.00
$   5,396.16 $ 53,822.04              $    21,584.64   $    449.68     12/1/2020                 $    5,000.00
$   5,444.88 $ 53,822.04              $    22,019.52   $    458.74     12/1/2020                 $    5,000.00
$   5,596.80 $ 53,648.64              $    24,719.20   $    466.40       1/1/2013                                Closed
$     459.36 $ 4,452.98               $       957.00   $     38.28     11/1/2021
$     869.04 $ 15,181.33              $     2,679.54   $     72.42   LIfe
$     471.36 $ 4,452.98               $       982.00   $     39.28     11/1/2021
$     485.40 $ 4,452.98               $     1,011.25   $     40.45     11/1/2021
$     400.56 $ 7,556.10 $ 2,000.00 $          801.12   $     33.38     12/1/2021
$   5,284.80 $ 48,770.78              $    16,143.78   $    440.40   LIfe
$     850.56 $ 15,181.33              $     2,622.56   $     70.88   LIfe
$     510.24 $ 4,452.98               $     1,063.00   $     42.52     11/1/2021
$     869.04 $ 15,181.33              $     2,679.54   $     72.42   Life
$     510.84 $ 4,452.98               $     1,064.24   $     42.57     11/1/2021
$     497.28 $ 4,452.98               $     1,036.00   $     41.44     11/1/2021
$     813.60 $ 15,181.13              $     2,508.60   $     67.80   Life
$     887.64 $ 15,181.13              $     2,736.89   $     73.97   Life
$     423.12 $ 7,556.10 $ 2,000.00 $          846.24   $     35.26     12/1/2021
$     432.72 $ 7,556.10 $ 2,000.00 $          865.44   $     36.06     12/1/2021
$     432.72 $ 7,556.10 $ 2,000.00 $          865.44   $     36.06     12/1/2021
$     430.80 $ 7,556.10 $ 2,000.00 $          861.60   $     35.90     12/1/2021
$     419.88 $ 7,556.10 $ 2,000.00 $          839.76   $     34.99     12/1/2021
$     887.64 $ 15,181.13              $     2,736.89   $     73.97   Life
$   1,335.36 $ 29,844.08              $     2,225.60   $    111.28   Life
$   1,270.20 $ 29,844.08              $     2,117.00   $    105.85   Life
$   6,675.84 $ 40,065.83                                                            $   556.32
$   6,460.56 $ 40,065.83                                                            $   538.38
$   6,632.76 $ 40,065.83                                                            $   552.73
$ 12,091.92 $ 23,651.22               $     9,068.94   $   1,007.66     3/1/2015
$ 11,310.96 $ 23,651.22               $     8,483.22   $     942.58     3/1/2015
$ 103,947.70 $ 527,758.47             $   207,885.40   $   8,662.31     7/1/2016
$   4,380.96 $ 111,538.79 $ 41,000.00 $     8,761.92   $     365.08 Life
$   2,215.68 $ 49,123.68 $ 15,500.00                                                $   184.64
$   2,215.68 $ 49,123.68 $ 15,500.00                                                $   184.64
$   2,289.48 $ 49,123.68 $ 15,500.00                                                $   190.79
$   2,437.20 $ 49,123.68 $ 15,500.00                                                $   203.10
$   3,018.60 $ 55,889.19              $     5,992.26 $      251.55 Life                          $   12,500.00
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$    3,130.44   $ 55,889.19                   $    6,214.28   $    260.87 Life                            $   12,500.00
$   11,350.92   $ 166,377.03                  $   22,346.42   $    945.91 Life
$    2,314.92   $ 36,223.97                   $    7,716.40   $    192.91 Life                            $   17,650.00
$    8,053.44   $ 14,817.06                   $   16,106.88   $    671.12     4/1/2013                                    Closed
$    1,443.48   $ 11,943.01                                                                $    120.29 $       3,500.00
$    1,443.48   $ 11,943.01                                                                $    120.29 $       3,500.00
$    2,330.76   $ 23,040.01                                                                $    194.23
$    2,300.88   $ 23,040.01                                                                $    191.74
$    2,181.36   $ 23,040.01                                                                $    181.78
$    2,360.64   $ 23,040.01                                                                $    196.72
$    2,241.12   $ 23,040.01                                                                $    186.76
$   69,566.40   $ 131,232.34                  $   47,972.00 $     5,797.20      2/1/2015
$    4,759.92   $ 44,303.80    $ 7,000.00                                                  $    186.81
$    2,689.32   $ 44,303.80    $ 17,000.00                                                 $    119.05
$    4,267.80   $ 44,303.80    $ 7,000.00                                                  $    211.15
$    5,088.60   $ 74,186.30                   $   11,449.35 $      424.05 LIfe
$    6,305.76   $ 114,044.29                  $   32,579.76 $      525.48 LIfe                            $ 67,213.00
$   10,517.76   $ 110,111.69                  $    2,629.34 $      876.48                                 $ 121,191.00
$      560.04   $ 30,000.00    $ 14,000.00                                                 $     46.67
$    2,175.00   $ 30,000.00    $ 5,000.00 $        9,418.75   $     181.25   LIfe
$    1,068.00   $ 12,000.00                $       3,115.00   $      89.00   LIfe
$    4,140.00   $ 45,000.00                $      20,010.00   $     345.00   LIfe
$   12,288.36   $ 249,705.74               $      32,768.96   $   1,024.03   LIfe
$    5,445.00   $ 50,000.00                                                                $    162.50
$    5,474.52   $ 50,000.00                                                                $    162.50
$    1,484.64   $ 23,999.14                   $    5,072.52 $      123.72 Life
$   19,239.84   $ 222,597.91                                                               $   1,509.87
$    2,250.60   $ 28,913.20                                                                $     187.55
$      837.60   $ 12,500.00                                                                $      69.80
$      812.52   $ 12,500.00                                                                $      67.71
$    2,250.60   $ 28,913.20                                                                $     187.55
$    4,123.80   $ 85,987.60                   $    5,842.05 $      343.65 Life                            $   44,182.87
$    4,329.96   $ 85,987.60                   $    6,134.11 $      360.83 Life                            $   44,182.87
$   12,570.96   $ 111,648.18                                                               $    517.65
$   10,760.28   $ 27,523.01                   $   15,243.47   $     896.69     7/1/2014
$   12,260.52   $ 27,523.01                   $   17,369.07   $   1,021.71     7/1/2014
$    4,671.00   $ 87,843.00                   $    7,339.00   $     389.25 Life
$    9,773.61   $ 157,111.56                  $    9,773.61   $     814.47 Life
$   14,192.52   $ 235,667.34                  $   14,192.52   $   1,182.71 Life
$    3,552.60   $ 30,033.60                   $    3,552.60   $     296.05 12/1/2022                      $    6,000.00
$      849.12   $ 9,701.06                                                                 $     70.76
$      539.28   $ 9,701.06                                                                 $     44.94
$   19,177.20   $ 107,432.17                  $   12,784.80 $     1,598.10     4/1/2018                   $   19,642.62
$    6,323.88   $ 93,668.50                   $   11,593.81 $       526.99 Life                           $      500.00
$    1,181.88   $ 21,103.87                   $    2,447.89 $        98.49 Life
$    1,407.60   $ 25,000.00                                                                $    117.30
$    2,200.56   $ 50,165.16                   $    8,033.20 $      183.38 Life
$    2,271.48   $ 50,165.16                   $    8,281.56 $      189.29 Life
$    3,883.08   $ 43,982.17                                                                $    323.59
$   10,753.20   $ 145,332.99   $   7,000.00                                                $    896.10
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$    5,846.76   $ 72,840.15                  $   11,693.52 $      487.23 LIfe                           $   20,000.00
$      780.00   $ 15,000.00                  $      520.00 $       65.00 LIfe
$    3,044.04   $ 15,612.62                                                                $   107.40
$    3,082.20   $ 15,612.62                                                                $   122.47
$    3,085.08   $ 15,612.62                                                                $   120.59
$    6,393.48   $ 110,257.40                                                               $   532.79
$    6,393.48   $ 110,257.40                                                               $   532.79
$    6,306.36   $ 64,541.94                                                                $   525.53
$    6,716.16   $ 90,587.48    $ 25,000.00 $      8,395.20   $    559.68      9/1/2022
$    3,649.80   $ 30,943.43                $      7,603.75   $    304.15     11/1/2021
$    3,872.04   $ 30,943.43                $      8,066.75   $    322.67     11/1/2021
$    2,961.96   $ 30,943.43                $      6,170.75   $    246.83     11/1/2021
$    3,799.20   $ 41,489.27                                                                $   316.60
$   18,235.56   $ 236,824.76                $    48,628.16   $   1,519.63   LIfe
$   22,614.72   $ 236,955.05                $    69,728.72   $   1,884.56   Life
$    2,844.96   $ 41,151.44                 $     7,023.31   $     237.08   Life
$   10,440.72   $ 118,014.37   $   1,400.00 $     1,740.12   $     870.06   pmt on hold
$    1,110.36   $ 21,000.00    $   9,000.00                                                $    61.25   $    2,953.97
$    1,152.72   $ 21,000.00    $   9,000.00                                                $    59.60   $    2,953.97
$    1,149.24   $ 21,000.00    $   9,000.00                                                $    61.25   $    2,953.97
$    1,101.36   $ 21,000.00    $   9,000.00                                                $    57.76   $    2,953.97
$    1,349.88   $ 22,621.43                 $     6,299.44   $     112.49   Life
$    1,803.36   $ 19,129.77                 $     1,352.52   $     150.28   LIfe
$    1,744.32   $ 26,492.71                 $     5,814.40   $     145.36   Life
$    6,777.60   $ 121,900.47                $    23,620.50   $     564.80   Life
$    6,907.92   $ 121,900.47                $    24,074.88   $     575.66   Life
$    1,711.44   $ 26,492.71                 $     5,704.80   $     142.62   Life
$    9,694.68   $ 119,162.07                $    24,236.70   $     807.89   Life
$   10,705.20   $ 129,104.52                $    29,849.63   $     892.10   Life
$   22,581.96   $ 126,753.65                $    16,936.47   $   1,881.83       3/1/2018
$   24,896.76   $ 194,125.30                $    22,822.03   $   2,074.73       1/1/2023
$   12,999.96   $ 195,530.27                $    11,916.63   $   1,083.33       1/1/2033                $   20,000.00
$    3,423.36   $ 25,897.68                                                                $   135.96
$    3,490.56   $ 25,897.68                                                                $   130.18
$    3,524.28   $ 25,897.68                                                                $   133.07
$    1,188.24   $ 24,774.59                  $    3,663.74   $      99.02   Life
$      980.40   $ 24,774.59                  $    3,022.90   $      81.70   LIfe
$    1,128.84   $ 24,774.59                  $    3,480.59   $      94.07   Life
$    3,457.44   $ 48,374.43                  $    7,779.24   $     288.12   Life
$    8,542.68   $ 143,624.96                 $   27,673.31   $     711.89   Life                        $    5,500.59
$      835.92   $ 7,488.55     $    750.00   $      835.92   $      69.66     12/1/2022
$      816.36   $ 7,488.55     $    750.00   $      816.36   $      68.03     12/1/2022
$    2,250.36   $ 27,111.54    $    750.00   $    2,250.36   $     187.53     12/1/2022
$      865.92   $ 7,488.55     $    750.00   $      865.92   $      72.16     12/1/2022
$   61,681.08   $ 272,184.80                 $    5,021.77   $   5,021.77     11/1/2018
$    4,280.16   $ 88,572.06    $ 28,000.00   $   10,037.76   $     356.68     11/1/2021
$    6,149.64   $ 54,087.96                  $   12,299.28   $     512.47     12/1/2021                 $   26,482.06
$    5,102.04   $ 69,617.80                                                                $   425.17
$    2,311.32   $ 42,075.75                  $    4,815.25 $      192.61
$    2,311.32   $ 42,074.75                  $    4,815.25 $      192.61
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$    3,939.12   $ 36,169.59                $     9,847.80 $      328.26                                                  Closed/died 31/2013
$    4,146.72   $ 82,934.40                $    16,241.32 $      345.56
$    4,146.72   $ 82,934.40                $    16,241.32 $      345.56
$    6,065.76   $ 81,000.63                                                               $    505.48
$    2,871.24   $ 38,088.60                                                                              $    2,375.00
$    2,795.76   $ 38,088.60                                                                              $    2,375.00
$    2,844.48   $ 38,088.60                                                                              $    2,375.00
$    2,739.48   $ 38,088.60                                                                              $    2,375.00
$    2,723.88   $ 38,088.60                                                                              $    2,375.00
$    2,855.16   $ 38,088.60                                                                              $    2,375.00
$      377.04   $ 5,677.87                 $      214.92 $        53.73
$      377.04   $ 5,677.87                                                                $     31.42
$      357.12   $ 5,677.87                                                                $     29.76
$      613.56   $ 5,677.87                 $      204.52 $        51.13
$    2,800.80   $ 24,222.31                                                               $    112.49
$    2,316.24   $ 24,222.31                                                               $    132.94
$    2,524.68   $ 24,222.31                                                               $    128.85
$    2,854.44   $ 24,222.31                                                               $    104.31
$    3,047.28   $ 32,283.75                                                               $    238.62 $        750.00
$   16,182.84   $ 36,755.60    $   5,200.00 $    9,439.99 $     1,348.57     5/1/2015                 $        800.00
$    2,987.88   $ 32,283.75                                                               $    242.59 $        750.00
$    3,580.68   $ 32,283.75                                                               $    210.78 $        750.00
$    3,429.36   $ 32,283.75                                                               $    234.64 $        750.00
$    3,304.08   $ 36,755.60    $   5,200.00                                               $    219.04 $        800.00
$    3,402.72   $ 36,755.60    $   5,200.00                                               $    189.56 $        800.00
$   17,432.76   $ 36,755.60    $   5,200.00 $   17,432.76 $     1,452.73    12/1/2014                 $        800.00
$    2,958.60   $ 36,755.60    $   5,200.00                                               $    231.68 $        800.00
$    1,317.96   $ 24,245.57                 $    5,381.67   $     109.83   Life
$    1,317.96   $ 24,245.57                 $    5,381.67   $     109.83   Life
$    1,790.40   $ 24,245.57                 $    7,310.80   $     149.20   Life
$    7,149.12   $ 99,436.24                 $    9,532.16   $     595.76       8/1/2032                  $   70,176.57
$   21,528.48   $ 532,065.12                $   39,468.88   $   1,794.04   Life
$    3,214.20   $ 27,053.98                                                               $     93.40 $       3,800.00
$   16,289.64   $ 167,808.01                                                              $    859.02
$   10,800.36   $ 92,932.82                $     9,900.33   $     900.03     1/1/2023
$      869.64   $ 13,722.95                $     2,391.51   $      72.47 LIfe
$      790.56   $ 13,722.95                $     2,174.04   $      65.88 Life
$    2,320.08   $ 27,135.64                $     3,673.46   $     193.34     5/1/2022
$    2,566.80   $ 73,646.47    $ 18,134.09 $     4,064.10   $     213.90     5/1/2022
$   16,401.36   $ 325,651.97               $    50,570.86   $   1,366.78 Life                            $ 155,000.00
$   13,797.12   $ 161,449.57                                                              $   1,149.76
$   20,231.64   $ 302,161.24               $    47,207.16 $     1,685.97 LIfe
$    4,800.00   $ 75,000.00                                                               $    400.00
$   11,098.44   $ 123,493.72               $    27,746.10   $     924.87   Life
$   22,760.28                              $    96,731.19   $   1,896.69   Life
$   42,172.65   $ 86,753.90                $    42,172.65   $   3,514.39       5/1/2014
$   16,172.76   $ 285,000.00               $    29,099.34   $   1,347.73   Life
$    4,711.56   $ 121,848.31               $    13,691.34   $     392.63   Life
$    4,886.04   $ 121,848.31               $    14,185.70   $     407.17   Life
$   15,222.48   $ 216,184.31                                                              $   1,268.54
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$ 10,062.60 $ 144,146.96                                                              $   838.55   $   15,000.00
$   1,086.00 $ 28,544.00                                                              $    90.50
$   1,146.36 $ 28,544.00                                                              $    95.53
$     995.52 $ 28,544.00                                                              $    82.96
$   1,146.36 $ 28,544.00                                                              $    95.53
$   2,592.36 $ 25,000.00                                                              $    64.59
$   2,620.80 $ 25,000.00                                                              $    66.67
$   5,811.96 $ 35,540.18                                                              $   176.12   $    2,500.00
$   1,505.16 $ 8,868.91                                                               $    38.97   $    7,500.00
$   1,475.76 $ 8,868.91                                                               $    38.97   $    7,500.00
$ 11,873.16 $ 116,374.31                                                              $   989.43
$   5,899.68 $ 35,540.18                                                              $   176.12   $    2,500.00
$   7,554.72 $ 33,543.99              $    10,072.96 $       629.56      7/1/2017
$   4,770.36 $ 33,543.99                                                              $   170.23
$   7,901.64 $ 33,543.99              $     6,584.70 $       658.47      2/1/2018
$   4,543.32 $ 33,543.99                                                              $   222.24
$   4,855.44 $ 33,543.99                                                              $   203.54
$   4,319.88 $ 33,543.99                                                              $   225.74
$   4,239.84 $ 33,543.99                                                              $   229.44
$   4,798.20 $ 33,543.99                                                              $   185.24
$   3,939.72 $ 77,886.48              $     8,864.37 $       328.31 LIfe
$   3,857.64 $ 77,886.48              $     8,679.69 $       321.47 Life
$   1,034.28 $ 13,139.21                                                              $    86.19
$   5,711.40 $ 153,282.63 $ 30,000.00 $    13,498.68   $      475.98   Life
$ 199,942.56 $ 394,322.30             $   166,618.80   $   16,661.88       2/1/2015
$ 74,335.68 $ 427,818.25              $    99,114.24   $    6,194.64       8/1/2017
$ 102,178.68 $ 430,186.13             $   136,238.24   $    8,514.89       8/1/2017
$   2,031.36 $ 41,726.39              $     4,909.12   $      169.28   Life
$   1,892.88 $ 41,726.39              $     4,574.49   $      157.74   Life
$   3,198.96 $ 45,000.00              $     2,399.22   $      266.58       3/1/2023
$   3,311.16 $ 45,000.00              $     2,483.37   $      275.93       3/1/2023
$   3,958.92 $ 45,000.00              $     2,969.19   $      329.91       3/1/2023
$   3,861.24 $ 45,000.00              $     2,895.93   $      321.77       3/1/2023
$   2,798.64 $ 39,255.19              $     6,480.83   $      233.22   Life                        $    5,000.00
$   5,476.92 $ 41,830.74                                                              $   218.63
$   5,506.56 $ 41,830.73                                                              $   230.55
$   1,387.56 $ 26,317.35 $ 9,000.00                                                   $   115.63
$   5,568.72 $ 87,227.96                                                              $   464.06
$   1,023.36 $ 14,229.31                                                              $    85.28   $    8,500.00
$   1,087.32 $ 14,229.31                                                              $    90.61   $    8,500.00
$   2,128.68 $ 62,351.08 $ 10,000.00                                                  $   177.39   $   80,000.00
$   1,766.04 $ 12,283.11                                                              $   147.17   $   80,000.00
$ 10,309.80 $ 65,741.81                                                               $   859.15
$   3,046.20 $ 27,560.55              $     9,392.45   $      253.85 Life
$   6,916.20 $ 85,532.97              $     2,881.75   $      576.35 Life
$   1,780.92 $ 18,097.14              $     4,155.48   $      148.41     8/1/2021                  $    1,000.00
$   3,555.84 $ 36,194.28              $     8,296.96   $      296.32     8/1/2021                  $    2,500.00
$   3,550.32 $ 36,194.27              $     8,284.08   $      295.86     8/1/2021                  $    2,500.00
$ 13,984.56 $ 32,690.68               $     6,992.28   $    1,165.38     2/1/2015
$   3,887.22 $ 32,690.68                                                              $   152.13
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$    7,816.56   $  72,857.36                                                           $   203.51
$    4,134.24   $  71,417.03 $ 7,579.44 $     7,579.44   $    344.52 LIfe                           $    6,666.66
$    4,038.00   $  71,417.03             $    7,403.00   $    336.50 LIfe                           $    6,666.67
$    3,941.88   $  71,417.03             $    7,226.60   $    328.49 Life                           $    6,666.67
$    7,099.44   $  77,818.80             $   10,057.54   $    591.62     7/1/2022
$    7,101.00   $  77,818.80             $   10,059.75   $    591.75     7/1/2022
$    2,176.92   $  23,757.03             $    3,083.97   $    181.41     7/1/2022
$    2,179.20   $  23,757.03             $    2,087.20   $    181.60     7/1/2022
$    1,475.40   $  18,055.76                                                           $   122.95
$    1,495.32   $  18,055.76                                                           $   124.61
$    1,515.24   $  18,055.76                                                           $   126.27
$    1,578.36   $  26,761.74                                                           $   131.53
$    1,175.04   $  25,000.00             $    3,480.48 $       97.92 LIfe
$    2,216.88   $  26,641.74             $    6,096.42 $      184.74 LIfe                         $      3,200.00
$      934.66   $  12,125.20                                                           $    77.89 $      6,000.00
$    3,617.64   $  57,500.00             $    7,838.22   $    301.47      11/1/2026
$    3,559.92   $  57,500.00             $    7,119.84   $    296.66      11/1/2026
$    3,642.72   $  57,500.00             $    7,285.44   $    303.56      11/1/2026
$    3,662.04   $  57,500.00             $    7,324.08   $    305.17      11/1/2026
$    1,167.96   $  38,428.93 $ 12,500.00                                               $    61.92
$    1,130.28   $  38,428.93 $ 12,500.00                                               $    59.23
$      867.36   $   8,381.52             $    1,230.76   $      72.28       7/1/2022                $    1,250.00
$      831.84   $   8,381.52             $    1,178.44   $      69.32       7/1/2022                $    1,250.00
$      884.88   $   8,381.52             $    1,253.58   $      73.74       7/1/2022                $    1,250.00
$      879.00   $   8,381.52             $    1,145.25   $      73.25       7/1/2022                $    1,250.00
$   83,764.96                $ 15,185.00 $   83,764.96   $   6,980.42     11/1/2014
$    8,965.68   $ 165,000.00             $   20,172.76   $     747.14       9/1/2031
$    5,731.92   $ 96,459.35              $   16,240.44   $     477.66   Life
$   42,778.08   $ 82,083.56              $   46,342.92   $   3,564.84     11/1/2014
$    3,663.12   $ 48,833.78              $    8,547.28   $     305.26       8/1/2018                $   15,000.00
$    3,282.48   $ 43,223.55              $    4,376.64   $     273.54   Life                        $   15,000.00
$      668.76   $ 11,103.43 $ 1,000.00 $      1,637.86   $      55.73   LIfe
$   14,794.44   $ 226,968.69             $   38,218.97   $   1,232.87   LIfe
$    2,981.48   $ 49,221.03              $   10,683.65   $     248.46   Life                        $     750.00
$    4,030.96   $ 60,414.65              $   16,509.78   $     335.92   Life
$    5,619.00   $ 81,063.99              $   16,857.00   $     468.25   Life                        $   20,000.00
$    2,348.64   $ 10,538.27                                                            $    65.41
$    1,647.48   $ 10,538.27              $    1,510.19   $    137.29     1/1/2018
$    5,853.12   $ 30,844.32              $   10,730.72   $    487.76     2/1/2017
$    5,587.56   $ 30,844.32              $   10,243.86   $    465.63     2/1/2017
$    5,386.32   $ 176,459.18 $ 40,000.00 $    8,298.13   $    448.86 Life
$    4,476.48   $ 37,674.02              $    7,460.80   $    373.04     4/1/2022                   $    2,500.00
$    4,482.12   $ 37,674.02              $    7,470.20   $    373.51     4/1/2022                   $    2,500.00
$    3,376.20   $ 38,658.82              $   17,443.70   $    281.35 Life
$    2,438.88   $ 27,009.60              $   11,787.92   $    203.24 LIfe
$    5,961.60   $ 134,476.16 $ 59,300.00                                               $   496.80
$      580.80   $ 18,101.97              $      968.00   $     48.40    LIfe                        $    2,500.00
$    1,386.72   $ 13,082.60              $    1,119.09   $     53.29    Life                        $    2,500.00
$    1,350.48   $ 13,082.60              $    1,193.85   $     56.85    LIfe                        $    2,500.00
$      542.04   $ 18,101.97              $      903.40   $     45.17    Life                        $    2,500.00
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$    1,659.12   $ 18,065.51                                                             $     56.31
$    1,651.56   $ 18,065.51                                                             $     49.52
$    3,309.96   $ 38,816.72                                                             $    141.21
$    4,557.84   $ 46,505.16                 $   22,029.56   $   379.82   LIfe
$    4,589.88   $ 50,000.00                 $    6,884.82   $   382.49       6/1/2022                  $    4,176.98
$    6,528.36   $ 80,339.27                 $   25,025.38   $   544.03   Life
$    8,369.52   $ 170,805.84                $    5,021.06   $   766.88   LIfe                                          started then stopped annuity payments
$    8,711.16   $ 170,805.84                $    5,217.83   $   794.09   LIfe                                          started then stopped annuity payments
$      636.00   $ 24,487.38    $   7,000.00 $    2,716.52   $    53.00   LIfe
$    7,173.96   $ 170,805.84                $    4,275.75   $   643.30   LIfe                                          started then stopped annuity payments
$    8,881.92   $ 170,805.84                $    5,344.00   $   821.60   LIfe                                          started then stopped annuity payments
$   38,707.68   $ 196,055.87                                                            $   1,120.08
$   43,304.52   $ 196,055.87                                                            $     685.46
$    7,746.12   $ 78,340.20    $ 25,000.00 $     9,037.14 $     645.51    10/1/2017                    $   10,000.00
$    5,027.03   $ 69,002.95    $ 35,000.00 $    10,054.06 $     418.92     6/1/2022
$    4,812.60   $ 44,119.23                                                             $    401.05
$    3,369.12   $ 80,534.50    $ 20,378.00 $     6,176.68 $     280.75     2/1/2022                 $      10,725.00
$    8,694.00   $ 79,172.77                                                             $    391.67 $      23,784.71
$   19,167.48   $ 153,080.19                                                            $    705.81 $      80,000.00
$      433.44   $ 8,333.33                                                              $     36.12
$      458.40   $ 8,333.33                                                              $     38.20
$      450.12   $ 8,333.34                                                              $     37.51
$    4,395.31   $ 102,077.79               $     5,556.58   $   366.28   Life
$    4,157.72   $ 102,077.79               $     5,256.21   $   346.48   Life
$    3,920.14   $ 102,077.79               $     4,955.86   $   326.68   Life
$    3,690.84   $ 31,996.32                $     9,532.81   $   307.51       5/1/2021                  $    5,000.00
$    3,823.20   $ 31,996.32                $     9,876.60   $   318.60       5/1/2021                  $    5,000.00
$    3,147.24   $ 19,883.37                $     1,311.35   $   262.27       7/1/2023                  $    2,500.00
$    3,296.52   $ 19,883.37                $     1,373.55   $   274.71       7/1/2023                  $    2,500.00
$    3,034.08   $ 19,883.37                $     1,264.20   $   252.84       7/1/2023                  $    2,500.00
$    3,113.76   $ 19,883.37                $     1,297.40   $   259.48       7/1/2023                  $    2,500.00
$    5,368.68   $ 39,396.42                $     2,584.55   $   516.91       7/1/2018                  $   50,000.00
$    3,461.88   $ 42,003.40                $    13,847.52   $   288.49   LIfe
$    4,973.40   $ 198,699.20   $ 75,500.00 $     7,144.26   $   414.45   Life
$    3,693.12   $ 123,396.02   $ 40,000.00 $     5,309.76   $   307.76   LIfe
$    5,329.20   $ 175,909.50   $ 58,950.00 $     7,660.59   $   444.10   Life                          $   50,000.00
$    7,994.62   $ 81,893.05                $    18,563.12   $   666.22   LIfe
$   16,096.20   $ 134,365.63                                                            $    683.25
$   17,012.40   $ 134,365.63                                                            $    683.25
$    4,982.88   $ 41,921.24                $     9,965.76   $   415.24     1/1/2021                    $    5,000.00
$    5,219.28   $ 44,217.08                $    10,438.56   $   434.94     1/1/2021                    $    4,000.00
$    1,745.40   $ 40,000.00                $     4,112.81   $   145.45 LIfe
$    6,424.80   $ 108,494.09               $    13,648.85   $   535.40 LIfe
$    3,225.00   $ 63,678.48                $     5,375.00   $   268.75 Life
$    4,983.60   $ 50,000.00                $     4,568.30   $   415.30     1/1/2023
$    4,878.48   $ 50,000.00                $     4,471.94   $   406.54     1/1/2023
$    3,286.80   $ 24,985.56                                                             $    101.44 $       3,600.00
$    3,172.92   $ 24,985.56                                                             $    103.80 $       3,600.00
$    1,351.80   $ 10,304.02                $      225.30 $      112.65    10/1/2023                 $       5,423.17
$    1,358.76   $ 10,304.02                $      226.46 $      113.23    10/1/2023                 $       5,423.17
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$    1,373.28   $ 10,304.02                  $      228.88 $      114.44 10/1/2023                        $    5,423.17
$    4,931.28   $ 95,304.27                  $   16,026.66 $      410.94 LIfe
$   11,853.84   $ 142,585.08                                                               $     441.83
$   13,326.60                  $ 39,375.00                                                 $   1,110.55
$    4,227.48   $ 47,895.20                                                                $     352.29
$    7,514.52   $ 65,968.13                $     17,533.88   $    626.21     8/1/2021                     $   10,000.00
$    1,546.92   $ 98,010.13    $ 36,829.34 $      2,320.38   $    128.91 Life
$    2,547.96   $ 25,935.00                $      1,910.97   $    212.33     3/1/2023
$    2,656.32   $ 27,036.27                $      1,770.88   $    221.36     4/1/2023
$    2,550.24   $ 25,935.00                $      1,912.68   $    212.52     3/1/2023
$    2,658.36   $ 27,036.27                $      1,772.24   $    221.53     4/1/2023
$    5,621.64   $ 85,377.72                $      7,495.52   $    468.47 Life
$    2,668.20   $ 22,387.31                                                                $     74.31
$    2,618.52   $ 22,387.31                                                                $     80.50
$    2,721.36   $ 22,387.31                                                                $     92.88
$    2,784.24   $ 22,387.31                                                                $     99.07
$    2,849.40   $ 22,387.31                                                                $    111.46
$    6,223.08   $ 40,349.67                                                                $    253.82
$    5,977.44   $ 37,678.43                                                                $    145.26
$    6,082.68   $ 37,678.43                                                                $    149.53
$    6,199.44   $ 37,678.43                                                                $    158.07
$    6,167.04   $ 40,349.67                                                                $    245.68
$      573.12   $ 5,229.57                                                                 $     27.02
$   21,459.12   $ 60,248.35    $   5,000.00 $    28,612.16   $   1,788.26       8/1/2014
$    7,688.04   $ 25,406.80                 $    14,094.74   $     640.67       2/1/2016                  $   18,851.00
$      760.32   $ 11,076.24                 $       443.52   $      63.36   LIfe
$      699.00   $ 11,076.24                 $       407.79   $      58.26   Life
$      784.92   $ 11,075.24                 $       457.87   $      65.41   LIfe
$      772.56   $ 11,076.24                 $       450.66   $      64.38   LIfe
$   21,113.52   $ 464,987.84                $    52,527.27   $   1,759.46   LIfe
$   22,355.52   $ 464,987.84                $    55,617.20   $   1,862.96   Life
$    3,706.20   $ 22,126.85                                                                $    308.85
$    1,465.92   $ 22,126.85                  $    3,786.96 $      122.16 LIfe
$      712.92   $ 12,228.54                                                                $      59.41
$      645.72   $ 12,228.54                                                                $      53.81
$      524.64   $ 12,228.54                                                                $      43.72
$      659.16   $ 1,228.54                                                                 $      54.93
$   36,030.96   $ 275,875.22                                                               $   2,211.02 $     10,000.00
$    6,021.36   $ 51,369.75                                                                $     258.42
$    5,689.32   $ 51,369.75                                                                $     279.09
$    5,566.56   $ 51,369.75                                                                $     289.43
$    5,528.04   $ 51,369.75                                                                $     279.09
$   38,335.32   $ 317,576.28                $    76,670.64   $   3,194.61     12/1/2021
$    1,505.88   $ 22,613.11                 $     2,635.29   $     125.49   Life
$    1,472.40   $ 22,613.11                 $     2,576.70   $     122.70   Life
$    1,517.40   $ 25,897.64    $   3,666.66 $     1,923.20   $     126.45   LIfe
$    1,483.68   $ 25,897.64    $   3,666.66 $     1,978.24   $     123.64   LIfe
$    1,449.96   $ 25,897.64    $   3,666.66 $     1,933.28   $     120.83   LIfe
$    1,438.92   $ 22,613.11                 $     2,518.11   $     119.91   Life
$    2,782.08   $ 27,769.65                                                                $    231.84
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                                                                                  DEDUCTION 128
                                                                                             SPREADSHEET



$    4,800.00   $ 50,000.00                                                              $   400.00
$    4,350.00   $ 50,000.00                                                              $   362.50
$    4,250.04   $ 50,000.00                                                              $   354.17
$    4,750.08   $ 50,000.00                                                              $   395.84
$    3,036.00   $ 22,613.11                                                              $   253.00
$    2,696.88   $ 22,613.11                                                              $   224.74
$    3,042.48   $ 22,613.11                                                              $   253.54
$   20,775.60   $ 274,251.28            $     52,007.70    $   1,731.30   LIfe
$   34,674.24   $ 274,251.28            $     85,964.46    $   2,889.52   Life
$      842.88   $ 10,258.56             $      1,949.56    $      70.24   LIfe
$      893.88   $ 10,258.56             $      2,067.94    $      74.47   Life
$    8,649.84   $ 69,259.99             $     15,137.55    $     720.82       3/1/2022
$    8,646.24   $ 69,259.99             $     15,245.82    $     720.52       3/1/2022
$      779.04   $ 10,258.56             $      1,817.76    $      64.92   Life
$      638.52   $ 10,258.56             $      1,489.88    $      53.21   Life
$      638.52   $ 10,258.56             $      1,489.88    $      53.21   Life
$      906.72   $ 10,258.56             $      2,037.44    $      75.56   Life
$    1,398.36   $ 9,380.67                                                               $   116.53
$   10,840.32   $ 162,976.67            $     34,327.68 $       903.36 Life
$    1,337.64   $ 9,380.67                                                               $   111.47
$    1,239.72   $ 13,840.97                                                              $    85.24
$    8,295.36   $ 15,078.35             $      8,295.36 $        691.28    12/1/2014
$    8,465.52   $ 15,078.35             $      8,465.52 $        705.46    12/1/2014
$    8,432.28   $ 15,078.35             $      5,621.52 $      8,432.28    12/1/2014
$    4,653.48   $ 39,450.00                                                              $   161.25
$    4,739.76   $ 39,450.00                                                              $   168.75
$    2,071.68   $ 51,528.62 $ 10,000.00 $        863.20 $       172.64      7/1/2033
$    2,091.96   $ 51,528.62 $ 10,000.00 $        871.65 $       174.33      7/1/2033
$    3,830.04   $ 26,342.00                                                                                           deceased no 2nd annuitant
$    3,655.20   $ 26,164.40             $      3,655.20 $       304.60     12/1/2022
$    3,542.52   $ 26,164.40             $      3,542.52 $       295.21     12/1/2022
$    5,040.36   $ 46,629.79                                                              $   420.03
$    5,192.04   $ 118,000.00                                                             $   432.67
$    6,866.52   $ 49,258.10                                                              $   283.57
$    5,163.48   $ 95,090.92                                                              $   430.29
$    5,442.12   $ 83,843.02                                                              $   453.51
$    5,479.20   $ 87,474.64                                                              $   456.60
$      865.51   $ 15,525.13             $       2,019.54   $     72.13 Life                           $   10,000.00
$    7,839.51   $ 19,615.74 $ 4,000.00 $       15,679.02   $    653.29 11/1/2013
$   10,839.84   $ 79,172.28             $      11,743.16   $    903.32 11/1/2022
$    8,155.08   $ 61,580.83             $      14,166.39   $    674.59     3/1/2022                   $    7,500.00
$    8,242.32   $ 61,580.83             $      14,424.06   $    686.86     3/1/2022                   $    7,500.00
$    7,923.36   $ 61,580.83             $      13,865.88   $    660.28     3/1/2022                   $    7,500.00
$    8,091.12   $ 61,580.83             $      14,159.46   $    674.26     3/1/2022                   $    7,500.00
                                        $   7,887,213.11
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                                          ANALYSIS-PRESENT
                                                  128




Row Labels                  Sum of Latest Acc. Value ($)   Sum of Latest Cash Surr Value ($)    Count of Commercial Annuity #
Active                                     $53,852,270.28                       $46,195,959.26                           83.16%
Closed                                          $15,836.82                          $15,801.82                            7.39%
Closed / Death Claim Made                   $2,010,491.74                        $1,742,251.01                            5.47%
Closed/Death Claim Made                       $151,374.78                          $144,098.81                            0.44%
Duplicate Record                                     $0.00                                $0.00                           0.44%
Hold                                          $603,057.78                          $535,279.33                            0.74%
In Progress                                 $1,425,896.70                        $1,147,696.79                            2.22%
Recinded                                             $0.00                                $0.00                           0.15%
Grand Total                                $58,058,928.10                      $49,781,087.02                          100.00%

                            $              (6,425,700.26) $                    (4,259,373.51)                             -661
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                          ANALYSIS- AS  OF TRANSFER
                                      128



Row Labels           Sum of Acc Value Sum of Surr Value Count of Policy Number
AIG                         $39,432.67        $38,846.67                        1
Allianz                 $25,746,254.02   $19,854,256.64                      224
Allstate                   $692,802.33       $675,564.14                        6
American Equity          $7,120,649.42     $6,008,602.59                       84
American General            $54,231.72        $47,181.57                        1
American Investors         $595,928.14       $539,126.47                       12
American Investors         $106,847.15        $99,216.11                        2
American National          $935,793.93       $833,175.62                        4
Americo                    $220,063.51       $190,354.92                        4
Aviva                    $7,346,519.29     $6,111,501.95                       61
Baltimore Life              $85,827.14                                          2
Bankers Life               $308,695.98       $287,974.16                        3
Conseco                     $24,465.48        $22,973.34                        1
EquiTrust                $1,876,021.88     $1,608,086.22                       20
EquiTrust                  $436,666.72       $384,200.91                        1
F&G                         $47,542.82        $42,194.83                        1
Farmers                     $14,107.32        $14,107.32                        1
Forethought              $2,493,990.88     $2,227,236.81                       38
Genworth                    $40,840.07        $35,927.07                        1
Great American           $1,203,910.61     $1,114,992.58                       13
Guggenheim                  $94,338.02        $84,149.51                        1
ING                      $2,156,465.07     $2,046,977.95                       20
Investors                   $77,445.88        $66,928.03                        2
Jackson National           $379,038.99       $361,490.25                       10
Jackson National            $25,746.74        $23,379.04                        1
John Hancock               $424,576.45       $424,576.45                        1
Liberty                     $25,325.90        $25,325.90                        1
Lincoln                    $259,112.01       $241,349.67                        5
LSW                        $136,685.40       $122,999.95                        2
MetLife                     $45,168.34        $43,522.81                        2
Midland                  $1,642,927.35     $1,413,744.03                       20
National Western         $1,927,103.13     $1,545,284.30                       28
Nationwide                  $50,835.91        $45,591.69                        1
New York Life               $22,628.90        $21,203.28                        1
North American           $1,527,078.92     $1,367,868.05                       17
OM Financial             $1,251,034.11     $1,108,070.05                       26
Pacific Life               $684,596.11       $676,185.92                        3
Physicians Mutual           $48,197.28        $36,785.32                        1
Presidential                $11,849.74        $11,269.56                        1
RBC                        $175,176.51       $159,617.50                        5
Riversource                $138,990.28       $131,764.46                        1
Security Benefit           $330,322.79       $306,233.37                        1
Shenandoah                                                                      1
Standard Life               $80,091.85        $71,619.40                        1
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State Life               $405,365.28      $391,096.42               1
Sun America              $200,169.37      $200,169.37               2
SunLife                  $790,349.81      $694,837.95              17
Symetra                  $136,798.39      $136,971.05               1
Thrivent                 $235,304.34      $222,597.91               1
Washington National     $1,637,330.65    $1,751,402.55              1
Western and Southern     $101,087.73      $101,087.73               2
Western National           $72,896.03       $70,841.14              5
(blank)
Grand Total            $64,484,628.36   $54,040,460.53            662
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                                                                                                                                                        CASH  FLOW
                                                                                                                                                            128




Fixed Monthly Expenses

Building
Rent                                      $    30,000.00                     Mortgage Payment
CAM                                       ?
Utilities                                 ?

Salaries
Roy                                       ?
Teresa                                    ?

Office Exp.                               ?

Misc. Exp.                                ?
Total Monthly                             $    30,000.00

CASH FLOW PROJECTION

                                                   Sep-13           Oct-13             Nov-13         Dec-13      Jan-14      Feb-14      Mar-14      Apr-14      May-14       Jun-14      Jul-14     Aug-14       Sep-14                              Oct-14      Nov-14      Dec-14       Jan-15     Feb-15

Begin. Cash                               $   809,908.00

Cash In
Avail. Cash (based on annuities anniv.)
Draws To Receive (10% or Cashed)

Cash Out
 Annuities                                $   (325,834.07) $   (317,306.74) $      (450,102.74) $ (363,949.91)
Fixed Expenses                            $     30,000.00 $      30,000.00 $         30,000.00 $    30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00 $ 30,000.00
Sub Total

End Cash
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                                                                                                               VALUE TRANSFER128 BY ANNUITANT




                                                                                                                                # Days to                                                                                                   Total Monthly   Total Cash
                                                                                                  Change of                        Switch                                                                                       Lump Cash   Payments        Received by
       Clients Name            Asset      ID #       WTP Annuitant Acct. #      Policy Number   Ownership Sent   Date WTP owns Ownership    Acc Value   Surr Value   Missing Data ($) and
                                                                                                                                                                                       Assumed
                                                                                                                                                                                          Date switch
                                                                                                                                                                                                Running
                                                                                                                                                                                                      dateBalance as of date    Received    Received        Annuitant
Alfano, Victor         MetLife                   stopped chg of ownership         C3001707           7/15/2011                                                       YES                                          $189,090.34
Aronowitz, Libby       American Equity           stopped chg of ownership           634403          12/12/2011                                                       YES                                        $1,525,820.06
Bethea-Floyd, Mollie   ING                       stopped chg of ownership          90252634           9/8/2011                                                       YES                                        $3,598,656.10
Carriker, Sandy        Aviva                     stopped chg of ownership           477023          11/15/2010                                                       YES                                        $8,932,566.87
Clark, Betty           Allianz                   stopped chg of ownership          70782838           9/2/2011                                                       YES                                        $9,804,604.33
Ferguson, Carrie       Aviva                     stopped chg of ownership           469102          10/25/2010                                                       YES                                       $15,600,761.32
Heideke, June          American Equity           stopped chg of ownership           801703           6/23/2011                                                       YES                                       $22,006,629.33
Hennington, Peggy      Allianz                   stopped chg of ownership          70360348         12/20/2010                                                       YES                                       $22,121,291.37
Lavrenti, Margaret     Allianz                   checking status                   70468760          8/29/2011                                                       YES                                   #VALUE!
Marie, Jeanie          Aviva                     stopped chg of ownership            29838           9/23/2010                                                       YES                                   #VALUE!
McCoy, Martha          Shenandoah                stopped chg of ownership          1053824          10/23/2009                                                       YES                                   #VALUE!
Phelps, Leo            National Western          stopped chg of ownership         101239721          3/16/2011                                                       YES                                   #VALUE!
Rasmussen, La Rae      American Equity           stopped chg of ownership           581576           10/5/2011                                                       YES                                   #VALUE!
Schweikert, Elmer      National Western          stopped chg of ownership         101257046          11/1/2011                                                       YES                                   #VALUE!
Thomas, Alberta        Western National          client surrendered gave cash     NN088879           6/13/2011                                                       YES                                   #VALUE!
Threat, Jack           Aviva                     stopped chg of ownership           467310           6/22/2010                                                       YES                                   #VALUE!
Williams, Billie Sue   RBC                       stopped chg of ownership        MA00050991          1/21/2011                                                       YES                                   #VALUE!
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 55 of
                                        Commercial
                                                             CHARITABLE
                                                                      128 GIFT ANNUITY
                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
20081005      1      Mildred Martinus       Old Mutual   L9164734
                     Donald W.
20081006      2                             Allianz      70546124
                     Vanderboegh
                     Belva J. Wilder &
20081007      3                             Midland      8500133651
                     Randall S. Wilder
                     Belva J. Wilder &
20081008      4                             Midland      8500133651
                     Kenneth W. Wilder
                     Belva J. Wilder &
20081009      5                             Midland      8500133651
                     Diane W. Fulbright
                     Belva J. Wilder &
20081010      6                             Midland      8500133651
                     Gary H. Wilder
                     William G. Martin &
                     William H. Martin /
                     William G. Martin
20081011      7      and Elizabeth A.       Aviva        19681
                     Drouillard / William
                     G. Martin & Lynne E.
                     Ritchdorff

20081050      8                             Aviva        14383


20081051      9                             Old Mutual   L9180245

                     Naomi E. Esch and
20081013      10     Joan M. Esch /      Equitrust       EQ0001039743F
                     Dennis Esch / Naomi
                     Naomi E. Esch and
20081014             Joan M. Esch /
                     Dennis Esch / Naomi

20081015      11                            Shares

20081016      14     Betty A. Switalski     AIG          MN017501
                                            National
20081017      15     Linda Stuart Crimi                  101183385
                                            Western
                                            National
20081017      16     Linda Stuart Crimi                  101183386
                                            Western
20081018      17     Glenn R. Platt         Old Mutual   L9114375
20081019      18     Dianna Platt           Old Mutual   L9114375
20081020      19     Genevieve LeiFight     Old Mutual   L9114375
20081021      20     Linda Weininger        Old Mutual   L9114375
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 56 of
                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                         Annuity #
                                               Name
                     Carol Travelstead &
20081022      21                           Equitrust      EQ0001089156F
                     Joe Travelstead
                     Patricia A. Higgins   North
20081025      22                                          8000066838
                     and Earl Post         American
                                           American
20081027      23     Melinda A. Miller                    130648
                                           Equity
                                           American
20081028      24     Luan L. Miller                       121464
                                           Equity
                                           National
20081029      25     Cynthia Carnevale                    0100940375
                                           Western
                                           National
20081029      26     Cynthia Carnevale                    0101152195
                                           Western
                                           American
20081029      27     Cynthia Carnevale                    159941
                                           Equity
                     Joanne Ullmayer &
20081030      28                           Check #0091 & 1001
                     Sherry Johnson
                     Joanne Ullmayer &
20081031      29                           Check #0091 & 1001
                     Frank C. Ullmayer
                     Joanne Ullmayer &
20081032      30                           Check #0091 & 1001
                     Curtis Ullmayer
20081033      31     Linda Stuart Crimi    Alllianz       70485337
20081033      32     Linda Stuart Crimi    Sun Life       KA12990677-01
20081033      33     Linda Stuart Crimi    Sun Life       KA12990776-01
20091036      33a    Vivian C. Ausborn     Investors In   C0026798
                     Clarice Elizabeth     American
20081037      34                                          618771
                     Lackey                Equity
                     Clarice Elizabeth
20081037      35                           Allianz        6427580
                     Lackey
20081038      36     Olive Liebermann      Aviva          551805
                     Barbara Anderson & National
20081039      37                                          0101035597
                     Elmer L. Anderson  Western
                     Barbara Anderson
                                           National
20081039      38     and Elmer L.                         0101022717
                                           Western
                     Anderson
                     Barbara Anderson
                                           National
20081039      39     and Elmer L.                         010122716
                                           Western
                     Anderson
20081040      40     Marilyn Clark         Sun Life       KA12870725
20081040      41     Marilyn Clark         Sun Life       KA12870134-1
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 57 of
                                        Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
20081040      42     Marilyn Clark        Sun Life      KA12870013-1
                                          American
20081041      43     Carol H. Maurer                    630770
                                          Equity
                                          American
20081041      44     Carol H. Maurer                    589748
                                          Equity
                                          National
20081041      45     Carol H. Maurer                    0101079741
                                          Western
20081041      46     Carol H. Maurer      Physicians    970001044
20081042      47     Ronald J. Burns      Allianz       70549327
20081042      48     Ronald J. Burns      Allianz       7015423
20081042      49     Ronald J. Burns      Allianz       70094582
                                          Jackson
20091043      50     Betty A. Switalski                 009129864A
                                          National
                        Doris Laurain &
20091044 & 51                             Equitrust     EQ0001038576F
                       Roger Burkholder
                        Doris Laurain &   American
 20091049     52                                        584029
                        Sandra Garrard    Equity

20091045      53     Marie B. Milne       Check #2346
20091048      54     Gloria K. Teter      Aviva         110826
20091057      55     Ruffie London        Allianz       30189057
20091057      56     Ruffie London        Check #503
                     Brenda T. Goethe
20091058      57                        Midland         8500081091
                     and Chadd T. McCoy

                     Raymond A. Raiczyk
20091059      58                        Equitrust       EQ0001080489F
                     and Corynn Bisi

                     Raymond A. Raiczyk
20091060      59     and Jacquelyn      Equitrust       EQ0001080489F
                     Hilliard

20091061      60     Pamela Campbell      Old Mutual    L9063280

20091062      61     Margie Baas          Old Mutual    L9179778

                     June E. White and
20091074      62                          Old Mutual    L9112317
                     Clifford White
                     June E. White and
20091075      63                          Old Mutual    L9112317
                     Kathie Tulin
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 58 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     June E. White and
20091076      64                           Old Mutual   L9112317
                     Kevin White
                     June E. White and
20091077      65                           Old Mutual   L9112317
                     Carla Kenny
                     Ruby Long and Dale
20091078      66                           Aviva        156719
                     H. Long
                     Doris Sizer and
20091079      67                           Aviva        096990
                     Kimberly A. Roberts
                                           American
                     Doris Sizer and
20091079      68                           Investors    549664
                     Kimberly A. Roberts
                                           (Aviva)
                     Dominic Galtieri and
20091080      69                          ING           96147269
                     Rose Caiazzo
                     Dominic Galtieri and
20091080      70                          ING           90251410
                     Rose Caiazzo
                     Dominic Galtieri and
20091080      71                          ING           90228869
                     Rose Caiazzo
                     Alfred C. Schram and
20091083      72                          Allianz       70188042
                     Gwynne Schram

                     Alfred C. Schram and
20091083      73                          Allianz       70188031
                     Gwynne Schram

                     Alfred C. Schram and National
20091083      74                                        0101145754
                     Gwynne Schram        Western

                     Donna R. Holliday
20091086      75                         Aviva          537101
                     and Knox A. Sweeney

                     Donna R. Holliday
20091087      76                           Aviva        537101
                     and Kirk A. Thomas
                     Donna R. Holliday
20091088      77     and Keith A.          Aviva        537101
                     Sweeney
                     Sarah B. Ward and
20091090      78                           Allianz      70636187
                     Darla Stolec
                     Sarah B. Ward and     American
20091090      79                                        736988
                     Darla Stolec          Equity
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 59 of
                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Adele Knutsen and
20091095      80     Michael Geoffrey       Allianz       70612056
                     Holt
                     Adele Knutsen and
20091095      81     Michael Geoffrey       Allianz       70611976
                     Holt
                     Adele Knutsen and
20091095      82     Michael Geoffrey       Forethought   200021756
                     Holt
                     William John
20091098      83     Alexander and Jason    Allianz       DAA50511
                     Alexander
                                            North
20091099      84     Anita Drittel                        8000058268
                                            American
20091100      85     Marie B. Milne         Check #2386

                     J. Eugene Davis and
20091102      86                            Allianz       70605249
                     Lori Crystal Perkins
20091103      87     J. Eugene Davis        Allilanz      70605249
                     Marilyn M. Reams
20091104      88     and Linda Stuart       Check #800
                     Crimi
                     Lynda LaDonna Ross
20091106      89                            Allianz       70202583
                     Kraus
                     Carol A. Lay and
20091107      90                            Allianz       70195018
                     James P. Lay
20091108      91     Marilyn M. Reams       Old Mutual    L9066279

20091108      92     Marilyn M. Reams       Old Mutual    L9066278

                     Belva J. Wilder and
20091110      93                            Check #1075
                     Diane W. Fulbright

                     Belva J. Wilder and
20091111      94                            Check #1075
                     Randall S. Wilder

                     Belva J. Wilder and
20091112      95                            Check #1075
                     Gary H. Wilder
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 60 of
                                       Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name
                     Belva J. Wilder and
20091113      96                           Check #1075
                     Kenneth W. Wilder

                     Francis W. Blain and National
20091114      97                                         101116870
                     Lorraine C. Blain    Western

                     Francis W. Blain and
20091114      98                          Allianz        6681635
                     Lorraine C. Blain
                     Ruby Long and Dale
20091115      99                           Forethought   200064880
                     H. Long
                     Charles Maxwell and Lincoln
20091116      100                                        LBCA131519
                     Laurie Maxwell      Benefit
                     Martha Ladd and       Lincoln
20091117      101                                        LBCA131519
                     James Ladd            Benefit
                     Robert Taylor and     Lincoln
20091118      102                                        LBCA131519
                     Sheila Taylor         Benefit
                                           Lincoln
20091119      103    Jeannine Maxwell                    LBCA131519
                                           Benefit
                     Donna F. True and
20091120      104                          Forethought   200055156
                     Joseph F. True
20091123      105    Anita Drittel         Aviva         121865
                     Catherine M. Smith
20091124      106    and Katherine E.                    Check #291
                     Moore

                     Catherine M. Smith
20091125      107    and Charles O.                      Check #291
                     Bachman
                     Catherine M. Smith
20091126      108    and Donna M.                        Check #291
                     Thomas
                     Catherine M. Smith
20091127      109    & Constance L.                      Check #287
                     Gilbert
20091128,            Louise R. Guidetti &
20091129,            Frank D'Ermilio /
            110                           Allianz        7556965
20091130, &          Louise R. Guidetti &
20091131             Monica Hawthorne /
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 61 of
                                        Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name

              111                          Allianz       8160775



              112                          Allianz       6650034

20091132,            Angela S.
            113                            Allianz       70388678
20091133, &          Ardenbright / Toni J.
              114                          Allianz       70340830
                                           Jackson
20091135      115    Lois J. Stewart                     007129677A
                                           National
                                           Jackson
20091135      116    Lois J. Stewart                     007125224A
                                           National
                     Mary Degrocco and
20091137      117                          Allianz       70245807
                     Robin L. Suarez

                     Mary Degrocco and
20091138      118                        Allianz         70245807
                     Brian R. Suarez
                     Dorothy Plumez &
20091139 &                               Jackson
           119       Helen P. Scharmberg                 1000864575
20091141                                 National
                     / Dorothy Plumez &
              120                        Presidential    458389

              121                          Check #4182

                     Dorothy Plumez and Jackson
20091140      126                                        1000864575
                     Barbara Grella     National

                     Dorothy Plumez and                  458389 - See Line
20091140      127                       Presidential
                     Barbara Grella                      120

                     Dorothy Plumez and
20091140      128                       Check #4182
                     Barbara Grella
                     Adele Knutsen and
20091142      130    Michael Geoffrey      Allianz       70672549
                     Holt
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 62 of
                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Gertrude M.
20091143      131    Marcotte & Bonnie L. Allianz         70290080
                     Stillwagon
                     Gertrude M.
20091144      132    Marcotte and Gary F.   Allianz       70290080
                     Marcotte
                     Gertrude M.
20091145      133    Marcotte and Linda     Allianz       70290080
                     Browning
20091146      134    Ronald J. Burns        Forethought   20046956
                     Erma L. Hanna and      National
20091148      135                                         101172415
                     Mark L. Hanna          Western
                     Erma L. Hanna and      National
20091149      136                                         101172415
                     Laura K. Cruse         Western

20091150      137    James Earl Ross Jr.    Check #4
                     Lynda LaDonna Ross
20091151      138                       Check #004
                     Kraus
                     Karan G. Crooks &
20091152,
                     Laurel J. Crooks /
20091153, & 139                         Equitrust         EQ0001039328F
                     Karan G. Crooks &
20091154
                     Thomas Calder /

              140                           Equitrust     EQ0001050307F


                     Nancy T. Silveira and
20091155      141                          Aviva          526437
                     Robert A. Silveira

                     Nancy T. Silveira and
20091156      142                          Aviva          526437
                     Michael J. Silveira

                     Nancy T. Silveira and
20091157      143                          Aviva          526437
                     Stephen Silveira
                     Janice Pflugshaupt
20091158      144    and Yvonne             Allianz       70463845
                     Simmons
                     Janice Pflugshaupt
                                            Jackson
20091158      145    and Yvonne                           1001909700
                                            National
                     Simmons
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 63 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Ruth Louise Krueger
20091159      146                         Allianz       70300604
                     and W. Brian Krueger

                     Ruth Louise Krueger
20091160      147                        Allianz        70300604
                     and Joy L. Wurzbach

                     Sarah B. Beiler and
20091161      148                          Aviva        474755
                     Suvilla S. King
                     Carol A. Lay and
20091162      149                          Allianz      70195018
                     Robert F. Lay
                     Daniel Earl
                     McLawhorn and
20091164      150                          Aviva        033111
                     Damien Earl
                     McLawhorn
                     Daniel Earl
                     McLawhorn and
20091165      151                          Aviva        033111
                     Angelic Catherine
                     McLawhorn
                     Donald W.
20091166      152                          Southwest    677260X
                     Vanderboegh
                     Ronni B. Turley and
20091167      153                          Allianz      70258739
                     Patricia A. Turley
                     Harold Matthews       National
20091168      154                                       101177865
                     and Kim Hamrick       Western
                     Harold Matthews &     National
20091169      155                                       101177865
                     Taylor Hamrick        Western
                     Marjory Florko and
20091171      156                          Aviva        501350
                     Alicia Suenega
                     Marjory Florko and
20091172      157                          Aviva        501350
                     Eileen Eldrich
                     Marjory Florko and
20091173      158                          Aviva        501350
                     Gregory Florko
                     Marjory Florko and
20091174      159                          Aviva        501350
                     John Florko
                     Marjory Florko and
20091175      160                          Aviva        501350
                     Christopher Florko
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 64 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Evelyn Bottom &
20091176,
                     Steven Lee Bottom / Western
20091177, & 161                                         1UE35378
                     Evelyn Bottom &     National
20091178
                     Sherry Lynne Bottom

                                           Western
              162                                       UE350899
                                           National

                     Mary Montelone and
20091183      163                       Check #2883
                     Beth Montelone

                     Mary Montelone and
20091184      164                       Check #2883
                     Joseph Montelone
                     Mark D. Lory and
20091185      165                          Allianz      70351516
                     Monty Lory
                     Karan G. Crooks and
20091186      166                        Equitrust      EQ0001110098F
                     Thomas Calder

                     Karan G. Crooks and
20091187      167                        Equitrust      EQ0001110098F
                     Laurel J. Crooks

                     Karan G. Crooks and
20091188      168                        Equitrust      EQ0001110098F
                     Heather L. English
                     Hazel R.
20091189      170    Ramsbotham and        Allianz      70580462
                     Roma Lacuata
                     Hazel R.
20091189      171    Ramsbotham and        Allianz      70583687
                     Roma Lacuata
                     Hazel R.
20091189      172    Ramsbotham and        Allianz      70659134
                     Roma Lacuata
                     Pauline Pickard and
20091190             Donna Marie           Shares
                     Dockery
                     Pauline Pickard and
20091191      173    Delphus Eugene        Shares
                     Pickard Jr.
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                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Eileen B. Ireland and
20091192      174                          Equitrust      EQ0001025377F
                     Andrea Cassoni
                     Russell E. Wayts &
20091193,
                     Darlene Hoke /
20091194,
                     Russell E. Wayts &
20091195,   175                             Allianz       70293961
                     Steven Wayts /
20091196, &
                     Russell E. Wayts &
20091197
                     Michael Wayts /


              176                           Allianz       70417809



                     Phyllis I. Mathieu
20091198      177                           Aviva         146514
                     and James Johnson

                     Phyllis I. Mathieu
20091199      178                           Aviva         146514
                     and Dan D. Johnson

                     Phyllis I. Mathieu
20091200      179                           Aviva         146514
                     and Van A. Johnson

                     Steven G. Fritts and
20091201      180                           Allianz       70190429
                     Deborah L. Fritts

                     Steven G. Fritts and
20091201      181                           Allianz       70035883
                     Deborah L. Fritts

20091223 &           Mary L. Francher /     American
           182                                            289766
20091224             Bette A. Case          Equity
                                            American
              183                                         283504
                                            Equity
              184                           Sun America   P159830155
20101205      185    Laurier Theriault      Midland       8500046375
                     Mary Montelone and
20101206      186                       Allianz           8792918
                     Beth Montelone
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 66 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Mary Montelone and
20101207      187                       Allianz         8792918
                     Joseph Montelone
                     Helen Linville and
20101208      188    Barbara Gail         Allstate      ALL0183404
                     Fuhrman
                     Francis Marie Kanz &
20101209 &
           189       Jason D. Kanz /      Equitrust     EQ0001116670F
20101212
                     Francis Marie Kanz &

              190                          Equitrust    EQ0001116872F


                     Mike Wolk and
20101210      191                          Sun Life     KA13120025
                     Dawnelle M. Hesse
                     Mike Wolk and
20101211      192                         Sun Life      KA13120025
                     Brenda L. Binder
                     Dorothy J. Johnson &
20101213 &
           193       Ronald Johnson /     Sun Life      KA13121991-01
20101214
                     Dorothy J. Johnson &

              194                          Sun Life     KA13122204-01
                     Dora Marie Kibel &
20101215,            David Louis Kibel /
20101216,            Dora Marie Kibel &
20101217,   195      Daniel Ray Kibel /    Allianz      70446628
20101218, &          Dora Marie Kibel &
20101219             Dale Allen Kibel /
                     Dora Marie Kibel &



              196                          Allianz      70446470



20101220,            Gregory E. Bynum &
20101221, & 197      Naomi Bynum /      Check #0672038932
20101222             Gregory E. Bynum &
                                           American
              198                                       121883
                                           Equity
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 67 of
                                        Commercial                    128
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 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name

              199                          Americo       L0044957

20101225      200    Anita Drittel         Allstate      AM806507
20101225      201    Anita Drittel         Allstate      AM00006134
20101227      202    Betty J. Smiley       Forethought   200044702

                                          Check
20101231      203    Susan Kioht Herring
                                          #020374705
                                          Check
20101232      204    Jason Andrew Collins
                                          #020374705
                                          Check
20101233      205    Justin Otto Collins
                                          #020374705
                     Alexander Glen       Check
20101234      206
                     Herring              #020374705
                                          Check
20101235      207    Robert Alvin Herring
                                          #020374705
                                          Check
20101236      208    Craig Andrew Collins
                                          #020374705
                     Carol Vergin and     Great
20101240      209                                        1195030954
                     Timothy Vergin       American
                     Carol Vergin and     Great
20101241      210                                        1195030954
                     Daniel Vergin        American
                     Antonette Terry and
20101242      211                        Old Mutual      L9048578
                     Dorothea Beverly
                     Antonette Terry and
20101243      212                          Old Mutual    L9048578
                     Peter Terry
                     Glenn A. Hogetvedt
20101244      213    and Irene L.          Sun Life      KA12892501-01
                     Hogetvedt
                     Glenn A. Hogetvedt
20101244      214    and Irene L.          Sun Life      KA13012272-01
                     Hogetvedt
                     Glenn A. Hogetvedt
                                                         KA12892500-
20101244      215    and Irene L.          Sun Life
                                                         01&KA12892501-01
                     Hogetvedt
                     Glenn A. Hogetvedt
20101244      216    and Irene L.          Allianz       70520590
                     Hogetvedt
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 68 of
                                        Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
                     John R. Lathers and
20101245      217                           Aviva        3000608441
                     Julita E. Lathers
20101246      218    Frank Caliendo         Aviva        089354
20101246      219    Frank Caliendo         Allianz      70337934
                     Marlene Halstead
20101247      220                       Allianz          70366199
                     and Demarus Schmid

                     Marlene Halstead
20101248      221                         Allianz        70366199
                     and Mardell Halstead
20101249      222    Avshalom Pellach       Allianz      70401285
                     Joyce H. Paul and
20101251      223                           Shares
                     Patricia Fedrigo
                     Joyce H. Paul and
20101252      224                           Shares
                     John Fedrigo
                     Joyce H. Paul and
20101253      225                           Shares
                     Debra Zambeck
                     Joyce H. Paul and
20101254      226                           Shares
                     Michael Fedrigo
                     Dorothy J. Johnson &
20101255 &
           227       Ronald Johnson /       Sun Life     KA12978565-1
20101256
                     Dorothy J. Johnson &

              228                           Sun Life     KA13133982-1

                     Sharon Banks and
20101257      229                           Shares
                     Mark D. Thomas
                     Antonette Terry and
20101260      230                        ING             90224226
                     Catherine Sisko

                     Antonette Terry and
20101261      231                        ING             90224226
                     Andrew YaRosh
                                            National
20101262      232    Lois J. Stewart                     0100913195
                                            Western
                     Shirley L. Younker
                                            National
20101263      233    and Jennifer J.                     0101089608
                                            Western
                     Burger
                     Mario V. Hugas Jr.
20101264      234                           Allianz      70503129
                     and Victor E. Hugas
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 69 of
                                        Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
                     Barbara Jean
20101265      235    McGaha and Troy        Allianz      70351190
                     O'Donnell
20101266      236    Herbert Helbich        Check #759
                     Earl McLimore and
20101267      237    Connie Elizabeth       Allianz      70386264
                     Madsen
                     Earl McLimore and
20101268      238                           Allianz      70386264
                     Doris Jean McCallie

                     Earl McLimore and
20101269      239                        Allianz         70386264
                     David Earl McLimore

                     Earl McLimore and
20101270      240                           Allianz      70386264
                     Sally Anna Cox

                     Earl McLimore and
20101271      241                           Allianz      70386264
                     Walter McLimore
                     Sally Lou Clark &
20101272      242                           Americo      R0041489
                     Steven D. Clark
                     Peggy R. Drummond
20101273      243                          Allianz       70342403
                     and Brenda Gail Jirik

                     Peggy R. Drummond
20101273      244                          Check #508
                     and Brenda Gail Jirik
                     Doris L. Waite and
20101274      245                           Allianz      70361843
                     Nathan Waite
                     Doris L. Waite and
20101275      246                           Allianz      70361843
                     Jessica Waite
                     Betty Hill and Laura
20101276      247                           Allianz      30105330
                     Hill
                     Betty Hill and James
20101277      248                           Allianz      30105330
                     R. Hill Jr.
                     James E. Stephens
20101278      249    and LaDonna            Allianz      70444445
                     Stephens
                     Ann M. Koller and
20101279      250                           Allianz      70408973
                     Sydni Koller
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 70 of
                                       Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                         Annuity #
                                               Name
                     Ann M. Koller and
20101280      251                          Allianz       70408973
                     Traci Koller
                     Sara L. Valentine&
20101281      252                          Allianz       70401417
                     Lisa Renee James
                     Sara L. Valentine and
20101282      253                          Allianz       70401417
                     Kathy Yvonne Ryan
                     Adele R. Olssen &
20101283,
                     Ricky Olssen / Adele
20101284 & 254                             Sun Life      KA12650814-1
                     R. Olssen & Douglas
20101285
                     Olssen / Adele R.

              255                          Allianz       70269190


                     Glendon L. D. Brown
20101286      256    and Gregory L. D.   Allianz         70615161
                     Brown
                     Glendon L. D. Brown
20101287      257    and Jeffery B. N.   Allianz         70615161
                     Brown
                     Betsy A. Rogers &
20101288 &
           258       Michael Rogers /    Sun Life        KA13136132-01
20101289
                     Betsy A. Rogers &
              259                          Allianz       70381579

20101293      260    James Green Jr.       Check #'s: 1009 & 1001
                     Hazel R.              American
20101295      261    Ramsbotham and        Investors-     513148
                     Roma Lacuata          Aviva
                     Hazel R.              American
20101295      262    Ramsbotham and        Investors-     612307
                     Roma Lacuata          Aviva
                     Virginia L. Pelton and
20101296      263                           Aviva        147753
                     Mary Workman

                     Virginia L. Pelton and
20101297      264                           Aviva        147753
                     Diana Slagowski

20101298 &           Jamie Anderson &
           265                             Allianz       70417366
20101299             James Newberry
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 71 of
                                        Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
              266                           Allianz      70416800
                                            National
              267                                        01001094837
                                            Western
                                            National
              268                                        0101096598
                                            Western
                     Carol S. Saunders
20101300      269    and Robert F.          Pacific      VR05038148
                     Saunders
                     Elaine C. Mispilkin    American
20101301      270    and Alfred G.          Investors-   22698
                     Mispilkin              Aviva
                     Earl T. Evans &
20101302 &
           271       Lawrence B. Evans /    Equitrust    EQ0001066005F
20101303
                     Earl T. Evans &
                                            Jackson
              272                                        1002232207
                                            National
                     Moses Siedler and
20101304      273                           Midland      8500351390
                     Deborah Sexton
                     Moses Siedler and
20101305      274                           Midland      8500351390
                     Scott Siedler
                     Elaine Siedler and
20101306      275                           Midland      8500351389
                     Deborah Sexton
                     Elaine Siedler and
20101307      276                           Midland      8500351389
                     Scott Siedler
20101308      277    Inez Harkema           Allianz      70624039
                     Irene S. Bolling and
20101309      278                           Allianz      70675468
                     Sandra E. Walker

                     Irene S. Bolling and
20101310      279                           Allianz      70675468
                     Connie R. Clark
                     Irene S. Bolling and
20101311      280                           Allianz      70675468
                     Linda G. Hart
                     Henry M. Zanetell
20101312      281                           Allianz      70629371
                     and Kerry Walter
                     Henry M. Zanetell
20101312      282                           Allianz      70645198
                     and Kerry Walter
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 72 of
                                       Commercial                    128
                           Name(s) of                    Commercial
 Contract #   Id #                          Annuity
                          Annuitant(s)                    Annuity #
                                             Name
                     Troy D. Cook & Lisa
20101314,
                     K. Butler / Troy D.
20101315,                                American
            283      Cook & Jeffrey D.                150173
20101316, &                              Equity
                     Cook / Troy D. Cook
20101317
                     & Michael D. Cook /

                                          American
              284                                     172326
                                          Equity


                     Gerald J. Hiebsch and American
20101318      285                                     704668
                     Lisa Dawn Gates       Equity

                     Gerald J. Hiebsch and American
20101318      286                                     534288
                     Lisa Dawn Gates       Equity

20101319      287    Ronald M. Kelberg    Allianz     70189332

                     Willard A. Leitch and National
20101322      288                                     0101122946
                     Suzanna Clinton       Western

                     Willard A. Leitch and National
20101323      289                                     0101122946
                     Charlotte Gillette    Western

                     Walter Osborne and
20101324      290                       Equitrust     EQ0001067270F
                     Diana L. Osborne
                     Rodney G. Rogers
                                          North
20101325      291    and Barbara F.                   8000113996
                                          American
                     Rogers
                     Leonore Levy and     American
20101326      292                                     330178
                     Steven Levy          Equity
                     Leonore Levy and
20101326      293                         Midland     8500348485
                     Steven Levy
                     Charles L. Fisher and
20101327      294    Thomas Vincent Lafe Allianz      70653518
                     Fisher

                     Rex R. Narine and
20101328      295                       Midland       8500239149
                     Vademati Monicudis
                                  Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 73 of
                                          Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                           Annuity
                         Annuitant(s)                         Annuity #
                                              Name
                     Rex R. Narine and
20101329      296                         Midland         8500239149
                     Kryiekos Monicudis
                                          American
20101330      297    Judith I. McFerren                   227821
                                          Equity
                                          Great
20101330      298    Judith I. McFerren                   1195000256
                                          American
                     David P. Lockhart
20101331      299    and Karen            Equitrust       EQ0001099743F
                     Yarborough
                                          American
                     John C. Shertzer and
20101332      300                         Investors -     472496
                     Alma L. Shertzer
                                          Aviva
                     Leonard H. Gero and
20101333      301                        Aviva            044072
                     Leonard F. Gero

                     David A. Evans and
20101334      302                         Aviva           050314
                     Norma S. Evans

                     Ronald K. Szaban and
20101335      303                         Aviva           051883
                     Barbara M. Szaban
                     Adele Knutsen and
20101336      304    Michael Geoffrey     Check #: 2419
                     Holt
                                          North
20101337      305    Joe V. Ray                           8000110886
                                          American
                     Theodosia C. Judson
20101339      306    and Douglas E.      Allianz          70335925
                     Judson
                                         Checks:
                     Theodosia C. Judson
                                         1040365,
20101339      307    and Douglas E.
                                         5942946 &
                     Judson
                                         7023570
                     Marilyn Geertsen
20101341      308    and Elizabeth       Allianz          70764834
                     Heimsoth
                     Marilyn Geertsen
20101342      309                        Allianz          70764834
                     and Sarah Stigall
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 74 of
                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                              Annuity
                         Annuitant(s)                         Annuity #
                                                 Name
                     Gertrude M.
20101343      310    Marcotte and Bonnie Allianz          70314701
                     L. Stillwagon
                     Gertrude M.
20101344      311    Marcotte and Gary F. Allianz         70314701
                     Marcotte
                     Gertrude M.
20101345      312    Marcotte and Linda Allianz           70314701
                     Browning
                     Virginia L. Pelton and American
20101346      313                                         703354
                     Mary Workman           Equity

                     Virginia L. Pelton and American
20101347      314                                         703354
                     Diana Slagowski        Equity

                     Elizabeth A. Newell
20101348      315    and Marjorie L.         Old Mutual   L9059017
                     Troxell
                     Millicent S. Cheitlin
20101349      316    and Aleece M.           Allianz      70029705
                     Horden
                     Patricia P. Hall and
20101350      317                            ING          1030965-0X
                     Amye A. Hall Clites

                     Dorothy M. Golas
20101351      318                            Equitrust    EQ0001119216F
                     and Gail A. Conklin
                     Dorothy M. Golas
20101352      319                        Equitrust        EQ0001119216F
                     and Gary F. Golas
20101353    320      Michael Fales       Allianz          70626217
20101354,            Deborah Kay Baker /
20101355,            Suzann Woehrle /
            321                          Allstate         GA389371
20101356,            Donna J. Rumpf/
20101357, &          Edna Park-Moore /

              322                            The State    57700002390

                                             American
                     Betty P. Walker and
20101360      323                            Investors/Avi 454434
                     Teresa D. Holden
                                             va
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 75 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Betty P. Walker and
20101360      324                          NY Life      52199985
                     Teresa D. Holden

                     Betty P. Walker and
20101360      325                          Check #5002455331
                     Teresa D. Holden

                     Norma S. Friedland
20101361      326    and Ethele            Aviva        152762
                     Rosenberg-Brooks

                     Norma S. Friedland
20101362      327                       Aviva           152762
                     and Marc Rosenberg
                     Muriel Wild and John
20101363      328                         Allianz       70360863
                     Wild
                     Muriel Wild and
20101364      329    Catherine Wild       Allianz       70360863
                     Tubbs
                     Muriel Wild and
20101365      330                         Allianz       70360863
                     Pamela Nash
                     Paul E. Cordes and
20101366      331                          Allianz      70761617
                     Thomas P. Cordes
                     Emerson K. Warren
20101367      332    and Rebecca T.        Aviva        445053
                     Shreve
                     Virginia Lee
                     Shackelford and
20101368      333                          Aviva        461454
                     Lawrence Clifford
                     Shackelford
                     Virginia Lee
                     Shackelford and
20101368      334                          Aviva        437475
                     Lawrence Clifford
                     Shackelford
                     Joseph Walters and
20101369      335                          Allianz      70390396
                     Janis Walters
                     Robert G. Petrushka
20101370      336                          Allianz      70704190
                     and Valerie A. Halloy
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 76 of
                                        Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
                     Lawrence Stancil
20101376      337    Ratliff and Doris      Allianz      70105313
                     Jordan Ratliff
20101377,            Daniel Negus / Julie   Great
            338                                          06313933
20101378, &          Grimes / Matthew       American
                                            Great
              339                                        06313932
                                            American
                     Lawrence Clifford
                     Shackelford and
20101380      340                           ING          90268364
                     Virginia Lee
                     Shackelford
                     Esther V. Squires and
20101381      341                          Check #5097
                     Melvin Squires
20101382      342    Mary Anne Fox          Allianz      6239720
20101382      343    Mary Anne Fox          Equitrust    EQ0001017083F
20101383      344    Alice J. Hardy         Allianz      70730097
                     Elizabeth A. Newell
                                            American
20101384      345    and Marjorie L.                     245310
                                            Equity
                     Troxell
                     Philip W. Jensen &
20101385      346                           Aviva        554422
                     Judith A. Jensen
                     Philip W. Jensen &
20101385      347                           Aviva        618157
                     Judith A. Jensen
                     Philip W. Jensen &
20101385      348                           Allianz      70398587
                     Judith A. Jensen
                     Philip W. Jensen &
20101385      349                           Allianz      70408625
                     Judith A. Jensen
                     Philip W. Jensen &
20101385      350                           Allianz      70584340
                     Judith A. Jensen
                     Gerald W. Short &
20101390,
                     Kathy Kay Dick /
20101391, & 351                             Allianz      70660302
                     Gerald W. Short &
20101392
                     Jane Rene' Krauska /


              352                           Allianz      70625701


                     Roberta Blais and
20101393      353                           Midland      8500023412
                     Jason R. Pope
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 77 of
                                        Commercial                    128
                          Name(s) of                           Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                           Annuity #
                                                Name
                     Inez B. Thomas and
20101394      354                           Old Mutual   L9122801
                     Jerry W. Lewis

                     Richard D. Tuthill and
20101395      355                           Allianz      70574050
                     Jeffrey R. Tuthill
20101396      356    Gail C. Wilson         Aviva        37290
20101397      357    Martha E. Doggett      Midland      8500237785
                     Donna Gedeon and
20101398      358                           Aviva        B039154
                     Deborah Gedeon
                     Beatrice R. Dent &
20101400,
                     Carolyn T. Dent /
20101401,
            359      Beatric R. Dent &    Aviva          494925
20101402, &
                     David Michael Dent /
20101403
                     Beatrice R. Dent &


              360                           Check #125074499



                     Helen T. Hampton
20101404      367                           Allianz      70141766
                     and John W. Turner

                     Marilyn Petersen and
20101405      368                         Midland        8506136646
                     Daniel Petersen
                     Marilyn Petersen and
20101406      369                           Midland      8506136646
                     Pamela Hicks
                     Marilyn Petersen and
20101407      370                           Midland      8506136646
                     Paul Petersen
                     Terry Wood and         American
20101408      371                                        570961
                     Jerrica Parkin         Equity
                     Terry Wood and         American
20101409      372                                        570961
                     Jonathan Wood          Equity
                     Dorothy L. Sheridan
20101410      373    and Eleanora M.        Allianz      70060223
                     Lamberg

20101411      374    Christopher Williams Allianz        70264727
20101412      375    Jo Anne Parrish        Allianz      70700317
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 78 of
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                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
20101412      376    Jo Anne Parrish       Allianz       70701367
                     Thomas W. Lawson
20101413      377                        Aviva           045644
                     and Carol S. Lawson

                     Beverly W. Bramlett
20101414      378    and Robert Allen    Allianz         70705763
                     Bramlett

                     Beverly W. Bramlett
20101415      379    and Kathryn Susan   Allianz         70705763
                     Davis

                     Beverly W. Bramlett
20101416      380    and William Joseph Allianz          70705763
                     Bramlett
                     Dale L. Stone and
20101417      381                          Allianz       70760890
                     Bobbie Ann Stone
                     Dale L. Stone and
20101417      382                          Allianz       70755806
                     Bobbie Ann Stone
                     Eleanora M. Lamberg
20101418      383    and Dorothy L.      RBC             MA00069113
                     Sheridan
                     Dorothy R.
20101419      384    Masterson and         Aviva         561561
                     Connie Pentz
                     Dorothy R.
20101420      385    Masterson and Linda   Aviva         561561
                     Hanby
                     Dorothy R.
20101421      386    Masterson and Doris   Aviva         561561
                     Hagford
                     Dorothy R.
20101422      387    Masterson and Lou     Aviva         561561
                     Steiner
                     Dorothy R.
20101423      388    Masterson and         Aviva         561561
                     Victoria Ketzel
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 79 of
                                        Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Dorothy R.
20101424      389    Masterson and Jim     Aviva        561561
                     Steiner
                     Carol S. Saunders
20101425      390    and Robert F.         ING          C058724-LM
                     Saunders
                     A. Jackson Bolling
20101426      391    and Anne Randolph     ING          C0184750Y
                     Harrell
                     A. Jackson Bolling
20101427      392                           ING         C0184750Y
                     and Jon N. Bolling Jr.
                     A. Jackson Bolling
20101428      393    and Andrew L.         ING          C0184750Y
                     Bolling
                     Edna M. Gessner and Great
20101429      394                                       45004321
                     William E. Gessner  American

                     Edna M. Gessner and Great
20101430      395                                       45004321
                     Janice M. Lindau    American

                     Linda K. Waldron and American
20101431      396                                       HDA030840F
                     Michael G. Waldron General

                     Linda K. Waldron and American
20101432      397                                       HDA030840F
                     Steven K. Waldron    General

                     Linda K. Waldron and American
20101433      398                                       HDA030840F
                     Scott A. Kimmel      General
20101434      399    Robert J. Palazzo     Allianz      70580836
                     Arthur H. Schmaltz
20101435      400    and Mark A.           Old Mutual   L9160493
                     Schmaltz
                     Arthur H. Schmaltz
20101436      401                         Old Mutual    L9160493
                     and Dale O. Schmaltz
                     Clarence G. Elmore
20101439      402    and Timothy G.        Aviva        46561
                     Elmore
                                  Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 80 of
                                          Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name
                     Clarence G. Elmore
20101440      403                          Aviva         46561
                     and Robin R. Myers

                     Clarence G. Elmore
20101441      404                         Aviva          46561
                     and Willie C. Elmore
                     Dorothy R.
20101442      405                          Allianz       70248275
                     Masterson
                     Dorothy R.
20101442      406                          Allianz       70128590
                     Masterson
                     Patricia A. Adams
20101443      407                        Aviva           638557
                     and Marvin A. Adams
                     Dorothy R.
20101445      408    Masterson and         Forethought   200057597
                     Connie Pentz
                     Dorothy R.
20101446      409    Masterson and Linda   Forethought   200057597
                     Hanby
                     Dorothy R.
20101447      410    Masterson and Doris   Forethought   200057597
                     Hagford
                     Dorothy R.
20101448      411    Masterson and Lou     Forethought   200057597
                     Steiner
                     Dorothy R.
20101449      412    Masterson and         Forethought   200057597
                     Victoria Ketzel
                     Dorothy R.
20101450      413    Masterson and Jim     Forethought   200057597
                     Steiner
                     Eleanora M. Lamberg
20101451      414    and Dorothy L.      Forethought     200044080
                     Sheridan
                     Andrew Anderson
20101452      415    and Marguerite      Equitrust       EQ0001020833F
                     Nicole Anderson
                     Barbara Davis &
20101453,
                     Lonnie Turner /
20101454 & 418                           Sun Life        KA13160187-1
                     Barbara Davis &
20101455
                     Reed (James) Turner
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 81 of
                                       Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name


              419                          Allstate      GA17057970


                     Robert Peter
20101456      420    Zerbarini and Pamela Allianz        70478532
                     Gifford Ezyk

                     Robert Peter
20101456      421    Zerbarini and Pamela Check #51916
                     Gifford Ezyk

                     Betsy A. Rogers and
20101457      422                          Allianz       70603818
                     Michael Rogers
                     Betsy A. Rogers and
20101458      423                          Allianz       70603818
                     Jenna Rogers
                     Wanda Marguerite
20101462      424    Clark and Sharon Lou Allianz        70226818
                     Cross

                     Wanda Marguerite
20101463      425    Clark and Sandy A.    Allianz       70226818
                     Robbins

                     Wanda Marguerite
20101464      426    Clark and Wade A.     Allianz       70226818
                     Robbins

                     Wanda Marguerite
20101465      427    Clark and Timothy     Allianz       70226818
                     William Cross
                     Wanda Marguerite
20101466      428    Clark and Torri L.    Allianz       70226818
                     Slaby
                     Sharon A. Gibson
                                           American
20101467      429    and Jodi L.                         585151
                                           Equity
                     Sensenbach
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 82 of
                                       Commercial                    128
                          Name(s) of                       Commercial
 Contract #   Id #                           Annuity
                         Annuitant(s)                       Annuity #
                                              Name
                     Sharon A. Gibson     American
20101468      430                                       585151
                     and Chris Ann Potter Equity
                     Sharon A. Gibson     American
20101469      431                                       585151
                     and Amy Jo Alder     Equity
                     Donna Gedeon and
20101470      432                         Aviva         30053
                     Deborah Gedeon
                     Sherman Cloud
20101471      433                         Real Estate
                     Barton

20101472      434    Pamela E. Mills      Check #5691

                     Maybelle Drake and
20101473      435                       Old Mutual      L9148473
                     Julie A. Putnum
                     Maybelle Drake &
20101474      436                         Old Mutual    L9149199
                     Jacque L. Hale
                     Kenneth Fleischman
20101476      437    and Justin           Allianz       70592940
                     Fleischman
                     Kenneth Fleischman
20101476      438    and Justin           Allianz       70586880
                     Fleischman
                     Kenneth Fleischman
20101476      439    and Justin           Allianz       70586843
                     Fleischman
                     Howard L. Ostrander
20101477      440    and David L.        Allianz        70577712
                     Ostrander

                     Howard L. Ostrander
20101478      441                         Allianz       70577712
                     and Carol Ann Bratz
                     John Russell Laverty
20101479 &           & William Crandall   American
           442                                          L0081393
20101480             Laverty / William    National
                     Crandall Laverty &
                                          American
              443                                       L0081394
                                          National

                     Verla Furniss and    American
20101482      446                                       721712
                     Sharyn Curtis        Equity
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 83 of
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                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Verla Furniss and     American
20101483      447                                       721712
                     Reid Furniss          Equity
                     Verla Furniss and     American
20101484      448                                       721712
                     Susan Scott           Equity
                     Verla Furniss and     American
20101485      449                                       721712
                     Anna Lee Furniss      Equity
                     Verla Furniss and     American
20101486      450                                       721713
                     Sharyn Curtis         Equity
                     Verla Furniss and     American
20101487      451                                       721713
                     Reid Furniss          Equity
                     Verla Furniss and     American
20101488      452                                       721713
                     Susan Scott           Equity
                     Verla Furniss and     American
20101489      453                                       721713
                     Anna Lee Furniss      Equity
                     Dennis Glen
                                       American
20101490      454    Goodrow and Helen                  578880
                                       Equity
                     Jean Goodrow
                     Joseph M. Ricketts &
20101491 &
           455       Gregory W. Ricketts / Allianz      70711025
20101492
                     Joseph M. Ricketts

              456                          Allianz      70711094

                     Charles L. Johnson
20101493      457    Sr. and Donna C.      Equitrust    EQ0001028465F
                     Johnson
                     Charles L. Johnson
20101493      458    Sr. and Donna C.      Old Mutual   L9206599
                     Johnson
                     Charles L. Johnson
20101493      459    Sr. and Donna C.      Old Mutual   L9207880
                     Johnson
                     Allen E. Stache and   American
20101494      460                                       597580
                     Marilyn A. Stache     Equity

                     Allen E. Stache and
20101494      461                          Allianz      70395041
                     Marilyn A. Stache
                                           American
20101495      462    Dennis R. Wilczek                  133709
                                           Equity
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 84 of
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                          Name(s) of                        Commercial
 Contract #   Id #                           Annuity
                         Annuitant(s)                        Annuity #
                                              Name
                                          American
20101495      463    Dennis R. Wilczek                   144655
                                          Equity
                                          American
20101495      464    Dennis R. Wilczek                   501052
                                          Equity
                     Ruth Hansen and
20101496      465                          Forethought   200069030
                     Carrie Fausett
20101497,            Ruth Hansen &
20101498,20          Carrie Fausett / Ruth
            466                            Forethought   200066137
101499,              Hansen & Cody
20101500             Telford / Ruth

              467                         Forethought    200069545



              468                         Forethought    200050661

20101501,            Ruth Hansen & Kent
20101502,            Hansen / Ruth       American
            469                                          580992
20101503, &          Hansen & Debra Ball Equity
20101504             / Ruth Hansen &
                                         American
              470                                        684637
                                         Equity

                                          American
              471                                        700455
                                          Equity

                     Martha Rhodes &
20101508 &           Kyle Parcus / Martha American
           472                                           715302
 20101509            Rhodes & Jordan      Equity
                     Parcus
              473                         Forethought    200057023
              474                         Forethought    2000056050
20101510,            Edward Bloem Jr. &
20101511, & 475      James E. Bloem /     Allianz        6524510
20101512             Edward Bloem Jr. &

              476                         Allianz        6524111
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 85 of
                                        Commercial                    128
                          Name(s) of                         Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                         Annuity #
                                               Name
                     Alice Marie Pfau and
20101513      477                         Allianz         70362462
                     Thomas J. Klimp
                     June R. Hutchens and   American
20101514      478                                         564001
                     David Adams            Equity
                     June R. Hutchens &     American
20101515      479                                         564001
                     Kristy Johnson         Equity
                     Dorothy R.
20101516      480    Masterson and          Forethought   200048834
                     Connie Pentz
                     Dorothy R.
20101517      481    Masterson and Linda    Forethought   200048834
                     Hanby
                     Dorothy R.
20101518      482    Masterson and Doris    Forethought   200048834
                     Hagford
                     Dorothy R.
20101519      483    Masterson and Lou      Forethought   200048834
                     Steiner
                     Dorothy R.
20101520      484    Masterson and          Forethought   200048834
                     Victoria Ketzel
                     Dorothy R.
20101521      485    Masterson and Jim      Forethought   200048834
                     Steiner
                     Malcolm L. Smalley
20101522      486                           Check #1009
                     and Donna Smalley

20101523      487    Leo A. Phelps III      Forethought   200066541
20101523      488    Leo A. Phelps III      RBC           MA00060832
20101527      489    James Green Jr.        Check #1123
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 86 of
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                           Name(s) of                       Commercial
 Contract #   Id #                             Annuity
                          Annuitant(s)                       Annuity #
                                                Name
                     Laura Lydia
                     Eglinsdoerfer & Sylva
                     Joyce Flynn / Laura
20101532,            Lydia Eglinsdoerfer &
20101533,            Starr Elizabeth
20101534,            Tieking / Laura Lydia
            490                            Allianz       70604094
20101535,            Eglinsdoerfer &
20101537, &          Thomas Henry
20101538             Eglinsdoerfer / Laura
                     Lydia Eglinsdoerfer &
                     Kathleen Joy LaComb
                     / Laura Lydia




              491                          Allianz       70620476




                     Cynthia Johnson
20101540      492    Bolling and Anne      Pacific       VR06003130
                     Randolph Harrell
                     Cynthia Johnson
20101541      493    Bolling and Jon N.    Pacific       VR06003130
                     Bolling Jr.
                     Cynthia Johnson
20101542      494    Bolling and Andrew    Pacific       VR06003130
                     L. Bolling
                     Alice Marie Pfau and
20101543      495                         Allianz        70362462
                     Vicki Lynn Weber
                     Alice Marie Pfau and
20101544      496    Richard James Pfau Allianz          70362462
                     Jr.
                     Alice Marie Pfau and
20101545      497                         Allianz        70362462
                     David Bruce Pfau
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 87 of
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                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Pegge Marriott
20101546      498                           Aviva         554121
                     Sheffield
20101547      499    Bryan L. Dunlap        Allianz       70856705
                     Donna V.
20111550 &           Swindlehurst & Rex
           513                              Old Mutual    L9152726
2011551              D. Swindlehurst /
                     Donna V.


              514                           Old Mutual    L9152725


                     Barbara J. Ellis and
20111552      515                           Old Mutual    L9162367
                     Lela M. Ellis
                     Barbara J. Ellis and
20111552      516                           Old Mutual    L9162368
                     Lela M. Ellis
20101553      500    Jeannie Maire          Aviva         29838
                                            Check:
                     Raoel H. Clark and
20101554      501                           5600576268
                     Gregory R. Clark
                                            &
                                            Check:
                     Raoel H. Clark and
20101555      502                           5600576268
                     Michael L. Clark
                                            &
                                            Check:
                     Raoel H. Clark and
20101556      503                           5600576268
                     Ross M. Clark
                                            &
                                            Check:
                     Raoel H. Clark and
20101557      504                           5600576268
                     Jan L. Malaikal
                                            &
                                            Check:
                     Raoel H. Clark and
20101558      505                           5600576268
                     Connie S. Hurst
                                            &
                                            Check:
                     Raoel H. Clark and
20101559      506                           5600576268
                     Mark H. Clark
                                            &
                                            Check:
                     Raoel H. Clark and
20101560      507                           5600576268
                     Hugh Q. Clark
                                            &
20101561      508    Marie B. Milne         Check #2501

                     Howard L. Ostrander
20101562      509                        Allianz          70577712
                     and Eileen Gascoyne

20101563      510    Mary Irene Newkirk     Allianz       70625504
20111568      517    Beverlie B. Allred     Nationwide    01-60494801
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 88 of
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                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Sylvia A. Verret and
20101569      511                           Allianz       70804367
                     Geralyn M. Verret

                     Geralyn M. Verret
20101570      512                           Allianz       70804308
                     and Sylvia A. Verret

                     Frances M. Duffy and Great
20111571      518                                         06529545
                     John E. Duffy Jr.    American

                     Frances M. Duffy and Great
20111571      519                                         06529693
                     John E. Duffy Jr.    American

                     Frances M. Duffy and
20111571      520                         Check #421906448
                     John E. Duffy Jr.
                     Phyliss N. Ellis and
20111572      521                           Check #2619
                     Alan Nengel
                     J. Bruce Weaver and Check
20111573      522
                     Carol L. Weaver     #678173

                     Joseph Corveddu and
20111574      523                        Allianz          7647407
                     Florence Corveddu

                     Florence Corveddu
20111575      524                        Allianz          7647384
                     and Joseph Corveddu
                     Donald Gentry and
20112000      525                           Midland       8500043844
                     Gail A. Gentry
                     Connie Garrison and
20112001      526                        Midland          8500043844
                     James L. Garrison

                     Helen D. Haynes and
20112002      527                        Allianz          70776946
                     Byron D. Haynes

                     Helen D. Haynes and
20112003      528                        Allianz          70776946
                     Diana P. Perry

                     Helen D. Haynes and
20112004      529                        Allianz          70776946
                     Bonnie J. Rodriguez
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 89 of
                                       Commercial                    128
                          Name(s) of                          Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                          Annuity #
                                               Name
                     Mabel E. Penisten
20112005      530                        Allianz         70298640
                     and Robert Penisten

                     Lorraine Heylmann
20112006      531                          Aviva         551502
                     and Diana Conklin
                     Theodore R.
20112007      532    Almquist and Linda    Aviva         B044331
                     M. Almquist
                     Kathryn H. Welch
20112008      533                          Allianz       70454717
                     and Scott E. Welch

                     Irene W. Belser and
20112009      534                          Check #4631
                     Joseph M. Belser

                     Bernard E. Lewis and American
20112010      535                                        681813
                     Deborah Thornton Equity
                     Bernard E. Lewis and American
20112011      536                                        681813
                     John Schultz         Equity
                     Bernard E. Lewis and American
20112012      537                                        681813
                     William Schultz      Equity

                     Bernard E. Lewis and American
20112013      538                                        681813
                     Stephen Lewis        Equity

                     Bernard E. Lewis and American
20112014      539                                        681813
                     Lisa Marie Schultz   Equity

                     Bernard E. Lewis and American
20112015      540                                        681813
                     Linnea LaCasse       Equity
                     La Ree C. Snow &
20112016 &                               American
           541       Brennan Gary Snow /                 743549
20112017                                 Equity
                     La Ree C. Snow &

              542                          Check #100086890


                     Sidney Susan Orr and
20112018      543                         Equitrust      EQ0001088085F
                     Eric Michael Orr
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 90 of
                                       Commercial                    128
                          Name(s) of                            Commercial
 Contract #   Id #                              Annuity
                         Annuitant(s)                            Annuity #
                                                 Name
                     Sidney Susan Orr and
20112019      544                         Equitrust       EQ0001088085F
                     Valerie Beth Dillon
                     M. Blanche
                                             American
20112020      545    Whitehead and                        665741
                                             Equity
                     Camille Winslow
                     M. Blanche
                     Whitehead and           American
20112021      546                                         665741
                     Corinne A.              Equity
                     Whitehead
                     Milton Gambles &
20112022      547                            Check #060841996
                     Robyn Hopkins
                     Milton Gambles &
20112023      548                            Check #060841996
                     Scott Gambles
                     Milton Gambles and
20112024      549                       Check #060841996
                     Richard M. Gambles
                     Muriel Wild and John
20112025      550                            Allianz      70360862
                     Wild
                     Muriel Wild and
20112026      551    Catherine Wild          Allianz      70360862
                     Tubbs
                     Muriel Wild and
20112027      552                            Allianz      70360862
                     Pamela Nash
                     Lois E. Zimmerschied
                     & Kathleen A.
20112028,            Zimmerschied / Lois
20112029,            E. Zimmerschied &       American
            553                                           535806
20112030, &          Bonnie Bartels / Lois   Equity
20112031             E. Zimmerschied &
                     Wayne
                     Zimmerschied/ Lois



                                             American
              554                                         535807
                                             Equity
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 91 of
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                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Carol L. Weaver and Check
20112032      555
                     J. Bruce Weaver     #678968
                     Edna L. Bruce and    Great
20112033      556                                       1195008565
                     Debbie O'Shields     American
                     Donald D. Barker and
20112034      557                         Midland       8500208998
                     Deanne Hopp
                     Doris L. Barker and
20112043      558                          Midland      8500208998
                     Daniel D. Barker
                     Loyd J. Mintz and
20112035      559                          Aviva        471677
                     Alicia Jill Schatz
                     Oscar Smith and       National
20112036      560                                       0101230811
                     Regina M. Smith       Western
                                           Western
20112037      561    Susan V. Butske                    W0020484234
                                           Southern
                                           Western
20112037      562    Susan V. Butske                    W20484232
                                           Southern
                     George M. Lawrence
20112038      563    and Jannette F.    Allianz         70474583
                     Hebert
                     George M. Lawrence
20112039      564    and Cassandra A.   Allianz         70474583
                     Reynolds
20112041      565    Robin D. Cohn         Allianz      7147787
20112041      566    Robin D. Cohn         Allianz      4579476
                     Tena Freyling and
20112042      567    Henrietta Ruth        Allianz      70470018
                     Schuiling
                     Tena Freyling and
20112042      568    Henrietta Ruth        Allianz      70325761
                     Schuiling
20112044      569    Robert J. Palazzo     Check #104
                     Joan C. Williams and
20112045      570    Howard Person        Allianz       70509331
                     Williams Jr.
                     Joan C. Williams and
20112046      571    Michael Calvert      Allianz       70509331
                     Williams
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 92 of
                                       Commercial                    128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name
                     Ann A. Mathews and
20112047      572                       Aviva            445807
                     Robin A. Norris

                     Ann A. Mathews and
20112088      573                       Aviva            445807
                     Robert L. Gilbert

                     James A. Halvorson
                                           American
20112048      574    and Dean W.                         787705
                                           Equity
                     Halvorson

                     Patricia P. Newton
20112049      575    and Creighton G.      Check #4999
                     Newton
                     Teva A. Ostarly and
20112050      576                          Allianz       70857649
                     John Ostarly
20112051      577    Margaret Reis         Check #1035
                     James David Yater     American
20112052      578                                        687528
                     and Kay Yater         Equity
                     Merle Pluger and      Jackson
20112053      579                                        1002093010
                     Sharon K. Fiekema     National
                     Merle Pluger and      Jackson
20112054      580                                        1002093010
                     James A. Pluger       National
                     Merle Pluger and      Jackson
20112055      581                                        1002093010
                     Greg L. Pluger        National
                     Merle Pluger and      Jackson
20112056      582                                        1002093010
                     Terry D. Pluger       National
                     Henry W. Anderson
20112058      583    and Lynette W.        Bankers       7906115
                     Anderson

                     Willard A. Leitch and Check
20112059      584
                     Charlotte Gillette    #320951

                     Maria C. Carroccia
20112060      585    and Valerie A.        Allianz       6623292
                     Carroccia
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 93 of
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                          Name(s) of                        Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                        Annuity #
                                                Name
                     Valerie A. Carroccia
20112061      586    and Alonna M.          Allianz      70154266
                     Pisaturo-Young

                     Valerie A. Carroccia
20112062      587    and Ian Michael        Allianz      70154266
                     Notarianni
                     Lou Holland Craft
20112063      588                           Allianz      70855743
                     and Roy Craft Jr.
                     Kathryn C. Scott and American
20112064      589                                        715636
                     Mary Scheitzach      Equity

                     Kathryn C. Scott and American
20112084      590                                        779912
                     Tray Elmore Scott III Equity

                     Alease P. Stetson and
20112065      591                          Sun Life      KA13146502-01
                     Jackie Pollard
                     Donald Gentry and      North
20112066      592                                        8000029337
                     Gail A. Gentry         American
                     Connie Garrison and North
20112067      593                                        8000029337
                     James L. Garrison   American

                     Patricia A. Barberis
20112072      594    and Cesidio V.         Allianz      70411769
                     Barberis
                     Barbara Davis and
20112073      595                        Allianz         70418384
                     Lonnie Turner
                     Delouris A. Brown &
20112074 &           Kameron Jenkins /
           596                           Baltimore       A1050099
20112075             Delouris A. Brown &
                     DeWayne Cannon
              597                           Baltimore    A105091


                                            North
              598                                        8000064175
                                            American
                                 Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 94 of
                                         Commercial                    128
                           Name(s) of                         Commercial
 Contract #    Id #                             Annuity
                          Annuitant(s)                         Annuity #
                                                 Name
                   Delouris A. Brown &
                                       North
              598a Kameron Jenkins /                       8000064176
                                       American
                   Delouris A. Brown &
                      Harry E. Hodge and
20112076      599                           Allianz        70429800
                      Patricia Louise Hodge

                      Harry E. Hodge and
20112077      600                            Allianz       70429800
                      Donna M. Hodge

                      Harry E. Hodge and
20112078      601                            Allianz       70429800
                      Harry Glen Hodge

                      Harry E. Hodge and
20112079      602                        Allianz           70429800
                      James Arthur Hodge
                      Reginald D. Hill and
20112080      603                            Real Estate
                      Anita W. Hill
20112081      604     Janice A. Smith        Allianz       70231507
20112082      605     Robert O. Behm         Allianz       70231507
20112083      606     Bruce W. Behm          Allianz       70231507
20112086      607     John F. Arthurs        Midland       8500409633
20112086      608     John F. Arthurs        Midland       8500337231
                                             National
20112087      609     Barbara Phillips                     0101034091
                                             Western
20112087      610     Barbara Phillips       Allianz       70317048
                      Betty Hill and Laura
20112089      611                            Midland       8500337083
                      Hill
                                             National
20112090      612     Terry Mauk                           0101244485
                                             Western
                                             National
20112090      613     Terry Mauk                           0101244486
                                             Western
20112090      614     Terry Mauk             Allianz       70543066
20112090      615     Terry Mauk             Allianz       70542779
                                             American
20112090      616     Terry Mauk                           712013
                                             Equity
20112090      617     Terry Mauk             RBC           MA00060180
20112090      618     Terry Mauk             Forethought   200059276

20112090      619     Terry Mauk             Forethought   200052451
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 95 of
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                         Annuitant(s)                       Annuity #
                                              Name
20112090      620    Terry Mauk           Forethought   200065312

20112090      621    Terry Mauk           Forethought   200066412

20112090      622    Terry Mauk           Forethought   200069445

                     Mabel E. Penisten
20112091      623                           Allianz     70312644
                     and Robert Penisten
20112093,            Patsy A. Clark & Edrie
                                            American
20112094 &           Linn Cleaver / Patsy               778274
                                            Equity
20112095             A. Clark & Lauralee
                                            American
              624                                       778274
                                            Equity
                                            American
              625                                       778275
                                            Equity
                     Stanley Jay Veltema
20112096      626    and Wilma A.           Allianz     5210698
                     Veltema
                     Doris L. Barker &
20112097 &
           627       Deanne Hopp / Doris Allianz        70906985
20112098
                     L. Barker & Daniel D.
              628                         Allianz       70906568

20112099    629      Mary Ann Wilkas       Allianz      70813445
20112100,            Charles E. Barrett &
20101201,            Annette Benavente /
20112102,            Charles E. Barrett & American
            630                                         674592
20112103,            Charles Ray Barrett / Equity
20112104, &          Charles E. Barrett &
20112105             Susan Whetten /


                                          American
              631                                       682926
                                          Equity




                                          American
              632                                       674591
                                          Equity
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 96 of
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                          Name(s) of                          Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                          Annuity #
                                               Name
                     Donna Elizabeth
20112106      633                          Check #400087924
                     Howard
                     Angela B. Kaiser and
20112108      634                         Bankers       7767062
                     Colin D. Blanton

20112109      635    Eugene Hubbard Jr.    Allianz      70431265
                     Lynette W. Anderson
20112110      636    & Travis W.         Bankers        350001126
                     Anderson
                     Lynette W. Anderson
20112111      637                         Bankers       350001126
                     and Neil J. Anderson

                     Catharine W. Holland
20112114             and James Frank      Allianz       70532773
                     Holland

                     Catharine W. Holland
20112115      638    and David William    Allianz       70532773
                     Holland
                     Catharine W. Holland
20112116      639    and Jon Andrew       Allianz       70532773
                     Holland
                     Catharine W. Holland
20112117      640    and Joe Bill Holland Allianz       70532773
                     Jr.
                     Barbara Y. Braley and
20112118      641                          Allianz      70373677
                     Denise Hillyard

                     Millicent E. Fasing   Great
20112120      642                                       06310580
                     and Todd R. Fasing    American

                     Millicent E. Fasing   Great
20112121      643                                       06310580
                     and Tara L. Lester    American
20112122      644    Dennis T. Helms       Allianz      70381771
                     Loren C. White and
20112123      645                          Allianz      70770654
                     Jenifer Walden
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 97 of
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                          Name(s) of                          Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                          Annuity #
                                                Name
                     Loren C. White and
20112124      646                           Allianz        70770654
                     Sally Eastman

                     Nolan L. Bloom and
20112125      647                           Forethought    200053905
                     Clayne C. Bloom
                     Nolan L. Bloom and
20112126      648                           Forethought    200053905
                     Angela James
                     Nolan L. Bloom and
20112127      649                           Forethought    200053905
                     Jason G. Bloom
                     Nolan L. Bloom and
20112128      650                           Forethought    200053905
                     Ben M. Bloom
                     Nolan L. Bloom and
20112129      651                           Forethought    200053905
                     Noleen Newbold

                     Robert G. Hay and   American
20112130      652                                          LAR0078129
                     Barbara Ann O'Grady National
                     Robert G. Hay and      American
20112131      653                                          LAR0078129
                     James R. Cuchna        National
                     Robert G. Hay and      American
20112132      654                                          LAR0078129
                     James F. Hay           National
                     Robert G. Hay and      American
20112133      655                                          LAR0078129
                     Jerry F. Hay           National
20112135      656    Mary Ann Wilkas        Check #12105
20112137      657    Joyclen R. Parker      Allianz        70469509
                     Barbara L. Thompson
20112138      658                        Aviva             116569
                     and Betsy Cooper

                     Barbara L. Thompson
20112139      659    and Mandy Cooper Aviva                116569
                     Ickes
                     Sandra P. Ree &
20112140 &                                  Great
           660       Malcolm Ree /                         80508377
20112141                                    American
                     Jeffrey N. Kweller &
                                            Great
              661                                          80506699
                                            American
                     Richard Louis
20112142      662                           Midland        8500186933
                     Shoemaker Jr.
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 98 of
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                         Annuitant(s)                         Annuity #
                                               Name
20112143      663    Angela B. Kaiser       Midland       8500186933
                     Gunter Erdmann and
20112144      664                       Allianz           70680243
                     Thomas Erdmann

                     Charles Robert         Southwest-
20112145      665    Piotrowski and         Nat. Life     760088X
                     Kathryn Piotrowski     Group
                     Phyllis Moulton
20112147 &
           666       Murphy & Lanea         Allianz       70272755
20112148
                     Sampson / Phyllis
                                            Check
              667                           #9056850964
                                            2
                     Barbara Whitt and   American
20112151      668                                         701373
                     William Frank Whitt Equity

                     Catherine L. Schaetzl
20112152      669    and Robert L.         ING            90293052
                     Schaetzl Jr.

                     Catherine L. Schaetzl
20112153      670                          ING            90293052
                     and Ann C. Smith

                     Victor H. Tewes and
20112154      671                        Shares
                     Barbara J. Tewes
20112157      672    Jeanne Baker           Check #0008905900
20112158      673    Steven Morreale        Check #0008905900
                     Alberta M. Thomas
20112159      674                           Check #1269 & #15386947
                     and Hazel M. Capko

                     Alberta M. Thomas
20112160      675                           Check #1269 & #15386947
                     and Larry G. Hines Sr.

                     Alberta M. Thomas
20112161      676                           Check #1269 & #15386947
                     and Mary L. Smith

                     Alberta M. Thomas
20112162      677                           Check #1269 & #15386947
                     and Laura J. Stinson
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 99 of
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                         Annuitant(s)                       Annuity #
                                              Name
                     Sharon L. Wilson and
20112163      678                         Allianz       70667462
                     Robert G. Wilson

                     Sharon L. Wilson and
20112164      679                         Allianz       70667462
                     Brian M Wilson
                     Susan J. Schmidt and
20112165      680                          Allianz      70571050
                     Cindy Ritter
                     Linda L. Grosteffon &
20112166 &           Steven G. Grosteffon
           681                             Old Mutual   L9184891
20112167             / Linda L. Grosteffon
                     & Marsha K. Stamas

              682                         Old Mutual    L9147737


                     Maryann M. Kinard
20112169      683                         Check #1706 & #1723
                     and Andrew Kinard
                     Willie Wendell
20112170      684    Fairley and Ann      Allianz       70605209
                     Michelle Glover
                     Nancy A. Baron and   American
20112171      685                                       781303
                     Tammy Roberts        Equity

                     Nancy A. Baron and   American
20112172      686                                       781303
                     Brian Burnside       Equity
                     Buddy J. King and    American
20112173      687                                       661268
                     Elizabeth Gould      Equity
                     Buddy J. King and    American
20112174      688                                       661268
                     Karen Strang         Equity
                     Buddy J. King and    American
20112175      689                                       661268
                     Karl King            Equity
                     Buddy J. King and    American
20112176      690                                       661268
                     Mary Emerson         Equity
                     Buddy J. King and    American
20112177      691                                       661268
                     Jacque King          Equity
                     David A. Evans and
20112178      692                         Metlife       7440245
                     Norma S. Evans
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 100 of
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                         Annuitant(s)                      Annuity #
                                              Name
                     David A. Evans and
20112178      693                         Aviva        50312
                     Norma S. Evans
                     Carol S. Saunders
20112179      694    and Robert F.         John Hancock 2617075
                     Saunders
                     Doris L. Barker and
20112180      695                          Allianz      70922542
                     Deanne Hopp
                     Virginia L. Fullmer &
20112181 &
           696       Jacob E. Fullmer /    Allianz      30824045
20112182
                     Virginia L. Fullmer &

              697                         Allianz      7297368

                                          Lincoln
20112184      698    Patricia Delker                   FN7108865
                                          National
                                          Lincoln
20112185      699    Laura L. Batz                     FN7108865
                                          National
                                          Lincoln
20112186      700    Kellie Mitchell                   FN7108865
                                          National
                                          Lincoln
20112187      701    Gerald Rosier                     FN7108865
                                          National
                     Myra B. Morell &
20112188 &
           702       John Arthur Morell / ING          90257430
20112189
                     Myra B. Morell &

              703                         ING          90257431


              704                         ING          90257433

                     Elaine S. Vanata and
20112190      705    Christopher D.       Allianz      70452314
                     Vanata
                     Elaine S. Vanata and
20112191      706                         Allianz      70452314
                     Nathan J. Johnson
                     Elaine S. Vanata and
20112192      707                         Allianz      70452314
                     Lesley A. Corn
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 101 of
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                          Annuitant(s)                        Annuity #
                                                 Name
                      Elaine S. Vanata and
20112193      708                          Allianz        70452314
                      Nicole S. Becker
20112194 &            Ben M. Johnston &
           709                               Allianz      70515288
20112195              Miles McBane
              710                            Aviva        B038479

              711                            ING          90329774

                      Estelle S. Kirby and
20112196      712                            Equitrust    EQ0001067442F
                      Gwenn Voswinkel
                      Estelle S. Kirby and
20112197      713                            Equitrust    EQ0001067442F
                      Paula J. Henn
                      Estelle S. Kirby and
20112198      714                            Equitrust    EQ0001067442F
                      Kurt W. Schwenke

                      Gloria Dale Owens
20112199      715     and Charles P.         Allianz      70887205
                      Owens Jr.
                   Elizabeth P. Lyons
20112200      716  and Elizabeth Lynn        Allianz      70699728
                   Lyons Kirk
                   Elizabeth P. Lyons
20112200      717 and Elizabeth Lynn         Allianz      70696093
                   Lyons Kirk
                   Elizabeth P. Lyons
20112200      718 and Elizabeth Lynn         Allianz      70670054
                   Lyons Kirk
                   Elizabeth P. Lyons
20112200      719 and Elizabeth Lynn         Allianz      70080376
                   Lyons Kirk
                   Elizabeth P. Lyons
                                             Jackson
20112200      719b and Elizabeth Lynn                     0033229080
                                             National
                   Lyons Kirk
                   Elizabeth P. Lyons
                                             Naional
20112200      719a and Elizabeth Lynn                     0101237192
                                             Western
                   Lyons Kirk
                   Elizabeth P. Lyons
20112200      720 and Elizabeth Lynn         Aviva        V072796
                   Lyons Kirk
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 102 of
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                          Annuitant(s)                        Annuity #
                                                Name
                     Mollie F. York and
20112201      721    Donna Ferguson         Allianz       70301978
                     Miller
                     Mollie F. York and
20112201      722    Donna Ferguson         Allianz       70301344
                     Miller
                     Martin G. Reeves
20112202      723                           Forethought   2001080704
                     and Linda Reeves
                     LaDonna Stephens
20112203      724    and James E.           Allianz       70444395
                     Stephens
                     Diane Pagan and
20112204      725                           Forethought   200111350
                     Kwang Szuszka
                     Annette M.
                                            American
20112205      726    Hendrickson and                      648407
                                            Equity
                     Jene Michand
                     Annette M.
                                            American
20112206      727    Hendrickson and Olaf                 648407
                                            Equity
                     Hendrickson
                                            American
20112207      728    Lillian I. Schlacter                 808590
                                            Equity
                     LaVina J. Williams /
                     LaVina J. Williams &
20112208,
                     Harold R. Herndon /
20112209,
                     LaVina J. Williams &
20112210,                                  American
            729      Marvin R. Herndon /                  544821
2011211,                                   Equity
                     LaVina J. Williams &
20112212, &
                     Mildred A. Fletcher /
20112213
                     LaVina J. Williams &
                     Darrell L. Herndon /




                                            American
              730                                         654186
                                            Equity




20112214      731    Linda Stuart Crimi     Aviva         582850
20112215      732    Linda Stuart Crimi     Aviva         582851
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 103 of
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                         Annuitant(s)                           Annuity #
                                                 Name
20112216 &           Wendell S. Karr &      American
           733                                            639085
20112217             Gerald Karr /          Equity
                                            Washington
              734                                         V0005356
                                            National
20112218      735    Lorraine P. Bryant     Allianz       70636047
                     Ronald Metzger &
20112220      736                           Equitrust     EQ0001129590F
                     Joyce A. Metzger
                     Helen A. Polm and
                                            American
20112221      737    Barbara Lee                          726087
                                            Equity
                     Midberry
                     John E. Duffy Sr. &
20112222      738                           Check #4001
                     John E. Duffy Jr.
                     Ron B. Hall and Gary   American
20112223      739                                         669880
                     Mann                   Equity
                     Mary Phillips and      Lincoln
20112224      740                                         01N1202650
                     Lana Gour              Benefit
                     Mary Phillips and
20112224      741                           Genworth      J007159
                     Lana Gour
                     Mary Phillips and
20112224      742                           Check #500766525
                     Lana Gour
                     Donna Caldwell &
20112225      743                           Check #1326
                     Casey Caldwell
                     Steven R. Misho &
20112226      744                           Check #1326
                     Casey Caldwell
                     Alexandro E. Sarni
20112227      745    and Joanne M.          Allianz       70495080
                     Jensen
                     William J. Flanders &
20112228      746                          Allianz        70485553
                     Paul Charles Flanders

                     William J. Flanders &
20112228      747                          Allianz        70486720
                     Paul Charles Flanders
                     Carolyn F. Rutledge
20112229 &
           748       & Lemuel R. Smith /    Riversource   9920-6123023
20112230
                     Carolyn F. Rutledge

              749                           Aviva         459474
                     Charles K. Colson Sr.
20112231 &
           750       & Charles K. Colson Allianz          70740227
20112232
                     Jr. / Charles K. Colson
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                         Annuitant(s)                        Annuity #
                                                Name
                                            American
              751                                        303696
                                            Equity
                                            American
              752                                        724811
                                            Equity
                                            Jackson
20112233      753    Sally A. Neale                      1000233338
                                            National
                     Nard V. Allen and      American
20112239      754                                        731083
                     Jeanette Rawlings      Equity
                     Nard V. Allen and      American
20112240      755                                        731083
                     Niel Allen             Equity
                     Nard V. Allen and      American
20112241      756                                        731083
                     Mike Allen             Equity
                     Nard V. Allen and      American
20112242      757                                        731083
                     William Allen          Equity
                     Nard V. Allen and      American
20112243      758                                        731083
                     Elaine Tuft            Equity
                     Nard V. Allen and      American
20112244      759                                        731083
                     Donna Butterworth      Equity
                     Nard V. Allen and
                                            American
20112245      760    Michael Boyd                        731083
                                            Equity
                     Anderson
                     Nard V. Allen and      American
20112246      761                                        731083
                     Julie Hendricks        Equity
                     Nard V. Allen and      American
20112247      762                                        731083
                     Karen Merkley          Equity
                     Nard V. Allen and      American
20112248      763                                        731083
                     Lisa Duke              Equity
                     William D. Boice and
20112249      764    Beverly L.             Aviva        404493
                     Scarborough
                     William D. Boice and
20112249      765    Beverly L.             Aviva        404494
                     Scarborough
                     William D. Boice and
20112249      766    Beverly L.             Aviva        405759
                     Scarborough
20112250      767    Robert P. Petitti      Allianz      70368239
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 105 of
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                          Annuitant(s)                    Annuity #
                                             Name
                     Margaret M.
                     Whittemore & Karen
20112251,
                     Bell / Margaret M.
20112252,
            768      Whittemore & Scott Allianz       70661330
20112253, &
                     Whittemore /
20112254
                     Margaret M.
                     Whittemore & Mark


                                           Lincoln
              769                                     FN7099384
                                           National


                     Debra L. Bowling &
20112256      770                          Allianz    70152612
                     Craig Bowling
                     Debra L. Bowling and
20112257      771                         Allianz     70152612
                     James Aaron Bowling
                     Pamela S. Davis and
20112258      772                          Allianz    70152612
                     Aaron Davis
                     Pamela S. Davis &
20112259      773                          Allianz    70152612
                     Heather Davis
                     Brenda L. Blair and
20112260      774                          Allianz    70152612
                     Jessica Blair
                     Brenda L. Blair and
20112261      775                          Allianz    70152612
                     Justin Blair
                     Linnette Habermann
20112262      776                       Allianz       70451780
                     and Steven Nolte

                     Helen F. Upright and Security
20112263      777                                     2030024563
                     Randall F. Upright   Benefit
                     Helen F. Upright and
                                          Security
20112264      778    Robin L. Vande                   2030024563
                                          Benefit
                     Water
                     Helen F. Upright and Security
20112265      779                                     2030024563
                     Ronald G. Upright    Benefit
                     James T. Terry and
                                           North
20112266      780    Tamara DeShawn                   8000120487
                                           American
                     Terry
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 106 of
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                         Annuitant(s)                         Annuity #
                                                Name
                     Daisy P. Brown and     Check
20112267      781
                     Lettie B. Sturdivant   #8948829
                     A. Jackson Bolling
20112268      782    and Pamela W.          ING           C072211-LM
                     Bolling
20112269,            Liliane C. Dozois &
                                            American
20112270, & 783      Jacqueline Fortin /                  555021
                                            Equity
20112271             Liliane C. Dozois &
                                            American
            784                                           555023
                                            Equity
                                            American
              785                                         555024
                                            Equity
                     Linda J. Knudsen &
20112272,
                     Shannon Lees / Linda
20112273,
                     J. Knudsen & Kurtis
20112274,
                     Knudsen / Linda J.
20112275,
                     Knudsen & Kelly
20112276,                                 American
            786      Knudsen/ Linda J.                    622468
20112277,                                 Equity
                     Knudsen & Rochelle
20112278,
                     Gilbert / Linda J.
20112279,
                     Knudsen & Charles
20112280, &
                     Knudsen / Linda J.
20112281
                     Knudsen & Taylor




                                            American
              787                                         622469
                                            Equity




                     William P. Golden
20112282      788                           Allianz       70188962
                     and Paul Golden

                     David M. Rodrigues
20112283      789    and James Michael      Check #5110
                     Rodrigues
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 107 of
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                         Annuitant(s)                       Annuity #
                                              Name
                     David M. Rodrigues
20112284      790    and Jessica Grace    Check #5110
                     Rodrigues
                                          North
20112285      791    Allen R. Vogt                      8000111952
                                          American
                     Lonna C. Hudson and
20112286      792                        ING            90285357
                     David A. Hudson

                     Lonna C. Hudson and
20112286      793                        ING            90323368
                     David A. Hudson

                     Kiran Mangarolia and
20112287      794                         Allianz       70877087
                     Purnima Mangarolia
                                          Great
20112288      795    Lisa Ann Hale                      1195020132
                                          American
                                          Great
20112289      796    Rodrick Scott Hale                 1195020132
                                          American
                     Barbara J. Hibbard
20112290      797                         Aviva         47612
                     and Robert Hibbard
                     Barbara J. Hibbard
20112291      798    and Matthew          Aviva         47612
                     Hibbard
                     Ann T. Tietje and
20112294      799                         Allianz       70160248
                     David Tietje
                     Arthur A. Herm and
20112295      800                         Aviva         193057
                     Charles A. Herm

                     Arthur A. Herm and
20112296      801                         Aviva         193057
                     Matthew P. Herm
                     Ruth M. Adams and
20112297      802                         Forethought   200092201
                     Dan King
                     Ruth M. Adams and
20112298      803                         Forethought   200092201
                     Doug King
                     Ruth M. Adams and
20112299      804                         Forethought   200092201
                     Dewayne King
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 108 of
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                         Annuitant(s)                         Annuity #
                                                Name
                     Patricia L. Steele and
20112300      805    Richard Marshall       Aviva         B96754
                     Steele
                     Stewart Wellesley
20112301      806    Percy and Renee        Pacific       VR08051200
                     Guill
20112302,            Loretta M. Chisholm
20112303, & 807      & Barbara              Allianz       70535624
20112304             Seelhammer /

              808                           Allianz       70680191


              809                           Allianz       70241291

                                            American
              810                                         289173
                                            Equity

                     Jerry Owen Phillips &
20112305      811                          Guggenheim 0200234010
                     Thomas Jack Phillips
                     Jerry Owen Phillips
20112306      812    and Gloria P.          Guggenheim 0200234010
                     Edwards
                     Eva D. Breaux and
20112307      813                           Forethought   200116131
                     Kathy Rayford
                     Melba Turnbo and
20112308      814                           Allianz       70612720
                     Charles Turnbo
                     George Johnson and
20112309      815                           ING           C006147-MS
                     Elois Johnson
                     Media I. Boland &
20112311 &
           816       Linda D. Boland /      Aviva         450931
20112312
                     Media I. Boland &
                                            Western
              817                                         2FD28720
                                            National
                     Barbara G. Roth -
20112314      818    Donaldson and Allen Check #1665
                     Roth
20112315      819    Sherwood L. Mitchell Thrivent        LC4821289
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                         Annuitant(s)                       Annuity #
                                              Name
                     Edward J. Downey
20112317      820    and Pamela L.        Allianz       70823691
                     Downey
                     Dell Ann M. Hyke     National
20112318      821                                       0101245216
                     and Melissa Hyke     Western
                     Judy Kaye Brown &
20112319      822                         Forethought   200074386
                     Lorena LaBlanc
                     Judy Kaye Brown &
20112320      823                         Forethought   200074386
                     Leonard Brown
                     Judy Kaye Brown &
20112322      824                         Forethought   200074386
                     Leslie Montaque
                     Judy Kaye Brown &
20112321      825                        Forethought    200080144
                     Shane R. Davis
                     Judy Kaye Brown and
20112323      826                        Forethought    200080144
                     Bart L. Davis
20112324,            Ronald R. Mertz &
20112325, & 827      Ronald J. Mertz /   Aviva          B042054
20112326             Ronald R. Mertz &
                                         Western
              828                                       4FW51470
                                         National
                                          American
              829                                       582747
                                          Equity
                     Marilyn O. DuBrul
20112327      830    and Stephen M.       Allianz       70437615
                     Docie
                     Marilyn O. DuBrul
20112328      831    and Kathryn Clair    Allianz       70437615
                     Docie
                     James T. Terry and
                                          North
20112329      832    Brittany Danielle                  8000175444
                                          American
                     Terry
                     James T. Terry and   North
20112330      833                                       8000175445
                     Breyon Terry         American
                     Ruth A. Dietz and    National
20112331      834                                       0101266713
                     Nancy Dietz          Western
                     Ruth A. Dietz and    National
20112332      835                                       0101266713
                     Michael Dietz        Western
                     Ruth A. Dietz and    National
20112333      836                                       0101266713
                     Catherine Dietz      Western
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 110 of
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                                                Name
                     Ruth A. Dietz and      National
20112334      837                                         0101266713
                     Richard P. Dietz       Western
                     Floyd J. Prejean Jr.
20112335      838    and Margaret           Forethought   20018213
                     Prejean
                     Peggy R. Drummond
20112336      839                          Allianz        70353095
                     and Brenda Gail Jirik
                     Eleanora M. Lamberg
                                            Fidelity &
20112337      840    and Terry Lynn                       L9219272
                                            Guaranty
                     Payne
20112338,            Attilio Pizzoferrato &
20112339,            Thomas Pizzoferrato
              841                           Allianz       70503696
20112340,            / Attilio Pizzoferrato
20112341,            & James Pizzoferrato


              842                           Allianz       70504351




              843                           Allianz       07504330




              844                           Allianz       70597680




              845                           Check #2744


                     Mamie I. McTaggart
20112345      846                         Allianz         70684400
                     and Rory L. Peterson

                     Helen M. Pesek and
20112346      847                           Allianz       70106330
                     Lauren S. Pesek
                     Lauren S. Pesek and
20112347      848    Jonathan Richard    Allianz          70716681
                     Pesek
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                         Annuitant(s)                      Annuity #
                                              Name
                     JoAnn H. Walker and North
20112348      849                                      8000121024
                     Byron W. Walker     American

                     JoAnn H. Walker and North
20112348      850                                      8000099139
                     Byron W. Walker     American

                     Mary S. Chapman   Check
20112349      851
                     and Bruce Chapman #18074358

                     Doris Beverlin and
20112350      852                         Allianz      70126201
                     Donald Beverlin
                     Doris Beverlin and
20112351      853                         Allianz      70017522
                     Mary Joslyn
                     Doris Beverlin and
20112351      854                         Allianz      70126084
                     Mary Joslyn
                     Donald Beverlin and
20112352      855                        Allianz       70717311
                     Jason Beverlin

                     Donald Beverlin and
20112353      856                        Allianz       70717311
                     Dannielle Winters
20112354      857    Anita Drittel        Liberty      MA00067905
                     Betty Hill and Laura
20112355      858                         Allianz      70814175
                     Hill
                     Betty Hill and James
20112356      859                         Allianz      70814175
                     R. Hill Jr.
20112357      860a Muzzy, MaryJane        Allianz      70682656

                     James A. Wall and    American
20112358      860                                      724097
                     Pamela H. Wall       Equity

                     Barbara J. Hood and
20112359      861                        Symetra       0100501794
                     Jewel V. McCarter
                     David W. McCarter
20112360      862    and Jewel V.         Symetra      0100501794
                     McCarter
                     Dennis S. Morgan
20112361      863                         ING          9032820
                     and Judith C. Morgan
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 112 of
                                        Commercial                   128
                          Name(s) of                         Commercial
 Contract #   Id #                              Annuity
                         Annuitant(s)                         Annuity #
                                                 Name
                     Diane M. Graham     Check
20112362      864
                     and Roger J. Graham #159654

                     Dorothy L. Beebe    American
20112363      865                                         582752
                     and Randy D. Winner Equity
                     Dorothy L. Beebe
                                            American
20112364      866    and Anthony A.                       582752
                                            Equity
                     Winner
                     James McCready and
20112365      867                       Allianz           70147062
                     Elizabeth McCready

                     James McCready and
20112365      868                       Allianz           70154887
                     Elizabeth McCready

                     Paul D. Witmer and
20112369      869                           Allianz       70839938
                     Joanne M. Witmer
                     Florence
20112370      870    Loewenstein and        Allilanz      70267593
                     Sharon Yaskin
                     Willa J. Wright and
20112371      871                           Allianz       70371075
                     Patricia J. Harrell

                     Willa J. Wright and
20112372      872                            Allianz      70371075
                     Donna S. Laurent
                     Phyllis B. Gillam &
20112373,
                     Jonda Schapeler /
20112374, & 873                              Allianz      70017439
                     Phyllis B. Gillam &
20112375
                     Julie McClish / Phyllis

              874                           Allianz       70062504


                     Diane Weadle and
20112376      875                           Allianz       70704614
                     Douglas W. Weadle
                     Diane Weadle and
20112377      876    Melanie J.             Allianz       70704614
                     Dankenbring
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 113 of
                                       Commercial                   128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Diane Weadle and
20112378      877    Megan N.              Allianz      70785033
                     Dankenbring
                     Diane Weadle and
20112379      878    Jordan C.             Allianz      70785033
                     Dankenbring
                     Diane Weadle and
20112380      879    Ashley M.             Allianz      70785033
                     Dankenbring
                     Margaret W. McKee
20112381      880                         Allianz       70706749
                     and Patrick R. McKee

                     Robert L. Wolfe II
20112382      881                          Allianz      70706749
                     and Patricia L. Wolfe

                     Martha A. Wolfe and
20112383      882                        Allianz        70706749
                     William A. Shabb

                     Reid Dickson
20112384      883    Bowman and Betty      Allianz      30997843
                     Covington Bowman

                     Ruby J. Sprinkle and
20112385      884                          Allianz      70016027
                     Lindsey K. Sprinkle
                     Andrew R. Rushford
                     & Kathy Diane
                     Boniface / Andrew R.
20112386,            Rushford & Jeanie P.
20112387,            Redding / Andrew R.
20112388,            Rushford & Carolyn
20112389,            C. Rushford /
            885                            Allianz      70623055
20112390,            Andrew R. Rushford
20112391,            & Andrew Rankin
20112392, &          Rushford Jr. /
20112393             Andrew R. Rushford
                     & Sharon Rose Hills /
                     Andrew R. Rushford
                     & Wilma Marie
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 114 of
                                       Commercial                   128
                          Name(s) of                       Commercial
 Contract #   Id #                           Annuity
                         Annuitant(s)                       Annuity #
                                              Name




                                          National
              886                                       101252713
                                          Western




                     Robert Chaisson &
20112394 &           Venessa Mays /
           887                            Aviva         190752110
20112395             Robert Chaisson &
                     Robert Edward
              888                         Allianz       70447247


              889                         Allianz       70830515


                     Josephine M.
20112396      890    Johnson and Yvonne Allianz         70372104
                     L. Robinson
20112398,            Shirleen L. Celmer &
20112400,            Daniel Buck /
20112401,            Shirleen L. Celmer &
            891                           Allianz       70590595
20112402,            Cindy McCarthy /
20112403, &          Shirleen L. Celmer &
20112404             Anthony R. Buck /


              892                         Forethought   200068311




              893                         Midland       8500319666
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 115 of
                                       Commercial                   128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Gloria C. LaBoone
20112405      894    and Gerald E.         Pacific      VR08066268
                     LaBoone
20112406,            Ann H. Whitener &
20112407,   895      Carol Ann Gilbert /   Allianz      8127535
20112408, &          Ann H. Whitener &

              896                          Aviva        474399


              897                          Aviva        454820


                     Gerta S. Puterbaugh
20112410      898    and Larry H.        Allianz        70513395
                     Puterbaugh

                     Gerta S. Puterbaugh
20112410      899    and Larry H.        Aviva          550120
                     Puterbaugh
                                           American
20112411      900    Joyce Neal                         291280
                                           Equity
                                           American
20112411      901    Joyce Neal                         709312
                                           Equity
                     Paul W. Powell and    American
20112412      902                                       705245
                     Nancy Rhodes          Equity

                     Paul W. Powell and    American
20112412      903                                       705866
                     Nancy Rhodes          Equity

20112413      904    Linda Braun           Allianz      70024823
20112414      904    Mary Schlansker       Allianz      70024823
20112415      905    Janet Dadabo          Allianz      70024823
20112416      906    Scott Richey          Allianz      70024823
20112417      907    Robin Richey          Allianz      70024823
                     Donald Plumb and
20112418      908                          Allianz      70024830
                     Jerry J. Kile
                     Donald Plumb and
20112419      909                          Allianz      70024830
                     Jerry J. Kile
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 116 of
                                        Commercial                   128
                          Name(s) of                       Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                       Annuity #
                                               Name
                     Donald Plumb and
20112420      910                          Allianz      70024830
                     Marianne P. Borvan

                     Donald Plumb and
20112421      911                          Allianz      70024830
                     David C. Plumb

                     Ricky D. Gibson and
20122425      912                          Check #153
                     Taylor Gibson

                     Ricky D. Gibson and
20122426      913                          Check #153
                     Jordan Gibson
                     Timothy W. Lauer
20122427      914                          Allianz      70943636
                     and Judith Klein
                     Doris E. Beverlin and
20122428      915                          Aviva        B028166
                     Mary Joslyn
                     Donald Beverlin and
20122429      916                        Aviva          B028165
                     Jason Beverlin

                     Donald Beverlin and
20122430      917                        Aviva          B028165
                     Dannielle Winters
                     Nora J. Vollendorf
                                           Check
20122431      918    and Melissa
                                           #810346
                     Kennicott
                     Nora J. Vollendorf    Check
20122432      919
                     and Brenda Russell    #801346
                     Wilma June Clark
20122433      920                          Assurity     4350434875
                     and Barak H. Reis
                     Mary S. Chapman
20122434      921                      Check #0032567943
                     and Bruce Chapman
                                           Fidelity &
20122435      922    Joe Bill Holland                   R0010636
                                           Guaranty
                     Frank J. Klosinski and Jackson
20122436      923                                       1009563411
                     Susan Klosinski        National

                     Duane A. Reuer and Great
20122437      924                                       1192003682
                     Connie R. Reuer    American
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 117 of
                                        Commercial                   128
                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Marilyn O. DuBrul &
20122438 &
           925       Stephen M. Docie / Allianz           7804065
20122439
                     Marilyn O. DuBrul &

              926                           Allianz       8186743

                     Dorothy Davis and      American
20122440      927                                         128672
                     Bonnie Hirst           Equity
20122441      928    Karol A. Dipietro      Allianz       70063275
                     Barbara M.
                     Humphries and
20122442      929                           Allianz       70576061
                     Howard David
                     Humphries
                     Barbara M.
20122443      930    Humphries and Peter Allianz          70576061
                     Michael Humphries

                     Barbara M.
20122444      931    Humphries and Lisa     Allianz       70576061
                     Marie Humphries
                                            Fidelity &
20122445      932    Lorraine P. Bryant                   R0016350
                                            Guaranty
20122446      933    Francisco J. Esparza   Check #1182

20122447      934    Alease P. Stetson      Check #2898

                     Aurthur P. Farward
20122448      935                         Liberty         00000082098
                     and Richard N. Davis
                     Gerard Akers and
20122449      936                           Liberty       00000082098
                     Richard N. Davis
                     Richard N. Davis and
20122450      937                         Liberty         00000082098
                     Aurthur P. Farward

                     Carrie B. Grant and    Great
20122451      938                                         1195037675
                     Donnie J. Swafford     American
20122453      939    John Katzbach Sr.      Allianz       70958518
                                Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 118 of
                                         Commercial                   128
                          Name(s) of                         Commercial
 Contract #   Id #                             Annuity
                         Annuitant(s)                         Annuity #
                                                Name
                     Ruby H. Young and      Great
20122454      940                                         08001741
                     Juanice Y. Skinner     American

                     Cecelia Marchione
20122455      941    and Mark Steven        Check 1272
                     Marchione

                     Daniel E. Bivins III
20122456      942                           Forethought   200126493
                     and Ruth A. Bivins

                     Ruth A. Bivins and
20122457      943                           Forethought   200126918
                     Daniel E. Bivins III
                                            American
20122458      944    Anita Drittel                        HEA017450F
                                            General
                     Lori Copelton and
20122459      945                           Allianz       70425829
                     Renee L. Kendrick
20122461      946    Gary Lovern            Allianz       70677184
20122461      947    Gary Lovern            Allianz       70679890
                     Michael W. Purcell Jr.
20122462      948                           Equitrust     EQ0001125395F
                     and Karry Cawthon

                     Violet C. Scheidt and Check
20122463      949
                     Kenneth Scheidt       #1563401
                     Violet C. Scheidt and Check
20122464      950
                     Gary Scheidt          #1563401
                     Violet C. Scheidt and Check
20122465      951
                     Candice Jordan        #1563401

                     Violet C. Scheidt and Check
20122466      952
                     Melissa Middaugh      #1563401
                     Jeannette R.
                                            Check
20122467      953    Warnock and Carol
                                            #5390540
                     Poole
                     Jeannette R.
                                            Check
20122468      954    Warnock and Letitia
                                            #5390540
                     Browne
20122469      955    Jane Lawless           Forethought   200036386
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 119 of
                                       Commercial                   128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name
20122469      956    Jane Lawless          Forethought   200041569

20122469      957    Jane Lawless          Forethought   200039643

20122469      958    Jane Lawless          Forethought   200042602

                     Joseph H. Marks and
20122470      959                        Allianz         7549476
                     Vera Davis Marks

                     Joseph H. Marks and
20122470      960                        Allianz         7549556
                     Vera Davis Marks

                     Daisy P. Brown and
20122471      961                          Check #103
                     Patresia B. Borden
                     Michael S.
20122472,
                     Caradonna & Joanne Fidelity &
20112473, & 962                                          L9077005
                     Caradonna / Michael Guaranty
20122474
                     S. Caradonna &

              963                          Allianz       70662589



              964                          Allianz       70738494

                     Diane Mannarino
20122475      965    and Kimberly         Allianz        70943096
                     Mannarino
20122476 &           Betty A. Craver &
           966                            ING            90322732
20122477             Deborah Rice / Betty
              967                          Midland       8500073226

              968                          Midland       8500073227

              969                          Midland       8500073228

                     Michael J. Peters and
20122478      970                          Allianz       70732109
                     Robert H. Peters
                              Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 120 of
                                       Commercial                   128
                          Name(s) of                        Commercial
 Contract #   Id #                            Annuity
                         Annuitant(s)                        Annuity #
                                               Name
                     Robert H. Peters and
20122479      971                         Allianz        70732109
                     Daniel C. Peters

                     Daniel C. Peters and
20122480      972                         Allianz        70732109
                     Michael J. Peters
                     Nancy J. Waller &
20122481,
                     Peggy Sue
20122482, & 973                           Allianz        70566885
                     Fitzsimmons / Nancy
20122483
                     J. Waller & Linda L.


              974                          Allianz       70566803


                     Janie D. Cordisco and
20122484      975                          Allianz       70451291
                     Paul Givens
                     Janie D. Cordisco and
20122485      976                          Allianz       70451291
                     Lisa J. Givens
20122486,            Charles L. Horne &
            977                            Aviva         187592
20122487, &          Cheral Mahoney /
              978                          Allianz       70791860

              979                          Allianz       70968813

              980                          Allianz       70736645

                     Thomas S. Baconrind
                                         National
20122489      981    and Brenda S.                       D101265308
                                         Western
                     Baconrind
                                         Check:
                     Jeannette R.
                                         5038995,
20122490      982    Warnock and Carol
                                         5038987, &
                     Poole
                                         69050
                                         Check:
                     Jeannette R.
                                         5038995,
20122491      983    Warnock and Letitia
                                         5038987, &
                     Browne
                                         69050
20122492      984    Rodney Neil Adkison Allianz         70563076
                     Mollie F. York and
20122493      985                          Check #3294
                     Donna Miller
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 121 of
                                        Commercial                   128
                          Name(s) of                       Commercial
 Contract #   Id #                           Annuity
                         Annuitant(s)                       Annuity #
                                              Name
                     Ruby H. Young and
20122494      986                       Allianz         70497054
                     Cheryl Young Brown
                                         American
20122495      987    Allen R. Vogt                    546347
                                         Equity
20122495   988       Allen R. Vogt       Check #5600850209
20122496 &           Violetta Beamer and
           989                           Allianz      70557017
20122497             Gary Beamer /
           990                           Allianz      30559170
           991                           Forethought 20060435
           992                           Athene       MA00071224
           993                           Midland      8500305420
           994                           Phoenix      28148976

                     Marian H. Nash and   American
20122498      995                                       14866394
                     Randall M. Nash      National

                     Marian H. Nash and   American
20122498      996                                       14866395
                     Randall M. Nash      National

                     Marian H. Nash and   American
20122498      997                                       14866396
                     Randall M. Nash      National

                     James A. Wall and
20122499      998                         Forethought   200107699
                     Pamela H. Wall
                     Joe Robbins &
20122500,
                     Annette Bogner / Joe
20122501,                                 Western
            999      Robbins & Bryan                    W0020167694
20122502, &                               Southern
                     Robbins / Joe
20122503
                     Robbins & Gregg

              1000                        Aviva         678018



                     Enid M. Genias and
20122504      1001                        Allianz       70311862
                     Evol W. Genias

                     Enid M. Genias and
20122505      1002                        Allianz       70311862
                     Garfield O. Genias
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 122 of
                                        Commercial                   128
                           Name(s) of                      Commercial
 Contract #    Id #                          Annuity
                          Annuitant(s)                      Annuity #
                                              Name
                   Laura M. Biggerstaff
20122506      1003 and Anthony Dwane Aviva              472180
                   Green

                   Laura M. Biggerstaff
20122506      1004 and Anthony Dwane Check #1842
                   Green
                 Irene Hilliard and
20122507,
                 Coy J. Hilliard / Irene Fidelity &
20122508, & 1005                                        L9231992
                 Hilliard and Jimmie Guaranty
20122509
                 G. Hilliard / Irene

                                          Fidelity &
              1006                                      L9052369
                                          Guaranty


                      Ruby H. Young and
20122510      1007                        Standard      SEA00593
                      Carey B. Young

                   Thomas S. Baconrind
                                       Fidelity &
20122511      1008 and Brenda S.                        L9226816
                                       Guaranty
                   Baconrind
                                          Jackson
20122513      1009 Janne E. Mose                        009210848A
                                          National
20122513      1010 Janne E. Mose          Sun America   P379959435

                   Patricia M.
20122514      1011 Magnetico and          Aviva         142609
                   Dianne Broncatello
                   Patricia M.
20122515      1012 Magnetico and          Aviva         142609
                   Eileen Asselta
                   Patricia M.
20122516      1013 Magnetico and Mary Aviva             142609
                   Ann Gunther
                   Patricia M.
20122517      1014 Magnetico and Mary Aviva             142609
                   Jones
                               Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 123 of
                                        Commercial                   128
                           Name(s) of                       Commercial
 Contract #    Id #                          Annuity
                          Annuitant(s)                       Annuity #
                                              Name
                   Camille T. Bradley
20122518      1015 and Alison L. Bradley- Forethought    200062586
                   Darnall
20122520      1016 Joyce J. Warren        Forethought    200043463

                      Marie Vinicor and
20122521      1017                        Shares
                      Judith Weckmann

                      Mary S. Chapman
20122522      1018                      Check #0503174946
                      and Bruce Chapman

                      Conley R. Stucki and
20122523      1019                         Forethought   200094796
                      Gary R. Brown
20122524      1020 Mary L. Vasquez        Aviva          069494
20122525      1021 Mary L. Vasquez        Aviva          B081466
20122526      1022 Mary L. Vasquez        Aviva          84581

ADDITIONAL ANNUITY CONTRACTS:
             1023 M. Reams                Amer. Nat.     L0081359
             1024 J. Frank                Aviva          145398110
            1025 O. Blevins               Nat. West.     101193318
            1026 J. Cockrell              Amer. Eq.      676478
            1027 D. Jutras                Amer. Eq.      743815
            1028                          North Am.      8000076461
            1029 E. Baker                 Old Mut.       L9171699

TOTAL
                        Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 124 of
                                                  MISSING ANNIVERSARY
                                                              128        DATES


 Commercial                                                                 Latest Cash
               Commercial                           Value or Latest Acc.
   Annuity                        Frq.    Anniv                             Surr Value
                Annuity #                         Annv. Date Value ($)
    Name                                                                        ($)
                                                                                          Penaltie $   Penaltie % Annuitized
Allianz       30559170        M          31-Dec     1/28/03     87,758.15     72,371.48    $15,386.67        18%     NO
Allianz       30189057        M          31-Dec    10/28/02     88,814.01     58,064.17    $30,749.84        35%     NO
Allianz       70804367        M          31-Dec     4/15/10     56,211.00     50,589.90     $5,621.10        10%     NO
Allianz       70968813        M          31-Dec     2/27/12     30,000.00     30,000.00          $0.00        0%     NO
Allianz       6623292         M          31-Dec     7/18/00     21,218.85     21,218.85          $0.00        0%     NO
American
                                         31-Dec
Equity        676478                                4/23/08     69,934.68     61,799.62     $8,135.06        12%     NO
American
                                         31-Dec
Equity        743815                                6/22/09      8,997.81      6,951.96     $2,045.85        23%     NO
American
              546347          M          31-Dec     2/24/05     26,721.01     24,583.33
Equity                                                                                      $2,137.68         8%     NO
American
                                         31-Dec
National
              L0081359                              8/25/10     94,461.96     85,960.38     $8,501.58         9%     NO
Athene        MA00071224      M          31-Dec     9/24/10     33,328.46     32,997.82
                                                                                             $330.64          1%     NO
Aviva         46561           M          31-Dec     1/25/09   154,312.32     169,614.13   -$15,301.81       -10%     YES
Aviva         145398                     31-Dec     6/18/08    45,801.48      45,801.48         $0.00         0%     NO
Aviva         472180          M          31-Dec      2/3/05    22,567.00      21,329.29     $1,237.71         5%     NO
Aviva         B028166         M          31-Dec    12/31/07    48,136.88      48,136.88         $0.00         0%     NO
Aviva         B028165         M          31-Dec    12/31/07    45,081.72      42,029.17     $3,052.55         7%     NO

Fidelity &
              L9231992        M          31-Dec     2/27/12     60,633.16     60,633.16
Guaranty
                                                                                                $0.00         0%     NO
Forethought   200126493       M          31-Dec      1/5/12   158,076.75     139,700.33
                                                                                           $18,376.42        12%     NO
Forethought   200126918       M          31-Dec    12/27/11   127,538.00     127,538.00
                                                                                                $0.00         0%     NO
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                                                               128


Forethought    200107699       M       31-Dec     3/23/11    70,457.25    70,457.25
                                                                                         $0.00    0%    NO
Forethought    20060435        M       31-Dec    12/16/09    35,356.03    35,356.03
                                                                                         $0.00    0%    NO
Great
               1192003682      M       31-Dec    11/18/10   288,797.82   288,797.82
American
                                                                                          $0.00   0%    NO
ING            9032820         M       31-Dec     6/17/09   100,668.79    93,081.43   $7,587.36   8%    NO
Investors In   C0026798        M       31-Dec    11/12/08    39,289.59    33,056.37
                                                                                      $6,233.22   16%   NO
Jackson
               0033229080      M       31-Dec     3/21/91    16,912.15    16,912.15
National                                                                                 $0.00    0%    NO
Liberty        MA00067905      M       31-Dec     4/30/10    22,759.16    22,759.16
                                                                                         $0.00    0%    NO
Midland        8500305420      M       31-Dec     4/24/07    36,539.85    36,539.85      $0.00    0%    NO
National
                                       31-Dec
Western        101193318                          8/21/08    38,160.03    38,160.03      $0.00    0%    NO
North
                                       31-Dec
American
               8000076461                         3/24/09   118,538.35   111,930.15   $6,608.20   6%    NO
Old Mutual                             31-Dec
               L9171699                          12/15/09    76,819.29    76,819.29      $0.00    0%    NO
Western
               W0020167694 M           31-Dec     3/12/03    36,752.29    36,752.29
Southern                                                                                 $0.00    0%    NO
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                                         CONFLICTING ANNIVERSARY
                                                       128           DATES


                                     Latest Cash
             Value or Latest Acc.
   Anniv                             Surr Value
           Annv. Date Value ($)
                                         ($)                                         Date   Amount
                                               Penaltie $      Penaltie % Annuitized Req.   Req.   Date Rec. Amt. Rec. Status   Comment
#VALUE!      2/27/07   101,266.49     97,266.49 $4,000.00             4%     NO
#VALUE!     12/11/08     91,223.02    87,116.08
                                                   $4,106.94         5%      NO
#VALUE!      1/24/05     78,985.06    77,177.44
                                                   $1,807.62         2%      NO
                                                    Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 127 of
                                                                             SUSPECTED ANNUITIZED-
                                                                                          128         CHECK



                                                                                                                                        Type of
                                                                                         Latest Cash
   Commercial Annuity    Commercial                        Value or Annv. Latest Acc.                                                    Draw
                                          Frq.    Anniv                                  Surr Value
        Name              Annuity #                                  Date Value ($)                                                     (10% or Date   Amount
                                                                                             ($)
                                                                                                       Penaltie $ Penaltie % Annuitized Entire) Req.   Req.   Date Rec. Amt. Rec. Status   Comment
Allianz                 70417809      M          5-Feb           2/5/12     23,782.57      24,084.77       -$302.20      -1%    YES                                               Active
Allianz                 70395041      M          15-Feb         2/15/12     50,526.07      51,313.15       -$787.08      -2%    YES                                               Active
Allianz                 70566803      M          23-May         5/23/12    117,046.18     118,048.58     -$1,002.40      -1%    YES                                               Active
Allianz                 70557017      M          10-Jun         6/10/12    157,647.34     163,719.37     -$6,072.03      -4%    YES                                               Active
Allianz                 70566885      M          13-Jun         6/13/12    106,289.00     107,343.37     -$1,054.37      -1%    YES                                               Active
Allianz                 70574050      M          27-Jun         6/27/12    239,552.62     249,783.72    -$10,231.10      -4%    YES                                               Active
                                                                   ANN-
Allianz                 70300604      M          #VALUE!                   162,608.10     162,608.10
                                                             5420.27*30                                      $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70231507      M          #VALUE!                   128,648.00     128,648.00
                                                             2474.00*52                                      $0.00       0%    YES                                                Active
Allianz                 70542779      A          #VALUE!   ANN-17911*5      89,555.00      89,555.00         $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70417366      M          #VALUE!                    80,497.04      80,497.04
                                                             1548.02*52                                      $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70340830      M          #VALUE!                    53,355.60      53,355.60
                                                              592.84*90                                      $0.00       0%    YES                                                Active
                                                                  ANN -
Allianz                 70202583      A          #VALUE!                    28,655.30      28,655.30
                                                              5731.06*5                                      $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70388678      M          #VALUE!                    19,738.20      19,738.20
                                                              657.94*30                                      $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70264727      M          #VALUE!                    19,415.22      19,415.22
                                                              422.07*46                                      $0.00       0%    YES                                                Active
                                                                   ANN-
Allianz                 70416800      M          #VALUE!                      6,849.96      6,849.96
                                                              131.73*52                                    $0.00         0%    YES                                                Active
American Equity         731083        M          28-Apr         4/28/12    162,586.21     247,027.44 -$84,441.23       -52%    YES                                                Active
Aviva                   46561         M          31-Dec                    154,312.32     169,614.13 -$15,301.81       -10%    YES                                                Active
Aviva                   050314        M          4-Feb            2/4/12   198,430.52     206,680.40 -$8,249.88         -4%    YES                                                Active
Aviva                   50312         M          4-Feb            2/4/12     8,531.21       9,439.96    -$908.75       -11%    YES                                                Active
Aviva                   051883        M          19-Feb         2/19/12    150,178.93     173,911.20 -$23,732.27       -16%    YES                                                Active
                                                           Ann. 1,894.49
Great American          80506699      M          #VALUE!                   143,981.24     143,981.24
                                                                per mth                                      $0.00       0%    YES                                                Active
Midland                 8500319666   M           2-Oct          10/2/12     22,137.28      22,335.79      -$198.51      -1%    YES                                                Active
Sun Life                KA12978565-1 M           30-Apr         4/30/12     24,942.11      26,578.73    -$1,636.62      -7%    YES                                                Active
                                                                        Case 2:13-cv-14050-JEM Document 127-1 Entered on FLSD Docket 11/06/2014 Page 128 of
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                                                                                                              128




Commercial
              Commercial                         Value or Latest Acc.     Latest Cash
  Annuity                      Frq.    Anniv
               Annuity #                       Annv. Date Value ($)      Surr Value ($)
   Name                                                                                                                           Type of Draw (10%           Amount
                                                                                          Penaltie $      Penaltie % Annuitized       or Entire)    Date Req. Req.     Date Rec. Amt. Rec. Status
             EQ0001020833
Equitrust                 M           26-Sep     9/26/12     83,999.90       83,999.90
             F                                                                                    $0.00         0%      NO        $       8,399.99                                         Active
Forethought 200074386      M          1-Sep       9/1/12     63,376.24       63,376.24
                                                                                                  $0.00         0%      NO        $       6,337.62                                         Active
Forethought 200055156      M          2-Sep       9/2/12     47,905.19       47,905.19
                                                                                                  $0.00         0%      NO        $       4,790.52                                         Active
Forethought 20018213       M          9-Sep       9/9/12     35,061.34       35,061.34
                                                                                                  $0.00         0%      NO        $       3,506.13                                         Active
Forethought 200057023      M          16-Sep     9/16/12     24,504.00       24,504.00
                                                                                                  $0.00         0%      NO        $       2,450.40                                         Active
Forethought 200064880      A          16-Sep     9/16/12     60,669.71       60,669.71
                                                                                                  $0.00         0%      NO        $       6,066.97                                         Active
Great
             06529545      M          30-Sep     9/30/12     15,374.38       15,374.38
American
                                                                                                  $0.00         0%      NO        $       1,537.44                                         Active
John
             2617075       M          28-Sep     9/28/12    415,268.79      413,287.82
Hancock                                                                                      $1,980.97          0%      NO        $      41,328.78                                         Active
Old Mutual   L9162368      M          9-Sep       9/9/12     11,292.28       11,292.28
                                                                                                  $0.00         0%      NO        $       1,129.23                                         Active
Sun Life     KA12892501-01 M          29-Sep     9/29/12      6,843.12        6,843.12
                                                                                                  $0.00         0%      NO        $         684.31                                         Active



                                                                                                                                  $       8,399.99
                                                                                                                                  $       6,337.62
                                                                                                                                  $       4,790.52
                                                                                                                                  $       3,506.13
                                                                                                                                  $       2,450.40
                                                                                                                                  $       6,066.97
                                                                                                                                  $       1,537.44
                                                                                                                                  $      41,328.78
                                                                                                                                  $       1,129.23
                                                                                                                                  $         684.31
                                                                                                                                  $      76,231.40
